                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 In re:                                                )
                                                       )           Chapter 11
 Curae Health, Inc., et al.   1
                                                       )           Case No. 18-05665
                                                       )
 1721 Midpark Road, Suite B200                         )           Judge Walker
 Knoxville, TN 37921                                   )
                            Debtors.                   )           Jointly Administered

     NOTICE OF FILING OF THE (1) REVISED ASSET PURCHASE AGREEMENT FOR
     THE SALE OF THE GILMORE HOSPITAL AND (2) REDLINE OF REVISED ASSET
              PURCHASE AGREEMENT OF THE GILMORE HOSPITAL

          The above captioned debtors and debtors-in-possession (collectively, the “Debtors”) in

 the above-captioned jointly administered chapter 11 cases (these “Chapter 11 Cases”), hereby

 submit this notice of filing of exhibit (“Notice of Exhibits”).

          On August 31, 2018, Debtors filed the Debtors’ Motion for Entry of an Order

 (I) Authorizing and Approving Bidding Procedures for the Sale of Gilmore Medical Center,

 (II) Authorizing the Sale of Gilmore Medical Center Free and Clear of All Liens, Claims,

 Encumbrances and Other Interests, (III) Approving Stalking Horse Purchaser, Break-up Fee,

 and Overbid Protections, (IV) Establishing Certain Procedures for the Assumption and

 Assignment of Executory Contracts and Unexpired Leases, (V) Scheduling an Auction,

 (VI) Scheduling a Hearing and Objections Deadlines With Respect to the Sale of Gilmore

 Medical Center, (VII) Approving the Form and Manner of Notice Thereof, and (VIII) Granting




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are Curae Health, Inc. (5638); Amory Regional Medical Center, Inc. (2640); Batesville Regional Medical
 Center, Inc. (7929); and Clarksdale Regional Medical Center, Inc. (4755); Amory Regional Physicians, LLC (5044);
 Batesville Regional Physicians, LLC (4952); Clarksdale Regional Physicians, LLC (5311).



 65653942.1
Case 3:18-bk-05665           Doc 305      Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                        Document      Page 1 of 192
 Related Relief (Docket No. 79) (the “Sale Procedures Motion”).2 The Gilmore APA was

 attached to the Sale Procedures Motion as Exhibit D.

          On September 25, 2018, the Court held a hearing on the Sale Procedures Motion (the

 “Sale Procedures Hearing”). At the Sale Procedures Hearing, the Debtors announced that the

 parties had agreed to certain revisions to the Gilmore APA in order to resolve various objections

 to the Sale Procedures Motion, and the court requested that the Debtors file the revised Gilmore

 APA (the “Revised Gilmore APA”) in clean and redline versions. Accordingly, attached hereto

 as Exhibit 1 is a clean version of the Revised Gilmore APA, and attached hereto as Exhibit 2 is a

 redline showing changes from the Gilmore APA, as it was filed with the Sale Procedures

 Motion, to the Revised Gilmore APA.




 2
   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Sale
 Procedures Motion.


                                                      2
 65653942.1
Case 3:18-bk-05665         Doc 305      Filed 10/12/18 Entered 10/12/18 13:21:43                  Desc Main
                                      Document      Page 2 of 192
 Dated: October 12, 2018                  Respectfully submitted,
        Nashville, Tennessee
                                          POLSINELLI PC

                                          /s/ Michael Malone
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                                          -and-

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                                          Counsel to the Debtors and
                                          Debtors in Possession




                                             3
 65653942.1
Case 3:18-bk-05665     Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43     Desc Main
                                 Document      Page 3 of 192
                                     Exhibit 1
                        Revised Gilmore APA (Clean Version)




 65653942.1
Case 3:18-bk-05665   Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                               Document      Page 4 of 192
                          ASSET PURCHASE AGREEMENT

                                   BY AND AMONG

                     AMORY REGIONAL MEDICAL CENTER, INC.

                        AMORY REGIONAL PHYSICIANS, LLC

                                 CURAE HEALTH, INC.

                                         AND

                     NORTH MISSISSIPPI HEALTH SERVICES, INC.

                           DATED AS OF AUGUST 31, 2018




 65459867.3
Case 3:18-bk-05665   Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                               Document      Page 5 of 192
                                       LIST OF SCHEDULES

 Schedule 2.1(l)        Assumed Contracts
 Schedule 2.1(n)        Trademarks/Domain Names/Restricted Names
 Schedule 2.2(l)        Other Excluded Assets
 Schedule 2.3(a)(iii)   Assumed Capital Leases
 Schedule 2.3(b)        Cure Amounts
 Schedule 2.3(c)(i)     Additional Assumed Contracts
 Schedule 2.3(c)(ii)    Additional Excluded Contracts
 Schedule 4.2           Non-contravention
 Schedule 4.3           Subsidiaries; Minority Interests
 Schedule 4.4(a)        Encumbrances
 Schedule 4.5(a)        Historical Financial Information
 Schedule 4.5(c)        Indebtedness
 Schedule 4.6           Permits and Approvals
 Schedule 4.8           Accreditation
 Schedule 4.9(i)        Private Programs
 Schedule 4.9(ii)       National Provider Identifiers; Provider Numbers
 Schedule 4.9(iii)      CMS Reporting
 Schedule 4.10          Third-Party Payor Cost Reports
 Schedule 4.12(c)       Information Privacy and Security Compliance
 Schedule 4.16(a)       Owned Intellectual Property
 Schedule 4.16(b)       Liens on Owned Intellectual Property
 Schedule 4.16(c)       Violations of Intellectual Property Contracts
 Schedule 4.16(d)       Claims Regarding Intellectual Property Infringement
 Schedule 4.16(e)       Owned Intellectual Property Infringement
 Schedule 4.16(g)       Open Source Materials
 Schedule 4.17(a)       Contracts
 Schedule 4.17(b)       Violations Under Assumed Contracts
 Schedule 4.18          Personal Property
 Schedule 4.20(a)       List of Facilities
 Schedule 4.20(b)       Owned Real Property
 Schedule 4.20(c)       Leased Real Property
 Schedule 4.20(d)       Rent Rolls
 Schedule 4.20(e)       Third Party Leases
 Schedule 4.21          Insurance
 Schedule 4.22(a)       Employee Benefit Plans
 Schedule 4.22(e)       Benefit Plan Proceedings
 Schedule 4.22(g)       Payments under Benefit Plans
 Schedule 4.23(a)       Employees
 Schedule 4.23(c)       Labor Matters
 Schedule 4.24          Litigation
 Schedule 4.25          Tax Matters
 Schedule 4.26          Environmental Matters
 Schedule 4.28          Affiliate Transactions
 Schedule 4.29          Brokers and Finders
 Schedule 5.2           Buyer Non-contravention
 Schedule 6.2           Conduct of Business




                                                   i
 65459867.3
Case 3:18-bk-05665       Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                                   Document      Page 6 of 192
                                     LIST OF EXHIBITS

 Exhibit A           Sale Order
 Exhibit B           Sale Procedures Motion and Sale Procedures Order
 Exhibit C           Lease Assignment
 Exhibit D           Bill of Sale
 Exhibit E           Assignment and Assumption Agreement
 Exhibit F           Power of Attorney
 Exhibit G           Transition Services Agreement
 Exhibit H           Escrow Agreement
 Exhibit I           Trademark Assignment Agreement
 Exhibit J           Domain Name Assignment Agreement
 Exhibit K           Curae Restrictive Covenants Agreement




                                               ii
 65459867.3
Case 3:18-bk-05665    Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                                Document      Page 7 of 192
                                   ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
 effective as of August 31, 2018 by and among Amory Regional Medical Center, Inc., a Tennessee non-
 profit corporation qualified to do business in Mississippi (with ARP, “Seller”), Amory Regional
 Physicians, LLC, a Tennessee limited liability company qualified to do business in Mississippi (“ARP”),
 Curae Health, Inc., a Tennessee non-profit corporation qualified to do business in Tennessee (“Curae”)
 and North Mississippi Health Services, Inc., a Delaware non-profit corporation qualified to do business in
 Mississippi or its designated controlled Affiliate (“Buyer” and collectively with Seller and Curae, the
 “Parties”).

                                           WITNESSETH

          WHEREAS, Seller owns and operates Gilmore Medical Center, a 95 bed acute care hospital and
 related healthcare operations and facilities located in Amory, Mississippi (the “Hospital”); and

         WHEREAS, Seller has delegated responsibility for the management of the Hospital to Curae
 Health, Inc., a Tennessee nonprofit corporation (“Curae”), pursuant to a management services agreement;
 and

         WHEREAS, Seller has filed voluntary petitions (collectively, the “Bankruptcy Case”) under
 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Middle District of
 Tennessee (the “Bankruptcy Court”) prior to the date of this Agreement; and

         WHEREAS, the Parties intend that Buyer be designated as the Stalking Horse Bidder (as defined
 in the Sale Procedures Order);

         WHEREAS, Seller desires to sell and assign to Buyer, and Buyer desires to purchase and assume
 from Seller, all of the Purchased Assets and Assumed Liabilities, in each case on the terms and conditions
 set forth herein, and, as applicable, free and clear of all Encumbrances (other than Permitted
 Encumbrances) in accordance with Sections 105, 363 and 365 and other applicable provisions of the
 Bankruptcy Code and the Bankruptcy Rules; and

         WHEREAS, following Bankruptcy Court approval of this Agreement and entry of the Sale Order
 and satisfaction of other conditions set forth herein, the Parties intend to consummate the Contemplated
 Transactions as further described herein.

          NOW, THEREFORE, for and in consideration of the premises, the agreements, covenants,
 representations and warranties set forth in this Agreement, and other good and valuable consideration, the
 receipt and adequacy of which are acknowledged and agreed, the Parties agree as follows:

 1.       DEFINITIONS; INTERPRETATION.

          1.1    Definition. As used herein the terms below shall have the following meanings:

          “AAA” is defined in Section 13.4(c).

          “Accounting Firm” is defined in Section 2.8(c).

         “Affiliate” means, as to the Person in question, any Person that directly or indirectly controls, is
 controlled by, or is under common control with, the Person in question and any successors or assigns of


                                                      1
 65459867.3
Case 3:18-bk-05665         Doc 305      Filed 10/12/18 Entered 10/12/18 13:21:43                 Desc Main
                                      Document      Page 8 of 192
 such Person; provided, however, that (a) stockholders, officers or directors shall not be considered
 “Affiliates,” and (b) except for a Person’s direct and indirect subsidiaries, and other Persons controlled
 (directly or indirectly) by such Person, no association, corporation, limited liability company, partnership,
 limited liability partnership, trust or other Person shall be considered an “Affiliate” solely as a result of
 any direct or indirect ownership, control or other relationship between the stockholders, officers or
 directors of such Person. For purposes of this definition, “control” means possession, directly or
 indirectly, of the power to direct, or cause the direction of, the management and policies of a Person
 whether through ownership of voting securities, by Contract or otherwise.

          “Agency Settlements” is defined in Section 7.4(a).

          “Agreed Upon Assignments” is defined in Section 6.3(b).

          “Agreement” is defined in the preamble to this Agreement.

          “Allocation” is defined in Section 11.1.

          “ALTA” means the American Land Title Association.

          “Alternative Transaction” means any transaction or series of related transactions (other than a
 Contemplated Transaction pursuant to this Agreement), pursuant to which the Seller (i) accepts a Bid,
 other than that of the Buyer, (ii) sells, transfers, leases or otherwise disposes of, directly or indirectly,
 including through an acquisition, assets sale, stock sale, purchase, merger, reorganization, recapitalization
 or other similar transaction with or involving any securities or other interest in the Purchased Assets,
 including but not limited to a stand-alone plan of reorganization or refinancing, of all or substantially all
 of the Purchased Assets (or agrees to any of the foregoing) in a transaction or series of transactions to a
 party or parties other than the Buyer.

         “Approval” means any approval, authorization, consent, notice, qualification or registration, or
 any extension, modification, amendment or waiver of any of the foregoing, of or from, or any notice,
 statement, filing or other communication to be filed with or delivered to, any Governmental Authority or
 any other Person.

          “Arbitration Notice” is defined in Section 13.4(d)(i).

          “Arbitrators” is defined in Section 13.4(d).

         “ARP” shall mean Amory Regional Physicians, LLC, a Tennessee limited liability company
 qualified to do business in Mississippi.

          “Assignment and Assumption Agreement” is defined in Section 3.2(d).

        “Assumed Capital Leases” means those capital lease obligations of Seller that are included
 among the Assumed Contracts and set forth on Schedule 2.3(a)(iii).

          “Assumed Contracts” is defined in Section 2.1(l).

          “Assumed Indebtedness” means the aggregate amount (as of immediately prior to the Effective
 Time) of the current and long-term Liabilities of Seller under the Assumed Capital Leases, if any, all as
 set forth in the Closing Statement.



                                                         2
 65459867.3
Case 3:18-bk-05665          Doc 305     Filed 10/12/18 Entered 10/12/18 13:21:43                  Desc Main
                                      Document      Page 9 of 192
          “Assumed Liabilities” is defined in Section 2.3(a).

          “Assumed Paid Time Off” is defined in Section 7.1(c).

          “Auction” has the meaning set forth in the Sale Procedures Order.

          “Backup Bidder” has the meaning set forth in the Sale Procedures Order.

          “Balance Sheet Date” means May 31, 2018.

          “Bankruptcy Case” is defined in the recitals to this Agreement.

          “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et seq.

          “Bankruptcy Court” is defined in the recitals to this Agreement.

          “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedures

          “Bid” has the meaning set forth in the Sale Procedures Order.

          “Bid Protections” is defined in Section 6.17(f).

          “Bill of Sale” is defined in Section 3.2(c).

          “Books and Records” means originals, or where not available, copies (including in electronic
 format), of books and records maintained in connection with the Business or the Purchased Assets,
 including books and records relating to books of account, ledgers and general financial accounting
 records, Physician records, medical staff records, personnel records, machinery and equipment
 maintenance files, patient and customer lists, price lists, distribution lists, supplier lists, quality control
 records and procedures, customer and patient complaints and inquiry files, research and development
 files, records and data (including all correspondence with any Governmental Authority), sales material
 and records, strategic plans, marketing plans, internal financial statements and marketing and promotional
 surveys, pricing and cost information, material and research that relate to the Business.

          “Expense Reimbursement” is defined in Section 6.17(f).

          “Business” means the ownership and operation of the Hospital and all assets and operations
 ancillary to or associated with any of the foregoing as currently conducted or as contemplated by Seller to
 be conducted in the future, including any interest or management contracts related to physician practices
 controlled or managed by the Hospital or its Affiliates.

          “Business Day” means any day except Saturday, Sunday and any day which is a legal holiday in
 the State of Mississippi.

         “Business Offerings” means any products or services designed, developed, offered, provided,
 licensed or otherwise distributed by or for Seller or any Seller Affiliate related to the Business, or that
 Seller or any Seller Affiliate intends to offer for license, provide or otherwise distribute in connection
 with the Business, including any products or service offerings under development that form the basis, in
 whole or in part, of any revenue or business projection provided to Buyer.

          “Buyer” is defined in the preamble to this Agreement.


                                                         3
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 10 of 192
          “Buyer Employer” means Buyer or one of its Affiliates.

          “Buyer Fundamental Representations” means, collectively, the representations and warranties
 set forth in Section 5.1 (Organization; Capacity), Section 5.2 (Authority; Non-contravention; Binding
 Agreement) and Section 5.4 (Brokers and Finders).

          “Buyer Indemnified Parties” is defined in Section 10.1(a).

          “Buyer Threshold” is defined in Section 10.2(b).

          “Cardholder Data” is defined in Section 4.16(i).

          “Closing” is defined in Section 3.1.

          “Closing Date” is defined in Section 3.1.

              “Closing Statement” is defined in Section 2.8(a).

          “Closing Working Capital” means Net Working Capital as of immediately prior to the Effective
 Time.

          “CMS” means the Centers for Medicare & Medicaid Services.

         “CMS Program Payments” means payments or discounts that are not based directly on the
 submission of claims for services delivered and are received through participation in a CMS program
 implemented by CMS through a contract with CMS or as a participant through a contract with a CMS
 contractor. Such programs include, but are not limited to, Medicare accountable care organizations,
 episode-based payment initiatives and other Medicare Innovation Models as implemented by CMS as
 authorized pursuant to the laws and regulations identified in CMS Reporting.

         “CMS Reporting” means any cost, quality, performance, and electronic reporting requirements
 implemented by CMS pursuant, but not limited, to the Social Security Act, the Patient Protection and
 Affordable Care Act of 2010 (or any replacement or successor Law), the Health Care and Education
 Reconciliation Act of 2010, the Pathway for Sustainable Growth Reform (SGR) Act of 2013, the
 Protecting Access to Medicare Act of 2014, the Improving Medicare Post-Acute Care Transformation Act
 of 2014 (IMPACT), American Taxpayer Relief Act of 2012 (ATRA), Balanced Budget Act of 1997
 (BBA), the Medicare, Medicaid and SCHIP (State Children’s Health Insurance Program) Balanced
 Budget Refinement Act of 1999 (BBRA), the Medicare, Medicaid, and SCHIP Benefits Improvement and
 Protection Act of 2000 (BIPA), the 21st Century Cures Act, the HITECH Act, the Medicare Access &
 CHIP Reauthorization Act of 2015 (MACRA) and/or the Bipartisan Balanced Budget Act of 2018, each
 of which may be amended from time to time by a Balanced Budget Act of the United States Congress,
 each applicable at such time as healthcare services are rendered.

         “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, the Public
 Health Service Act, codified as 42 U.S.C. §§ 300bb-1 through 300bb-8, and any similar state or federal
 continuation of coverage Laws.

        “Code” means the Internal Revenue Code of 1986, as amended, and the rules and regulations
 promulgated thereunder.

          “Commitments” is defined in Section 6.6(a).


                                                        4
 65459867.3
Case 3:18-bk-05665             Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43             Desc Main
                                      Document    Page 11 of 192
          “Confidential Information” means all information (whether or not specifically identified as
 confidential), in any form or medium that relates to the Purchased Assets or the Business, including:
 (a) internal business information related to the Business (including, information relating to strategic plans
 and practices, business, accounting, financial or marketing plans, practices or programs, training practices
 and programs, salaries, bonuses, incentive plans and other compensation and benefits information and
 accounting and business methods); (b) identities of, individual requirements of, specific contractual
 arrangements with, and information about, the Business or any Purchased Asset; (c) any confidential or
 proprietary information of any third party that Seller has a duty to maintain confidentiality of, or use only
 for certain limited purposes; (d) industry research compiled by, or on behalf of the Business, Seller, or
 any Seller Affiliate, including, identities of potential target companies, management teams, and
 transaction sources identified by, or on behalf of, Seller or any Seller Affiliate; (e) compilations of data
 and analyses, processes, methods, track and performance records, data and data bases relating thereto;
 (f) information related to the Transferred Intellectual Property and updates of any of the foregoing; and
 (g) information obtained in connection with Section 10.3 during the prosecution or defense of any Third-
 Party Claim; provided that Confidential Information shall not include any information that has become
 generally known to and widely available for use within the industry other than as a result of the acts or
 omissions of Seller or a Person that Seller has any direct control over to the extent such acts or omissions
 are not authorized by Seller in the performance of such Person’s assigned duties for Seller.

        “Confidentiality Agreement” means that certain Confidentiality Agreement by and between
 Curae and Buyer, dated as of March 29, 2017.

          “Contemplated Transactions” means, collectively, the transactions contemplated by, or related
 to, this Agreement, including (a) the sale and purchase of the Purchased Assets between Seller and Buyer
 and (b) the execution, delivery and performance of this Agreement and the other Transaction Documents.

         “Contracts” means any legally binding oral or written commitment, promise, contract, lease,
 sublease, license, sublicense, guaranty, indenture, occupancy or other agreement or arrangement of any
 kind (and all amendments, side letters, modifications and supplements thereto).

          “Copyrights” means all copyrights, whether in published or unpublished works, which include
 literary works, and any other original works of authorship fixed in any tangible medium of expression
 (including nutritional and weight loss manuals and written programs); Software, web site and online
 application content; rights to compilations, collective works and derivative works of any of the foregoing;
 and registrations and applications for registration for any of the foregoing and any renewals or extensions
 thereof.

       “Cost Report” means any cost report required to be filed in respect of the Business pursuant to a
 Government Program or any third-party payor program.

          “Covered Person” means any officer, director, manager, employee or independent contractor of
 (a) Buyer Employer or any of Buyer Employer’s Affiliates who, as of any date of determination, works at,
 or provides services to, the Business, or worked at, or provided services to, the Business at any time
 during the twelve (12) month period prior to such date of determination, or (b) Seller or any Seller
 Affiliate, working at, or providing services to, the Business, at any time during the six (6) month period
 immediately prior to the Effective Time.

          “Curae” is defined in the recitals above.

          “Curae Restrictive Covenants Agreement” is defined in Section 3.2(j).



                                                      5
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 12 of 192
         “Cure Amounts” means the amounts, if any, determined by the Bankruptcy Court to be
 necessary to cure all defaults and to pay all actual Losses that have resulted from such defaults under the
 Assumed Contracts.

          “Damaged Assets” is defined in Section 6.15.

          “Deductible” is defined in Section 10.1(b).

          “Deeds” is defined in Section 3.2(a).

          “Domain Name Assignment Agreement” is defined in Section 3.2(i).

          “Domain Names” means Internet electronic addresses, uniform resource locators and
 alphanumeric designations associated therewith registered with or assigned by any domain name registrar,
 domain name registry or other domain name registration authority as part of an electronic address on the
 Internet, rights in social media accounts and social media pages, and all applications for any of the
 foregoing.

          “DRG” is defined in Section 7.8(a).

          “DRG Transition Patients” is defined in Section 7.8(a).

          “Effective Time” is defined in Section 3.1.

         “Encumbrance” means any claim, charge, easement, servitude, assessment, encumbrance,
 encroachment, defect in title, security interest, bailment (in the nature of a pledge or for purposes of
 security), mortgage, deed of trust, the grant of a power to confess judgment, conditional sales and title
 retention, lease, sublease, option, right of first refusal or first offer, lien, hypothecation, pledge, restriction
 or other similar arrangement or interest in real or personal property, whether imposed by Contract, Law,
 equity or otherwise.

          “End Date” is defined in Section 12.1(c).

          “Environmental Condition” means any event, circumstance or conditions related in any manner
 whatsoever to: (a) the current or past presence or spill, emission, discharge, disposal, release or threatened
 release of any hazardous, infectious or toxic substance or waste (each term as defined by any applicable
 Environmental Laws) or any chemicals, pollutants, petroleum, petroleum products or oil, infectious waste
 material, medical waste, human tissue, syringes, needles, any material contaminated with bodily fluids of
 any type, character or nature, friable asbestos, toxic mold and poly-chlorinated biphenyls (“PCBs”)
 (collectively, “Hazardous Materials”), into the environment; (b) the on-site or off-site treatment,
 storage, disposal or other handling of any Hazardous Material originating on or from the Business or any
 portion of the Real Property; (c) the placement of structures or materials into waters of the United States;
 (d) the presence of any Hazardous Materials in any building, structure or workplace or on any portion of
 the Real Property; or (e) any violation of Environmental Laws at or on any portion of the Real Property or
 arising from the activities of Seller, any Seller Affiliate, or any other Person at the Hospital involving
 Hazardous Materials.

         “Environmental Laws” means all Laws relating to pollution, the environment or human health
 and safety (including worker health and safety), including the Comprehensive Environmental Recovery,
 Compensation, and Liability Act, as amended, 42 U.S.C. § 6901, et seq., the Clean Air Act, 42 U.S.C.
 § 7401; OSHA; and all other Laws relating to emissions, discharges, releases, or threatened releases of


                                                         6
 65459867.3
Case 3:18-bk-05665           Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                          Desc Main
                                    Document    Page 13 of 192
 pollutants, contaminants, chemicals, pesticides, or industrial, infectious, toxic or hazardous substances or
 wastes into the environment (including ambient air, surface water, groundwater, land surface or
 subsurface strata) or otherwise relating to the processing, generation, distribution, use, treatment, storage,
 disposal, transport, or handling of pollutants, contaminants, chemicals, or industrial, infectious, toxic, or
 hazardous substances or wastes.

          “ERISA” is defined in Section 4.22(a).

          “ERISA Controlled Group” is defined in Section 4.22(d).

          “Escrow Account” is defined in Section 2.7(c).

          “Escrow Agent” means _________________________________

          “Escrow Agreement” is defined in Section 3.2(g).

          “Escrow Amount” is defined in Section 2.7(c).

          “Escrow Release Date” is defined in Section 10.11.

          “Estimated Assumed Indebtedness” is defined in Section 2.6(a).

          “Estimated Business Loss” is defined in Section 6.15.

          “Estimated Closing Statement” is defined in Section 2.6(a).

              “Estimated Purchase Price” is defined in Section 2.6(a).

          “Estimated Working Capital” is defined in Section 2.6(a).

          “Exception Claim” is defined in Section 10.3(a).

          “Excluded Assets” is defined in Section 2.2.

          “Excluded Contracts” means all Contracts other than the Assumed Contracts.

          “Excluded Liabilities” is defined in Section 2.4.

          “Expense Reimbursement” is defined in Section 6.17(f).

          “Exhibits” means the exhibits to this Agreement.

          “Facility” means the Hospital as defined in the recitals hereto and all other healthcare facilities,
 healthcare operations, or Physician practices owned, leased, managed or operated by Seller or any Seller
 Affiliate related to or associated with the Hospital and all assets and operations ancillary to or associated
 with any of the foregoing.

          “False Claims Act” is defined in Section 4.11(d).

          “Federal Anti-Kickback Statute” is defined in Section 4.11(d).

          “Federal Fiscal Year” means the fiscal year of the federal government of the United States.

                                                        7
 65459867.3
Case 3:18-bk-05665            Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                     Document    Page 14 of 192
          “Final and Binding” means, with respect to any calculation or determination, that such
 calculation or determination shall have the same preclusive effect for all purposes as if such calculation or
 determination had been embodied in a final judgment, no longer subject to appeal, entered by a court of
 competent jurisdiction.

           “Final Order” means an Order of the Bankruptcy Court (or any other court of competent
 jurisdiction) entered by the clerk of the Bankruptcy Court (or such other court) on the docket in the
 Bankruptcy Case (or the docket of such other court), which has not been modified, amended, reversed,
 vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial,
 stay, reargument or rehearing has expired and as to which no appeal, petition for certiorari or motion for
 new trial, stay, reargument or rehearing shall then be pending or (b) if an appeal, writ of certiorari, new
 trial, stay, reargument or rehearing thereof has been sought, such Order of the Bankruptcy Court (or other
 court of competent jurisdiction) shall have been affirmed by the highest court to which such order was
 appealed, or certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have
 expired, as a result of which such Action or Order shall have become final in accordance with Bankruptcy
 Rule 8002; provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil
 Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such Order, shall
 not cause an Order not to be a Final Order.

         “Final Resolution Date” means the earliest to occur of (a) thirty (30) days after delivery of the
 Closing Statement if a Post-Closing Notice of Disagreement is not timely received by Buyer in
 accordance with Section 2.8, (b) the date Buyer and Seller resolve in writing all differences they have
 with respect to the matters specified in a Post-Closing Notice of Disagreement, if timely received by
 Buyer in accordance with Section 2.8 or (c) the date all disputed matters set forth in a Post-Closing Notice
 of Disagreement, if timely received by Buyer in accordance with Section 2.8, are finally resolved in
 writing by the Accounting Firm in accordance with Section 2.8.

          “First Arbitrator” is defined in Section 13.4(d)(ii).

          “FTC” means the Federal Trade Commission.

          “FTC Red Flag Rules” means the regulations set forth in 16 C.F.R. Part 681.

         “GAAP” means United States generally accepted accounting principles and practices as in effect
 from time to time.

         “Government Programs” means the Medicare (including Medicare Part D and Medicare
 Advantage), Medicaid, Medicaid-waiver and CHAMPUS/TRICARE programs, any other similar or
 successor federal health care program (as defined in 42 U.S.C. §1320a-7b(f)) and any similar state or
 local programs.

         “Governmental Authority” means any government or any agency, bureau, board, directorate,
 commission, court, department, official, political subdivision, tribunal, special district or other
 instrumentality of any government, whether federal, state or local, domestic or foreign, and any self-
 regulatory organization, including Medicare Administrative Contractors (MACs).

         “Ground Lease” means that certain Ground Lease dated April 27, 2017 by and between Amory
 Regional medical Center, Inc., as landlord, and CHCT Mississippi, LLC, as tenant for those certain
 medical office buildings being improved property known as: (i) 1107 Earl Frye Blvd.; (ii) 1111 Earl Frye
 Blvd.; and (iii) 1127 Earl Frye Blvd.



                                                       8
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 15 of 192
          “Hazardous Materials” is defined in the definition of Environmental Condition.

          “HIPAA” means the Health Insurance Portability and Accountability Act of 1996 and all
 regulations promulgated thereunder, including the Privacy Standards (45 C.F.R. Parts 160 and 164), the
 Electronic Transactions Standards (45 C.F.R. Parts 160 and 162), and the Security Standards (45 C.F.R.
 Parts 160, 162 and 164), as amended by the HITECH Act, the final HIPAA/HITECH Omnibus Rules
 published by the U.S. Department of Health and Human Services on January 25, 2013, and as otherwise
 may be amended from time to time.

          “Historical Financial Information” is defined in Section 4.5(a).

        “HITECH Act” means the Health Information Technology for Economic and Clinical Health
 Act provisions of the American Recovery and Reinvestment Act of 2009, Pub. Law No. 111-5 and its
 implementing regulations, including 42 C.F.R. §§ 412, 413, 422 and 495, as amended by the HIPAA
 Omnibus Rule, issued on January 25, 2013, effective as of March 26, 2013.

          “Hospital” is defined in the recitals to this Agreement.

          “Immediate Family Member” means husband or wife; birth or adoptive parent, child, or
 sibling; stepparent, stepchild, stepbrother, or stepsister; father-in-law, mother-in-law, son-in-law,
 daughter-in-law, brother-in-law, or sister-in-law; grandparent or grandchild; and spouse of a grandparent
 or grandchild.

          “Immigration Act” means the Immigration Reform and Control Act of 1986.

           “Indebtedness” means, at any specified time (without duplication), any of the following
 Liabilities of any Person (whether or not contingent and including any and all principal, accrued and
 unpaid interest, prepayment premiums or penalties, related expenses, commitment and other fees, sale or
 liquidity participation amounts, reimbursements, indemnities and other amounts which would be payable
 in connection therewith): (a) any Liabilities of such Person for borrowed money or in respect of loans or
 advances; (b) any Liabilities of such Person evidenced by bonds, debentures, notes, or other similar
 instruments or debt securities; (c) any Liabilities of such Person as lessee under any lease or similar
 arrangement required to be recorded as a capital lease in accordance with GAAP; (d) all Liabilities of
 such Person under or in connection with letters of credit or bankers’ acceptances, performance bonds,
 sureties or similar obligations; (e) any Liabilities of such Person to pay the deferred purchase price of
 property, goods or services other than those trade payables incurred in the ordinary course of business,
 which are not more than sixty (60) days past due; (f) all Liabilities of such Person arising from cash/book
 overdrafts; (g) all Liabilities of such Person under conditional sale or other title retention agreements; (h)
 all Liabilities of such Person with respect to vendor advances or any other advances made to such Person;
 (i) all Liabilities of such Person arising out of interest rate and currency swap arrangements and any other
 arrangements designed to provide protection against fluctuations in interest or currency rates; (j) all
 Liabilities to purchase, redeem, retire, defease or otherwise make any payment in respect of any equity
 interests or any warrant, right or option to acquire such equity interest, valued, in the case of a redeemable
 preferred interest, at the greater of its voluntary or involuntary liquidation preference plus accrued and
 unpaid dividends; (k) any Liabilities of such Person related to unfunded 401(k) plans, pension plans,
 profits sharing plans or similar retirement plan or obligations; and (l) any Liabilities of others guaranteed
 by, or secured by any Encumbrance on the assets of, such Person, whether or not such indebtedness,
 liabilities or obligations shall have been assumed by such Person or is limited in recourse.

        “Indemnified Party” means a Buyer Indemnified Party or a Seller Indemnified Party, as the case
 may be, seeking indemnification pursuant to Article 10.


                                                       9
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 16 of 192
          “Indemnifying Party” means a Party from whom indemnification is sought pursuant to Article
 10.

         “Information Privacy or Security Laws” means HIPAA and all other Laws concerning the
 privacy or security of Personal Information, including state data breach notification Laws, state health
 privacy and information security Laws, the FTC Act, the FTC Red Flag Rules and state consumer
 protection Laws.

        “Information Technology Systems” means all information technology systems, Software,
 computers, workstations, databases, routers, hubs, switches, networks and other information technology
 equipment used or held for use in, or otherwise relating to, the Business.

          “Insurance Policies” is defined in Section 4.21.

         “Intellectual Property” means any and all of the following, and rights in, arising out of, or
 associated therewith, throughout the world: Copyrights, Domain Names, Patents, Trademarks and Trade
 Secrets, the right to use the names and likenesses of natural persons and publicity and privacy rights
 generally, any other proprietary rights now known or hereafter recognized in any jurisdiction worldwide,
 copies and tangible embodiments thereof (in whatever form or medium), and the right to sue and recover
 damages or other remedies for past, present and future infringement, misappropriation, dilution, or other
 violation thereof.

          “Intellectual Property Contracts” means all Contracts (including licenses, indemnification
 agreements, co-existence agreements, and covenants not to sue) that relate to the Transferred Intellectual
 Property, including any Contracts: (a) under which Seller has granted or agreed to grant to any other
 person any license, covenant, release, immunity or other right that applies to any Owned Intellectual
 Property (including any source code escrow agreements); or (b) under which any other Person has granted
 or agreed to grant to Seller any license, covenant, release, immunity or other right with respect to
 Intellectual Property rights or technology.

          “Interim Billings” is defined in Section 7.8(b).

          “Inventory” means all usable inventory and supplies used or held for use in, or otherwise relating
 to, the Business.

          “IRS” means the Internal Revenue Service.

          “Justice Department” means the United States Department of Justice.

          “Knowledge of Buyer” means the actual knowledge after due inquiry of Shane Spees.

          “Knowledge of Seller” means the actual knowledge after due inquiry of Steve Clapp and J. Allen
 Tyra.

          “Law” means any constitutional provision, statute, law, rule, regulation, code, ordinance,
 accreditation standard, resolution, Order, ruling, promulgation, policy, treaty directive, interpretation, or
 guideline adopted or issued by any Governmental Authority.

          “Lease Assignment” is defined in Section 3.2(b).

          “Leased Real Property” means all real property leased, subleased or licensed to, or for which a


                                                      10
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 17 of 192
 right to use, possess or occupy has been granted to, Seller or any Seller Affiliate and used or held for use
 in, or otherwise relating to, the Business, together with all rights, easements and privileges appertaining or
 relating to such real property, and all improvements located on such real property.

         “Liability” means any liability, Indebtedness, obligation, deficiency, interest, Tax, penalty, fine,
 claim, demand, judgment, cause of action or other Losses (including loss of benefit or relief), cost or
 expense of any kind or nature whatsoever, whether known or unknown, asserted or unasserted, absolute,
 fixed, or contingent, accrued or unaccrued, liquidated or unliquidated, recorded or unrecorded, due or to
 become due or otherwise, and regardless of when asserted.

         “Losses” means any and all losses, Liabilities, Proceedings, causes of action, costs, damages, or
 expenses, whether or not arising from or in connection with any Third-Party Claims (including interest,
 penalties, reasonable attorneys’, consultants’ and experts’ fees and expenses and all amounts paid in
 investigation, defense or settlement of any of the foregoing); provided that Losses shall not include
 punitive or exemplary damages except to the extent awarded in connection with a Third-Party Claim.

          “LVP” is defined in Section 7.10(b).

          “Malicious Code” means any virus, trojan horse, worm, ransom ware, back door, time bomb,
 drop dead device or other software routines or hardware components designed to permit unauthorized
 access, to disable, erase or otherwise harm Software, hardware or data, or to disable a computer program
 automatically with the passage of time or under the positive control of a Person other than the user of the
 program.

          “Material Adverse Effect” means any change, fact, circumstance, occurrence, event, effect or
 condition that, individually or in the aggregate with all other changes, facts, circumstances, occurrences,
 events, effects or conditions, directly or indirectly, results in, or could reasonably be expected to result in,
 a material adverse effect on (a) the ability of Seller to consummate the Contemplated Transactions or
 (b) the business, operation, condition (financial or otherwise), results of operations, prospects, assets or
 Liabilities of the Hospital, the Business, the Real Property or the Purchased Assets, except to the extent
 resulting from (i) changes in general local, domestic, foreign, or international economic conditions, (ii)
 changes generally affecting the healthcare industry, (iii) acts of war, sabotage or terrorism, military
 actions or the escalation thereof, (iv) any changes in applicable Laws or accounting rules or principles,
 including changes in GAAP, (v) the commencement of the Bankruptcy Case (but only to the extent that
 such change, fact, circumstance, occurrence, event, effect or condition could have been reasonably
 anticipated prior to the failing thereof), or (vi) the announcement of the Contemplated Transactions,
 provided that, in each case of clauses (i), (ii), (iii) and (iv), such change, fact, circumstance, occurrence,
 event, effect or condition does not affect the Hospital or the other Hospital, in a substantially
 disproportionate manner relative to other similarly-situated hospitals or facilities.

          “Material Contracts” is defined in Section 4.17(a).

          “MDSP” is defined in Section 7.10(a).

         “Medicare Physician Fee Schedule” means the payment structure established under the Social
 Security Act, Section 1848 (42 U.S.C. Section 1395w-4), effective January 1, 1992, and implementing
 regulations, pursuant to which CMS reimburses Physicians, non-physician practitioners and certain other
 suppliers for delivery of Medicare Part B healthcare services.

          “MU” is defined in Section 7.10(c).



                                                       11
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 18 of 192
         “Multi-Facility Contract” means any Contract that binds or affects any of the Purchased Assets
 or to which Seller is a party or by which Seller is bound in connection with the Business or the Purchased
 Assets or binds or affects the Hospital and other operations and facilities managed by Curae.

         “Net Working Capital” means, as of any date of determination, the aggregate value of the
 Prepaid Expenses and the Inventory, less the aggregate value of the Assumed Paid Time Off, in the case
 of the Prepaid Expenses and the Assumed Paid Time Off, calculated in accordance with GAAP.

          “NPIs” is defined in Section 2.1(p).

          “Objections” is defined in Section 6.6(c).

          “OFAC” means the Office of Foreign Asset Contract of the Department of Treasury.

         “OIG” means the Office of the Inspector General of the U.S. Department of Health and Human
 Services.

          “Open Source Materials” means Software (including source code, object code, libraries and
 middleware) or other materials that are licensed pursuant to the GNU General Public License (GPL), the
 GNU Lesser Public License (LGPL), the GNU Affero General Public License (AGPL), the Mozilla
 Public License, the BSD Licenses, the Artistic License, the Common Development and Distribution
 License, the Eclipse Public License, all Creative Commons “sharealike” licenses, any other license
 approved as an open source license by the Open Source Initiative or other similar licensing regimes, or
 any license that requires, as a condition of use, modification or distribution of such Software or other
 materials, that such Software or other materials, or any other Intellectual Property incorporated into,
 derived from, used, or distributed with such Software or other materials: (a) in the case of Software, be
 made available or distributed in a form other than binary (e.g., source code form); (b) be licensed for the
 purpose of preparing derivative works; (c) be licensed under terms that allow such Software or materials
 or portions thereof or interfaces therefor to be reverse engineered, reverse assembled or disassembled
 (other than by operation of Law) or (d) be redistributable at no license fee.

         “Order” means any award, writ, injunction, judgment, order, ruling, decision, subpoena,
 mandate, precept, command, directive, consent, approval, award, decree or similar determination or
 finding entered, issued, made or rendered by any Governmental Authority or an arbitrator, mediator or
 other judicially sanctioned Person or body.

          “OSHA” means the Occupational Safety and Health Act, 29 U.S.C. § 600, et seq.

         “Owned Intellectual Property” means any and all Intellectual Property, to the extent used or
 held for use in, or otherwise relating to, the Business or the Purchased Assets, that is owned or purported
 to be owned by Seller or any Seller Affiliate.

          “Owned Real Property” means all real property that is owned in whole or in part by Seller or
 any Seller Affiliate that is (a) used or held for use in, or otherwise relating to, the Business, (b) currently
 under development for use in the Business, or (c) undeveloped or unused real property located within the
 Restricted Area, in each case, together with all rights and interests under any Third Party Leases, all
 improvements, buildings or fixtures located thereon or therein, all easements, rights of way, and other
 appurtenances thereto (including appurtenant rights in and to public street(s)), all architectural plans or
 design specifications relating to the development thereof, and all claims and recorded or unrecorded
 interests therein, including any and all options to acquire such real property.



                                                       12
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 19 of 192
         “Paid Time Off” means Seller Employees’ accrued vacation, sick, holiday or other paid time off
 and related Taxes and other payroll obligations.

          “Parties” is defined in the preamble to this Agreement.

          “Pass-Thru Payments” is defined in Section 7.4(b).

         “Patents” means all inventions (whether or not patentable and whether or not reduced to
 practice), patents, industrial and utility models, industrial designs, certificates of invention, and any other
 indicia of invention ownership issued or granted by any Governmental Authority, including all
 provisional applications, priority and other applications, divisionals, continuations (in whole or in part),
 extensions, reissues, reexaminations or equivalents or counterparts of any of the foregoing.

        “Payor Agreement” means any Contract between Seller and a Government Program or a Private
 Program under which the Business or Seller directly or indirectly receives payments for medical services
 provided to such program’s beneficiaries at the Hospital.

          “PCBs” is defined in the definition of Environmental Condition.

          “Permit” means any consent, ratification, registration, waiver, authorization, license, permit,
 grant, franchise, concession, exemption, order, notice, certificate or clearance issued, granted, given, or
 otherwise made available by or under the authority of any Governmental Authority or pursuant to any
 Law.

          “Permitted Encumbrances” means (a) zoning and building Laws, ordinances, resolutions and
 regulations, (b) statutory liens for real property Taxes not due and payable on or before the Effective
 Time, (c) the Assumed Capital Leases, and (d) the title and survey matters approved by Buyer in
 accordance with Section 6.6, and (e) any Encumbrances related to Assumed Liabilities or Assumed
 Contracts. No monetary Encumbrance will be deemed a Permitted Encumbrance except as expressly set
 forth in this Agreement.

         “Person” means an individual, association, hospital authority, corporation, limited liability
 company, partnership, limited liability partnership, trust, Governmental Authority or any other entity or
 organization.

         “Personal Information” means any information with respect to which there is a reasonable basis
 to believe that the information can be used to identify an individual, including “individually identifiable
 health information” as defined in 45 C.F.R. § 160.103, demographic information, and Social Security
 numbers.

         “Personal Property” means all tangible and intangible personal property used or held for use in,
 or otherwise relating to, the Business, including all equipment, medical devices, medical and office
 supplies, diagnostic equipment, computer hardware and data processing equipment, furniture, fixtures,
 machinery, vehicles, office furnishings, instruments, leasehold improvements, telephones, telephone
 numbers, keys, security access cards and other tangible personal property used or held for use in, or
 otherwise relating to, the Business and, to the extent assignable or transferable by Seller, all rights in all
 warranties of any manufacturer, vendor, or other Person with respect thereto.

          “Petitioner” is defined in Section 13.4(d)(ii).

          “Physician” means a doctor of medicine or osteopathy, a doctor of dental surgery or dental


                                                       13
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 20 of 192
 medicine, a doctor of podiatric medicine, a doctor of optometry, or a chiropractor, as defined in section
 1861(r) of the Social Security Act.

          “Plans” is defined in Section 4.22(a).

          “Post-Closing Notice of Disagreement” is defined in Section 2.8(b).

          “Power of Attorney” is defined in Section 3.2(e).

          “Practitioner” or “Practitioners” is defined in Section 4.6.

        “Prepaid Expenses” means all prepaid expenses made with respect to the Business that are
 assumable and result in an economic benefit to the Buyer.

          “Private Program” is defined in Section 4.9.

          “Proceeding” means any action, arbitration, charge, claim, complaint, demand, dispute, audit,
 grievance, hearing, inquiry, investigation, self-disclosure, litigation, proceeding, qui tam action, suit
 (whether civil, criminal, administrative, judicial, or investigative) commenced, brought, conducted, or
 heard by or before, or otherwise involving, any (a) Governmental Authority, (b) Medicare fiscal
 intermediary or administrative contractor, recovery audit contractor, zone program integrity contractor, or
 (c) arbitrator, whether at law or in equity.

         “Property Taxes” shall mean all ad valorem, real property and personal property Taxes, all
 general and special private and public assessments relating to real property, and all similar obligations and
 Taxes.

          “Property Tax Statement” is defined in Section 2.9(b).

          “Purchase Price” is defined in Section 2.5.

          “Purchased Assets” is defined in Section 2.1.

          “Real Property” means, collectively, the Owned Real Property and the Leased Real Property.

          “Reference Balance Sheet” is defined in Section 4.5(a)(ii).

         “Referral Source” shall mean any of the following: (a) a Physician, an Immediate Family
 Member of a Physician, or an entity owned in whole or in part by a Physician or by an Immediate Family
 Member of a Physician; (b) any other Person who (i) makes, who is in a position to make, or who could
 influence the making of referrals of patients to any health care facility; (ii) has a provider number issued
 by Medicare, Medicaid or any other Government Program; or (iii) provides services to patients who have
 conditions that might need to be referred for clinical or medical care, and participates in any way in
 directing, recommending, arranging for or steering patients to any health care provider or facility; or (c)
 any Person or entity that is an Affiliate of any Person or other entity described in clause (a) or (b) above.

         “Representatives” means, with respect to any Person, the officers, directors, employees, agents,
 attorneys, accountants, advisors, bankers, financing sources, and other authorized representatives of such
 Person.

          “Respondent” is defined in Section 13.4(d)(ii).


                                                        14
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 21 of 192
          “Restricted Area” means the geographic area identified on Attachment A to Exhibit K.

         “Restricted Business” means any healthcare facility, business or service that may now or
 hereafter compete with the Hospital, whether provided in-person or through tele-medicine or other remote
 platform, including the following: acute care hospitals; long term acute care hospitals; psychiatric
 hospitals; specialty hospitals; ambulance or other healthcare related transportation services; medical
 office buildings; cancer treatment centers (including outpatient radiation oncology centers, gamma-knife
 centers and cyber-knife centers); children’s, cardiac, rehabilitation, orthopedic, cancer, neuro, trauma or
 other facilities that specialize in one or more disease states; Physician practices; outpatient clinics,
 including surgery, urgent care, pain, burn, trauma, stroke, cancer and endoscopy centers; ambulatory
 surgery centers; free-standing emergency facilities or departments; psychiatric services; diagnostic
 imaging services; neonatal intensive care facilities; physical therapy facilities; catheterization
 laboratories; nursing facilities; parking facilities; and facilities used in or connection with or in support of
 any such healthcare facility, business or service, including non-healthcare and administrative services
 such as parking, transportation, maintenance, dieting, linen, repair, engineering, and business,
 administrative, and technical support.

          “Restricted Names” is defined in Section 2.1(n).

          “Restricted Period” means the period beginning as of the Effective Time and ending on the fifth
 (5th) anniversary of the Effective Time.

          “Retirement Plans” is defined in Section 4.22(f).

          “Sale Hearing” has the meaning set forth in the Sale Procedures Order.

         “Sale Order” means a Final Order of the Bankruptcy Court in substantially the form attached as
 Exhibit A approving, inter alia, (a) the sale of the Purchased Assets to Buyer free and clear of any
 Encumbrances (other than Permitted Encumbrances), Excluded Liabilities or interests, and (b) the
 assumption and assignment of the Assumed Contracts to Buyer; provided that any modifications thereto
 must be satisfactory to the Buyer in its sole discretion.

         “Sale Procedures Motion” means a motion filed with the Bankruptcy Court substantially in the
 form attached as Exhibit B seeking approval of, among other things, the Sales Procedure Order and Sale
 Order.

         “Sale Procedures Order” means a Final Order of the Bankruptcy Court in substantially the
 form attached as Exhibit B approving the procedures for the sale of Seller’s assets; provided that any
 modifications thereto must be satisfactory to the Buyer in its sole discretion.

          “Schedules” means the disclosure schedules and any other schedule to this Agreement.

          “Second Arbitrator” is defined in Section 13.4(d)(ii).

          “Seller Affiliate” means any Affiliate of Seller.

          “Seller Cost Reports” is defined in Section 7.4(a).

         “Seller Employees” means the employees of Seller or any Seller Affiliate who (i) work at the
 Hospital, or (ii) otherwise provide services primarily to the Business.



                                                       15
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 22 of 192
          “Seller Fundamental Representations” means, collectively, the representations and warranties
 set forth in Section 4.1 (Organization; Capacity), Section 4.2 (Authority; Non-contravention; Binding
 Agreement), Section 4.3 (Subsidiaries; Minority Interests), Section 4.4 (Title to Assets; Sufficiency and
 Condition of Assets), Section 4.25 (Tax Matters), and Section 4.29 (Brokers and Finders).

          “Seller Indemnified Parties” is defined in Section 10.2(a).

          “Seller Significant Representations” means, collectively, the representations and warranties set
 forth in Section 4.6 (Permits and Approvals), Section 4.7 (Statutory Funds), Section 4.8 (Accreditation),
 Section 4.9 (Government Program Participation; Private Programs; Reimbursement), Section 4.10 (Third-
 Party Payor Costs Reports), Section 4.11 (Compliance with Laws), Section 4.12 (Information Privacy and
 Security Compliance), Section 4.13 (Compliance Program), Section 4.15 (Experimental Procedures), and
 Section 4.22 (Employee Benefit Plans).

              “Seller” is defined in the preamble to this Agreement.

         “Social Security Act” means the Social Security Act of 1935 and all regulations promulgated
 thereunder.

          “Software” means any and all (a) computer programs and other software, including software
 implementations of algorithms, models, and methodologies, whether in source code, object code or other
 form, including libraries, subroutines and other components thereof; (b) computerized databases and other
 computerized compilations and collections of data or information, including all data and information
 included in such databases, compilations or collections (whether machine readable or otherwise) and
 rights therein; (c) screens, user interfaces, command structures, report formats, templates, menus, buttons
 and icons; (d) descriptions, flow-charts, architectures, development tools, and other materials used to
 design, plan, organize and develop any of the foregoing; and (e) all documentation, including
 development, diagnostic, support, user and training documentation related to any of the foregoing.

         “Standard Software” means generally commercially available, “off the shelf” or “shrink
 wrapped” Software that has not been modified, customized for Seller or any Seller Affiliate, or used in
 the development or provision of any Business Offering and that has an annual license and support cost of
 $5,000 or less.

          “Stark Law” is defined in Section 4.11(d).

          “Straddle Period” is defined in Section 11.2(b).

          “Successful Bidder” has the meaning set forth in the Sale Procedures Order.

          “Surveyor” is defined in Section 6.6(b).

          “Surveys” is defined in Section 6.6(b).

          “Survival Expiration Date” is defined in Section 10.9.

          “Tail Policies” is defined in Section 6.16.

          “Tax Proceeding” is defined in Section 11.4.

          “Tax Returns” means any return, declaration, report, claim for refund, or information return or


                                                         16
 65459867.3
Case 3:18-bk-05665             Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                 Desc Main
                                      Document    Page 23 of 192
 statement relating to Taxes, including any schedule or attachment thereto, and including any amendment
 thereof.

          “Taxes” means (a) any and all federal, state, local, foreign, Property Taxes and other taxes,
 including net income, gross income, gross receipts, sales, use, ad valorem, hospital, provider, unclaimed
 property, transfer, franchise, profits, license, lease, rent, service, service use, withholding, payroll,
 employment, excise, severance, privilege, stamp, occupation, premium, property, windfall profits,
 alternative minimum, estimated, customs, duties or other taxes, and other governmental fees, assessments
 or charges of any kind whatsoever, together with any interest and any penalties, additions to tax or
 additional amounts with respect thereto, (b) any Liability for payment of amounts described in clause (a)
 as a result of successor or transferee Liability or otherwise through operation of Law, and (c) any Liability
 for the payment of amounts described in clauses (a) or (b) as a result of any tax sharing, tax indemnity or
 tax allocation agreement or any other express or implied agreement to indemnify any other Person.

         “Tenant Lease” means any lease, sublease, license, occupancy agreement or other contractual
 obligation pursuant to which Seller currently leases, subleases, licenses or otherwise uses, possesses or
 occupies all or some portion of the Leased Real Property (together with any applicable amendments,
 supplements, exhibits, addenda and modifications thereto).

          “Third Arbitrator” is defined in Section 13.4(d)(ii).

          “Third Party Lease” means any lease, sublease, license, occupancy agreement or other
 contractual obligation pursuant to which Seller currently leases, subleases, licenses or otherwise grants a
 right to use, possess or occupy to a third party all or some portion of the Real Property, together with any
 amendments, supplements, exhibits, addenda and modification thereto.

          “Third-Party Claim” is defined in Section 10.3(a).

          “Title Company” means [______________________________________________________].

          “Title Evidence” means, collectively, the Commitment and the Surveys.

          “Title Policy” is defined in Section 6.6(a).

         “Trade Secrets” means anything that would constitute a “trade secret” under applicable Laws,
 and, whether or not confidential, all business information (including ideas, research and development
 information, know-how, formulas, compositions, technical data, designs, drawings, specifications,
 research records, records of inventions, test information, financial, marketing and business data, customer
 and supplier lists and information, pricing and cost information, business and marketing plans and
 proposals).

          “Trademark Assignment Agreement” is defined in Section 3.2(h).

         “Trademarks” means trademarks, service marks, trade names (including fictitious, assumed and
 d/b/a names), certification marks, collective marks, and other proprietary rights to any words, names,
 slogans, symbols, logos or combinations thereof used to identify, distinguish and indicate the source or
 origin of goods or services; registrations, renewals, applications for registration, equivalents and
 counterparts of the foregoing; and the goodwill of the business associated with each of the foregoing.

         “Transaction Documents” means this Agreement, the Transition Services Agreement, the
 Deeds, the Bill of Sale, the Assignment and Assumption Agreement, the Lease Assignments, the Power


                                                         17
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 24 of 192
 of Attorney, the Trademark Assignment Agreement, the Domain Name Assignment Agreement, the
 Escrow Agreement, the Curae Restrictive Covenants Agreement, and the other certificates, Contracts,
 instruments, and documents contemplated to be delivered or executed in connection with this Agreement.

         “Transfer Taxes” means any real property transfer, sales, use, documentary, transfer, value
 added, stock transfer, and stamp Taxes, any transfer, recording, registration, and other fees, and any
 similar Taxes imposed on the transactions (or deemed transactions) contemplated by, or related to, this
 Agreement.

          “Transferred Employee” is defined in Section 7.1(b).

         “Transferred Information Technology Systems” means any and all Information Technology
 Systems, to the extent used or held for use in, or otherwise relating to, the Business that are owned or
 purported to be owned or licensed, or purported to be licensed, in whole or in part, by or to Seller or any
 Seller Affiliate, other than any Intellectual Property included in the definition of Excluded Assets.

         “Transferred Intellectual Property” means any and all Intellectual Property, to the extent used
 or held for use in, or otherwise relating to, the Business or the Purchased Assets that is owned or
 purported to be owned or licensed or purported to be licensed, in whole or in part, by or to Seller or any
 Seller Affiliate, other than any Intellectual Property included in the definition of Excluded Assets.

          “Transition Patients” is defined in Section 7.8.

          “Transition Patient Services” is defined in Section 7.8.

          “Transition Services Agreement” is defined in Section 3.2(f).

          “VDR” is defined in Section 1.2(l).

         “WARN Act” means the Worker Adjustment and Retraining Notification Act, 29 U.S.C. §§
 2101, et seq.

          1.2      Interpretation. In this Agreement, unless the context otherwise requires:

                   (a)      references to this Agreement are references to this Agreement and to the Exhibits
 and Schedules attached or delivered with respect hereto or expressly incorporated herein by reference;
 each Schedule is hereby incorporated by reference into this Agreement and will be considered a part
 hereof as if set forth herein in full;

                   (b)     references to “Articles” and “Sections” are references to articles and sections of
 this Agreement;

                 (c)     references to any Party shall include references to its respective successors and
 permitted assigns and delegates;

                  (d)   the terms “hereof,” “herein,” “hereby,” and derivative or similar words refer to
 this entire Agreement;

                 (e)      references to any agreement (including this Agreement) are references to that
 agreement as amended, consolidated, supplemented, novated or replaced in accordance with the terms and
 conditions therein from time to time;


                                                      18
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                   Document    Page 25 of 192
                  (f)     unless the context requires otherwise, references to any Law are references to
 that Law as of the Closing Date, and shall also refer to all rules and regulations promulgated thereunder;

                   (g)     the word “including” (and all derivations thereof) means “including, without
 limitation,” and any lists or examples following the word “including” or the phrase “including, without
 limitation,” are intended to be non-exclusive examples solely for the purpose of illustration and without
 the intention of limiting the text preceding such lists or examples;

                 (h)      references to time are references to Central Standard Time or Central Daylight
 Time (as in effect on the applicable day) unless otherwise specified herein;

                 (i)     the gender of all words herein include the masculine, feminine and neuter, and
 the number of all words herein include the singular and plural;

                 (j)      the provisions of this Agreement shall be interpreted in such a manner so as not
 to inequitably benefit or burden any Party through “double counting” of assets or Liabilities or failing to
 recognize benefits that may result from any matters that impose losses or burdens on any Party, including
 in connection with (i) the determination of the adjustments contemplated by Section 2.8; and (ii) the
 calculation of Losses;

                   (k)      the terms “date hereof,” “date of this Agreement,” and similar terms shall mean
 the date set forth in the preamble to this Agreement;

                 (l)    the phrases “Seller has delivered”, “Seller has provided” “Seller has made
 available” and phrases of similar import shall mean that, prior to the date hereof, Seller has made the
 document or information in question available by posting a copy thereof to the VDR prior to the date of
 this Agreement;

                 (m)      references to the “ordinary course of business” shall mean the ordinary course of
 business consistent with past practice;

                  (n)    if any provision of this Agreement requires a Party to obtain the consent of
 another Party, such consent may be withheld or conditioned in the requested Party’s sole and absolute
 discretion unless otherwise expressly provided herein;

                  (o)     nothing in the Schedules shall be deemed adequate to disclose an exception to a
 representation or warranty herein unless the Schedule identifies the exception with reasonable
 particularity and describes the relevant facts in reasonable detail. Without limiting the generality of the
 foregoing, the mere listing (or inclusion of a copy) of a document or other item shall not be deemed
 adequate to disclose an exception to a representation or warranty made herein (unless the representation
 or warranty has to do with the existence of the document or other item itself); and

                  (p)     each representation, warranty and covenant contained herein shall have
 independent significance. If any Party has breached any representation, warranty or covenant contained
 herein in any respect, the fact that there exists another representation, warranty or covenant relating to the
 same subject matter (regardless of the relative levels of specificity) that such Party has not breached shall
 not detract from or mitigate the fact that the Party is in breach of the first representation, warranty or
 covenant.

 2.       SALE OF ASSETS AND CERTAIN RELATED MATTERS.



                                                      19
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 26 of 192
         2.1      Sale of Purchased Assets. On the terms and subject to the conditions set forth in this
 Agreement, Seller shall sell, assign, convey, transfer, and deliver to Buyer, and Buyer shall purchase,
 acquire, and accept as of the Effective Time, good and marketable title to the Purchased Assets, free and
 clear of all Encumbrances (other than Permitted Encumbrances). “Purchased Assets” means all assets,
 properties, rights, and interests of every description, wherever situated and of whatever kind and nature,
 whether real, personal or mixed, tangible or intangible, used in or held for use in, or otherwise relating to,
 the Business (other than the Excluded Assets), including the following items:

                 (a)      Net Working Capital, as defined above;

                  (b)      fee simple title to the Owned Real Property and the rights of Seller or any Seller
 Affiliate against third parties under general warranty deeds or limited warranty deeds related to any such
 Owned Real Property;

                  (c)     the leasehold interest of Seller located on 404 Gilmore Drive, Amory, MS
 pursuant to the Lease Agreement dated April 27, 2017, between Seller and CHCT Mississippi, LLC, a
 Delaware limited liability company, as lessor; the leasehold interest of the Seller located on 305 Highway
 45N, Aberdeen, MS pursuant to the Lease Agreement dated April 27, 2017 between the Seller and CHCT
 Mississippi, LLC; the leasehold interest of the Seller located on 1107 Earl Frye Blvd., Amory, MS,
 pursuant to the Lease Agreement dated April 27, 2017; the leasehold interest of the Seller located on 1111
 Earl Frye Blvd., Amory, MS, pursuant to the Lease Agreement dated April 27, 2017; and the leasehold
 interest of the Seller located on 1127 Earl Frye Blvd., Amory, MS, pursuant to the Lease Agreement
 dated April 27, 2017] (as well as any other leasehold title to the Leased Real Property (other than the
 Excluded Leased Real Property) and all other interests of Seller in all Tenant Leases, Third Party Leases,
 and leasehold improvements with respect to the Business);

                 (d)      Furniture, office equipment, medical equipment, computer hardware;

                 (e)      Seller’s interests in joint ventures related to the Business, if any;

                 (f)      all Personal Property;

                  (g)     all registered and unregistered rights granted, applied for or otherwise now or
 hereafter in existence under, arising out of, or related to any software (whether hosted or installed on any
 hardware, in source code, object code or other form, computerized databases or other compilations,
 algorithms, user interfaces, command structures, report formats, templates, menus, architecture,
 development tools and all related documentation);

                  (h)      all Inventory, including any rights to rebates, refunds or discounts due with
 respect to the Inventory;

                 (i)      all Prepaid Expenses;

                 (j)     originals, or where not available, copies (including in electronic format), of all
 medical records, patient files, and other written accounts of the medical history of the Business’ patients
 maintained in connection with the Business, to the extent transferable by Law;

                 (k)      the Books and Records;

             (l)     subject to Section 2.3(c), the Contracts listed on Schedule 2.1(l) (collectively, the
 “Assumed Contracts”); provided that notwithstanding anything to the contrary, Seller’s Government


                                                       20
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 27 of 192
 Program provider agreements and provider numbers shall be deemed Assumed Contracts;

                 (m)     all Permits and Approvals issued or granted by, or filed with or delivered to, any
 Governmental Authority to the extent assignable and that are used or held for use in, or otherwise relating
 to, the Business or the Purchased Assets or that have been filed or delivered by or on behalf of Seller
 (including any such Permits and Approvals that are pending);

                   (n)     all Transferred Intellectual Property, including the Trademarks (or variations
 thereof) that are used or held for use in, or otherwise relating to, the Business and all right, title and
 interest in and to the Domain Names set forth on Schedule 2.1(n), all Transferred Information Technology
 Systems, and all right, title and interest of Seller and any Seller Affiliate to use of the names set forth on
 Schedule 2.1(n) and any derivatives or variations thereof (the “Restricted Names”);

                  (o)     any claims, causes of action or rights against third parties related to the Business
 or the Purchased Assets (including warranties, indemnities, rebates and guarantees), contractual or
 otherwise, arising before or after the Effective Time;

                (p)     to the extent assignable, Seller’s Government Program provider agreements and
 provider numbers and related national provider identifiers (“NPIs”);

                (q)      to the extent applicable, Seller’s goodwill associated with, or symbolized by, the
 Business and any other Purchased Assets;

                 (r)      any insurance proceeds arising in connection with damage to the Purchased
 Assets occurring prior to the Effective Time; and

                    (s)      to the extent not included in any of the foregoing, (i) any assets included in the
 determination of Closing Working Capital or reflected on the Reference Balance Sheet, other than any
 assets used, consumed or disposed of in the ordinary course of business since the Balance Sheet Date,
 (ii) any assets purchased or otherwise acquired since the Balance Sheet Date that are not reflected on the
 Reference Balance Sheet but that are used or held for use in, or otherwise relating to, the Business, and
 (iii) all other assets (other than the Excluded Assets) that are owned, leased or used by Seller or any Seller
 Affiliate and used or held for use in, or otherwise relating to the Business, whether or not scheduled or
 described herein.

         2.2      Excluded Assets. Notwithstanding anything herein to the contrary, the following assets
 of Seller are not intended by the Parties to be a part of the Contemplated Transactions and are excluded
 from the Purchased Assets (collectively, the “Excluded Assets”):

                 (a)     any bank account of Seller or any Seller Affiliate, and all cash and cash
 equivalents, marketable securities and other investments of Seller or any Seller Affiliate, including all
 cash and cash equivalents in any bank account of Seller or any Seller Affiliate;

                 (b)     all accounts receivable generated, and other rights to receive payment for goods
 and services provided by Seller, in connection with the Business prior to the Effective Time;

                 (c)      all Plans and records relating thereto;

                  (d)    all organizational documents, corporate records, stock books, proprietary
 manuals, other proprietary materials of, or other records relating to the corporate organization of, Seller or
 any Seller Affiliate;


                                                      21
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 28 of 192
                (e)     rights that accrue or will accrue to Seller under this Agreement or the other
 Transaction Documents;

                    (f)     any records that by Law Seller is required to retain in its possession, provided
 that Seller, at its expense, and to the extent permitted by Law, will deliver copies of such records to Buyer
 at the Closing;

                  (g)     subject to Section 2.3(c), the Excluded Contracts;

                  (h)      all rights to refunds of Taxes related to the Business or Purchased Assets to the
 extent related to periods prior to the Effective Time;

                (i)       any Permits or Approvals that are not transferable to Buyer pursuant to
 applicable Laws;

                (j)      any claims of Seller against third parties to the extent that such claims relate to
 the Excluded Assets or the Excluded Liabilities;

                  (k)     the Excluded Leased Real Property; and

                  (l)     those assets of Seller specifically identified on Schedule 2.2(l).

            2.3   Assumed Liabilities; Assignment of Contracts.

                   (a)   On the terms and subject to the conditions set forth in this Agreement, Buyer
 shall assume, as of the Assumption Effective Date (as such term is defined in Exhibit E of the Sale
 Procedures Motion), the future payment and performance of the following Liabilities of Seller
 (collectively, the “Assumed Liabilities”):

                          (i)    Liabilities as of immediately prior to the Effective Time in respect of the
 Assumed Paid Time Off, but only to the extent that such Liabilities are reflected as a current Liability in
 the calculation of Closing Working Capital;

                          (ii)    all Liabilities relating to the period after the Effective Time arising under
 the Assumed Contracts.

                        (iii)  any Cure Amounts, which shall be satisfied by Buyer in connection with
 the assumption of any Assumed Contracts;

                          (iv)    the Assumed Capital Leases and the Assumed Contracts; and

                          (v)     all other Liabilities included in the calculation of Closing Working
 Capital.

                 (b)    Schedule 2.3(b) hereto sets forth Seller’s good faith estimate of the Cure Amount
 for each Assumed Contract. Prior to the Sale Hearing, Seller shall commence appropriate proceedings
 before the Bankruptcy Court and otherwise take all necessary actions to determine the actual amount of
 the Cure Amounts, including resolving any disputes as to Cure Amounts prior to or at the Sale Hearing,
 such that all Assumed Contracts may be assumed by Seller and assigned to Buyer in accordance with
 Section 365 of the Bankruptcy Code. The payment of all Cure Amounts shall be the sole responsibility of
 Buyer; provided, however, Buyer’s total liability as determined by Buyer to pay the Cure Amounts shall


                                                      22
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 29 of 192
 not exceed $2,000,000 (the “Cure Cap”). In the event the Cure Amounts exceed the Cure Cap, the Buyer
 may, in its sole discretion: (i) choose not to cure any Assumed Contract, in which event such uncured
 Assumed Contract shall be excluded from the Purchased Assets and be deemed an Excluded Contract and
 listed on Schedule 2.3(c)(ii); or (ii) pay the Cure Amounts for any Assumed Contract in full provided,
 however, that Buyer shall not have the right to exclude Seller’s Government Program provider
 agreements and provider numbers from the Assumed Contracts.

                  (c)     Notwithstanding anything to the contrary herein, at any time (and from time to
 time) up to the date of the Closing, Buyer may designate any Assumed Contract as one that Buyer no
 longer desires to have assigned to Buyer, in which case such Contract shall be deemed an Excluded
 Contract and listed on Schedule 2.3(c)(ii) hereto. To the extent that a Multi-Facility Contract is
 designated as an Assumed Contract, Buyer shall only assume obligations related to the Hospital, and
 Seller shall use its commercially reasonable efforts to obtain any such consents to assign any such Multi-
 Facility Contract. Any amount paid by Buyer to effectuate the assignment of a Multi-Facility Contract
 shall be considered in determining whether the Cure Cap is exceeded. To the extent that the assignment
 to Buyer of any Assumed Contract is not permitted by Law or is not permitted without the consent of
 another Person, and such restriction cannot be effectively overridden or canceled by the Sale Order or
 other related Order of the Bankruptcy Court prior to the Closing, then, at Buyer’s option, Buyer may
 designate any such Assumed Contract (or purported Assumed Contract, if determined not to be
 assignable) as an Excluded Contract and, in such event, Seller shall use its commercially reasonable
 efforts to obtain any such consents to assign any such Assumed Contract. This Section 2.3(c) does not
 (A) require Seller to provide any financial accommodation to any applicable counterparty to any Contract
 in order to obtain its consent, other than Cure Amounts, (B) prohibit Seller from ceasing operations or
 winding up its affairs following the Closing, nor (C) constitute a waiver, if any, of any closing condition
 of Buyer, including with respect to the assignment of Assumed Contracts.

          2.4      Excluded Liabilities. Other than the Assumed Liabilities, Buyer shall not be responsible
 to pay, perform, discharge or assume, and none of the Purchased Assets shall be or become liable for or
 subject to, any Liabilities of Seller or any Seller Affiliate, or any Liabilities otherwise related to the
 ownership or operation of the Business or the Purchased Assets prior to the Effective Time, or any
 Liabilities related to any acts or omissions by Seller or any Seller Affiliate (the “Excluded Liabilities”).

          2.5     Purchase Price; Adjustments. Subject to the terms and conditions hereof, the purchase
 price will be an amount equal to (i) $15,000,000 (including the $2,000,000 Buyer is placing into the
 Escrow Account at Closing), plus (ii) the amount of Net Working Capital (as defined above) of the
 Hospital at Closing, minus (iii) the lease obligations assumed with respect to the leasehold interests of
 Seller in property owned by CHCT Mississippi, LLC (including current portions and past due portions)
 that are assumed by Buyer as well as the obligations (including current portions and past due portions)
 that are assumed by Buyer with respect to any other capital leases assumed by Buyer (the “Assumed
 Indebtedness”) (the resulting amount from the foregoing, as finally adjusted pursuant to Section 2.8, the
 “Purchase Price”). The Purchase Price to be paid by Buyer at Closing shall be based on estimates of the
 Closing Working Capital (as contemplated by Section 2.6(a)), and such amounts shall be subject to
 adjustment after the Closing pursuant to Section 2.8 and other provisions of this Agreement.

          2.6    Delivery of Estimated Closing Statement.

                  (a)     Seller shall prepare and deliver to Buyer, not more than five (5) Business Days
 (but at least three (3) Business Days) prior to the Closing Date, a statement, in form and substance
 reasonably satisfactory to Buyer (the “Estimated Closing Statement”), setting forth in reasonable detail
 Seller’s (i) good faith written estimate of the Closing Working Capital (the “Estimated Working
 Capital”), (ii) good faith written estimate of the Assumed Indebtedness (the “Estimated Assumed


                                                     23
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 30 of 192
 Indebtedness”), and (iii) calculation of the Purchase Price payable at Closing in accordance with Section
 2.5 as if such Estimated Working Capital and Estimated Assumed Indebtedness were the actual amount of
 Closing Working Capital and Assumed Indebtedness (the Purchase Price as so estimated, the “Estimated
 Purchase Price”). All amounts set forth in the Estimated Closing Statement shall be subject to the
 review, comment, and approval of Buyer, which shall not be unreasonably withheld, conditioned, or
 delayed. To the extent requested by Buyer, Seller shall promptly provide Buyer with reasonable access to
 such information of Seller, including the information used by Seller in calculating such amounts, as is
 reasonably necessary for Buyer to review such amounts.

          2.7    Closing Date Payments. At the Closing, Buyer shall make the following payments:

                 (a)      to Seller by wire transfer of immediately available funds to the bank account
 designated by Seller in the Estimated Closing Statement, an amount equal to the (i) the Estimated
 Purchase Price, minus (ii) the Escrow Amount, and minus (iii) the unpaid and remaining amounts with
 respect to the Hospital’s capitalized leases.

                (b)     to the applicable payees, by wire transfer of immediately available funds to the
 bank accounts designated by such payees, all Cure Amounts relating to the assignment and assumption of
 the Assumed Contracts, only up to the Cure Cap.

                  (c)     to the Escrow Agent by wire transfer of immediately available funds to an
 escrow account (the “Escrow Account”) established pursuant to the terms of the Escrow Agreement, an
 amount equal to $2,000,000 (the “Escrow Amount”) to establish a fund which shall constitute the sole
 source of satisfaction of any claims which may be asserted by Buyer under this Agreement, including
 without limitation, Seller’s indemnification obligations pursuant to and in accordance with Article 10 and
 Seller’s payment obligations pursuant to and in accordance with Section 2.8. For the avoidance of doubt,
 and notwithstanding anything to the contrary Seller’s liability to Buyer of any kind or nature arising under
 this Agreement shall be capped by and limited to the Escrow Amount. [NEED TO AGREE ON TYPES
 OF CLAIMS ELIGIBLE FOR PAYMENT FROM ESCROW]

          2.8    Post-Closing Adjustment to Purchase Price.

                   (a)     Not more than ninety (90) days after the Closing Date, Buyer shall prepare and
 deliver to Seller a statement (the “Closing Statement”) setting forth in reasonable detail Buyer’s
 calculation of (i) the actual amount of the Closing Working Capital, (ii) the actual amount of the Assumed
 Indebtedness; and (iii) the Purchase Price in accordance with Section 2.5 resulting from such actual
 amount of Closing Working Capital and Assumed Indebtedness. The Closing Statement shall become
 Final and Binding on the Parties on the Final Resolution Date.

                  (b)     During the thirty (30) days after delivery of the Closing Statement, Buyer will
 provide Seller and its accountants reasonable access, during normal business hours and upon reasonable
 notice, (i) to review the financial books and records of Buyer to the extent related to the Closing
 Statement, including any of Buyer’s accountants’ work papers related to the calculation of amounts in the
 Closing Statement (subject to the execution of any access letters that such accountants may reasonably
 require in connection with the review of such work papers), and (ii) to the employees and other
 Representatives of Buyer who were responsible for the preparation of the Closing Statement to respond to
 questions relating to the preparation of the Closing Statement and the calculation of the items thereon, in
 each case solely to allow Seller to determine the accuracy of Buyer’s calculation of the items set forth on
 the Closing Statement. Any information shared with Seller or Seller’s accountants will be subject to
 Section 6.14, and Buyer shall not have any obligation to provide information or access to information,
 materials or Persons if doing so could reasonably be expected to result in the waiver of any attorney-client


                                                     24
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 31 of 192
 privilege or the disclosure of any Trade Secrets or violate any Law or the terms of any applicable Contract
 to which Buyer or any of its Affiliates is a party. If Seller disagrees with any of Buyer’s calculations set
 forth in the Closing Statement, Seller may, within thirty (30) days after delivery of the Closing Statement,
 deliver a written notice of its disagreement (a “Post-Closing Notice of Disagreement”) to Buyer
 disagreeing with such calculations; provided, however, that such Post-Closing Notice of Disagreement
 shall include only objections based on whether (A) the amounts set forth on the Closing Statement were
 prepared in a manner consistent with the provisions of this Agreement or (B) there were mathematical
 errors in the computation of any amount set forth on the Closing Statement. Such Post-Closing Notice of
 Disagreement shall specify those items or amounts with which Seller disagrees, together with a
 reasonably detailed written explanation of the reasons for disagreement with each such item or amount,
 and shall set forth Seller’s calculation, based on such objections, of the Closing Working Capital or the
 Assumed Indebtedness, as applicable, and the Purchase Price resulting therefrom. To the extent not set
 forth in such Post-Closing Notice of Disagreement, Seller shall be deemed to have agreed with Buyer’s
 calculation of all items and amounts contained in the Closing Statement. If Buyer does not receive a
 Post-Closing Notice of Disagreement from Seller within such thirty (30) day period, then the amounts set
 forth in the Closing Statement shall become Final and Binding on Buyer and Seller.

                   (c)     If a Post-Closing Notice of Disagreement is received by Buyer on or prior to the
 fifteenth (15th) day following Buyer’s delivery of the Closing Statement, then Buyer and Seller shall,
 during the fifteen (15) days following Buyer’s receipt of such Post-Closing Notice of Disagreement, seek
 to resolve any differences that they may have with respect to the matters specified in such Post-Closing
 Notice of Disagreement; provided, however, that any discussions relating thereto shall be governed by
 Rule 408 of the Federal Rules of Evidence and any applicable similar state rule(s), and evidence of such
 discussions shall not be admissible in any future Proceedings between Buyer and Seller. If Buyer and
 Seller are not able to resolve their differences during such fifteen (15) day period, then at the end of such
 period, Buyer and Seller shall promptly mutually engage and submit for Final and Binding resolution any
 and all matters related to such Post-Closing Notice of Disagreement that remain in dispute to
 [__________________], or if [_______________] is unable or unwilling to be engaged, then to a
 mutually agreeable independent accounting firm of recognized national standing (the “Accounting
 Firm”). Each of Buyer and Seller shall make readily available to the Accounting Firm all relevant
 financial books and records, including any accountants’ work papers (subject to the execution of any
 access letters that such accountants may require in connection with the review of such work papers)
 relating to the Closing Statement or the Post-Closing Notice of Disagreement. Buyer and Seller shall
 enter into a customary engagement letter with the Accounting Firm, which engagement letter shall
 explicitly provide that, in resolving the amounts in dispute, the Accounting Firm shall (i) consider only
 those items or amounts disputed by Seller in the Post-Closing Notice of Disagreement that remain in
 dispute; (ii) not assign a value to any item or amount in dispute greater than the greatest value for such
 item or amount assigned by Seller, on the one hand, or Buyer on the other hand, or less than the smallest
 value for such item or amount assigned by Seller, on the one hand, or Buyer, on the other hand; and (iii)
 not be bound by any arbitration rules or procedures in connection with the resolution of the dispute under
 this Section 2.8. The Accounting Firm’s determination will be based solely upon information presented
 by Buyer and Seller and not on the basis of independent review. Buyer and Seller shall cause the
 Accounting Firm to deliver to Buyer and Seller as promptly as practicable (but in any event within fifteen
 (15) days of its retention) a written report setting forth its determination of the amounts in dispute.
 Absent manifest error, the written report prepared by the Accounting Firm shall be Final and Binding on
 Buyer and Seller and judgment upon the determination set forth in such written report may be entered in
 any court of competent jurisdiction of the United States.

                   (d)     Buyer and Seller shall each be responsible for the fees and expenses of the
 Accounting Firm pro rata, as between Buyer, on the one hand, and Seller, on the other hand, in proportion
 to the relative difference between the positions taken by Buyer and Seller compared to the determination

                                                      25
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 32 of 192
 of the Accounting Firm. All other fees and expenses incurred in connection with the dispute resolution
 process set forth in this Section 2.8, including fees and expenses of attorneys and accountants, shall be
 borne and paid by the Party incurring such expense.

                  (e)    If the Purchase Price as finally determined pursuant to this Section 2.8 is less
 than the Estimated Purchase Price (the absolute value of such difference, the “Closing Payment
 Shortfall Amount”), then Buyer shall be paid an amount equal to the Closing Payment Shortfall Amount,
 at the option of Buyer, either (i) from the Escrow Account or (ii) from Seller. Within five (5) Business
 Days after the Final Resolution Date, Seller shall make, and/or Buyer and Seller shall direct the Escrow
 Agent to make, as applicable, any payment or release contemplated by this Section 2.8(e), in each case by
 wire transfer of immediately available funds to one or more accounts designated in writing by the
 applicable payee.

                 (f)     If the Purchase Price as finally determined pursuant to this Section 2.8 is greater
 than the Estimated Purchase Price, then within five (5) Business Days after the Final Resolution Date,
 Buyer shall pay, or cause to be paid, to Seller an amount equal to the amount of such excess via wire
 transfer of immediately available funds to an account designated in writing by Seller.

                (g)     If the Purchase Price as finally determined pursuant to this Section 2.8 is equal to
 the Estimated Purchase Price, there will be no adjustment to the Purchase Price pursuant to this Section
 2.8.

                 (h)      Any payments made pursuant to this Section 2.8 shall be treated as an adjustment
 to the Purchase Price by the Parties for Tax purposes unless otherwise required by Law.

          2.9    Proration.

                   (a)     Seller and Buyer shall estimate as of the Effective Time and prorate at the
 Closing (i) any amounts as of the Effective Time that were paid by Seller prior to the Effective Time and
 that relate, in whole or in part, to periods ending after the Effective Time, (ii) any amounts as of the
 Effective Time that are to be paid by Buyer after the Effective Time and that relate, in whole or in part, to
 utilities servicing any of the Purchased Assets, including water, sewer, telephone, electricity and gas
 service, in each case to the extent not reflected in the Closing Working Capital or otherwise covered by
 Section 2.8. Any such amounts that are not available to be prorated on the Closing Date shall be similarly
 prorated as of the Effective Time as soon as practicable thereafter.

                  (b)     Notwithstanding anything herein to the contrary, and without duplication of any
 amounts included in the determination of Closing Working Capital, all Property Taxes, if any, on the
 Purchased Assets shall be prorated by Buyer and Seller on the Closing Date as of the Effective Time. All
 such amounts to be prorated will be reflected on a Property Tax proration statement (the “Property Tax
 Statement”) to be agreed upon by the Parties prior to the Closing Date. If necessary for such proration,
 payments for Property Taxes shall initially be determined based on the previous year’s Property Taxes
 and shall later be adjusted to reflect the current year’s Property Taxes when the Property Tax bills are
 finally rendered. Seller shall be liable for (and shall reimburse Buyer to the extent that Buyer shall have
 paid) that portion of Property Taxes relating to, or arising in respect of, periods ending prior to the
 Effective Time, and Buyer shall be liable for (and shall reimburse Seller to the extent Seller shall have
 paid) that portion of Property Taxes relating to, or arising in respect of, periods (or portions thereof)
 ending after the Effective Time, including any adjustments made after the Closing Date to the amounts
 reflected on the Property Tax Statement for the actual amount of Property Taxes as finally determined for
 the applicable period (taking into account any related fees and costs incurred by Buyer in such
 determination). The Parties shall cooperate to avoid, to the extent legally possible, the payment of


                                                      26
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 33 of 192
 duplicate Property Taxes, and each Party shall furnish, at the request of any other Party, proof of payment
 of any Property Taxes or other documentation that is a prerequisite to avoid payment of a duplicate
 Property Tax.

          2.10    Withholding Rights. Without limiting any other provision of this Agreement, each of
 Buyer and the Escrow Agent shall be entitled to deduct and withhold from any consideration otherwise
 payable to any Person pursuant to this Agreement or any other Transaction Document such amounts as it
 is required to deduct and withhold with respect to the making of such payment under the Code, or any
 other provision of applicable Tax Law. To the extent that such amounts are so withheld, such withheld
 amounts shall be treated for all purposes of this Agreement as having been paid to the applicable Person
 in respect to which such deduction and withholding was made.

          2.11   Remittances.

                  (a)     As of the Effective Time, Seller hereby (i) authorizes Buyer to open any and all
 mail addressed to Seller and delivered to the offices of the Business or otherwise to Buyer if received on
 or after the Effective Time, and (ii) appoints Buyer as its attorney in fact to endorse, cash and deposit any
 monies, checks or negotiable instruments received by Buyer after the Effective Time with respect to any
 Purchased Asset or any accounts receivable relating to services provided by Buyer after the Effective
 Time, as the case may be, made payable or endorsed to Seller or Seller’s order, for Buyer’s own account.

                  (b)      From and after the Effective Time, if Seller or any Seller Affiliate receives or
 collects any funds relating to any Purchased Asset or any accounts receivable relating to services
 provided by Buyer after the Effective Time, whether from patients, third-party payors, group purchasing
 organizations, suppliers or any other Person, Seller shall, or shall cause the applicable Seller Affiliate to,
 remit such funds to Buyer within five (5) Business Days after receipt thereof. From and after the
 Effective Time, if Buyer or any of its Affiliates receives or collects any funds relating to any Excluded
 Asset, Buyer shall, or shall cause its Affiliate to, remit any such funds to Seller within five (5) Business
 Days after its receipt thereof.

          2.12    Physical Inventory. Within the five (5) day period preceding the Closing Date, Seller
 will perform a physical inventory in a manner consistent with its past practice to verify the levels and
 amounts of the Inventory. Seller will give Buyer not less than ten (10) days’ prior written notice of such
 physical inventory. Representatives of Buyer will be permitted to observe such physical inventory and
 will be permitted to make test counts of Inventory and receive copies of the records related to such
 physical inventory. In connection with such physical inventory, Seller and Buyer shall jointly determine
 if any items of Inventory are unusable or obsolete, which unusable or obsolete items of Inventory shall be
 excluded from the calculation of the value of the Inventory calculated pursuant to this Section 2.12. Prior
 to the Closing Date, Seller shall remove items of Inventory from the Hospital that, based upon such
 physical inventory, have been determined by the Parties to be unusable or obsolete. The value of the
 Inventory shall be determined by applying the lower of market or cost to each item of Inventory as of the
 date of such physical inventory and Seller shall prepare a schedule thereof; provided, that the value of the
 Inventory (for purposes of calculating Closing Working Capital) shall be increased or decreased, as
 appropriate, to reflect the value of any additions to, or the value of deletions from (as determined by the
 physical inventory), the Inventory between the date(s) of such physical inventory and the Effective Time.

 3.       CLOSING.

         3.1     Closing. The consummation of the Contemplated Transactions (the “Closing”) shall take
 place at the Nashville, Tennessee, offices of Burr & Forman, LLP at 10:00 a.m. local time on the last
 calendar day of the month (or as soon as practicable earlier) in which the conditions set forth in Article 8


                                                      27
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 34 of 192
 and Article 9 (subject to Section 12.1 or other than those conditions that by their terms are to be satisfied
 at the Closing) have been satisfied or waived, or at such other date and/or at such other location as the
 Parties may mutually designate in writing (the “Closing Date”). Unless otherwise agreed in writing by
 the Parties, the Closing shall be effective as of 12:00:01 a.m. on the first business day immediately
 following the Closing Date (the “Effective Time”).

         3.2     Deliveries of Seller at the Closing. At the Closing and unless otherwise waived in
 writing by Buyer, Seller shall deliver to Buyer (or the Escrow Agent, as appropriate), or shall cause the
 appropriate Person to deliver to Buyer (or the Escrow Agent, as appropriate), the following:

               (a)      Special Warranty Deeds (the “Deeds”), conveying to Buyer fee simple title to the
 Owned Real Property, free and clear of all Encumbrances other than the Permitted Encumbrances;

                   (b)    With respect to each Tenant Lease or Third Party Lease, an assignment of such
 Tenant Lease or Third Party Lease, substantially in the form attached hereto as Exhibit C (each, a “Lease
 Assignment”), duly executed by Seller, together with such consents to assignment, non-referral
 certificates, estoppel certificates, subordination, non-disturbance and attornment agreements or similar
 documents as requested by Buyer and in forms reasonably acceptable to Buyer;

                 (c)     A bill of sale, substantially in the form attached hereto as Exhibit D (the “Bill of
 Sale”), duly executed by Seller, conveying to Buyer good and marketable title to the Personal Property;

                 (d)      An assignment and assumption agreement, substantially in the form attached
 hereto as Exhibit E (the “Assignment and Assumption Agreement”), duly executed by Seller, effecting
 the assignment to and assumption by Buyer of the Assumed Contracts, the Assumed Liabilities and any
 Purchased Assets not conveyed by any other Transaction Document;

                 (e)     A power of attorney, substantially in the form attached hereto as Exhibit F (the
 “Power of Attorney”), duly executed by Seller, authorizing Buyer to utilize Seller’s federal and state
 controlled substances permits and pharmacy licenses;

                 (f)     A transition services agreement, substantially in the form attached hereto as
 Exhibit G (the “Transition Services Agreement”), duly executed by Curae;

              (g)     An escrow agreement, substantially in the form attached hereto as Exhibit H (the
 “Escrow Agreement”), duly executed by Seller and the Escrow Agent;

                 (h)     A confirmatory trademark assignment agreement, substantially in the form
 attached hereto as Exhibit I (the “Trademark Assignment Agreement”), duly executed by Seller;

                 (i)      A confirmatory domain name assignment agreement, substantially in the form
 attached hereto as Exhibit J (the “Domain Name Assignment Agreement”), duly executed by Seller or
 appropriate Seller Affiliates, as applicable;

                 (j)    A restrictive covenants agreement, substantially in the form attached hereto as
 Exhibit K (the “Curae Restrictive Covenants Agreement”), duly executed by Curae;

                   (k)      Copies of resolutions duly adopted by the boards of directors or boards of
 managers, as applicable, of Seller authorizing and approving Seller’s performance of the Contemplated
 Transactions and the execution and delivery of this Agreement and the other Transaction Documents,
 certified as true and in full force and effect as of the Closing Date, by the appropriate officers of Seller;


                                                      28
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 35 of 192
                   (l)     A certificate, dated as of the Closing Date, of Seller certifying that the conditions
 set forth in Section 8.1, Section 8.2 and Section 8.3 have been satisfied;

                (m)     Certificates of incumbency for the respective officers of Seller executing this
 Agreement and the other Transaction Documents dated as of the Closing Date;

                 (n)     Certificates of existence and good standing of Seller from its jurisdiction of
 formation or organization, each dated within ten (10) days prior to the Closing Date;

                 (o)     A non-foreign affidavit of Seller (or, if Seller is treated as a disregarded entity for
 federal Tax purposes, by its applicable owner), dated as of the Closing Date, sworn under penalty of
 perjury and in form and substance required under the Treasury Regulations issued pursuant to Section
 1445 of the Code and reasonably satisfactory to Buyer, stating that Seller (or owner, if applicable) is not a
 “foreign person” as defined in Section 1445 of the Code;

                 (p)     With respect to the Real Property and the Personal Property, a recent UCC lien
 search dated no more than ten (10) days prior to the Closing Date showing no Encumbrances on any
 fixtures attached to any Real Property or Encumbrances on Personal Property, except for Permitted
 Encumbrances and Encumbrances that shall be released at or prior to the Closing;

                 (q)     All instruments and documents necessary to release any and all Encumbrances,
 other than Permitted Encumbrances, on the Business or the Purchased Assets, including (i) appropriate
 UCC financing statement amendments or termination statements, and (ii) payoff letters or other
 documents, notices or instruments as Buyer may reasonably deem necessary to evidence the satisfaction
 and termination of all Indebtedness or other Liabilities by which the Business or the Purchased Assets
 may be bound or affected and a release of all Encumbrances (other than Permitted Encumbrances) on the
 Business or the Purchased Assets;

                  (r)     Assignments and applications for transfer of title to the motor vehicles used in
 the Business, if applicable;

                 (s)     Applications or amendments for filing in appropriate form to abandon or change
 each of the Restricted Names;

              (t)    A Certificate of No Tax Due from the Mississippi Sales Tax Commission and the
 Monroe County Tax Assessor showing that no Tax from Mississippi or Monroe County is due or owing
 by Seller;

                 (u)      A completed Statement of Occasional Sale Form evidencing an exemption from
 Mississippi sales Tax, duly executed by Seller;

                 (v)      Any and all other certificates, documents, and instruments required to be
 delivered by Seller pursuant to and in accordance with Article 8;

                  (w)     A certified copy of the Sale Order; and

                  (x)     Such other agreements, instruments and documents as Buyer reasonably deems
 necessary to effect the Contemplated Transactions, including consents to assignment, evidence,
 reasonably satisfactory to Buyer, of the termination of any existing management agreement, and estoppel
 certificates from such parties as Buyer may reasonably require.



                                                       29
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 36 of 192
         3.3     Deliveries of Buyer at the Closing. At the Closing and unless otherwise waived in
 writing by Seller, Buyer shall deliver to Seller (or the Escrow Agent, as appropriate) the following:

                  (a)      Evidence of the wire transfers and other payments provided for in Section 2.7;

                  (b)      The Lease Assignments, duly executed by Buyer;

                  (c)      The Bill of Sale, duly executed by Buyer;

                  (d)      The Assignment and Assumption Agreement, duly executed by Buyer;

                  (e)      The Transition Services Agreement, duly executed by Buyer (or an Affiliate of
 Buyer);

                  (f)      The Escrow Agreement, duly executed by Buyer and the Escrow Agent;

                  (g)      The Trademark Assignment Agreement, duly executed by Buyer;

                  (h)      The Domain Name Assignment Agreement, duly executed by Buyer;

                   (i)    Copies of resolutions duly adopted by the board of [managers] of Buyer,
 authorizing and approving Buyer’s performance of the Contemplated Transactions and the execution and
 delivery of this Agreement and the other Transaction Documents, certified as true and in full force and
 effect as of the Closing Date by an appropriate officer of Buyer;

                   (j)     A certificate, dated as of the Closing Date, of Buyer certifying that the conditions
 set forth in Section 9.1, Section 9.2, and Section 9.3 have been satisfied;

               (k)     Certificates of incumbency for the respective officers of Buyer executing this
 Agreement and any other Transaction Document dated as of the Closing Date;

                  (l)     A certificate of existence or good standing of Buyer from the State of [●], dated
 within ten (10) days prior to the Closing;

                 (m)      Any and all other certificates, documents, and instruments required to be
 delivered by Seller pursuant to and in accordance with Article 9; and

                  (n)     Such other agreements, instruments and documents as Buyer reasonably deems
 necessary to effect the Contemplated Transactions, including consents to assignment, evidence,
 reasonably satisfactory to Buyer, of the termination of any existing management agreement, and estoppel
 certificates from such parties as Buyer may reasonably require.

          3.4     Additional Acts. From time to time after the Effective Time, Seller and Buyer shall, and
 shall cause their respective Affiliates to, execute, acknowledge and deliver all such further conveyances,
 notices, assumptions, releases and acquittances and such other instruments, and shall take such further
 actions, as may be reasonably necessary or appropriate to assure fully to Buyer and its respective
 successors or assigns, all of the properties, rights, titles, interests, estates, remedies, powers and privileges
 relating to the Purchased Assets intended to be conveyed to Buyer under this Agreement and the other
 Transaction Documents and to assure fully to Seller and any Seller Affiliate and their respective
 successors and permitted assigns, the assumption of the Assumed Liabilities intended to be assumed by
 Buyer under this Agreement and the other Transaction Documents, and to otherwise make effective the


                                                        30
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                   Document    Page 37 of 192
 Contemplated Transactions. Seller also shall furnish Buyer with such information and documents in
 Seller’s possession or under Seller’s control, or which Seller can execute or cause to be executed, as will
 enable Buyer to prosecute any and all petitions, applications, claims and demands relating to or
 constituting a part of the Purchased Assets.

 4.       REPRESENTATIONS AND WARRANTIES OF SELLER AND CURAE.

         Seller and Curae, jointly and severally, hereby represents and warrants to Buyer that the
 statements contained in this Article 4 are true and correct as of the date of this Agreement and will be true
 and correct as of the Closing Date (except in the case of representations and warranties that are made as
 of a specified date, in which case such representations and warranties will be true and correct as of such
 specified date).

          4.1     Organization; Capacity. Seller is a nonprofit corporation, duly incorporated, validly
 existing and in good standing under the Laws of the State of Tennessee. Seller is duly authorized,
 qualified to do business and in good standing under all applicable Laws of any jurisdictions (domestic and
 foreign) in which the character or the location of the assets owned or leased by it or the nature of the
 business conducted by it requires such authorization or qualification. The execution and delivery by
 Seller of this Agreement and the other Transaction Documents to which it is a party or will become a
 party, the performance by Seller of its obligations under this Agreement and the other Transaction
 Documents to which it is a party or will become a party and the consummation by Seller of the
 Contemplated Transactions and the Transaction Documents to which it is a party or will become a party,
 as applicable, have been, or will be, duly and validly authorized and approved by all necessary corporate
 actions, as applicable, on the part of Seller, none of which actions has been modified or rescinded and all
 of which actions remain in full force and effect.

          4.2     Authority; Non-contravention; Binding Agreement. The execution, delivery and
 performance by Seller of this Agreement and the other Transaction Documents to which it is a party or
 will become a party, and the consummation by Seller of the Contemplated Transactions and its
 obligations under the Transaction Documents, as applicable (a) are within Seller’s corporate powers and
 are not and will not be in contravention or violation of the terms of the organizational or governing
 documents of Seller; (b) except (i) as set forth on Schedule 4.2 and (ii) for the entry of the Sale Order and,
 solely with respect to Seller’s obligations under Section 6.17, the Sale Procedures Order, do not and will
 not require any Approval of, filing or registration with, the issuance of any Permit by, or any other action
 to be taken by, any Governmental Authority to be made or sought by Seller; and (c) assuming the
 Approvals and Permits set forth on Schedule 5.2 are obtained, do not and will not require any Approval or
 other action under, conflict with, or result in any violation of or default under (with or without notice or
 lapse of time or both), or give rise to a right of termination, cancellation, acceleration or augmentation of
 any obligation, or loss of a material benefit under, or result in the creation of any Encumbrance (other
 than Permitted Encumbrances) upon, any of the Purchased Assets under (i) any Contract or Permit
 applicable to any of the Purchased Assets (including the assignment of the Assumed Contracts to Buyer)
 or (ii) any Order or Law applicable to any of the Purchased Assets or to which Seller may be subject.
 Subject to the entry of the Sale Order, this Agreement and the other Transaction Documents to which
 Seller or any Seller Affiliate is or will become a party are and will constitute the valid and legally binding
 obligations of such Person and are and will be enforceable against them in accordance with the respective
 terms hereof and thereof, except as enforceability may be subject to general principles of equity. In the
 event the entry of the Sale Procedures Order or Sale Order shall be appealed, Seller shall use its best
 efforts to defend such appeal.

          4.3      Subsidiaries; Minority Interests. Except as set forth on Schedule 4.3, Seller does not
 directly or indirectly own any equity, membership, or similar interest in, or any interest convertible into or


                                                      31
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 38 of 192
 exchangeable or exercisable for any equity, membership, or similar interest in, any corporation,
 partnership, limited liability company, joint venture, trust, or other business association or entity.

               4.4        Title to Assets; Sufficiency and Condition of Assets.

                  (a)     Seller owns and holds good and marketable title to, or has valid and subsisting
 leasehold interests in, all assets, real, personal or mixed, whether tangible or intangible (including all
 Intellectual Property), used or held for use in, or otherwise relating to, the Business or located at the
 Hospital, free and clear of all Encumbrances other than as set forth on Schedule 4.4(a) and the Permitted
 Encumbrances, all of which shall be a part of the Purchased Assets, except for the Excluded Assets. No
 Person other than Seller owns or holds in its name any assets, real, personal or mixed, whether tangible or
 intangible (including all Intellectual Property), used or held for use in, or otherwise relating to, the
 Business or located at the Hospital, except for (i) items leased by Seller or improvements to items leased
 by Seller pursuant to a lease agreement identified on Schedule 4.17(a), (ii) furniture and equipment
 owned or leased by Physicians leasing space in the Real Property pursuant to a lease agreement identified
 on Schedule 4.17(a), and (iii) personal property of Seller Employees, patients or visitors. At the Closing,
 Seller will convey to Buyer, and Buyer will acquire, good and marketable title to, or valid and subsisting
 leasehold interests in, the Purchased Assets, free and clear of all Encumbrances, other than Permitted
 Encumbrances. There are no outstanding rights (including any right of first refusal or right of first offer),
 options, or Contracts giving any Person any current or future right to require Seller to sell or transfer to
 such Person or to any third party any interest in any of the Purchased Assets.

                  (b)     The Purchased Assets (together with the Excluded Assets) constitute all the
 assets used in or necessary to operate, and are adequate for the purposes of operating, the Business in the
 manner in which it has been operated prior to the Effective Time. There are no facts or conditions
 affecting the Purchased Assets that could, individually or in the aggregate, interfere in any material
 respect with the use, occupancy or operation of the Purchased Assets as currently used, occupied or
 operated, or their adequacy for such use. Following the consummation of the Contemplated Transactions,
 neither Seller nor any Seller Affiliate will retain any asset necessary to operate the Business in the manner
 in which it has been operated prior to the Effective Time. The Purchased Assets will enable Buyer to
 operate the Business after the Effective Time in substantially the same manner as operated by Seller prior
 to the Effective Time. All tangible Purchased Assets are in good operating condition and repair and are
 adequate for the uses to which they are being put, and none of the tangible Purchased Assets is in need of
 maintenance or repairs, except for ordinary, routine maintenance and repairs that are not material in
 nature or cost.

               4.5        Financial Information.

                 (a)     Schedule 4.5(a) contains the following financial statements and financial
 information of the Business (collectively, the “Historical Financial Information”):

                         (i)     consolidated balance sheets, income statements, statements of cash flows
 of the Business (including the accompanying consolidating schedules of balance sheet information and
 income     statement      information)    as     of,   and      for    the    twelve     (12)     month
 periods__________________________________________________________;1

                       (ii)    an unaudited consolidated balance sheet of the Business (including the
 accompanying consolidating schedules of balance sheet information) as of the Balance Sheet Date (the

 1
     Seller to advise dates with respect to available financial statements



                                                                             32
 65459867.3
Case 3:18-bk-05665                      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43          Desc Main
                                               Document    Page 39 of 192
 “Reference Balance Sheet”); and

                         (iii)  an unaudited consolidated income statement of the Business (including
 the accompanying consolidating schedules of income statement information) for the ______ (___) month
 period ended on the Balance Sheet Date.

                  (b)     The Historical Financial Information is true, correct and complete in all material
 respects and fairly presents the consolidated financial position of the Business as of the respective dates
 thereof and the consolidated results of the operations of the Business and changes in financial position for
 the respective periods covered thereby. The consolidated financial statements included in the Historical
 Financial Information have been prepared in accordance with GAAP, applied on a consistent basis
 throughout the periods indicated (subject, in the case of the unaudited Historical Financial Information, to
 the absence of notes and normal year-end audit adjustments, the effect of which is not material,
 individually or in the aggregate), and are based on the information contained in the Books and Records of
 Seller. Seller has not changed any accounting policy or methodology during the periods presented in the
 Historical Financial Information (including the accounting policies and methodologies for determining
 the obsolescence of Inventory or in calculating reserves, including reserves for uncollected accounts
 receivable).

                  (c)     Schedule 4.5(c) sets forth all Indebtedness of Seller. For each item of
 Indebtedness of Seller, Schedule 4.5(c) correctly sets forth, as of the date hereof, the debtor or borrower,
 creditor or lender, outstanding principal amount and accrued but unpaid interest, maturity date, the
 collateral, if any, securing the Indebtedness (in reasonable detail), and any prepayment, make-whole,
 breakage or other premiums, payments, fees, costs or penalties required to be paid (in reasonable detail)
 to fully discharge such Indebtedness in connection with the consummation of the Contemplated
 Transactions.

                  (d)     Except for (i) Liabilities reflected in the Reference Balance Sheet, and (ii)
 Liabilities that were incurred after the Balance Sheet Date in the ordinary course of business, none of
 which, individually or in the aggregate, is material in amount, Seller has no Liabilities of any nature, and
 there is no basis for any Proceeding with respect to any Liability relating to the Business, the Purchased
 Assets, or the Assumed Liabilities.

          4.6      Permits and Approvals. The Hospital is duly licensed in accordance with the applicable
 Laws of the State of Mississippi as set forth on Schedule 4.6, which sets forth the type of hospital that the
 Hospital is licensed as under the Law of the State of Mississippi and the number of licensed beds at the
 Hospital. The Facilities, including without limitation, the pharmacies, laboratories, and all other ancillary
 departments or services located at the Hospital or operated for the benefit of the Hospital that are required
 to be separately licensed are duly licensed by the appropriate Governmental Authority. Schedule 4.6 sets
 forth an accurate and complete list of all Permits and Approvals owned or held by Seller with respect to
 the Facilities, including the dates of issuance and expiration dates for each such Permit or Approval, and
 such Permits and Approvals constitute all Permits and Approvals necessary for Seller to own and operate
 the Facilities and the Purchased Assets and to carry on the Business as currently conducted or proposed to
 be conducted. Seller has provided accurate and complete copies to Buyer of each Permit and Approval
 set forth on Schedule 4.6. Each of the Physicians and other licensed professional providers who provide
 services to the Business (each, a “Practitioner”, and collectively, the “Practitioners”) is in possession of
 all Permits and Approvals necessary for his or her performance of such services. Seller, the Practitioners,
 and the Facilities, including without limitation the Hospital, as applicable, are, and at all times have been,
 in compliance with the terms of such Permits and Approvals, and there are no provisions in, or
 agreements relating to, any Permits or Approvals that preclude or limit Seller from operating the Hospital
 or other Facilities and the Purchased Assets and carrying on the Business as currently conducted. No


                                                      33
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 40 of 192
 Permits or Approvals relating to the Business will expire or be terminated as a result of the Contemplated
 Transactions. There is no pending or, to the Knowledge of Seller, threatened, Proceeding by or before
 any Governmental Authority to revoke, cancel, rescind, suspend, restrict, modify, or refuse to renew any
 Permit or Approval owned or held by Seller, any Facility, or any Practitioner and all such Permits and
 Approvals are now, and as of the Closing Date shall be, unrestricted, in good standing, in full force and
 effect and not subject to meritorious challenge. No event has occurred and no facts exist with respect to
 any such Permits or Approvals that allow, or after notice or the lapse of time or both, would allow the
 suspension, revocation, or termination of any Permits or Approvals, or would result in any other
 impairment in the rights of any holder thereof. Neither Seller, nor any Practitioner or Facility has
 received any notice or communication from any Governmental Authority regarding any violation of any
 such Permits or Approvals (other than any surveys or deficiency reports for which Seller has submitted a
 plan of correction that has been accepted or approved by the applicable Governmental Authority). Seller
 has delivered to Buyer accurate and complete copies of all survey reports, deficiency notices, plans of
 correction, and related correspondence received by Seller or any Facility since January 1, 2014, in
 connection with the Permits and Approvals relating to the Business.

          4.7      Statutory Funds. Neither Seller nor any respective predecessors have received any
 loans, grants, loan guarantees, donations, monies, or other financial assistance pursuant to the Hill-Burton
 Act program, the Health Professions Educational Assistance Act, the Nurse Training Act, the National
 Health Planning and Resources Development Act, or the Community Mental Health Centers Act, as
 amended, or similar Laws relating to healthcare facilities that remain unpaid or which impose any
 restrictions on the Hospital or the Purchased Assets.

          4.8     Accreditation. Schedule 4.8 sets forth an accurate and complete list of all accreditations
 and certifications held by Seller and the Hospital or other Facilities. All such accreditations and
 certifications are and will be effective, unrestricted and in good standing as of the date hereof and as of
 the Closing Date. No event has occurred or other fact exists with respect to such accreditations and
 certifications that allows, or after notice or the lapse of time or both, would allow, revocation or
 termination of any such accreditations or certifications, or would result in any other impairment in the
 rights of any holder thereof. There is no pending or, to the Knowledge of Seller, threatened, Proceeding
 by any accrediting body to revoke, cancel, rescind, suspend, restrict, modify, or not renew any such
 accreditation or certifications, and no such Proceedings, surveys or actions are pending, threatened or
 imminent. The Hospital is duly accredited, without conditions, by The Joint Commission through the
 period set forth on Schedule 4.8. Since the date of the most recent Joint Commission survey, neither
 Seller nor the Hospital or any other Facility has made any changes in policy or operations that would
 cause the Hospital or any such other Facility to lose such accreditations. Seller has delivered to Buyer a
 copy of the Hospital’s most recent Joint Commission accreditation report and any reports, documents, or
 correspondence relating thereto.

          4.9     Government Program Participation; Private Programs; Reimbursement. The
 Hospital is certified for participation in the Government Programs and have current and valid Payor
 Agreements with such Government Programs from which Seller presently receives payments on account
 of services provided by the Hospital or the Practitioners who have reassigned their right to bill to Seller,
 and Seller is party to, or is otherwise entitled to bill under, current Payor Agreements with certain private
 non-governmental payors or programs, including any private insurance payor or program, self-insured
 employer, or other third-party payor (each, a “Private Program”), under which Seller directly or
 indirectly receives payments, each as set forth on Schedule 4.9(i). Seller has delivered accurate and
 complete copies of all Payor Agreements to Buyer. The Hospital is in compliance with the conditions of
 participation in the Government Programs and Private Programs and with the terms, conditions, and
 provisions of the Payor Agreements. The Payor Agreements are each in full force and effect, and no
 events or facts exist that would cause any Payor Agreement to be suspended, terminated, restricted or

                                                      34
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 41 of 192
 withdrawn. Seller has not received notice from any Government Program or Private Program to the effect
 that it intends to cease or materially alter its business relationship with Seller (whether as a result of the
 Contemplated Transactions or otherwise). No Government Program or Private Program (i) has indicated
 its intent to cancel or otherwise substantially modify its relationship with Seller, or (ii) has advised Seller
 of any material problem or dispute. Seller has received all Permits and Approvals necessary for
 reimbursement of the Hospital by the Government Programs and Private Programs. All billing practices
 of Seller with respect to all Government Programs and Private Programs have been conducted in
 compliance with all applicable Laws and the billing guidelines of such Government Programs or Private
 Programs. Neither Seller nor the Hospital have billed or received any payment or reimbursement in
 excess of amounts allowed by Law or the billing guidelines of any Private Programs or Government
 Programs. There is no Proceeding, survey, or other action pending, or, to the Knowledge of Seller,
 threatened, involving the Government Program or any Private Program, including the Hospital’
 participation in and the reimbursement received by Seller and the Hospital from the Government
 Programs or any Private Program, and Seller has no reason to believe that any such Proceedings, surveys,
 or actions are pending, threatened or imminent. Neither Seller nor, to the Knowledge of Seller, any of the
 Seller Employees or any former employee or current or former officer or director of Seller has committed
 a violation of any Law relating to payments and reimbursements under any Government Program or any
 Private Program. Schedule 4.9(ii) contains a list of all NPIs and all provider numbers under the
 Government Programs issued to and held by Seller and the Hospital, all of which are in full force and
 effect. Except as set forth on Schedule 4.9(iii), for the six (6) fiscal years or calendars years, as
 applicable, immediately preceding the current calendar year, Seller has timely filed all reports, data, and
 other information to be filed with CMS regarding Seller’s CMS Reporting obligations in support of
 Seller’s right to receive payments from Medicare or Medicaid. No Seller, any managing Seller
 Employee, or any other managing employee or officer or director of any Seller has knowingly and
 willfully made or caused to be made a false statement or representation of a material fact in any report,
 data, and other information supporting Seller’s CMS Reporting.

          4.10    Third-Party Payor Cost Reports. Seller has timely filed all required Cost Reports
 relating to the Business for all fiscal years through and including the 2017 fiscal year, and copies of all
 Cost Reports relating to the Business filed by or on behalf of Seller since December 31, 2014, have been
 provided to Buyer. All Cost Reports relating to the Business filed by or on behalf of Seller accurately
 reflect the information required to be included therein, and such Cost Reports do not claim, and neither
 Seller nor the Hospital have received, reimbursement in any amount in excess of the amounts allowed by
 Law or any applicable agreement. No facts or circumstances exist that would give rise to any
 disallowance under any such Cost Reports. Schedule 4.10 indicates which of such Cost Reports have not
 been audited and finally settled and includes a brief description of any and all notices of program
 reimbursement, proposed or pending audit adjustments, disallowances, appeals of disallowances, and any
 and all other unresolved claims or disputes in respect of such Cost Reports. Seller has established
 adequate reserves to cover any potential reimbursement obligations that Seller may have in respect of
 such Cost Reports, and such reserves are accurately set forth in the Historical Financial Information.
 Seller shall ensure that Buyer has access to all records for cost report purposes for a period of three years
 after Closing.

          4.11    Compliance with Laws.

                  (a)     (i) Seller has conducted, and is conducting, the Business, the Hospital, and its
 properties in compliance with all Laws, and (ii) Seller has (A) not received notice, correspondence or
 other written or oral communication of any violation, alleged violation or potential violation of, or
 Liability under, any such Laws, or to the effect that Seller or any Affiliate or Representative of, or any
 Person acting on behalf of, Seller, is or could potentially be under investigation or inquiry with respect to
 any violation or alleged violation of any Law, applicable to Seller, and (B) no actual, alleged, or potential

                                                       35
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 42 of 192
 obligation to undertake, or to bear all or any portion of the cost of, any remedial action.

                   (b)     No event has occurred, and no condition exists, that would reasonably be
 expected to (with or without notice or lapse of time) constitute or result directly or indirectly in (i) a
 violation by Seller of, or a failure on the part of Seller to comply with, any Law relating to the operation
 and conduct of the Business or any of Seller’s respective properties or facilities or (ii) any obligation on
 the part of Seller to undertake, or to bear all or any portion of the cost of, any remedial action.

                  (c)      Neither Seller, the Practitioners, the Hospital, Seller Employees nor any other
 officer, director, employee or independent contractor of Seller or the Hospital, has been convicted of,
 charged with or, to the Knowledge of Seller, investigated for, or has engaged in conduct that would
 constitute, an offense related to Medicare or any other Government Program or convicted of, charged
 with or, to the Knowledge of Seller, investigated for, or engaged in conduct that would constitute a
 violation of any Law related to fraud, theft, embezzlement, breach of fiduciary duty, kickbacks, bribes,
 other financial misconduct, obstruction of an investigation or controlled substances. Neither Seller, the
 Practitioners, the Hospital, nor Seller Employees nor any other officer, director, employee or independent
 contractor of Seller or the Hospital (whether an individual or entity), has been excluded from participating
 in any Government Program, subject to sanction pursuant to 42 U.S.C. § 1320a-7a or § 1320a-8, or been
 convicted of a crime described at 42 U.S.C. § 1320a-7b, nor are any such exclusions, sanctions or charges
 pending or, to the Knowledge of Seller, threatened.

                  (d)     Seller, the Hospital, and the Business have been and are presently in compliance
 with all applicable Laws, including Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395lll (the
 Medicare statute), including specifically, the Ethics in Patient Referrals Act, as amended, or “Stark
 Law,” 42 U.S.C. § 1395nn; Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-1396w-5 (the
 Medicaid statute); the Federal Health Care Program Anti-Kickback Statute (the “Federal Anti-Kickback
 Statute”), 42 U.S.C. § 1320a-7b(b); the False Claims Act, as amended (the “False Claims Act”), 31
 U.S.C. §§ 3729-3733; the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; the Anti-
 Kickback Act of 1986, 41 U.S.C. §§ 51-58; the Civil Monetary Penalties Law, 42 U.S.C. §§ 1320a-7a and
 1320a-7b; the Exclusion Laws, 42 U.S.C. § 1320a-7; HIPAA; any similar state and local Laws that
 address the subject matter of the foregoing; any state Law or precedent relating to the corporate practice
 of the learned or licensed healthcare professions; any state Law concerning the splitting of healthcare
 professional fees or kickbacks; any state Law concerning healthcare professional self-referrals; any state
 healthcare professional licensure Laws, qualifications or requirements for the practice of medicine or
 other learned healthcare profession; any state requirements for business corporations or professional
 corporations or associations that provide medical services or practice medicine or related learned
 healthcare profession; workers compensation; any state and federal controlled substance and drug
 diversion Laws, including, the Federal Controlled Substances Act (21 U.S.C. § 801, et seq.) and the
 regulations promulgated thereunder; and all applicable implementing regulations, rules, ordinances and
 Orders related to any of the foregoing.

                  (e)     Neither Seller nor the Hospital have received any notification, correspondence, or
 any other oral or written communication, including notification of any pending or threatened Proceeding
 or other action from any Governmental Authority, Private Program or patient, of any potential or actual
 non-compliance by, or Liability of, Seller, the Hospital, the Practitioners, or the Purchased Assets under
 any Law. Seller has timely filed all material reports, data, and other information required to be filed with
 such Governmental Authorities regarding the Hospital and the Purchased Assets.

                 (f)     All of Seller’s and the Hospital’ Contracts with a Physician or any Immediate
 Family Members of any Physicians, or entities in which Physicians or Immediate Family Members of any
 Physicians are equity owners, involving services, supplies, payments, or any other type of remuneration,


                                                       36
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                   Document    Page 43 of 192
 and all of Seller’s and the Hospital’ leases of personal or real property with such Physicians, Immediate
 Family Members of any Physician or other Persons are in writing, are signed by the appropriate parties,
 set forth the services to be provided, provide for a fair market value compensation in exchange for such
 services, space, or goods and comply with all applicable Laws.

                  (g)     Except in compliance with applicable Laws, neither Seller, nor any Seller
 Employees or any other employees, officers or directors of Seller are party to any Contract (including any
 joint venture or consulting agreement) to provide services, lease space, lease equipment or engage in any
 other venture or activity related to Seller, the Hospital, the Business, or the Purchased Assets with any
 Physician, Immediate Family Member of a Physician, or other Person that is in a position to make or
 influence referrals to or otherwise generate business for Seller with respect to the Hospital or the
 Purchased Assets.

                   (h)     Neither Seller, the Hospital, the Seller Employees nor any other employees,
 officers or directors of Seller have engaged in any activities that are prohibited under 42 U.S.C. §§ 1320a-
 7, et seq., or the regulations promulgated thereunder, or under any other federal or state statutes or
 regulations, or which are prohibited by applicable rules of professional conduct.

                   (i)     Seller, each Seller Affiliate, Seller’s Representatives and Seller Affiliates’
 Representatives have complied with the U.S. Foreign Corrupt Practices Act of 1977, as amended, the
 Corruption of Foreign Public Officials Act, the OECD Anti-Bribery Convention and other applicable
 Laws regarding the use of funds for political activity or commercial bribery. Seller, Seller Affiliate, and
 any of their respective Representatives have not, for or on behalf of Seller, at any time, (i) made or caused
 to be made or provided, directly or indirectly, any type of payment, gift, contribution or similar item to a
 governmental official, political party, or candidate for office for the purpose of influencing a decision,
 inducing an official to violate their lawful duty, securing an improper advantage, or inducing an official to
 use their influence to affect a governmental decision, or (ii) accepted or received any unlawful payments,
 gifts, contributions or similar items. Neither Seller, Seller Affiliate, nor any of their respective
 Representatives has, directly or indirectly, taken any action in violation of any export restrictions, anti-
 boycott regulations, embargo regulations or other similar applicable U.S. or foreign Laws. Neither Seller,
 Seller Affiliate, nor any of their respective Representatives is a “specially designated national” or blocked
 Person under U.S. sanctions administered by OFAC. Seller has not engaged in any business with any
 Person or in any country that it is prohibited for a U.S. Person to engage in any business with or under
 applicable Law or under applicable U.S. sanctions administered by U.S. Department of the Treasury.
 Neither Seller or any Seller Affiliate is, nor will Seller or any Seller Affiliate become, a Person with
 whom U.S. Persons are restricted from doing business under regulations of OFAC (including those
 named on OFAC’s Specially Designated and Blocked Persons list) or under any statute, executive Order
 (including Executive Order Number 13224 on Terrorism Financing, effective September 24, 2001), or the
 United and Strengthening America by Providing Tools Required to Intercept and Obstruct Terrorism Act
 of 2001, H.R. 3162, Public Law 107-56, or any other governmental action.

                 (j)    All billing and collection practices of, and claims submitted by, Seller with
 respect to all Government Programs and Private Programs have been in compliance with all applicable
 Laws, regulations and policies of, and Payor Agreements with, such Government Programs and Private
 Programs. Seller has not submitted any claims that are cause for civil penalties or overpayments under, or
 mandatory or permissive exclusion from, any Government Program, Private Program, or under the terms
 of a Payor Agreement. Seller has maintained such records as required by applicable Laws or third party
 payor policy supporting the provision of services billed under all Government Programs and Private
 Programs.

                 (k)      For the entire duration of Seller’s ownership of the Hospital, Seller has timely


                                                      37
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 44 of 192
 filed, and for the six (6) Federal Fiscal Years or calendars years, as applicable, immediately preceding the
 current Federal Fiscal Year or current calendar year, as applicable the previous owner of the Hospital
 timely filed, all quality and performance reports, data, and other information to be filed with CMS, with
 respect to both Physicians and hospitals, inpatients and outpatients, as required by CMS Reporting, and
 all reports, data and other information submitted by Seller in support of its quality and performance for
 the avoidance of negative payment adjustments or in support of positive payment adjustments are
 accurate, correct and in all material respects support its claims of quality and performance and receipt of
 positive payment adjustment and avoidance of negative payment adjustments, as applicable. Neither
 Seller nor any of its respective officers, directors or managing employees have knowingly and willfully
 made or caused to be made a false statement or representation of a material fact in any report, data, and
 other information supporting Seller’s CMS Reporting.

                  (l)       Seller is in compliance with all applicable Laws regarding the selection,
 deselection, and credentialing of its Physicians and other Practitioners, including verification of licensing
 status and eligibility for reimbursement under Government Programs.

                  (m)     Each individual now or formerly employed by or contracted by Seller or any
 Seller Affiliate to provide professional services, including the Practitioners, is or was duly licensed to
 provide such services, is or was in compliance with all Laws relating to such professional licensure and
 meets or met the qualifications to provide such professional services under applicable Laws and the terms
 and conditions of the Payor Agreements to which Seller is a party, in each case during the periods during
 which such employee or independent contractor provided such services on behalf of any of them.

                  (n)     All off-campus locations of the Hospital that are treated by the Hospital as being
 a provider-based location or department of the Hospital (i) were in operation and billing the Medicare
 program under the outpatient prospective payment system for covered outpatient department services
 prior to November 2, 2015, (ii) are in compliance with the site-neutral programs of Section 603 of the
 Bipartisan Budget Act of 2015 and CMS Regulations 42 C.F.R. § 413.65, and (iii) have been reported as
 practice locations on the Hospital’s Medicare enrollment record.

          4.12   Information Privacy and Security Compliance.

                  (a)     Seller and the Hospital (i) are, and at all times have been, in compliance with
 HIPAA and (ii) are, and at all times have been, in compliance with all other applicable Information
 Privacy or Security Laws and all rules and regulations promulgated thereunder. Seller has undertaken
 surveys, audits, inventories, reviews, analyses and/or assessments of all areas of the Business required by
 the HITECH Act and the administrative simplification provisions of HIPAA.

                  (b)    Seller has provided to Buyer accurate and complete copies of the compliance
 policies and/or procedures and privacy notices of the Hospital relating to Information Privacy or Security
 Laws. All of Seller’s and the Hospital’ respective workforces (as such term is defined in 45 C.F.R. §
 160.103) have received training with respect to compliance with Information Privacy or Security Laws.

                  (c)     Seller has entered into business associate agreements with all third parties acting
 as a business associate (as defined in 45 C.F.R. § 160.103) of Seller or the Business. Seller (i) is not
 under investigation by any Governmental Authority for a violation of any Information Privacy or Security
 Law; (ii) has not received any notices from the United States Department of Health and Human Services
 Office for Civil Rights, the Justice Department, the FTC, or the Attorney General of any state or territory
 of the United States relating to any such violations; or (iii) except as set forth on Schedule 4.12(c) has not
 acted in any manner, and, to the Knowledge of Seller, there has not been any incident, that would trigger
 a notification or reporting requirement under any business associate agreement or any Information


                                                      38
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 45 of 192
 Privacy or Security Law, including a breach with respect to any unsecured protected health information
 maintained by or on behalf of the Business.

                 (d)     Seller has provided to Buyer accurate and complete copies of any written
 complaint(s) delivered to Seller or the Hospital during the past three (3) years alleging a violation of any
 Information Privacy or Security Laws.

                  (e)     No Breach or potential Breach has occurred with respect to any Unsecured
 Protected Health Information (as such terms are defined in 45 C.F.R. § 164.402) maintained by or for
 Seller or the Hospital, and no information security or privacy breach event has occurred that would
 require notification under any other applicable Information Privacy or Security Laws.

          4.13    Compliance Program. Seller has provided to Buyer an accurate and complete copy of
 each Facility’s current compliance program materials, including all program descriptions, compliance
 officer and committee descriptions, ethics and risk area policy materials, training and education materials,
 auditing and monitoring protocols, reporting mechanisms and disciplinary policies. Seller and the
 Hospital have conducted their operations in accordance with their respective compliance programs. Seller
 (a) is not a party to a Corporate Integrity Agreement with the OIG; (b) has no reporting obligations
 pursuant to any settlement agreement entered into with any Governmental Authority; (c) to the
 Knowledge of Seller, has not been the subject of any Government Program investigation conducted by
 any federal or state enforcement agency; (d) has not been a defendant in any qui tam/False Claims Act
 litigation; (e) has not been served with or received any search warrant, subpoena, civil investigation
 demand, contact letter, or, to the Knowledge of Seller, telephone or personal contact by or from any
 federal or state enforcement agency (except in connection with medical services provided to third-parties
 who may be defendants or the subject of investigation into conduct unrelated to the Business); and (f) has
 not received any complaints through Seller’s compliance “hotline” from Seller Employees, other
 employees, independent contractors, vendors, Physicians, patients, or any other Persons that could
 reasonably be considered to indicate that Seller has violated, or is currently in violation of, any Law. For
 purposes of this Agreement, the term “compliance program” refers to provider programs of the type
 described in compliance guidance published by the OIG.

         4.14     Medical Staff Matters. Seller has made available to Buyer true, correct and complete
 copies of the bylaws and rules and regulations of the medical staffs of the Hospital, as well as a list of all
 current members of each Facility’s medical staff. Except as has been otherwise disclosed to Buyer in
 writing, there are no (a) pending or threatened adverse actions with respect to any medical staff member
 of any of the Hospital or any applicant thereto, including any adverse actions for which a medical staff
 member or applicant has requested a judicial review hearing that has not been scheduled or that has been
 scheduled but has not been completed, or (b) pending or threatened disputes with applicants, medical staff
 members or health professional affiliates, and all appeal periods in respect of any medical staff member or
 applicant against whom an adverse action has been taken have expired. No medical staff members of the
 Hospital have resigned or had their privileges revoked or suspended since the Balance Sheet Date.

         4.15    Experimental Procedures. During the past five (5) years, Seller and the Hospital have
 not performed or permitted the performance of any experimental or research procedure or study involving
 patients in the Hospital that were not authorized and/or conducted in accordance with the policies and
 procedures of the Hospital that comply with applicable Laws, including applicable U.S. Food and Drug
 Administration regulations.

          4.16   Intellectual Property.




                                                      39
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 46 of 192
                  (a)     Schedule 4.16(a)2 sets forth an accurate and complete list of the following Owned
 Intellectual Property as of the date of this Agreement: (i) Patents; (ii) registered Trademarks and
 applications therefor, and unregistered Trademarks that are material to the operation of the Business; (iii)
 registered Copyrights and applications therefor; (iv) Domain Names (including social media accounts
 used or held for use in or ancillary to the Business or the Purchased Assets); (v) Restricted Names, and
 (vi) Software, including for each item listed, as applicable, the owner, the jurisdiction, the
 application/serial number, the registration number, the filing date, and the issuance/registration date.
 Schedule 4.16(a) also sets forth all payments and filings that are due, and all other actions with
 Governmental Authorities that must be taken, within one hundred eighty (180) days after the date hereof
 with respect to each item of registered Intellectual Property listed in such schedule. All of the foregoing
 registered Owned Intellectual Property is valid, subsisting and enforceable in accordance with applicable
 Laws, has not been canceled, expired or abandoned, and is not involved in any interference,
 reexamination, cancellation, or opposition Proceeding.

                  (b)      Except as set forth on Schedule 4.16(b), Seller or Seller Affiliates solely and
 exclusively own all right, title and interest (including the right to enforce), free and clear of all
 Encumbrances, other than Permitted Encumbrances, in all Owned Intellectual Property. During the five
 (5) year period prior to the date of this Agreement, Seller and Seller Affiliates have used commercially
 reasonable efforts, consistent with customary industry practices, to maintain, police and protect each item
 of Owned Intellectual Property. Seller has valid rights to use the Transferred Intellectual Property as
 necessary for the operation of the Business. Neither Seller, any Seller Affiliate nor any Owned
 Intellectual Property, is subject to any Contract containing any covenant or other provision that in any
 way limits or restricts the ability of Seller to use, assert, enforce, or otherwise exploit any Owned
 Intellectual Property anywhere in the world. No Person who has licensed Intellectual Property to Seller
 or any Seller Affiliate has any ownership rights or license rights to derivative works or improvements
 made by or on behalf of Seller or any Seller Affiliate related to such Intellectual Property.

                  (c)      Except as set forth on Schedule 4.16(c): (i) the consummation of the
 Contemplated Transactions will neither violate nor result in the breach, modification, cancellation,
 termination or suspension of, or acceleration of any payments under, any of the Intellectual Property
 Contracts; and (ii) following the Effective Time, Buyer will have and be permitted to exercise all of
 Seller’s or Seller Affiliates’ rights under and to all Transferred Intellectual Property, including under or
 pursuant to all Intellectual Property Contracts to the same extent Seller or any Seller Affiliate would have
 been able to had the Contemplated Transactions not occurred and without being required to pay any
 additional amounts or consideration other than fees, royalties or payments that Seller or any Seller
 Affiliate would otherwise be required to pay had the Contemplated Transactions not occurred. No event
 has occurred, and no circumstance or condition exists, that (with or without notice or lapse of time) will,
 or could reasonably be expected to, result in the delivery, license, or disclosure of any source code
 included in the Owned Intellectual Property.

                  (d)     The Business Offerings, the Owned Intellectual Property, the use of the
 Transferred Intellectual Property by Seller and Seller Affiliates, and the operation of the Business have
 not infringed, misappropriated, violated, or otherwise conflicted with, and do not infringe, misappropriate,
 violate or otherwise conflict with, any Intellectual Property rights of any other Person, violate any right to
 privacy or publicity, nor constitute unfair competition or trade practices under the Laws of any
 jurisdiction. Except as set forth on Schedule 4.16(d), neither Seller nor any Seller Affiliates have
 received any claim (or notice of any related action) that Seller, any Seller Affiliate, any Business
 Offering, or any Transferred Intellectual Property infringes, misappropriates, or otherwise violates any

 2
     Schedule to be bifurcated for each of Seller and Seller Affiliates



                                                                          40
 65459867.3
Case 3:18-bk-05665                      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43           Desc Main
                                               Document    Page 47 of 192
 Intellectual Property rights of any Person, or constitutes unfair competition or trade practices under the
 Laws of any jurisdiction (nor to the Knowledge of Seller are there any facts, circumstances or information
 that could reasonably be the basis for such a claim). No claim of infringement or misappropriation of
 Intellectual Property is pending or, to the Knowledge of Seller, threatened, against any Person who may
 be entitled to be indemnified, defended, held harmless, or reimbursed by Seller with respect to such claim.

                  (e)      Except as set forth on Schedule 4.16(e), (i) to the Knowledge of Seller, no Person
 is infringing, misappropriating, diluting or otherwise violating any Owned Intellectual Property, and (ii)
 Seller has not made any claims with respect to infringement or misappropriation of any Owned
 Intellectual Property against any Person, nor has Seller or any Seller Affiliate issued any written
 communication inviting any Person to take a license, ownership interest, release, covenant not to sue or
 the like with respect to any Owned Intellectual Property.

                   (f)      All Owned Intellectual Property that derives independent economic value, actual
 or potential, from not being generally known to the public or to other Persons who can obtain economic
 value from its disclosure or use has been maintained in confidence in accordance with procedures
 customarily used in Seller’s industry to protect rights of like importance. All Seller Employees, current
 and former employees, consultants and contractors of Seller or any Seller Affiliate, and other Persons
 who have participated in the creation or development of any Owned Intellectual Property have executed
 valid and enforceable agreements in which they have assigned or otherwise vested all of their rights in
 and to such Owned Intellectual Property to Seller and have agreed to maintain the confidentiality of such
 Owned Intellectual Property. No such Person has asserted, and to the Knowledge of Seller, no such
 Person has, any right, title, interest or other claim in, or the right to receive any royalties or other
 consideration with respect to, any Owned Intellectual Property. At no time during the conception of or
 reduction to practice of any Owned Intellectual Property was any developer, inventor or other contributor
 to such Intellectual Property operating under any grants from any Governmental Authority, educational
 institution or private source, performing research sponsored by any Governmental Authority, educational
 institution or private source, utilizing the facilities of any Governmental Authority or educational
 institution, or subject to any employment agreement or invention assignment or nondisclosure agreement
 or other obligation with any third Person.

                   (g)    Except as set forth on Schedule 4.16(g), no Open Source Materials have been
 used in, incorporated into, embedded, integrated or bundled with, or used in the development or
 compilation of, any Business Offerings or any other Owned Intellectual Property. No Open Source
 Materials set forth on Schedule 4.16(g) have been modified or distributed by or on behalf of Seller in such
 a manner as would require Seller or any Seller Affiliate to (i) publicly make available any source code
 that is part of the Owned Intellectual Property, (ii) license, distribute, or make available any source code
 for the purpose of reverse engineering or making derivative works of such source code, or to permit any
 other Person to perform such actions, or (iii) be restricted or limited from charging for distribution of any
 Business Offerings or any other Owned Intellectual Property.

                  (h)     All Information Technology Systems and Business Offerings (and all parts
 thereof) (i) operate and perform in accordance with their documentation and functional specifications and
 otherwise as required by Seller and Seller Affiliates, (ii) have not materially malfunctioned or failed
 within the past five (5) years, and (iii) are free of (A) any critical defects, including any critical error or
 critical omission in the processing of any transactions and (B) any Malicious Code. Seller and Seller
 Affiliates take and have taken reasonable steps intended to ensure that the Business Offerings and the
 Information Technology Systems are free from Malicious Code. Seller and Seller Affiliates have disaster
 recovery plans, procedures and facilities that are consistent with the best practices of the industry of
 Seller, and take and have taken all reasonable steps to safeguard and back-up at secure off-site locations
 the Information Technology Systems. During the five (5) year period prior to the date of this Agreement,

                                                       41
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 48 of 192
 there has not been an unauthorized breach, disclosure, or loss of data stored or contained in the
 Information Technology Systems.

                 (i)     To the extent that Seller or any Seller Affiliates receive, process, transmit or store
 any financial account numbers (such as credit cards, bank accounts, PayPal accounts, debit cards),
 passwords, CCV data, or other related data (“Cardholder Data”), Seller has implemented information
 security procedures, processes and systems that have at all times met or exceeded all applicable Laws and
 industry standards related to the collection, storage, processing and transmission of Cardholder Data,
 including those established by applicable Governmental Authorities, and the Payment Card Industry
 Standards Council (including the Payment Card Industry Data Security Standard).

          4.17        Contracts.

                 (a)      Schedule 4.17(a) sets forth an accurate and complete list of each Contract
 (including a description of any oral Contract) to the extent that, such Contract binds or affects any of the
 Purchased Assets or Seller is a party to or is bound by such Contract in connection with the Business or
 the Purchased Assets (collectively, the “Material Contracts”), organized into the following subsections:

                          (i)    all Contracts involving aggregate consideration in excess of $25,000 or
          requiring performance by any party more than one year from the date hereof;

                           (ii)    all Contracts that cannot be cancelled without penalty or without more
          than thirty (30) days’ notice;

                            (iii)    all Contracts that relate to the acquisition of any business, a material
          amount of stock or assets of any other Person or any real property (whether by merger, sale of
          stock, sale of assets or otherwise);

                           (iv)   all Contracts that contain non-competition or non-solicitation provisions
          restricting the conduct of the Business, or restricting the conduct of any Person potentially
          competing with the Business, in any geographic area or during any period of time;

                            (v)     all Contracts granting any exclusive rights, rights of first refusal, rights
          of first negotiation or similar rights to any Person;

                          (vi)    except for agreements relating to trade receivables, all Contracts relating
          to Indebtedness (including guarantees), or imposing an Encumbrance on any Purchased Asset;

                             (vii)    all managed care or third-party payor Contracts;

                             (viii)   all Contracts with any Physician, any Practitioner or licensed health care
          facility;

                           (ix)    all Contracts for medical direction, the provision of professional health
          care services, or medical supervision of the performance of health care services at the Hospital;

                           (x)     all Contracts between or among Seller on the one hand and any Seller
          Affiliate on the other hand;

                          (xi)     all collective bargaining agreements or Contracts with any labor
          organization, union or association;


                                                         42
 65459867.3
Case 3:18-bk-05665             Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                      Document    Page 49 of 192
                           (xii)   all employment agreements and Contracts with independent contractors
          or consultants (or similar arrangements);

                           (xiii) all Contracts pursuant to which material payments are required upon a
          sale of substantially all the assets that constitute the Business;

                        (xiv) all Contracts that provide for severance pay or any other material post-
          employment payment by, or financial obligation of, Seller;

                           (xv)     all joint venture, partnership or similar Contracts that provide for the
          sharing of profits relating to the Business (excluding the organizational documents of Seller);

                          (xvi) all Contracts for the sale of any of the Purchased Assets or for the grant
          to any Person of any option, right of first refusal or preferential or similar right to purchase any of
          the Purchased Assets;

                         (xvii) all Contracts that provide for the indemnification of any Person or the
          assumption of any Tax, environmental or other Liability of any Person;

                           (xviii) all Intellectual Property Contracts;

                           (xix)   all Third Party Leases and Tenant Leases;

                           (xx)    all confidentiality agreements, non-disclosure agreements or similar
          agreements;

                           (xxi)   all agency agreements and powers of attorney; and

                         (xxii) all other Contracts material to the Purchased Assets or the operation of
 the Business and not previously listed in a category set forth in Sections 4.17(a)(i)-(xxi) above.

                  (b)     Each Assumed Contract is valid and binding on Seller in accordance with its
 terms and is in full force and effect. Seller (in each case, to the extent a party thereto) has properly
 conducted and paid all amounts to be paid by Seller, as applicable, and otherwise performed all material
 obligations required to be performed by Seller under each Assumed Contract and Seller has not received
 any notice of termination, cancellation, breach or default under any Assumed Contract. To the
 Knowledge of Seller, no event has occurred that, with the passage of time or the giving of notice or both,
 would result in a default, breach or event of noncompliance by Seller under any Assumed Contract, or
 result in the termination thereof, or would cause or permit the acceleration or other changes of any right
 or obligation or the loss of any benefit thereunder, except as set forth on Schedule 4.17(b). To the
 Knowledge of Seller, no other party to any Assumed Contract or Material Contract is in breach thereof or
 default thereunder. A true, correct and complete copy of each written Assumed Contract and Material
 Contract and an accurate written description setting forth the terms and conditions of each oral Assumed
 Contract and Material Contract has been delivered to Buyer.

          4.18    Personal Property. Schedule 4.18 includes an accurate and complete list of the Personal
 Property as of the Balance Sheet Date. Except as disclosed on Schedule 4.18, since the Balance Sheet
 Date, Seller has not sold or otherwise disposed of any item or items of Personal Property having a value
 (individually or in the aggregate) in excess of $5,000 (other than Inventory items sold, used or disposed of
 in the ordinary course of business).



                                                        43
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                   Document    Page 50 of 192
         4.19     Inventory. All of the Inventory existing on the date hereof will exist on the Closing
 Date, except for Inventory exhausted or added in the ordinary course of business between the date hereof
 and the Closing Date. Inventory is carried at the lower of cost or market on a first in, first out basis and is
 properly stated in the Historical Financial Information. Except to the extent of reserves reflected in the
 Reference Balance Sheet, all of the Inventory on hand on the date of this Agreement and to be on hand on
 the Closing Date, consists and will consist of items of a quality usable or saleable in the ordinary course
 of business. The quantities of all Inventory are reasonable and justified under the normal operations of
 each of the Hospital and do not exceed levels that Seller reasonably believes will be fully utilized within
 the twelve (12) month period after the date of recordation on the Books and Records.

          4.20    Real Property.

                 (a)      Schedule 4.20(a) sets forth an accurate and complete list of each Facility,
 including the name, physical address and brief description of each Facility, whether the Real Property
 comprising such Facility is Owned Real Property or Leased Real Property, and the correct legal name of
 the owner of such Facility.

                   (b)     Schedule 4.20(b) sets forth the physical address, as well as a metes and bounds
 description, for each parcel of Owned Real Property. Seller owns, and (in the case of the Owned Real
 Property) at the Closing Seller will convey to Buyer, good, marketable and insurable fee simple title to
 the Owned Real Property free and clear of all Encumbrances, other than Permitted Encumbrances. Seller
 agrees that title to the Owned Real Property shall not be altered or encumbered between the date of this
 Agreement and the Closing Date. Except as set forth on Schedule 4.20(b), other than the right of Buyer
 pursuant to this Agreement, there are no outstanding agreements, options, rights of first offer or rights of
 first refusal to sell such Owned Real Property or any portion thereof or interest therein. No Seller
 Affiliate or any other Person has any ownership or leasehold interest in any of the Owned Real Property
 or the Hospital (except for tenants under the Third Party Leases and rights of third parties under the
 Assumed Capital Leases).

                   (c)    Schedule 4.20(c) sets forth an accurate and complete list of the physical
 addresses of all of the Leased Real Property and identifies each Tenant Lease under which such Leased
 Real Property is occupied or used by Seller, including the date of and legal name of each of the parties to
 such Tenant Lease, any security deposit of Seller held under such Tenant Lease and any Approval
 required to assign such Tenant Lease to Buyer. Except as set forth on Schedule 4.20(c), with respect to
 such Leased Real Property: (i) the applicable Tenant Lease is legal, valid, binding and in full force and
 effect; (ii) the assignment of such Tenant Lease will not require the consent of any other party to such
 Tenant Lease, will not result in a breach of or default under such Tenant Lease, and will not otherwise
 cause such Tenant Lease to cease to be legal, valid, binding, enforceable and in full force and effect on
 identical terms following the Effective Time; (iii) there are no ongoing disputes with respect to such
 Tenant Lease; (iv) neither Seller, Seller Affiliates, nor any other party to such Tenant Lease is in breach
 or default under such Tenant Lease, and no event has occurred or circumstance exists that, with the
 delivery of notice, the passage of time or both, would constitute such a breach or default, or permit the
 termination, modification or acceleration of rent under such Tenant Lease; (v) no security deposit or
 portion thereof deposited with respect to such Tenant Lease has been applied in respect of a breach or
 default under such Tenant Lease that has not been re-deposited in full; and (vi) there are no
 Encumbrances on the estate or interest created by such Tenant Lease other than Permitted Encumbrances.
 Seller holds, and at the Closing Seller will assign to Buyer, good, marketable and insurable leasehold title
 to all of the Leased Real Property, free and clear of all Encumbrances other than Permitted
 Encumbrances.

                  (d)     Schedule 4.20(d) sets forth an accurate and complete list and rent roll of all


                                                       44
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 51 of 192
 existing Third Party Leases, including the following information with respect to each: (i) the physical
 address and premises covered; (ii) the effective date and any amendments thereto; (iii) the legal name of
 the tenant, licensee or occupant; (iv) its term; (v) the rents and other charges payable thereunder; (vi) the
 rents or other charges in arrears or prepaid thereunder, if any, and the period for which any such rents and
 other charges are in arrears or have been prepaid; (vii) the nature and amount of the security deposits
 thereunder, if any; (viii) any options to renew or extend such Third Party Lease; (ix) any free rent,
 concessions, abatements, allowances, rebates or refunds to which the tenant, licensee or occupant may be
 or may have been entitled; (x) the status of any tenant improvements to be performed by Seller or the
 tenant, subtenant, licensee or occupant; and (xi) the nature and amount of any commissions payable with
 respect thereto.

                   (e)      Except as set forth on Schedule 4.20(e), with respect to each Third Party Lease:
 (i) the Third Party Lease is legal, valid, binding and in full force and effect; (ii) the execution, delivery
 and performance by Seller of this Agreement, and the consummation of the Contemplated Transactions,
 do not or shall not (as the case may be) require the consent of any other party to such Third Party Lease,
 will not result in a breach of or default under such Third Party Lease, and will not otherwise cause such
 Third Party Lease to cease to be legal, valid, binding, enforceable and in full force and effect on identical
 terms following the Closing; (iii) there are no material ongoing disputes with respect to such Third Party
 Lease; (iv) neither Seller nor any other party to such Third Party Lease is in breach or default under such
 Third Party Lease, and no event has occurred or circumstance exists which, with the delivery of notice,
 the passage of time or both, would constitute such a breach or default, or permit the termination,
 modification or acceleration of rent under such Third Party Lease; (v) no security deposit or portion
 thereof deposited with respect to such Third Party Lease has been applied in respect of a breach or default
 under such Third Party Lease that has not been re-deposited in full; and (vi) there are no Encumbrances
 on the estate or interest created by such Third Party Lease other than Permitted Encumbrances.

                   (f)    Seller has made available to Buyer accurate and complete copies of the Tenant
 Leases and the Third Party Leases, in each case as amended or otherwise modified and in effect, together
 with all extension notices and other material correspondence, fair market value analyses, estoppel
 certificates, and subordination, non-disturbance and attornment agreements related thereto.

                  (g)     Seller has not received written notice from any Governmental Authority of, and
 there is not: (i) any pending or, to the Knowledge of Seller, threatened, condemnation Proceedings
 affecting the Real Property or any part thereof; (ii) any violation of any Laws (including zoning and land
 use ordinances, building codes and similar requirements) with respect to the Real Property or any part
 thereof, which have not heretofore been cured; or (iii) any pending or, to the Knowledge of Seller,
 threatened, injunction, decree, Order, writ or judgment outstanding, nor any claims, litigation,
 administrative actions or similar Proceedings against Seller, any Seller Affiliate, or any Real Property
 relating to the ownership, lease, use or occupancy of such Real Property or any portion thereof which is
 reasonably likely to result in a material change in the condition of any Real Property or any part thereof or
 in any material respect prevent or limit the present operation of the improvements on the Real Property or
 any part thereof.

                  (h)      As of the Closing Date, there will be no incomplete construction projects
 affecting the Real Property and all completed construction projects will be fully paid for and all
 applicable lien releases obtained.

                 (i)      No subdivision shall be required for the lawful conveyance or lease of the Real
 Property to Buyer. Each parcel of the Real Property is separately assessed for purposes of ad valorem
 real property Taxes. No variance, reliance on adjacent property or special exception is required for the
 operation and use of the improvements on the Real Property.


                                                      45
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 52 of 192
                 (j)     No brokerage or leasing commissions or other compensation are due or payable
 by Seller or any Seller Affiliate to any Person, firm, corporation or other entity with respect to, or on
 account of, any Tenant Lease, any Third Party Lease or any extensions or renewals thereof.

                 (k)      All improvements, including all utilities that are a part of the Real Property, have
 been completed and installed in accordance with the plans and specifications approved by the
 Governmental Authority having jurisdiction, to the extent applicable, and are transferable to Buyer
 without additional cost. Permanent certificates of occupancy, all licenses, permits, authorizations and
 approvals required by all Governmental Authorities having jurisdiction, and the requisite certificates of
 the local board of fire underwriters (or other body exercising similar functions), have been issued for the
 Real Property and are in full force and effect.

                 (l)    The improvements which are a part of the Real Property, as designed and
 constructed, comply with all Laws applicable thereto, including the Americans with Disabilities Act, as
 amended, and Section 504 of the Rehabilitation Act of 1973.

                   (m)      The existing water, sewer, gas and electricity lines, storm sewer and other utility
 systems on the Real Property are adequate to serve the utility needs of the Real Property and the Business.
 All Approvals and Permits required for said utilities have been obtained and are in force and effect. All
 of said utilities are installed and operating, and all installation and connection charges have been paid in
 full.

                  (n)      Neither the location, construction, occupancy, operation, nor use of the Real
 Property (including the improvements which are a part of the Real Property) violates any applicable Laws
 or determination of any Governmental Authority or any board of fire underwriters (or other body
 exercising similar functions), judicial precedent or any restrictive covenant or deed restriction (recorded
 or otherwise) affecting the Real Property or the location, construction, occupancy, operation or use
 thereof, including all applicable Laws. All improvements located on the Real Property are located within
 boundary lines of the described parcels of land and each parcel of Real Property has access to a public
 street adjoining the Real Property, and such access is not dependent on any land or other real property
 interest which is not included in the Real Property.

                 (o)      There are not any structural or latent defects in any of the buildings or other
 improvements which are a part of the Real Property. Such buildings and improvements which are a part
 of the Real Property, and all parts thereof and appurtenances thereto, including the heating, ventilation, air
 conditioning, electrical, mechanical and plumbing systems, and the drainage at or servicing the Real
 Property, the Hospital, and any equipment relating thereto, are in good condition and working order and
 adequate in quantity and quality for the normal operation of the Real Property.

                  (p)      The Real Property comprises all of the real property owned or leased by Seller or
 any Seller Affiliate in the Restricted Area.

         4.21     Insurance. Schedule 4.21 sets forth an accurate and complete list of all insurance
 policies or self-insurance funds maintained by Seller as of the date of this Agreement covering the
 Business or the Purchased Assets (collectively, the “Insurance Policies”), indicating with respect to each
 such policy or fund, the type of insurance, policy number, annual premium, remaining term, identity of
 the insurer, coverage limits, applicable deductibles, and whether such policies are on an occurrence or
 claims made basis. Seller has made available to Buyer accurate and complete copies of all of such
 Insurance Policies. Seller has one or more “business interruption” Insurance Policies in customary form
 and amount covering the Business and the Purchased Assets [(which coverage includes post-Closing
 operations by Buyer with respect to pre-Closing incidents), and the proceeds of such Insurance


                                                      46
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 53 of 192
 Policies are assignable to Buyer as to the period following the Effective Time]. All of the Insurance
 Policies are now and will be until the Effective Time in full force and effect with no premium arrearages.
 All premiums due on the Insurance Policies have either been paid or, if due and payable on or prior to the
 Closing Date, will be paid prior to the Closing Date in accordance with the payment terms of each
 Insurance Policy. The Insurance Policies do not provide for any retrospective premium adjustment or
 other experience-based Liability on the part of Seller (except with respect to workers’ compensation
 policies). All Insurance Policies (a) are valid and binding in accordance with their terms; (b) are provided
 by carriers who are financially solvent; and (c) have not been subject to any lapse in coverage. There are
 no claims pending under any of the Insurance Policies as to which coverage has been questioned, denied
 or disputed or in respect of which there is an outstanding reservation of rights. Seller is not in default
 under, nor has Seller otherwise failed to comply with, in any material respect, any provision contained in
 any Insurance Policy. The Insurance Policies are of the type and in the amounts customarily carried by
 Persons conducting a business similar to the Business and are sufficient for compliance with all
 applicable Laws and Contracts to which Seller is a party or by which Seller or any of the Purchased
 Assets are bound. Seller has timely provided all notices required to be given under the Insurance Policies
 to the respective insurer with respect to all claims and actions covered by insurance, and no insurer has
 denied coverage of any such claims or actions or reserved its rights in respect of or rejected any such
 claims. Seller has not (i) received any notice or other communication from any insurer canceling or
 materially amending any of the Insurance Policies, and no such cancellation or amendment is threatened,
 or (ii) failed to present any claim which is still outstanding under any of the Insurance Policies.

          4.22   Employee Benefit Plans.

                   (a)    Schedule 4.22(a) contains a true and complete list of all of the following
 agreements, plans or other Contracts covering any Seller Employee, any current or former employee or
 director of Seller or any Seller Affiliate, any current or former leased employee, consultant or contractor
 of Seller or any Seller Affiliate, or any beneficiary or dependent thereof: (i) employee benefit plans within
 the meaning of Section 3(3) of the Employee Retirement Income Security Act of 1974, as amended
 (“ERISA”), whether or not subject to ERISA, and (ii) any employment, consulting, independent
 contractor, employee leasing, severance, termination or similar Contract and any other employee benefit
 plan, program, policy, or arrangement providing for compensation, bonuses, commission, profit-sharing,
 stock option or other stock- or equity-linked benefits or rights, incentive, deferred compensation, fringe
 benefits, vacation or paid-time-off benefits, insurance (including any self-insured arrangements), death,
 life, dental, vision, health or medical benefits, employee assistance, disability or sick leave benefits,
 workers’ compensation, supplemental unemployment benefits, retention, transaction, change of control
 payments, savings, pension, retirement, post-employment or retirement benefits or other employee
 compensation plan, program, policy, agreement, program, arrangement or commitment, in each case,
 whether written or unwritten, formal or informal, which Seller or any Seller Affiliate currently sponsors,
 or to which Seller or any Seller Affiliate has any outstanding present or future obligations to contribute or
 other Liability, whether voluntary, contingent or otherwise (collectively, the “Plans”).

                  (b)     Seller has provided an accurate and complete copy of the following documents to
 Buyer: (i) each Plan (including all plan documents and amendments thereto and summary of the material
 terms of any Plan that is not in writing); (ii) the most recent Form 5500 annual report with accompanying
 schedules and attachments filed with the IRS, (iii) the most recent Form 1094 and Form 1095 filed with
 the IRS, (iv) the most recent summary plan description (as well as any summary of material modifications
 thereto) or other summary or description provided to participants and beneficiaries for each Plan, (v) the
 current employee handbook or similar document of the Hospital and (vi) the most recently received
 determination or opinion letter, if any, issued by the IRS and each currently pending application to the
 IRS for a determination letter with respect to any Plan that is intended to qualify under Section 401(a) of
 the Code.

                                                      47
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 54 of 192
                    (c)     All contributions (including all employer contributions and Seller Employee
 salary reduction contributions), premiums and expenses to or in respect of the Plans have been timely
 paid in full or, to the extent not yet due, have been adequately accrued for in accordance with GAAP.

                 (d)     With respect to Seller and any entity that is required to be aggregated with Seller
 under Section 414 of the Code (Seller and such aggregated entities referred to collectively as the “ERISA
 Controlled Group”), (i) there is no “multiemployer plan” (as defined in Sections 4001(a)(3) or 3(37)(A)
 of ERISA) under which any member of the ERISA Controlled Group has any present or future
 obligations, whether contingent or otherwise, or under which Seller Employees or any other employee of
 Seller has any present or future right to receive benefits; (ii) none of the Plans and no plan that is or has
 been maintained or contributed to by a member of the ERISA Controlled Group is a pension plan subject
 to Title IV of ERISA, Section 302 of ERISA or Section 412 of the Code; and (iii) none of the Plans is a
 “multiple employer plan” (as defined in Section 413(c) of the Code) or a multiple employer welfare plan
 (as defined in Section 3(40) of ERISA); and (iv) none of the Plans is subject to the terms of a collective
 bargaining agreement. No Plan provides for post-employment health benefits to Seller Employees or
 former employee or beneficiaries thereof of Seller or any Seller Affiliate, except as required by COBRA,
 and then only to the extent that the former employee or beneficiary pays the full applicable premium for
 such COBRA coverage.

                  (e)      Except as set forth on Schedule 4.22(e), there are no Proceedings pending or, to
 the Knowledge of Seller, threatened, against Seller with respect to any Plans, other than routine claims for
 benefits in the ordinary course of business.

                  (f)     Each Plan has been operated and administered in material compliance with its
 terms and all applicable Laws, including ERISA and the Code. Seller and each member of the ERISA
 Controlled Group has complied with all of the continuation coverage requirements of COBRA and the
 requirements of Section 5000 of the Code. Each Plan that is intended to be Tax-qualified under Section
 401(a) of the Code (“Retirement Plans”) from which assets may be transferred or involved in a “direct
 rollover” (as defined in Section 401(a)(31) of the Code) to a Retirement Plan of Buyer has received a
 favorable determination letter or is entitled to rely on a favorable opinion letter from the IRS concerning
 the Tax-qualification of such Plan and no event or circumstance exists that would be reasonably expected
 to adversely affect such qualification.

                  (g)      Except as set forth on Schedule 4.22(g), neither the execution and delivery of this
 Agreement, nor the consummation of the Contemplated Transactions, either alone or in combination with
 another event (whether contingent or otherwise) will (i) entitle any Seller Employee, any current or
 former employee or director of Seller or any Seller Affiliate, or any current or former consultant or
 contractor of Seller or any Seller Affiliate to any payment or benefit; (ii) increase the amount or value of
 any payment, compensation or benefits due to any Seller Employee, any current or former employee or
 director of Seller or any Seller Affiliate, or any current or former consultant or contractor of Seller or any
 Seller Affiliate; or (iii) accelerate the vesting, funding or time of payment or delivery of any
 compensation, equity award or other payment or benefit; (iv) result in any Liability or commitment by
 Buyer or any of its Affiliates under, or with respect to, any Plan to any Seller Employee, any current or
 former employee or director of Seller or any Seller Affiliate, or any current or former consultant or
 contractor of Seller or any Seller Affiliate; or (v) result in any “parachute payment” within the meaning of
 Section 280G of the Code or any similar foreign, state or local Laws.

          4.23   Employee Matters.

                 (a)    Schedule 4.23(a) sets forth an accurate and complete list of all Seller Employees,
 their salary or wage rates, bonus and other compensation, Paid Time Off, recognized date of hire,


                                                      48
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 55 of 192
 department, job title, scheduled hours per week, status as part-time, full-time, PRN or temporary, name of
 employer, work location, and whether such Seller Employees are active or on a leave of absence (and, if
 so, the type of leave). Seller and each Plan have properly classified individuals providing services to
 Seller as independent contractors or employees and as exempt or non-exempt from the application of state
 and federal wage and hour Laws for all purposes, as the case may be, and have properly reported all
 compensation paid to such service providers for all purposes and no Proceeding has been initiated or
 threatened against Seller with respect to any of the foregoing. All Seller Employees are employees “at-
 will,” unless otherwise set forth on Schedule 4.23(a). Except as set forth on Schedule 4.17(a), Seller is
 not a party to any oral or written (i) employment agreement (including severance or change of control
 agreements), (ii) consulting agreement, or (iii) independent contractor agreement with any Person. No
 Seller Employee or other service provider of Seller or any Seller Affiliate has informed Seller or Seller
 Affiliates (whether orally in or writing) of any plan to terminate employment with or services for Seller or
 Seller Affiliates, and to the Knowledge of Seller, no such Person has any plans to terminate employment
 with or services for Seller or any Seller Affiliate.

                  (b)    Seller and the Seller Affiliates, as applicable, are not delinquent in payments to
 any of the Seller Employees for any wages, salaries, commissions, bonuses or other direct compensation
 for any services performed for any of them or any other amounts required to be reimbursed to such Seller
 Employees (including Paid Time Off and other benefits) or in the payment to the appropriate
 Governmental Authority of all required Taxes, insurance, Social Security and withholding thereon. As of
 the Effective Time, neither Seller nor any Seller Affiliate, as applicable, will have any Liability to any of
 the Seller Employees or to any Governmental Authority for any such matters that are not properly
 reflected on the Reference Balance Sheet.

                   (c)     Except as set forth on Schedule 4.23(c): (i) there is no pending or, to the
 Knowledge of Seller, threatened, employee strike, work stoppage or labor dispute at any of the Hospital,
 and none has ever occurred; (ii) to the Knowledge of Seller, no union representation question exists
 respecting the Seller Employees or any other employees of Seller or any Seller Affiliate, no demand has
 been made for recognition by a labor organization by or with respect to the Seller Employees or any other
 employees of Seller or any Seller Affiliate, no union organizing activities by or with respect to the Seller
 Employees or any other employees of Seller or Seller Affiliates are taking place, and none of the Seller
 Employees or any other employees of Seller or any Seller Affiliate is represented by any labor union or
 organization; (iii) no collective bargaining agreement exists, has existed or is currently being negotiated
 by Seller; (iv) there is no unfair labor practice claim against Seller before the National Labor Relations
 Board pending or, to the Knowledge of Seller, threatened, against or involving the Business or the
 Hospital; (v) Seller and each Seller Affiliate is in compliance with all Laws and Contracts to which Seller
 or such Seller Affiliate is a party respecting employment and employment practices, labor relations, terms
 and conditions of employment, and wages and hours with respect to the Seller Employees; (vi) neither
 Seller nor any Seller Affiliate is engaged in any unfair labor practices with respect to the Seller
 Employees; and (vii) there are no pending or, to the Knowledge of Seller, threatened, complaints or
 charges related to any of the Hospital before any Governmental Authority regarding employment
 discrimination, safety or other employment-related charges or complaints, wage and hour claims,
 unemployment compensation claims or workers’ compensation claims.

                  (d)     Seller is in compliance with the terms and provisions of the Immigration Act.
 For the Seller Employees for whom compliance with the Immigration Act is required, Seller has obtained
 and retained a complete and accurate copy of each such Seller Employee’s Form I9 (Employment
 Eligibility Verification Form) and all other records or documents required to be prepared, procured or
 retained pursuant to the Immigration Act. Seller has not been cited, fined, served with a Notice of Intent
 to Fine or with a Cease and Desist Order (as such terms are defined in the Immigration Act) at any of the
 Hospital, nor has any Proceeding been initiated or threatened against Seller in connection with the

                                                      49
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 56 of 192
 Business, by reason of any actual or alleged failure to comply with the Immigration Act.

                  (e)     Since January 1, 2013, neither Seller nor any Seller Affiliate has effectuated (i) a
 “plant closing” (as defined in the WARN Act or any similar state, local or foreign Law) affecting any site
 of employment or one or more Hospital or operating units within any site of employment or facility of
 Seller or any Seller Affiliate or (ii) a “mass layoff” (as defined in the WARN Act, or any similar state,
 local or foreign Law) affecting any site of employment or facility of Seller or any Seller Affiliate.

          4.24   Litigation.

                 (a)     Schedule 4.24 sets forth an accurate and complete list and summary description
 of all Proceedings with respect to Seller, the Business, or the Purchased Assets, as well as all Orders,
 settlements and conciliation Contracts under which Seller or any Seller Affiliate has current or future
 obligations with respect to the Business or the Purchased Assets. Except as set forth on Schedule 4.24,
 there are no Proceedings, Orders, compliance reports or information requests, subpoenas or production
 requests pending or, to the Knowledge of Seller, threatened, against or affecting (i) Seller or any Seller
 Affiliate with respect to the Business or the Purchased Assets, (ii) any Seller Employees or former
 employee or current or former agent of Seller or any Seller Affiliate, or (iii) any current or former medical
 staff member, supplier or contractor at law or in equity, or before or by any Governmental Authority.
 Neither Seller nor any of the Hospital have been subject to any formal or informal (for which Seller or a
 Facility has received notice) Proceeding of the OIG, CMS, the Justice Department, the United States
 General Accounting Office, the Mississippi Department of Health, the Mississippi Medicaid program or
 any other Governmental Authority. There are no Proceedings pending or threatened by Seller against any
 Person. No event has occurred or circumstances exist that may give rise to, or serve as a basis for, any of
 the foregoing.

                   (b)      To the Knowledge of Seller, Seller is not the subject of any governmental
 investigation or inquiry and, to the Knowledge of Seller, there is no valid basis for any of the foregoing.
 Neither Seller, nor any assets owned or used by Seller, are subject to any Order or unsatisfied judgment,
 penalty, award, settlement Contract or conciliation Contract. Seller has at all times been in compliance
 with each Order to which Seller, or any assets owned or used by Seller, is or has been subject. No event
 has occurred or circumstance exists that could constitute or result in (with or without notice or lapse of
 time) a violation of, or failure to comply with, any Order to which Seller, or any assets owned or used by
 Seller, is subject. Seller has not ever received any notice or other communication (whether oral or
 written) from any Governmental Authority or any other Person regarding any actual, alleged, or potential
 violation of, or failure to comply with, any Order to which Seller, or any assets owned or used by Seller,
 is subject.

                  (c)     Seller has not engaged in any transaction that would reasonably be expected to
 subject Seller (or any successor-in-interest) to any avoidance action with respect to the Purchased Assets.
 Without limiting the generality of the foregoing, Seller has not, with respect to the Purchased Assets,
 (i) received any material payments from its account debtors outside the ordinary course of business,
 (ii) acquired or sold any asset other than for reasonably equivalent value or (iii) conducted any business
 with any debtor-in-possession or bankrupt estate other than in the ordinary course of business.

                 (d)     There is no Proceeding or Order pending or, to the Knowledge of Seller,
 threatened, against or affecting Seller before any court or Governmental Authority that has or would
 reasonably be expected to have an adverse effect on Seller’s ability to perform under this Agreement or
 the other Transaction Documents with respect to any aspect of the Contemplated Transactions. Seller is
 not subject to any Order or other governmental restriction that would materially adversely affect the
 consummation of the Contemplated Transactions.


                                                      50
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 57 of 192
          4.25   Tax Matters. Except as set forth on Schedule 4.25:

                  (a)     Seller has timely filed all Tax Returns required to be filed by it, including all Tax
 Returns relating to the Purchased Assets and the Business (all of which are true, complete and correct in
 all material respects). All Taxes due and owing by Seller (whether or not shown on any Tax Return),
 including all Taxes with respect to the Purchased Assets and the Business, have been timely paid. Seller
 has not waived any statute of limitations in respect of Taxes or agreed to any extension of time with
 respect to a Tax assessment or deficiency. Seller is not currently the beneficiary of any extension of time
 within which to file any Tax Return.

                  (b)     Seller has withheld and timely paid all Taxes required to have been withheld and
 paid in connection with amounts paid or owing to any Seller Employee, independent contractor, creditor,
 or other third party, and all IRS Forms W-2 and 1099 required with respect thereto have been properly
 completed and timely filed. All Persons who have provided services to Seller as independent contractors
 for Tax purposes were properly classified.

                 (c)    Seller has not taken, and Seller will not take, any action in respect of any Taxes
 (including any withholdings required to be made in respect of Seller Employees) that may have an
 adverse impact upon the Purchased Assets as of or subsequent to the Effective Time.

                  (d)     There are no Tax Encumbrances on any of the Purchased Assets and no basis
 exists for the imposition of any such Encumbrances.

                 (e)     No deficiencies for Taxes have been claimed, proposed or assessed by any
 Governmental Authority for which Seller may have any Liability or which may attach to the Purchased
 Assets. There are no pending or threatened Proceedings for or relating to any Liability in respect of
 Taxes for which Seller may have any Liability or which may attach to the Purchased Assets. There are no
 matters under discussion by Seller with any Governmental Authority with respect to Taxes that may result
 in an additional amount of Taxes for which Seller may have any Liability or which may attach to the
 Purchased Assets.

                  (f)      Seller is not a party to any Tax allocation or sharing agreement or has any
 Liability with respect to any such agreement.

                 (g)    There is no Contract or plan to which Seller is a party that requires Seller to pay a
 Tax gross-up or reimbursement payment to any Person.

                (h)       None of the Purchased Assets is an interest in a joint venture, partnership or other
 arrangement that is or should be treated as a partnership for Tax purposes.

                  (i)     No Tax Return relating to the Purchased Assets or the Business that was filed by
 Seller contains, or was required to contain, a disclosure statement under Section 6662 of the Code (or any
 predecessor provision or comparable provision of state, local or foreign Law). Seller has not entered into
 any “reportable transaction” as defined in Treasury Regulation Section 1.6011-4(b). Seller has no
 Liability for unpaid Taxes relating to the Purchased Assets or the Business of any Person as a former
 member of an affiliated group or as a transferee or successor, by contract, or otherwise. Seller has not
 agreed and is not required to make any adjustment under Section 481(a) of the Code by reason of a
 change in accounting method, and the IRS has not proposed any such adjustment or change in accounting
 method used by Seller.

                 (j)      Seller has (i) timely paid all sales and use Taxes required to be paid under all


                                                      51
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 58 of 192
 applicable Laws, (ii) properly collected and remitted all sales Taxes required under all applicable Laws,
 and (iii) for all sales that are exempt from sales Taxes and that were made without charging or remitting
 sales or similar Taxes, received and retained any appropriate Tax exemption certificates and other
 documentation qualifying such sale as exempt.

                   (k)     If Seller is a nonprofit corporation, then it (i) is an organization described in
 Section 501(c)(3) of the Code and exempt from taxation to the extent described in Section 501(a) of the
 Code, (ii) is not a private foundation within the meaning of Section 509(a) of the Code, (iii) is in
 possession of a determination letter from the Internal Revenue Service regarding its federal income Tax
 exemption, which determination letter has not been revoked or otherwise modified, (iv) is in compliance
 in all material respects with all applicable Laws pertaining to the operation of an organization described in
 Section 501(c)(3) of the Code, including, requirements as to private benefit, inurement, self-dealing,
 conflicts of interest, private business use and other applicable requirements, (v) is in compliance in all
 material respects with all applicable requirements of Section 501(r) of the Code if Seller is classified as a
 “hospital” pursuant to Section 170(b)(1)(A)(iii) of the Code and (vi) has not entered into any transaction
 which has constituted or may constitute an “excess benefit transaction” within the meaning of Section
 4958 of the Code and the Treasury Regulations thereunder.

                 (l)      Seller has (i) timely filed or caused to be filed with the appropriate Governmental
 Authority all reports required to be filed with respect to any unclaimed property and has remitted to the
 appropriate Governmental Authority all unclaimed property required to be remitted, or (ii) delivered or
 paid all unclaimed property to its original or proper recipient. None of the Purchased Assets is
 escheatable to any Governmental Authority under any applicable Laws.

          4.26   Environmental Matters. Except as set forth on Schedule 4.26:

                (a)     Seller has at all times complied, and is in compliance with, and the Real Property
 and all improvements on the Real Property are in compliance with, all Environmental Laws.

                   (b)     Seller has no Liability under any Environmental Law with respect to any of the
 Purchased Assets or the Real Property, and Seller is not responsible for any Liability of any other Person
 under any Environmental Law with respect to any of the Purchased Assets or the Real Property. There
 are no pending or, to the Knowledge of Seller, threatened, Proceedings or Orders based on, and neither
 Seller nor any Seller Affiliate has received any formal or informal notice of any complaint, Order,
 directive, citation, notice of responsibility, notice of potential responsibility, or information request from
 any Governmental Authority or any other Person arising out of or attributable to any Environmental
 Condition or alleged noncompliance with any Environmental Law, nor does any fact exist that would
 reasonably be expected to form the basis for any such actions or notices arising out of or attributable to
 any Environmental Condition or alleged noncompliance with any Environmental Law.

                 (c)     There are no Environmental Conditions existing at, underneath, or migrating to
 or from the Real Property, nor are there any Environmental Conditions resulting from, or which could
 reasonably be expected to result from, the operation of the Business or the Real Property.

                 (d)      Seller has been duly issued, and currently have and will maintain through the
 Effective Time, all Approvals and Permits required under any Environmental Law with respect to any of
 the Hospital. A true and complete list of such Approvals and Permits, all of which are valid and in full
 force and effect, is set forth on Schedule 4.26, and any Approvals and Permits presently undergoing
 modification or renewal are described as such on Schedule 4.26. There are no Proceedings pending or, to
 the Knowledge of Seller, threatened, that seek the revocation, cancellation, suspension or adverse
 modification of any such Approval or Permit. All required applications for renewal thereof have been


                                                      52
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 59 of 192
 timely filed. No such Approval or Permit will terminate as a result of the consummation of the
 Contemplated Transactions, and no such Approval or Permit is required to be transferred to Buyer or any
 of its Affiliates as of the Effective Time in order for Buyer to lawfully operate each Facility as presently
 operated on and after the Effective Time. Seller is, and at all times have been, in compliance with such
 Approvals and Permits. Except in accordance with such Approvals and Permits, there has been no release
 of material regulated by such Approvals and Permits at, on, under, or from the Real Property in violation
 of Environmental Laws.

                 (e)     The Real Property contains no underground improvements, including treatment
 or storage tanks, or underground piping associated with such tanks, used currently or in the past for the
 management of Hazardous Materials, and no Person has used any portion of the Real Property as a dump
 or landfill.

                  (f)      Seller has provided to Buyer all environmental audits, reports and assessments
 concerning the Hospital, the Real Property or the Business that are in the possession, custody or control of
 Seller or any Seller Affiliate.

                (g)     Seller will promptly furnish to Buyer written notice of any Environmental
 Condition or of any actions or notices described in this Section 4.26 arising or received after the date
 hereof.

                (h)    No PCBs, lead-based paint, or asbestos-containing materials (each as defined in
 Environmental Laws) are present on or in the Real Property or the improvements thereto.

                (i)     No Encumbrance in favor of any Person relating to or in connection with any
 claim under any Environmental Law has been filed or has attached to the Real Property.

          4.27     Absence of Changes. Since the Balance Sheet Date, Seller has conducted the Business
 in the ordinary course of business and there has not occurred any change in the operation of the Business
 or any event or development that, individually or in the aggregate, has had or could reasonably be
 expected to have a Material Adverse Effect. Since the Balance Sheet Date, Seller has not taken any
 action that, if taken after the date of this Agreement, would constitute a breach of any of the covenants set
 forth in Section 6.2.

         4.28      Affiliate Transactions. Except as set forth on Schedule 4.28, no Seller Affiliate, directly
 or indirectly: (a) provides any services to the Business or is a lessor, lessee, or supplier to the Business;
 (b) has any cause of action or other claim whatsoever against or owes any amount to, or is owed any
 amount by, Seller; (c) has any financial interest in or owns property or rights used in the Business; (d) is a
 party to any Contract relating to the Purchased Assets or the Business (other than compensation or
 employee benefits payable in the ordinary course of business); (e) received from or furnished to Seller
 any goods or services; or (f) has any financial interest in, or serves as an officer, manager, director of any
 customer, competitor or vendor, or supplier of the Business.

          4.29 Brokers and Finders. Except as set forth on Schedule 4.29, there are no claims for
 brokerage commissions, finders’ fees, financial advisors’ fees or similar compensation in connection with
 the Contemplated Transactions based on any Contract to which Seller is a party or that is otherwise
 binding upon Seller, and no Person is entitled to any fee or commission or like payment in respect
 thereof.

         4.30   Statements True and Correct. The representations and warranties of Seller contained
 in this Agreement and the other Transaction Documents, the statements contained in the Schedules or


                                                      53
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 60 of 192
 certificates or other documents furnished, or to be furnished, to Buyer pursuant to this Agreement and the
 information furnished, or to be furnished, to Buyer and Buyer’s Representatives by Seller pursuant to this
 Agreement or in connection with the Contemplated Transactions do not and will not contain any untrue
 statement of a material fact, or omit to state any material fact necessary to make the statements or facts
 contained therein with respect to Seller, the Business or the Purchased Assets not misleading.]

 5.       REPRESENTATIONS AND WARRANTIES OF BUYER.

         Buyer hereby represents and warrants to Seller that the statements contained in this Article 5 are
 true and correct as of the date of this Agreement and will be true and correct as of the Closing Date
 (except in the case of representations and warranties that are made as of a specified date, in which case
 such representations and warranties will be true and correct as of such specified date).

          5.1    Organization; Capacity. Buyer is a [●] duly organized, validly existing and in good
 standing under the Laws of the State of [Delaware]. Buyer has the requisite power and authority to enter
 into this Agreement and the other Transaction Documents to which Buyer will become a party hereunder
 and to perform its obligations hereunder and thereunder.

          5.2    Authority; Non-contravention; Binding Agreement.

                  (a)     The execution, delivery and performance by Buyer of this Agreement and the
 other Transaction Documents to which it is a party or will become a party, and the consummation by
 Buyer of the Contemplated Transactions and its obligations under the Transaction Documents, as
 applicable (i) are within Buyer’s [●] powers and are not, and will not be, in contravention or violation of
 the terms of Buyer’s organizational or governing documents; (ii) except as set forth on Schedule 5.2, do
 not require any Approval of, filing or registration with, the issuance of any Permit by, or any other action
 to be taken by, any Governmental Authority to be made or sought by Buyer; and (iii) assuming the
 Approvals and Permits set forth on Schedule 5.2 are obtained, do not and will not require any Approval or
 other action under, conflict with, or result in any violation of or default under (with or without notice or
 lapse of time or both) any Order or Law to which Buyer may be subject.

                   (b)     This Agreement and the other Transaction Documents to which Buyer is or will
 become a party are and will constitute the valid and legally binding obligations of Buyer and are and will
 be enforceable against Buyer in accordance with the respective terms hereof and thereof, except as
 enforceability may be restricted, limited or delayed by applicable bankruptcy or other Laws affecting
 creditors’ rights generally and except as enforceability may be subject to general principles of equity.

         5.3      Litigation. There is no Proceeding or Order pending or, to the Knowledge of Buyer,
 threatened against or affecting Buyer or any of its properties or rights that challenges or may otherwise
 have the effect of preventing, rendering illegal or otherwise delaying the Contemplated Transactions.

          5.4      Brokers and Finders. There are no claims for brokerage commissions, finders’ fees,
 financial advisors’ fees or similar compensation in connection with the Contemplated Transactions based
 on any Contract to which Buyer is a party or that is otherwise binding upon Buyer, and no Person is
 entitled to any fee or commission or like payment in respect thereof.

          5.5      Statements True and Correct. The representations and warranties of Buyer contained
 in this Agreement and the other Transaction Documents, the statements contained in the Schedules or
 certificates or other documents furnished, or to be furnished, to Seller pursuant to this Agreement and the
 information furnished, or to be furnished, to Seller and Seller’s respective Representatives by Buyer
 pursuant to this Agreement or in connection with the Contemplated Transactions do not and will not


                                                     54
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 61 of 192
 contain any untrue statement of a material fact, or omit to state any material fact necessary to make the
 statements or facts contained therein with respect to Buyer not misleading.

 6.       PRE-CLOSING COVENANTS OF SELLER AND BUYER.

          6.1     Access to Premises; Information. From the date of this Agreement until the Effective
 Time, to the extent permitted by Law, Seller and Curae shall, and shall cause the Seller Affiliates to,
 allow Buyer, its Affiliates and its and their respective authorized Representatives access to, and the right
 to inspect, the Hospital, properties, Contracts, papers, and Books and Records of Seller and any Seller
 Affiliate relating to the Business or the Purchased Assets, and will furnish Buyer with such additional
 financial and operating data and other information relating to the Business or the Purchased Assets as
 Buyer may from time to time request without regard to where such information may be located. Seller
 and Curae will furnish to Buyer’s and its Affiliates’ Representatives access, upon reasonable prior notice
 and during normal business hours, to the Seller Employees and the officers and agents of Seller who have
 responsibility for the operation of the Business and the Hospital. Buyer’s and its Affiliates’ right of
 access and inspection shall be made in such a manner as not to unreasonably interfere with the Business.

          6.2     Conduct of Business. From the date of this Agreement until the Effective Time, Seller
 and Curae will, except as ordered by the Bankruptcy Court or limited by restrictions or limitations under
 the Bankruptcy Code on chapter 11 debtors, (a) conduct the Business in the ordinary course of business;
 (b) preserve intact its corporate existence and business organization; (c) use its commercially reasonable
 efforts to preserve the goodwill and present business relationships (contractual or otherwise) with all
 customers, suppliers, resellers, Seller Employees, licensors, distributors and others having business
 relationships with it, in each case with respect to the Business; (d) make all normal repairs, maintenance
 and planned capital expenditures with respect to the Business; (e) use its commercially reasonable efforts
 to preserve in all material respects its present properties used in or related to the operation of the
 Business, including the Personal Property; (f) comply in all material respects with all applicable Laws and
 all Material Contracts; (g) pay all Liabilities of the Business arising after the filing of the Bankruptcy
 Case as such Liabilities become due and payable; and (h) maintain all existing Approvals and Permits
 applicable to the Business. Without limiting the foregoing, and as an extension thereof, except as set
 forth on Schedule 6.2 or as expressly permitted by any other provision of this Agreement, Seller will not,
 from the date of this Agreement until the Effective Time, directly or indirectly, do, agree or commit to do,
 or take any action, or fail or omit to take any action that would result in, any of the following without the
 prior written consent of Buyer:

                          (i)     sell, lease, license, assign, convey, distribute or otherwise transfer or
          dispose of any of the Purchased Assets, except dispositions of Inventory in the ordinary course of
          business, with comparable replacement thereof;

                          (ii)    fail to maintain the Purchased Assets in at least as good condition as they
          are being maintained on the date hereof, subject to normal wear and tear;

                         (iii)    mortgage, pledge or subject to any Encumbrance any portion of the
          Purchased Assets, other than Permitted Encumbrances;

                          (iv)   incur any Indebtedness or guarantee any Indebtedness other than Debtor-
          in-Possession Financing approved by the Bankruptcy Court;

                          (v)     amend, modify, accelerate or terminate, as applicable, any Assumed
          Contract or Permit;



                                                      55
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                   Document    Page 62 of 192
                         (vi)    waive, release, assign, settle or compromise any material rights or
          claims, or any material litigation or arbitration with respect to the Business or the Purchased
          Assets;

                           (vii)    disclose to any Person that is not subject to any confidentiality or non-
          disclosure agreement, or otherwise fail to maintain or protect the confidentiality of, any Trade
          Secrets of, or related to, the Business (including source code included in the Owned Intellectual
          Property) or other Confidential Information;

                           (viii) (A) increase the compensation or benefits payable or to become payable
          to any Physician or other Referral Source of Seller, any Seller Employee, or any director,
          manager, officer or consultant of the Business; (B) grant or increase any rights to change in
          control, severance or termination payments or benefits to, or enter into any change in control,
          employment, consulting or severance agreement with, any Seller Employee or any other Person,
          including any director, manager, officer or consultant of the Business; (C) establish, adopt, enter
          into, amend, modify or terminate any Plan, except to the extent required by applicable Laws; or
          (D) take any affirmative action to amend or waive any performance or vesting criteria or
          accelerate vesting, exercisability or funding under any Plan;

                           (ix)  (A) make loans or advances to, guarantees for the benefit of, or any
          investments in any Person or (B) cancel any Indebtedness owed to Seller or waive any claims or
          rights of value;

                         (x)     make any change in the accounting policies, practices, principles,
          methods or procedures of the Business, other than as required by GAAP or by applicable Laws;

                           (xi)    (A) accelerate or delay collection of notes receivable or accounts
          receivable in advance of or beyond its regular due dates or the dates when the same would have
          been collected in the ordinary course of business; (B) delay or accelerate payment of any account
          payable related to the Business in advance of or beyond its due date or the date such Liability
          would have been paid in the ordinary course of business; (C) make any changes to the cash
          management policies of any of the Hospital; (D) delay or postpone the repair or maintenance of
          the Hospital; or (E) vary any inventory purchase practices of any of the Hospital in any material
          respect from past practices;

                           (xii)    make any capital expenditure commitment in excess of $15,000 for
          additions to property, plant, equipment, intangible or capital assets of the Business or for any
          other purpose, other than for routine and customary repairs or replacement, the payment of which
          is to be made prior to the Closing Date;

                           (xiii) fail to keep in force the Insurance Policies or replacement or revised
          provisions providing insurance coverage with respect to the Purchased Assets or the Business as
          are currently in effect;

                           (xiv) take or omit to take any action that, individually or in the aggregate,
          could reasonably be expected to result in any representation or warranty of Seller to be untrue,
          result in a breach of any covenant made by Seller in this Agreement, would require disclosure
          pursuant to Section 6.4 or could reasonably be expected to result in any condition set forth in
          Article 8 not being satisfied;




                                                      56
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                   Document    Page 63 of 192
                          (xv)    enter into any new line of business or make any material change in the
          Business or the operation of the Purchased Assets;

                          (xvi) acquire (including by merger, consolidation, license or sublicense) any
 interest in any Person or material portion of the assets or business of any Person, or otherwise acquire any
 material asset other than in the ordinary course of business; or

                          (xvii) (A) make or change any election concerning Taxes; (B) file any amended
 Tax Return; (C) enter into any closing Contract or settle any Tax claim, or assessment; (D) consent to any
 extension or waiver of the limitation period applicable to any Tax claim Proceeding or assessment; or (E)
 omit to take any action relating to the filing of any Tax Return or the payment of any Tax in each case,
 relating to the Purchased Assets or the Business.

          6.3    Consents to Assignment.

                  (a)     Buyer, with Seller’s assistance as requested by Buyer, shall be responsible for
 obtaining or delivering, and shall use commercially reasonable efforts to obtain or deliver, as applicable,
 prior to the Closing, any and all consents or notices to assign any Assumed Contract necessary or
 desirable in connection with the Contemplated Transactions; provided that Buyer shall be responsible for
 paying any necessary Cure Amounts as provided in Section 2.3(b) herein. Each Party shall cooperate
 with the other as reasonably requested to obtain any such consents or deliver any such notices.

                  (b)     Anything contained herein to the contrary notwithstanding, unless such Assumed
 Contract is assignable without the consent of any other party pursuant to the Bankruptcy Code or other
 applicable Law, this Agreement shall not constitute an agreement to assign any Assumed Contract if an
 attempted assignment thereof without the consent of another party thereto would constitute a breach
 thereof or in any material way adversely affect the rights of Seller thereunder (or the rights of Buyer
 thereunder following the Effective Time), unless such consent is obtained. If such consent is not
 obtained, or if an attempted assignment would be ineffective or would materially and adversely affect the
 rights of Seller thereunder (or the rights of Buyer thereunder following the Effective Time), then Seller
 shall, upon the request of Buyer, cooperate in any reasonable arrangement designed to provide for Buyer
 the benefits under any such Assumed Contract, including enforcement of any and all rights of Seller
 against the other party or parties thereto. To the extent Buyer cannot receive the benefit of an Assumed
 Contract due to the failure or inability to obtain the necessary consent from the counterparty to such
 Assumed Contract, then, at Buyer’s option, such Contract shall be deemed an Excluded Contract, and all
 Liabilities with respect to such Contract shall be Excluded Liabilities. Notwithstanding anything
 contained in this Section 6.3(b) to the contrary, the Parties may mutually agree to assign an Assumed
 Contract to Buyer pursuant to the Assignment and Assumption Agreement notwithstanding the failure to
 obtain any consent thereto (the “Agreed Upon Assignments”).

                  (c)      If, prior to the Closing, Buyer discovers information regarding an Assumed
 Contract that causes Buyer to determine in its reasonable discretion that such Assumed Contract may
 violate applicable Laws or Buyer’s written policies, Buyer shall have the right to designate such Assumed
 Contract as an Excluded Contract by giving Seller written notice of such election prior to the Closing
 Date, and as a result, such Contract shall be deemed an Excluded Contract.

          6.4    Notification of Certain Matters.

                  (a)    From the date of this Agreement until the Closing Date, Seller shall give prompt
 written notice to Buyer of (i) the occurrence, or failure to occur, of any event, circumstance or fact that is
 reasonably likely to cause any representation or warranty of Seller contained in this Agreement to be


                                                      57
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 64 of 192
 untrue in any material respect; (ii) any failure of Seller to comply with or satisfy, in any material respect,
 any covenant, condition or agreement to be complied with or satisfied by it under this Agreement; and
 (iii) any other material development affecting the Purchased Assets or the Assumed Liabilities. Such
 notice shall provide a reasonably detailed description of the relevant circumstances and shall include the
 amount that Seller believes, based on facts known to Seller, would be payable by Seller pursuant to the
 indemnification provisions set forth in Article 10. The content of any notice or update delivered by Seller
 to Buyer prior to the Closing Date pursuant to this Section 6.4 shall not be deemed to amend or
 supplement the Schedules or to modify the applicable representations, warranties and covenants contained
 in this Agreement or the other Transaction Documents for purposes of determining whether applicable
 conditions precedent in Article 8 are satisfied or for purposes of determining or calculating Seller’s
 indemnification obligations set forth in Article 10.

                  (b)    If (i) Seller discovers at any time following the date of this Agreement that any
 Material Contract exists that is not disclosed on Schedule 4.17(a) or any Contract exists that is not
 disclosed on Schedule 2.1(l); or (ii) Seller enters into a Contract between the date of this Agreement and
 the Closing Date that would be required to be disclosed on Schedule 4.17(a) or Schedule 2.1(l), then
 Seller shall promptly notify Buyer of such fact and provide Buyer with an accurate and complete copy of
 such Contract. Buyer may, in its sole discretion, designate such Contract either as an Assumed Contract
 or Excluded Contract, and if Buyer elects to treat such Contract as an Assumed Contract, the Parties shall
 update Schedule 2.1(l) accordingly.

          6.5     Approvals. Between the date of this Agreement and the Closing Date, (a) Buyer, at its
 sole cost and expense, shall take all reasonable steps to obtain as promptly as practicable all Approvals
 and Permits necessary for Buyer’s operation of the Business following the Effective Time, and (b) Seller,
 at its sole cost and expense, shall take all reasonable steps to obtain as promptly as practicable all
 Approvals and Permits necessary for Seller to transfer the Purchased Assets to Buyer. Notwithstanding
 the foregoing, Buyer and Seller agree to cooperate with each other and to provide such information and
 communications to each other or to any Governmental Authority as may be reasonably requested in order
 to obtain the Approvals and Permits contemplated above or otherwise necessary to consummate the
 Contemplated Transactions. Seller and Buyer will, and will cause their respective counsel to, supply to
 each other copies of all material correspondence, filings or written communications by such Party or its
 Affiliates with any Governmental Authority or staff members thereof, with respect to the Contemplated
 Transactions.

          6.6    Title and Survey Matters.

                   (a)     Buyer has received or will receive commitments (the “Commitments”) from the
 Title Company to issue as of the Effective Time a Mississippi form owner’s or lessee’s, as appropriate,
 policy of title insurance with all endorsements, as reasonably required by Buyer (the “Title Policy”) for
 the Owned Real Property and the Leased Real Property in which Seller owns a leasehold interest in the
 land relating to such Leased Real Property, together with appurtenant easements, improvements,
 buildings and fixtures thereon, in amounts equal to the value assigned to such Real Property by Buyer.
 The Parties agree that the Title Company shall be responsible for all underwriting decisions with respect
 to the policy or policies issued pursuant to the Commitments. The Commitments provide for the issuance
 of the Title Policy to Buyer as of the Effective Time and shall insure fee simple title to the Owned Real
 Property and a leasehold interest for the Leased Real Property in which Seller owns a leasehold interest in
 the land relating to such Leased Real Property, subject only to the Permitted Encumbrances and without
 standard exceptions. Seller will deliver any information as may be required by the Title Company under
 the requirements section of the Commitments or otherwise in connection with the issuance of the Title
 Policy. Seller will provide an affidavit of title and/or such other information as the Title Company may
 reasonably require in order for the Title Company to insure over the “gap” (i.e., the period of time

                                                      58
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 65 of 192
 between the effective date of the title insurance company’s last checkdown of title to the Real Property
 and the Effective Time) and to cause the Title Company to delete all standard exceptions from the Title
 Policy and to provide mechanic’s and materialmen’s lien coverage.

                 (b)      Buyer has received or will receive, at its expense, ALTA surveys of the land and
 improvements comprising the Owned Real Property and the Leased Real Property in which Seller owns a
 leasehold interest in the land relating to such Leased Real Property (collectively, the “Surveys”) from a
 Mississippi-licensed surveyor selected by Buyer (the “Surveyor”). The legal descriptions of the surveyed
 Real Property created by the Surveyor shall be used to convey title to Buyer pursuant to the Deeds
 described in Section 3.2(a). The Surveys will comply in all respects with the minimum detail
 requirements of the ALTA/American Congress on Survey and Mapping as such requirements are in effect
 on the date of preparation of the Surveys and are sufficient for the Title Company to remove all standard
 survey exceptions from the Title Policy and issue a survey endorsement acceptable to Buyer. The
 Surveys are or will be certified to Buyer, the Title Company and to any other Person as Buyer directs.

                   (c)      Buyer shall notify Seller within ten (10) Business Days after the later to occur of
 (i) the receipt of the last component of the Title Evidence, or (ii) the date of this Agreement, of any liens,
 claims, encroachments, exceptions or defects disclosed in the Title Evidence (collectively, the
 “Objections”). Seller shall, at its sole cost and expense, (A) cure the Objections on or before the Closing,
 (B) cause the Title Company to (1) delete the Objections from the Commitment, or (2) agree to add a
 provision, if available, to the Title Policy obligating the Title Company to protect the Buyer against all
 Losses that may be incurred on account of each of the Objections. Notwithstanding the forgoing, Seller
 shall take all actions necessary to cure, or cause the Title Company to insure over, any monetary
 Encumbrances encumbering the Real Property. If Seller fails to cure any Objection in one of the manners
 provided above on or before the sixtieth (60th) day following Seller’s receipt of notice of such Objection,
 the Buyer may (I) waive such Objection and close the Contemplated Transactions, subject to any
 satisfaction or waiver of the remaining closing conditions in Article 8 and Article 9, or (II) terminate this
 Agreement. Any matters shown by the Title Evidence to which Buyer does not object or which are
 waived by Buyer as herein provided shall be deemed to be Permitted Encumbrances. Notwithstanding
 anything contained in this Section 6.6(c) to the contrary, at the Closing, Seller will cause all mortgages,
 deeds of trust, mechanic’s and materialmen’s liens and other similar Encumbrances (other than Permitted
 Encumbrances) encumbering Seller’s fee interest in the Real Property and arising by, through or under
 Seller or any Seller Affiliate, to be released.

          6.7     Additional Financial Information. On or before the third business day of every week,
 Seller shall provide Buyer a weekly cash flow update which compares actual cash flows with projected
 cash flows filed with the Bankruptcy Court. Within fifteen (15) days following the end of each calendar
 month between the date of this Agreement and the Closing Date, Seller will deliver to Buyer copies of the
 unaudited consolidated balance sheets and the related unaudited consolidated statements of operations
 relating to the Business for each month then ended and any additional financial statements or information
 to the extent prepared in the ordinary course of business, including key volume and payor mix data,
 income statements and statements of cash flows. Such financial statements shall be prepared from and in
 accordance with the Books and Records of Seller, shall fairly present the financial position and results of
 operations of the Business as of the date and for the period indicated, and shall be prepared in accordance
 with GAAP, consistently applied, except that such financial statements need not include required footnote
 disclosures, nor reflect normal year-end adjustments or adjustments that may be required as a result of the
 Contemplated Transactions. All interested buyers who execute applicable confidentiality agreements
 shall be afforded the same access to Seller’s information as Buyer.

        6.8      Closing Conditions. Between the date of this Agreement and the Closing Date, Seller
 and Buyer will use their commercially reasonable efforts to cause the conditions specified in Article 8 and

                                                      59
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 66 of 192
 Article 9 over which Seller, any Seller Affiliate, Buyer or any of its Affiliates, as applicable, have control
 to be satisfied as soon as reasonably practicable.

          6.9    Interim Operating Reporting. During the period from the date of this Agreement until
 the Closing Date, Seller shall cause its Representatives to confer from time to time as requested by Buyer
 with one or more Representatives of Buyer to report material operational matters in respect of the
 Hospital and to report the general status of ongoing operations. Seller shall notify Buyer in writing of any
 adverse change in the financial position or earnings of the Hospital after the date of this Agreement and
 prior to the Closing Date and any unexpected emergency or other unanticipated change in the Hospital
 and of any complaints or Proceedings (or communications indicating that the same may be contemplated)
 by or on behalf of Governmental Authorities or of any other such matter and shall keep Buyer fully
 informed of such events.

         6.10     Insurance Ratings. Seller will take all action reasonably requested by Buyer to enable
 Buyer to succeed to the Workmen’s Compensation and Unemployment Insurance ratings of the Hospital
 and other ratings for insurance or other purposes established by Seller for the Hospital. Buyer shall not be
 obligated to succeed to any such rating, except as it may elect to do so.

          6.11     Bulk Sales Law. Buyer and Seller hereby arise compliance with any provisions of any
 bulk sales, bulk transfer or similar Laws of any jurisdiction that may otherwise be applicable. Any
 Liabilities arising out of the failure of Seller to comply with the requirements and provisions of any such
 laws shall be treated as Excluded Liabilities.

         6.12    Social Media Accounts. Immediately prior to the Closing Date, Seller shall grant Buyer
 exclusive access rights and permissions to the social media accounts owned or operated by Seller set forth
 on Schedule 4.16(a).

          6.13    Marketing Activities. There shall be no restrictions on Seller’s or Seller Affiliates’ and
 their respective Representatives marketing activities consistent with the Sale Procedures Order.

          6.14   Confidentiality.

                 (a)      It is understood by the Parties that certain of their obligations under the
 Confidentiality Agreement will survive the execution and delivery of this Agreement until their expiration
 in accordance with the terms of the Confidentiality Agreement.

                 (b)     Unless the prior written consent of the other Parties is obtained, except as
 otherwise required by applicable Laws, or in connection with the seeking of any Approval or Permit
 contemplated by this Agreement or any consent to the assignment of any of the Assumed Contracts or as
 reasonably necessary to satisfy any of the Parties’ conditions or pre-Closing covenants, each of the Parties
 shall keep confidential and not disclose, and cause its Affiliates, its Representatives, and its Affiliates’
 Representatives to keep confidential and not disclose the terms and status of this Agreement and the other
 Transaction Documents, the Contemplated Transactions and the identity of the other Parties.
 Notwithstanding the foregoing, each of the Parties shall have the right to communicate and discuss with,
 and provide to, its respective Representatives, any information regarding the terms and status of this
 Agreement and the other Transaction Documents and the Contemplated Transactions.

                 (c)      Prior to the Closing, unless otherwise required by applicable Laws (in which case
 the disclosing Party will use its commercially reasonable efforts to notify the non-disclosing Party of such
 disclosure), no Party shall make any public announcements in respect of this Agreement or the
 Contemplated Transactions or otherwise communicate with any news media in connection therewith


                                                      60
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 67 of 192
 without the prior written consent of the other Party. To the extent that any press releases or public
 announcements are to be issued or made following the Closing to patients, customers, vendors, and
 employees relating to the Contemplated Transactions the timing and content of such press releases and
 public announcements shall be determined jointly agreed to by Buyer and Seller.

                 (d)      Notwithstanding the foregoing, (i) any Party may disclose Confidential
 Information received from any other Party in an action or Proceeding brought by a Party in pursuit of its
 rights or in exercise of its remedies hereunder, and (ii) disclosure of matters that become a matter of
 public record as a result of the Bankruptcy Case and the filings related thereto shall not constitute a
 breach of this Agreement or the Confidentiality Agreement.

          6.15     Casualty. If any part of the Purchased Assets (including any Facility) is damaged, lost or
 destroyed (whether by fire, theft, vandalism or other cause or casualty), in whole or in part, prior to the
 Effective Time (such damaged, lost or destroyed assets, the “Damaged Assets”), Buyer may, at its
 option, (a) reduce the Purchase Price by the greater of (i) the fair market value of the Damaged Assets
 (such value to be determined as of the date immediately prior to such damage, loss or destruction) plus an
 amount equal to the estimated revenues in excess of expenses for the Hospital during any period of repair
 or reconstruction that extends beyond the Closing (the “Estimated Business Loss”), or (ii) the estimated
 cost to replace or restore the Damaged Assets plus an amount equal to the Estimated Business Loss, (b)
 require Seller to transfer the proceeds (or the right to the proceeds) of the applicable Insurance Policies
 covering the Damaged Assets (including the business interruption Insurance Policy covering the
 Business) to Buyer at the Closing plus an amount equal to any deductibles paid or incurred by Seller, or
 (c) if the fair market value of the Damaged Assets is greater than $2,000,000 or if a Facility has suffered
 material damage, terminate this Agreement. Any reduction in the Purchase Price pursuant to this Section
 6.15 shall be determined by [Value Management Group L.L.C. d/b/a VMG Health], and the costs and
 expenses of such firm shall be paid by Seller. Until the Effective Time, Seller will bear all risk of loss
 with respect to the Damaged Assets.

          6.16   Insurance Policies. [reserved]

        6.17   Bankruptcy Court Approval; Executory Contracts; Sale Procedures; and Stalking
 Horse Provisions.

                  (a)    Within two (2) business days following the execution of this Agreement, Seller
 shall file the Sale Procedures Motion with the Bankruptcy Court, in form and substance approved by
 Buyer, seeking approval of the transactions contemplated by this Agreement and the procedures for
 bidding at any Auction.

                   (b)     Seller shall deliver or cause to be delivered to Buyer for review and comment all
 documents to be filed by Seller with the Bankruptcy Court that relate to the transactions contemplated by
 this Agreement, as soon as commercially reasonable and in any event not less than one (1) Business Day
 prior to filing, including all motions, proposed orders, applications, and supporting papers prepared by
 Seller, prior to filing such documents. All motions, proposed orders, applications and supporting papers
 prepared by Seller and relating to the transactions contemplated by this Agreement to be filed by Seller
 following execution of this Agreement must be in form and substance acceptable to both Buyer and
 Seller.

                  (c)     Seller shall use its best efforts to gain approval by the Bankruptcy Court of the
 purchase and sale of the Purchased Assets and the assumption and assignment of all Assumed Contracts
 and Assumed Liabilities contemplated hereby to the fullest extent required by Sections 363 and 365 and
 all other applicable provisions of the Bankruptcy Code within the terms of the Sale Procedures Order and


                                                     61
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 68 of 192
 Sale Order. The Sale Procedures Order shall only be amended with the approval of Buyer, which
 approval may be granted or withheld in Buyer’s sole discretion. Seller shall serve on all non-Seller
 counterparties to all of the Assumed Contracts a notice specifically stating that Seller may be seeking the
 assumption and assignment of such Assumed Contracts and shall notify such non-Seller counterparties of
 the deadline for objecting to the Cure Amounts stated in such notices, if any, which deadline shall not be
 less than ten (10) Business Days prior to the Sale Hearing.

                   (d)      From and after the date hereof and until the Closing Date or the termination of
 this Agreement in accordance with Article 12, Seller shall not take any action which is intended to (or is
 reasonably likely to), or fail to take any action the intent (or the reasonably likely result) of which failure
 to act is to, result in the reversal, voiding, modification or staying of the Sale Procedures Order or this
 Agreement. If Buyer is the Successful Bidder at the Auction, Seller shall not take any action which is
 intended to (or is reasonably likely to), or fail to take any action the intent (or the reasonably likely result)
 of which failure to act is to, result in the reversal, voiding, modification or staying of the Sale Order or
 this Agreement.

                  (e)      This Agreement is subject to approval by the Bankruptcy Court.

                  (f)      The Sale Procedures Order shall provide, inter alia, that in the event Buyer is not
 in breach of this Agreement and does not serve the Termination Notice on or before 5 p.m. Central Time
 on November 12, 2018 and (i) the Bankruptcy Court approves a sale of all or some of the Purchased
 Assets to a buyer other than Buyer, (ii) Seller enters into a definitive agreement for an Alternative
 Transaction; or (iii) Seller files a plan of reorganization that does not contemplate a Sale of the Purchased
 Assets to Buyer, Seller shall be required to pay to Buyer actual, documented, reasonable costs and
 expenses of Buyer’s outside professionals and outside vendors incurred in connection with the
 Contemplated Transactions in an amount of up to $600,000 (the “Expense Reimbursement”). If Buyer
 is not the Successful Bidder, Buyer will serve copies of all documents supporting Buyer’s request for
 Expense Reimbursement within five (5) days after the conclusion of the Auction on counsel to the
 Debtors and counsel to the Committee. Any objection of the Debtors or the Committee to the
 reasonableness of amounts sought by Buyer as part of the Expense Reimbursement request shall be
 served on Buyer within (5) days after receipt of Buyer’s request for the Expense Reimbursement and
 supporting documents. If no objection to Buyer’s request for the Expense Reimbursement is received
 within such five (5) day period, the requested Expense Reimbursement Amount will be deemed an
 allowed superpriority administrative expense claim of Buyer under Section 364(c)(l) of the Bankruptcy
 Code with priority over any and all administrative expenses of any kind, including, without limitation,
 those specified in Sections 503(b) and 507(b) of the Bankruptcy Code and shall be paid at closing from
 the sale proceeds prior to the payment of any other amounts. If a timely objection to the Expense
 Reimbursement request is served on Buyer and such objection is not resolved prior to closing, the Debtors
 will file a motion with the Bankruptcy Court seeking a determination of the amounts in dispute and the
 corresponding portion of the sale proceeds shall be held by the Debtors in reserve pending further order of
 the Bankruptcy Court. Notwithstanding anything to the contrary, Buyer shall not be entitled to the
 Expense Reimbursement if (i) Buyer has served the Termination Notice, (ii) Buyer is in breach of this
 Agreement, or (iii) Buyer is designated as the Backup Bidder, the closing with the Successful Bidder does
 not occur and the closing with the Backup Bidder occurs. The Sale Procedures Order shall provide that
 any bid that includes a cash component of at least $10.5 million and otherwise complies with the Sale
 Procedures Order will be deemed a Qualified Bid. In the event an Auction occurs, bidding will proceed
 with minimum bid increments of $100,000 subject to the terms and conditions of the Sale Procedures
 Order. The Sale Procedure Order shall provide that Buyer shall serve as a Backup Bidder for a period of
 only thirty (30) days following the Auction if Buyer is not the Successful Bidder at the Auction and is
 designated as the Backup Bidder. Notwithstanding anything to the contrary set forth herein, in the event
 Buyer’s actual, documented, reasonable costs and expenses of Buyer’s outside professionals and outside

                                                        62
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                   Document    Page 69 of 192
 vendors incurred in connection with the Contemplated Transactions exceed $600,000, Buyer shall be
 permitted to file a motion with the Bankruptcy Court seeking an Expense Reimbursement of up to
 $700,000.00, and the Debtors and Committee shall have the right to object to such Motion.

                 (g)      The Sale Order shall contain the following provisions:

                          (i)     approval of this Agreement, including the sale of the Purchased Assets
 by Seller to Buyer, which shall vest in Buyer all right, title, and interest of Seller to the Purchased Assets
 free and clear of all Encumbrances (other than Permitted Encumbrances), Excluded Liabilities and
 interests pursuant to Section 363(f) of the Bankruptcy Code;

                        (ii)    a finding that Buyer has acted in good faith within the meaning of
 Section 363(m) of the Bankruptcy Code, the Contemplated Transactions have been undertaken by Seller
 and Buyer at arm’s length and without collusion, and Buyer is entitled to the protections of Section
 363(m) of the Bankruptcy Code;

                            except with respect to Government Programs in connection with
                          (iii)
 assumed provider agreements and provider numbers, all Persons shall be enjoined from taking any
 actions against Buyer, any Affiliate or assignee of Buyer, or the Purchased Assets to recover any claim
 that such Person has against Seller;

                         (iv)     Buyer shall have no successor Liability on account of the purchase or
 sale of the Purchased Assets, except on account of Assumed Liabilities;

                         (v)     due notice of the Sale Procedures Motion, Sale Procedures Order, the
 Sale Order, and this Agreement shall have been provided;

                       (vi)    there shall be sufficient cause to lift the stay contemplated by Rules
 6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure with regards to the Contemplated
 Transactions; and

                          (vii)   the Bankruptcy Court retains exclusive jurisdiction to interpret and
 enforce the provisions of this Agreement and the Sale Order in all respects.

 7.       ADDITIONAL AGREEMENTS.

          7.1    Seller Employees.

                   (a)     As of the Effective Time, Seller shall terminate or cause the Seller Affiliates to
 terminate all of the active Seller Employees. Subject to Buyer’s standard employment screening and other
 criteria for eligibility to hire, Buyer (or a designated Affiliate thereof) will offer employment to
 substantially all active non-physician employees of the Business who are in good standing, in such
 positions and subject to such terms and conditions of employment as Buyer may determine, Buyer shall
 not assume any pension liability accruing prior to the Effective Time.

                  (b)      The term “Transferred Employee” as used in this Agreement means a Seller
 Employee who accepts employment with Buyer Employer as of the Effective Time. The terms of all such
 Transferred Employees’ employment with Buyer Employer shall be in accordance with the usual and
 customary practices of Buyer Employer and its Affiliates with respect to similarly-situated employees of
 Buyer Employer and its Affiliates working at comparable facilities operated by Buyer Employer and its
 Affiliates in the general area of the Hospital. Buyer Employer shall provide each Transferred Employee


                                                      63
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 70 of 192
 with employee benefits, including retirement, welfare and paid time off, substantially similar to similarly-
 situated employees of Buyer Employer and its Affiliates working at comparable facilities operated by
 Buyer Employer and its Affiliates in the general area of the Hospital. Buyer Employer agrees to
 recognize each Transferred Employee’s date of hire by Seller or Seller Affiliate, as applicable, as the
 anniversary date of record with Buyer Employer and to honor that seniority for purposes of prospective
 benefit accrual under Buyer Employer’s fringe benefit policies such as paid time off and short-term
 disability. Buyer Employer will waive the customary waiting periods under its welfare and 401(k) plans
 for the Transferred Employees and, subject to each Transferred Employee’s election of coverage,
 participation in Buyer Employer’s benefit plans shall begin as of the Effective Time (subject to any plan
 requirement that coverage begins only upon active employment) for each Transferred Employee who is in
 an eligible class as defined under the respective Buyer Employer benefit plans. To the extent lawful and
 subject to the approval of any applicable insurer, Buyer Employer shall honor the Transferred Employees’
 prior service credit under Seller’s current welfare plans for purposes of satisfying pre-existing condition
 limitations in Buyer Employer’s welfare benefit plans.

                  (c)     Subject to the terms and conditions of Buyer Employer’s applicable benefit
 plans, for each Seller Employee (other than any Seller Employee who is a Practitioner) who becomes a
 Transferred Employee, Buyer Employer shall carry over, and give credit for, the unused Paid Time Off of
 such Transferred Employee as of immediately prior to the Effective Time in an amount not to exceed 40
 hours of Paid Time Off, but only to the extent that the Liability for such Paid Time Off is reflected as a
 current Liability in the calculation of Closing Working Capital (the aggregate number of hours of Paid
 Time Off assumed by Buyer Employer for all Transferred Employees pursuant to this Section 7.1(c), the
 “Assumed Paid Time Off”). Buyer shall have no Liability for Paid Time Off in excess of the Assumed
 Paid Time Off assumed by Buyer Employer or for any other Pre-Closing obligations of Seller to any
 Transferred Employees not expressly identified in this Agreement.

                 (d)      Prior to the Effective Time, Seller shall be solely responsible for complying with
 the WARN Act and any and all obligations under other applicable Laws requiring notice of plant
 closings, relocations, mass layoffs, reductions in force or similar actions (and for any failures to so
 comply), in any case, applicable to Seller Employees as a result of any action by Seller or any Seller
 Affiliate on or prior to the Effective Time, or following the Effective Time with respect to any Seller
 Employee who does not become a Transferred Employee for any reason.

                 (e)     The Buyer assumes no liability for any group health continuation coverage or
 coverage rights required by Section 4980B of the Internal Revenue Code of part 6 of subtitle B of Title 1
 of ERISA, and similar state laws which exist as of the Closing Date or which arise as a result of the
 Contemplated Transaction.

                  (f)     The Buyer assumes no liability with respect to, and receives no right or interest
 in, any plan of Seller qualified under Section 401 or 403 of the Code. Seller acknowledges that from and
 after the Closing Date, the Purchaser will have no liabilities under any such plan of Seller.

                 (g)     Notwithstanding any provision herein to the contrary, no term of this Agreement
 shall be deemed to (i) create any Contract with any Transferred Employee, (ii) give any Transferred
 Employee the right to be retained in the employment of Buyer Employer or any of its Affiliates, (iii)
 interfere with Buyer Employer’s right to terminate the employment of any Transferred Employee at any
 time, or (iv) obligate Buyer Employer or any of its Affiliates to adopt, enter into or maintain any
 employee benefit plan or other compensatory plan, program or arrangement at any time. Nothing in this
 Agreement shall diminish Buyer Employer’s right to change or terminate its policies regarding salaries,
 benefits and other employment matters at any time or from time to time. The representations, warranties,
 covenants and agreements contained herein are for the sole benefit of the Parties, and the Transferred


                                                     64
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 71 of 192
 Employees are not intended to be and shall not be construed as beneficiaries hereof.

          7.2     Post-Closing Access to Information. Buyer and Seller acknowledge that, subsequent to
 the Effective Time, Buyer and Seller may need reasonable access to information, documents or computer
 data in the control or possession of the other, and Seller may need reasonable access to records that are a
 part of the Purchased Assets for purposes of concluding the Contemplated Transactions and for audits,
 investigations, compliance with governmental requirements, regulations and requests, and the prosecution
 or defense of Third-Party Claims.

           After the Closing, Buyer shall permit, for a period of not less than six (6) years, each of the
 Seller, any direct or indirect successor to the Seller and their respective professionals, and the Committee,
 the Committee’s successors, any estate representative, any liquidating trust relating to the Seller and each
 of their respective professionals (collectively, the “Permitted Parties”) reasonable access to all Books
 and Records that are in connection with or that otherwise relate to the Hospital (including the Business)
 prior to the Closing and/or to Seller and that are in the control or the possession of Buyer or any of its
 Affiliates or their respective agents or representatives (collectively, “Business Records”) for the purposes
 of (i) pursuing, assessing, settling, or otherwise dealing with any Excluded Assets, (ii) pursuing,
 assessing, defending, settling, or otherwise dealing with (including, without limitation, exercising rights
 and remedies with respect to) any claim or cause of action, including, without limitation, any objection or
 motion, that any Permitted Party has the right to pursue, (iii) performing and/or otherwise dealing with
 any obligations of the Seller pursuant to this Agreement, including the Excluded Liabilities, (iv) assisting
 any one or more of the Permitted Parties in connection with or otherwise relating to the claims
 reconciliation process relating to Seller, including, without limitation, with respect to claims against any
 Person, including, without limitation, assessing, resolving, settling, and/or otherwise dealing with priority
 and administrative claims and any other general unsecured claims that accrue prior to the Closing Date
 and (v) without limiting the generality of the immediately preceding clauses (i) through (iv), otherwise
 administering Seller’s estate including, without limitation, the preparation and confirmation of a plan
 relating to Seller and the preparation of a disclosure statement relating to Seller, and compliance with any
 subpoena, document request, or order of any court compelling any Permitted Party to produce documents
 to third parties, winding down Seller’s estate, preparing or filing tax returns and causing audits to be
 performed and/or for any other reasonable purpose.

         The right of reasonable access for the Permitted Parties shall include, without limitation, (i) the
 right of such Permitted Party to copy at the Permitted Party’s premises or the Hospital, during regular
 business hours and upon reasonable notice (not less than 5 business days), at each requesting Permitted
 Party’s reasonable expense, such documents and records as they may reasonably request in furtherance of
 any of the purposes referred to in this Section 7.2 and (ii) Buyer’s copying and delivering, at the
 Permitted Party’s reasonable expense, to such Permitted Party such documents and records as may be
 reasonably requested, but only to the extent as to this clause (ii) such Permitted Party furnishes Buyer
 with reasonable written descriptions of the materials to be so copied. Buyer shall not dispose of or
 destroy any of the Business Records transferred to Buyer (“Transferred Business Records”) before the
 seventh (7th) anniversary of the Closing Date.

          Subsequent to the Closing Date, Buyer will use commercially reasonable efforts to cooperate with
 each of the Permitted Parties relating to all matters in connection with the administration of the Seller’s
 estate, including without limitation, all claims and causes of action relating to the Excluded Assets or
 Excluded Liabilities that any Permitted Party elects to pursue, dispute, or defend. Without limiting the
 generality of the preceding sentence, Buyer will use commercially reasonable efforts to make reasonably
 available to Seller employees of the Business who become employees of Buyer to assist Seller in
 connection with the administration of Seller’s estate, including, without limitation, in connection with
 Excluded Assets and/or Excluded Liabilities, provided that access to such employees shall in no way

                                                      65
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 72 of 192
 interfere with Buyer’s normal business operations.

         7.3       Confidentiality; Non-Competition; Non-Solicitation; Non-Disparagement. In further
 consideration for the payment of the Purchase Price and in order to protect the value of the Purchased
 Assets purchased by Buyer (including the goodwill inherent in the Business as of the Effective Time),
 effective as of the Effective Time, Seller agrees as follows:

                  (a)     Seller shall not use for itself or any other Person, or disclose to any other Person,
 any Confidential Information except to the extent such use or disclosure is (i) approved in writing in
 advance by Buyer, (ii) expressly permitted or required pursuant to the terms of this Agreement, or
 (iii) required by Law or any Order (in which event Seller shall inform Buyer in advance of any such
 required disclosure, shall cooperate with Buyer in all reasonable respects in obtaining a protective order
 or other protection in respect of such required disclosure and shall limit such disclosure to the extent
 reasonably possible while still complying with such requirements). Seller shall use commercially
 reasonable efforts to safeguard Confidential Information and to protect it against disclosure, misuse,
 espionage, loss and theft.

                   (b)     Seller acknowledges that Seller has become, and following the date of this
 Agreement shall continue to be, familiar with Confidential Information. Therefore, during the Restricted
 Period, Seller shall not (and shall not take any steps to, or prepare to), and shall cause the Seller Affiliates
 not to, directly or indirectly, in any capacity, (i) develop, own, manage, control or exert any influence
 upon, acquire, lease, consult with, render or provide advice to, operate, affiliate with, participate in,
 permit its name to be used in connection with, receive any economic benefit from or in any other manner
 engage in any other similar activity or have any financial interest in, or otherwise provide any services to
 or for the benefit of, a Restricted Business within the Restricted Area, (ii) manage or provide management
 or consulting services to, or participate in the management or control of, or exert any influence upon, any
 Person involved in the development, construction, ownership or operation of any Restricted Business
 within the Restricted Area or (iii) own a direct or indirect interest (financial or otherwise) in, or lend or
 contribute money to, or otherwise provide financial support for, any Person that engages in any of the
 activities described in clauses (i) and (ii), above.

                   (c)      During the Restricted Period, Seller shall not, and shall cause the Seller Affiliates
 not to, directly or indirectly, in any capacity, (i) encourage, induce, solicit or attempt to encourage, induce
 or solicit, any officer, director, manager, employee or independent contractor of Buyer Employer or any
 of Buyer Employer’s Affiliates who works at, or provides services to, the Business, to leave the employ
 of Buyer Employer or any of Buyer Employer’s Affiliates or terminate or diminish any relationship with
 Buyer Employer or any of Buyer Employer’s Affiliates; provided, that the foregoing shall not apply to
 any general solicitation by Seller or any Seller Affiliate that is not directed specifically to any such
 Person; or (ii) hire, employ or contract with any Covered Person.

                  (d)      From and after the date of this Agreement (both before and after the Effective
 Time or termination of this Agreement), Seller shall, and shall cause the Seller Affiliates to, instruct their
 officers, directors and employees not to, directly or indirectly, alone or in connection with any other
 Person, engage in any conduct or make any statement, whether in commercial or noncommercial speech,
 that disparages, criticizes or is injurious to the reputation of Buyer, any of its Affiliates, or any of its or
 their respective Representatives, managers, shareholders, members and principals.

                 (e)     Seller recognizes that the covenants in this Section 7.3, and the territorial, time
 and other limitations with respect thereto, are reasonable and properly required for the adequate
 protection of the acquisition of the Purchased Assets by Buyer, including the Confidential Information,
 and agree and acknowledge that such limitations are reasonable with respect to Buyer’s activities,


                                                       66
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 73 of 192
 business and public purpose. Seller acknowledges and represents that: (i) sufficient consideration has
 been given by each Party to the other as it relates to the covenants set forth in this Section 7.3; (ii) the
 restrictions and agreements in this Section 7.3 are reasonable in all respects and necessary for the
 protection of Buyer and its Affiliates, the Confidential Information and the goodwill associated with the
 Business and that, without such protection, Buyer’s customer and client relationships and competitive
 advantage would be materially adversely affected; and (iii) the agreements in this Section 7.3 are an
 essential inducement to Buyer to enter into this Agreement and they are in addition to, rather than in lieu
 of, any similar or related covenants to which Seller is party or by which it is bound. Seller agrees and
 acknowledges that the violation of the covenants or agreements in this Section 7.3 would cause
 irreparable injury to Buyer and its Affiliates and that monetary damages and any other remedies at law for
 any violation or threatened violation thereof would be inadequate, and that, in addition to whatever other
 remedies may be available at law or in equity, Buyer and its Affiliates shall be entitled to temporary and
 permanent injunctive or other equitable relief without the necessity of proving actual damages or posting
 a bond or other security. In addition, in the event of a breach or violation by Seller or any Seller Affiliate
 of this Section 7.3, the Restricted Period shall be tolled until such breach or violation has been duly cured.

                  (f)      It is the intention of each Party that the provisions of this Section 7.3 shall be
 enforced to the fullest extent permissible under the Law and the public policies of the State of Mississippi
 and of any other jurisdiction in which enforcement may be sought, but that the unenforceability (or the
 modification to conform with such Laws or public policies) of any provisions hereof shall not render
 unenforceable or impair the remainder of this Agreement. Accordingly, if any term or provision of this
 Section 7.3 shall be determined to be illegal, invalid or unenforceable, either in whole or in part, this
 Agreement shall be deemed amended to delete or modify, as necessary, the offending provisions and to
 alter the balance of this Agreement in order to render the same valid and enforceable to the fullest extent
 permissible as aforesaid, with the maximum period, scope or geographical area permitted under
 applicable Laws being substituted for the period, scope or geographical area hereunder.

          7.4    Cost Reports.

                  (a)       Seller, at its own cost and expense, will timely prepare and file (and will pay any
 amounts due pursuant to, and will receive and retain any amounts resulting from) all Cost Reports relating
 to Seller and the Hospital for periods ending at or prior to the Effective Time or required as a result of the
 consummation of the Contemplated Transactions, including terminating Cost Reports for the Government
 Programs and for any other cost based payors (collectively, the “Seller Cost Reports”). Buyer shall
 forward to Seller any and all correspondence relating to Seller Cost Reports within ten (10) Business
 Days after receipt by Buyer. Buyer shall remit any receipts of funds relating to the Seller Cost Reports
 promptly after receipt by Buyer and shall forward to Seller any demand for payments relating to the Seller
 Cost Reports within ten (10) Business Days after receipt by Buyer. Seller shall retain all rights,
 Liabilities and obligations associated with Agency Settlements and the Seller Cost Reports, including any
 amounts receivable or payable in respect of such reports or reserves relating to such reports. Such rights
 shall include the right to appeal any Medicare determinations relating to Agency Settlements and the
 Seller Cost Reports. Seller shall retain the originals of the Seller Cost Reports, correspondence, work
 papers and other documents relating to the Seller Cost Reports and the Agency Settlements. “Agency
 Settlements” as used herein shall mean all rights to settlements and retroactive adjustments, if any, for
 open cost reporting periods ending prior to the Effective Time (whether open or closed) arising from or
 against the federal government or any state under the terms of the Government Programs and against any
 commercial third-party payor programs that settle on a cost report basis (“Agency Settlements”). Seller
 will furnish copies of such documents to Buyer prior to the Closing. Except as required by Law, Seller
 shall not open, re-file, or amend any Seller Cost Report without the prior written consent of Buyer. In the
 event that any Government Program offsets, withholds or recoups any amounts payable or paid to Buyer
 as a result of any Liabilities or obligations of Seller or its predecessors in respect of periods ending at or

                                                      67
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 74 of 192
 prior to the Effective Time arising under the terms of the Government Programs (including as a
 consequence of Seller’s failure to timely file any terminating Cost Report), Buyer shall have the right to
 make a claim under the Escrow Agreement with respect to any such offsets, withholdings, or
 recoupments. Seller, at its own cost and expense, will timely prepare and file any other required reports
 for the Hospital with respect to any reportable period ending at or before the Effective Time.

                  (b)     The Hospital is reimbursed on an interim basis under the Medicare program on a
 bi-weekly pass-thru payment (“Pass-Thru Payments”) basis. If Buyer receives any Pass-Thru Payments
 from the Medicare program associated with the operations of the Hospital relating solely to periods prior
 to the Effective Time, Buyer shall pay Seller an amount equal to such Pass-Thru Payment(s) received by
 Buyer within ten (10) days of receipt. If Buyer receives any Pass-Thru Payments from the Medicare
 program associated with the operations of the Hospital relating to the period commencing prior to and
 ending after the Effective Time, Buyer shall pay Seller within ten (10) days of receipt an amount equal to
 the Pass-Thru Payment(s) actually received by Buyer for such period multiplied by a fraction, the
 numerator of which shall be the total number of days prior to the Effective Time and the denominator of
 which shall be the total number of days attributable to such Pass-Thru Payment(s). If Seller receives any
 Pass-Thru Payments from the Medicare program associated with the operations of the Hospital relating
 solely to periods after the Effective Time, Seller shall pay Buyer within ten (10) days of receipt an
 amount equal to such Pass-Thru Payment(s) received by Seller. If Seller receives any Pass-Thru
 Payments from the Medicare program associated with the operations of the Hospital relating to the
 periods commencing prior to and ending after the Effective Time, Seller shall pay Buyer within ten (10)
 days of receipt an amount equal to the Pass-Thru Payment(s) actually received by Seller for such period
 multiplied by a fraction, the numerator of which shall be the total number of days after the Effective Time
 and the denominator of which shall be the total number of days attributable to such Pass-Thru
 Payment(s). It is the intent of the Parties that Buyer and Seller shall receive all third-party payments
 applicable to the period of time that the Hospital are owned by the Parties.

                  (c)     If any Party receives any amount from patients, third-party payors, group
 purchasing organizations or suppliers which, under the terms of this Agreement, belongs to the other
 Party, the Party receiving such amount shall remit within ten (10) Business Days the full amount so
 received to the other Party.

                 (d)     Seller will cooperate with Buyer in all reasonable respects in providing pre-
 Closing patient data and any documents Buyer reasonably believes are necessary or appropriate to file
 with respect to the Mississippi Medicaid disproportionate share hospital surveys and Mississippi
 Uncompensated Care Programs for the fiscal periods prior to and after the Effective Time.

                  (e)      Notwithstanding the foregoing, nothing in this Agreement shall require Buyer to
 prepare, file or otherwise participate in any Government Program or Private Program appeal relating to
 the operations of Seller and the Business prior to the Effective Time.

          7.5    CMS Reporting and Payment Adjustments.

                  (a)    Following the Effective Time, Buyer will cooperate with Seller in all reasonable
 respects in providing documents or data that Seller reasonably believes are necessary or appropriate to file
 with respect to CMS Reporting for all Federal Fiscal Years ending at or prior to the Effective Time.
 Buyer shall forward to Seller any and all correspondence from CMS relating to applicable CMS
 Reporting for such Federal Fiscal Years within ten (10) Business Days after receipt by Buyer.

                 (b)    Following the Effective Time, Seller will cooperate with Buyer in all reasonable
 respects in providing pre-Closing documents or data that Buyer reasonably believes are necessary or


                                                     68
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 75 of 192
 appropriate to file with respect to CMS Reporting for the Federal Fiscal Year in which the Effective Time
 occurs and any subsequent Federal Fiscal Year, and in providing pre-Closing documents or data that
 Buyer reasonably believes are necessary or appropriate to respond to any request by CMS or other
 Governmental Authority, formal or informal, for documentation supporting CMS Reporting for all
 Federal Fiscal Years ending at or prior to the Effective Time. Seller shall forward to Buyer any and all
 correspondence from CMS relating to CMS Reporting for such Federal Fiscal Years within ten (10)
 Business Days after receipt by Seller.

                  (c)    To the extent Buyer incurs a penalty or reduction, or incurs a recoupment, in fees
 paid by CMS for hospital or physician services based on CMS Reporting (or failure to report) for services
 rendered by Seller prior to the Effective Time, then Seller will pay to Buyer the recoupment amount or
 payment differential, as applicable, attributable to such reduction in fees paid under CMS Reporting
 within ten (10) Business Days after notice to Seller of such amount due.

                   (d)    To the extent Buyer is required to refund, reimburse or repay any portion of an
 increased Medicare payment or Medicaid payment based on CMS Reporting or any portion of a CMS
 Reporting bonus, shared savings or other non-claims based payment paid to any Seller, or discount to
 Seller, prior to the Effective Time, then Buyer shall have the unilateral right to make a claim under the
 Escrow Account with respect to any of Seller’s obligations for refunds or repayments.

                  (e)      With respect to non-claims based payments arising under CMS Program
 Payments for the Federal Fiscal Year in which the Effective Time occurs, the Parties agree that such CMS
 Program Payments (including all rights to pursue such payments and/or appeal any decisions regarding
 such payments) are included in the Purchased Assets and shall become the property of Buyer as of the
 Effective Time. To the extent Buyer is required to refund or repay any portion of any CMS Program
 Payments. Buyer shall have the unilateral right to make a claim under the Escrow Account with respect
 to any of Seller’s obligations for refunds or repayments.

        7.6       Waiver Program Payments. Buyer and Seller shall prorate any payments received by
 the Hospital or the Business after the Effective Time under the Mississippi Medicaid Section 115 Waiver
 or Medicaid supplemental payment programs as follows:

                 (a)    Any such amounts that correspond to Federal Fiscal Years prior to the Federal
 Fiscal Year during which the Effective Time occurs will be paid to Seller;

                 (b)    Any such amounts that correspond to Federal Fiscal Years after the Federal
 Fiscal Year during which the Effective Time occurs will be paid to Buyer; and

                 (c)     Any such amounts that correspond to the Federal Fiscal Year during which the
 Effective Time occurs will be allocated between Buyer and Seller on a pro rata basis (based upon the
 number of days during such year that Seller operates the Hospital and the number of days during such
 year that Buyer operates the Hospital).

          7.7     License to Use Billing Information. Effective as of the Effective Time and to the extent
 allowed by applicable Laws, Seller grants Buyer and its Affiliates a license to use Seller’s billing
 identification information (which information shall include Seller’s name, Medicare and related Medicaid
 and TriCare provider numbers, federal employer identification numbers, and such other information as
 may be reasonably necessary) for purposes of submitting claims to Medicare, Medicaid and TriCare for
 services provided at the Hospital by Buyer or its Affiliates after the Effective Time. Each such license
 shall be effective (a) for purposes of Medicare, until CMS and the applicable CMS Medicare
 Administrative Contractor approve Buyer’s or its Affiliate’s Medicare change of ownership application


                                                    69
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                    Desc Main
                                  Document    Page 76 of 192
 and issue a tie-in notice and approval letter acknowledging that Buyer (or its Affiliate) may be reimbursed
 for claims submitted using Buyer’s (or such Affiliate’s) billing identification information; and (b) for
 purposes of Medicaid and any other Government Programs, until the applicable Medicaid program(s) or
 program agent(s) approves Buyer’s (or its Affiliate’s) provider enrollment application and/or approves
 assignment of the applicable provider contract and issues the appropriate notice acknowledging that
 Buyer (or its Affiliate) may be reimbursed by the applicable Medicaid or other Government Program for
 claims submitted using Buyer’s (or its Affiliate’s) identification information. So long as such license
 remains in effect, Buyer (or its Affiliate) shall not act to: (i) terminate any of Seller’s billing identification
 information except as required by applicable Laws; (ii) close any accounts used by Seller prior to the
 Effective Time for purposes of receiving reimbursement; or (iii) cancel any electronic funds transfer
 agreements with respect to Medicare, TriCare, Medicaid, any other Government Program. All accounts
 receivable and monies collected in the name of Buyer and/or its Affiliates or the Hospital for services
 provided by Buyer (and/or its Affiliates) after the Effective Time shall belong to Buyer (and/or its
 Affiliates).

          7.8     Transition Patients. To compensate Seller for services rendered and medicine, drugs
 and supplies provided up to the Effective Time with respect to patients who are admitted to the Hospital
 prior to the Effective Time but who are not discharged until after the Effective Time (such patients being
 referred to herein as the “Transition Patients” and services rendered to them being referred to herein as
 the “Transition Patient Services”), the Parties shall take the following actions:

                 (a)      As soon as practicable after the Closing Date, Seller shall deliver to Buyer a
 statement itemizing the Transition Patient Services provided by Seller to the Transition Patients whose
 medical care is paid for, in whole or in part, by Medicare, Medicaid, TRICARE, Blue Cross or any other
 third party payor who pays on a diagnostic related group (“DRG”), case rate or other similar basis (the
 “DRG Transition Patients”). Buyer shall pay to Seller an amount equal to (i) the total DRG (including
 disproportionate share, uncompensated care, low volume adjustment, indirect medical education and
 graduate medical education) and outlier payments (including capital and any deposits, deductibles or co-
 payments received by Buyer Entity or Seller) per the remittance advice received by Buyer on behalf of a
 DRG Transition Patient, multiplied by a fraction, the numerator of which shall be the number of days
 such DRG Transition Patient was confined in a Facility through and including the day immediately
 preceding the date on which the Effective Time occurs, and the denominator of which shall be the total
 number of days such DRG Transition Patient was confined in a Facility, minus (ii) any deposits,
 deductibles or co-payments made or payable by such DRG Transition Patients to Seller; and

                  (b)    As of the Effective Time, cut-off billings (“Interim Billings”) for all Transition
 Patients not covered by Section 7.8(a) shall be prepared by Seller and sent by Seller following the
 discharge of the patient from the Hospital. Any payments received by either Buyer or Seller for such
 Interim Billings are the property of Seller and shall be paid to Seller, when and as received by Buyer,
 within ten (10) Business Days of receipt.

          7.9    Change of Restricted Names. No later than three (3) Business Days after the Closing
 Date, Seller shall file with the applicable Governmental Authority all applications or amendments to
 abandon or change each of the Restricted Names that were delivered at Closing pursuant to Section 3.2(i).
 Additionally, Seller shall take such actions and execute such documents as may be necessary for Buyer to
 make appropriate assumed name filings in order to evidence and protect Buyer’s right to use the
 Restricted Names in connection with the operation of the Business after the Effective Time, and Seller
 shall take all necessary action to eliminate the Restricted Names from, or paint over or otherwise
 permanently obscure the Restricted Names on, any signage or other materials (including any publicly
 distributable documents and other materials bearing such Restricted Names) owned or controlled by
 Seller following the Effective Time.

                                                        70
 65459867.3
Case 3:18-bk-05665           Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                    Document    Page 77 of 192
          7.10   Rights to Certain Funds Payable after the Effective Time.

                  (a) Buyer shall be entitled to any Mississippi Disproportionate Share Payments
 (“MDSP”) paid with respect to the Hospital to the extent related to operations prior to the Effective Time.
 Buyer shall be entitled to any MDSP paid with respect to the Hospital to the extent related to operations
 after the Effective Time. Buyer shall have sole responsibility for any MDSP repayments to the extent
 relating to periods prior to the Effective Time and Buyer shall have the right to make a claim against the
 escrow for any such repayment. Buyer shall have sole responsibility for any MDSP repayments to the
 extent relating to periods after the Effective Time. The Parties shall have the right to pursue MDSP and
 appeal any decisions regarding such MDSP relative to the Hospital with respect to any periods to which
 such Party is entitled to the MDSP payments and responsible for any MDSP repayments.

                  (b) Buyer shall be entitled to any Low Volume Payments (“LVP”) paid with respect to
 the Hospital to the extent related to operations prior to the Effective Time. Buyer shall be entitled to any
 LVP paid with respect to the Hospital to the extent related to operations after the Effective Time. Buyer
 shall have sole responsibility for any LVP repayments to the extent relating to periods prior to the
 Effective Time and Buyer shall have the right to make a claim against the escrow for any such repayment.
 Buyer shall have sole responsibility for any LVP repayments to the extent relating to periods after the
 Effective Time. The Parties shall have the right to pursue LVP and appeal any decisions regarding such
 LVP relative to the Hospital with respect to any periods to which such Party is entitled to the LVP
 payments and responsible for any LVP repayments.

                  (c) Buyer shall be entitled to any Meaningful Use funds (“MU”) paid with respect to the
 Hospital to the extent related to operations prior to the Effective Time. Buyer shall be entitled to any MU
 paid with respect to the Hospital to the extent related to operations after the Effective Time. Buyer shall
 have sole responsibility for any MU repayments to the extent relating to periods prior to the Effective
 Time. Buyer shall have sole responsibility for any MU repayments to the extent relating to periods after
 the Effective Time. The Parties shall have the right to pursue MU and appeal any decisions regarding
 such MU relative to the Hospital with respect to any periods to which such Party is entitled to the MU
 payments and responsible for any MU repayments.

                 (d) Any amounts which may become payable from Seller to Buyer pursuant to this
 Agreement shall constitute a super priority administrative expense of Seller under Section 364(c)(1) of the
 Bankruptcy Code with priority over any and all administrative expenses of the kind specified in Sections
 503(b) or 507(b) of the Bankruptcy Code.

         7.12    Curae Action. Curae shall execute, acknowledge and deliver all such further
 conveyances, notices, assumptions, releases and acquittances and such other instruments, and shall take
 such further actions, as may be reasonably necessary or appropriate to assure fully to Buyer and its
 respective successors or assigns the full and complete performance and observance by Seller of its
 obligations under this Agreement and the other Transaction Documents, and to otherwise make effective
 the Contemplated Transactions.

 8.       CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER.

         The obligations of Buyer to consummate the Contemplated Transactions and to perform its
 obligations in connection with the Closing are subject to the satisfaction, at or prior to the Closing, of
 each of the following conditions unless waived in writing by Buyer:

         8.1      Representations and Warranties. Each of the representations and warranties of Seller
 contained in this Agreement and the other Transaction Documents (a) that is not qualified by materiality


                                                     71
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 78 of 192
 or similar phrases and is not a Seller Fundamental Representation shall be true and correct in all material
 respects on and as of the date of this Agreement and on and as of the Closing Date (except to the extent
 that such representations and warranties address matters as of particular dates, in which case, such
 representations and warranties shall be true and correct in all material respects on and as of such dates)
 and (b) that is qualified by materiality or similar phrases or that is a Seller Fundamental Representation,
 shall be true and correct in all respects on and as of the date of this Agreement and on and as of the
 Closing Date (except to the extent that such representations and warranties address matters as of
 particular dates, in which case, such representations and warranties shall be true and correct in all respects
 on and as of such dates).

          8.2      Hospital Still Open and Operating Consistently with Past Practice. Buyer shall be
 satisfied in its sole discretion that the Hospital has been operating continuously since this execution of
 this Agreement in accordance with past practice and has not ceased provided any service that was
 provided at the Hospital at the time of execution of this Agreement and has the legal right to continue
 operating as an acute care hospital consistently with past practice.

          8.3     Buyer’s Due Diligence. Buyer shall be satisfied in its sole discretion with all aspects of
 its due diligence with respect to the Hospital.

         8.4      Performance; Property Tax Payment. Seller shall have performed and complied with
 all agreements, obligations and covenants contained in this Agreement and the other Transaction
 Documents that are required to be performed or complied with by Seller at or prior to the Closing. All
 delinquent property tax amounts plus penalties and interest shall been have been paid (or will be paid at
 Closing) to the sole satisfaction of the Buyer.

          8.5    No Material Adverse Effect. There shall have been no Material Adverse Effect.

        8.6     Pre-Closing Confirmations.          Buyer shall have obtained documentation or other
 evidence reasonably satisfactory to Buyer that:

                 (a)    That certain management services agreement, as amended, between Curae and
 the Seller, with respect to the Hospital and the Business has been terminated with no remaining
 obligations by the Hospital and/or Business to Curae or Curae’s Affiliates and a cancellation of any
 amount due Curae and/or Curae’s Affiliates under such management services agreements;

                  (b)    No Corporate Integrity Agreement from CMS or the OIG shall be imposed on the
 Hospital or the Business which will survive the Closing, as determined by the Buyer in its sole discretion;

                   (c)     all Governmental Authorities whose Approval is required for Buyer or Seller to
 consummate the Contemplated Transactions have given (or will give) such Approval effective as of the
 Effective Time, and all Approvals and Permits required by Law to operate the Hospital will be transferred
 to, or reissued in the name of, Buyer effective as of or prior to the Effective Time; and

                  (d)    the Government Programs shall have certified and enrolled Buyer, the Hospital
 and the Practitioners under the auspices of Buyer in the applicable Government Programs effective as of
 the Effective Time, and the Business, the Hospital, and the Practitioners will be entitled to participate in
 and receive reimbursement from the Government Programs effective as of the Effective Time.

         8.7      Action/Proceeding. No Governmental Authority shall have issued an Order restraining
 or prohibiting the consummation of the Contemplated Transactions. No Person shall have commenced or
 threatened in writing to commence any Proceeding before any Governmental Authority that seeks to


                                                      72
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 79 of 192
 restrain or prohibit the consummation of the Contemplated Transactions or otherwise seeks a remedy
 which would materially and adversely affect the ability of Buyer to enjoy the full use and enjoyment of
 the Purchased Assets. Neither the Justice Department, the FTC, nor any state Attorney General shall have
 requested, orally or in writing, that the Parties delay or postpone the Closing.

        8.8      Title to Real Property. The Real Property shall not have become subject to an
 Encumbrance other than Permitted Encumbrances and the Title Company shall have irrevocably
 committed to issue the Title Policy to Buyer.

         8.9     Closing Documents. Seller shall have executed and delivered to Buyer all of the items
 required to be delivered by Seller as contemplated by Section 3.2 or otherwise pursuant to any term or
 provision contained in this Agreement or the other Transaction Documents.

          8.10    Third-Party Consents and Amendments to Contracts. Buyer shall have received
 consents to the assignment of, and/or amendments to, the Assumed Contracts set forth on Schedule
 2.1(h), each of which shall be in form and substance reasonably acceptable to Buyer.

          8.11    Estoppel Certificates. Seller shall have delivered to Buyer at least seven (7) Business
 Days prior to the Closing Date executed estoppel certificates in a form reasonably acceptable to Buyer for
 all Third Party Leases.

         8.12     Landlord Estoppels; Subordination and Non-Disturbance Agreements. Seller shall
 have delivered to Buyer at least seven (7) Business Days prior to the Closing Date executed landlord
 estoppel certificates in a form reasonably acceptable to Buyer and executed subordination and non-
 disturbance agreements from any mortgagees in a form reasonably acceptable to Buyer for all Tenant
 Leases.

         8.13    Environmental Site Assessments. To the extent requested by Buyer, Buyer shall have
 received Phase I environmental site assessments with respect to the Real Property, and if recommended
 by the environmental engineering firm, and at Buyer’s expense, a Phase II and additional reports,
 prepared by an environmental engineering firm selected by Buyer, and the findings and conclusions of
 any such reports shall be acceptable to Buyer.

          8.14    Confirmation of No Encumbrances. Seller shall have delivered in form and substance
 satisfactory to Buyer, including the payoff letters, UCC termination statements, invoices and other
 documents reasonably requested by Buyer, that the Purchased Assets delivered to Buyer at the Closing
 are free and clear of Encumbrances other than Permitted Encumbrances.

         8.16    Tail Insurance. Seller shall have purchased the Tail Policies described in Section 6.16
 and shall have delivered certificates of insurance evidencing the same at least five (5) Business Days prior
 to the Closing Date.

         8.17    Transition Services Agreement. Buyer and Seller shall have agreed to the schedules
 attached to the Transition Services Agreement; and Buyer and Seller shall have executed a mutually
 agreed upon Transition Services Agreement prior to the hearing date on the Sale Procedures Motion.

         8.18    Seller Bank Accounts. Seller shall have made arrangements such that, after Closing, all
 funds received from third-party payors resulting from the operation of the Hospital are not commingled
 with any other funds, including funds received from the operation of other facilities owned by Seller.

          8.20   Sale Order. The Bankruptcy Court shall have entered the Sale Order in form and


                                                     73
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 80 of 192
 substance, including with respect to all findings of fact and conclusions of law, acceptable to Seller and
 Buyer, and the Sale Order shall have become a Final Order.

          8.21    Proof of Payment and Insurance Proceeds. Buyer shall be satisfied in its sole
 discretion that Seller has satisfactorily made payments with respect to the Hospital’s swing beds and has
 satisfactorily applied the insurance proceeds from the Women’s Building.

 9.       CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLER.

         The obligations of Seller to consummate the Contemplated Transactions and to perform its
 obligations in connection with the Closing are subject to the satisfaction, at or prior to the Closing, of
 each of the following conditions unless waived in writing by Seller:

         9.1       Representations and Warranties. Each of the representations and warranties of Buyer
 contained in this Agreement and the other Transaction Documents (a) that is not qualified by materiality
 or similar phrases and is not a Buyer Fundamental Representation shall be true and correct in all material
 respects on and as of the date of this Agreement and on and as of the Closing Date (except to the extent
 that such representations and warranties address matters as of particular dates, in which case, such
 representations and warranties shall be true and correct in all material respects on and as of such dates)
 and (b) that is qualified by materiality or similar phrases or that is a Buyer Fundamental Representation
 shall be true and correct in all respects on and as of the date of this Agreement and on and as of the
 Closing Date (except to the extent that such representations and warranties address matters as of
 particular dates, in which case, such representations and warranties shall be true and correct in all respects
 on and as of such dates).

         9.2      Performance. Buyer shall have performed and complied with all agreements,
 obligations and covenants contained in this Agreement and the other Transaction Documents that are
 required to be performed or complied with by Buyer at or prior to the Closing.

          9.3     Action/Proceeding. No Governmental Authority shall have issued an Order restraining
 or prohibiting the consummation of the Contemplated Transactions. No Person shall have commenced or
 threatened in writing to commence any Proceeding before any Governmental Authority that seeks to
 restrain or prohibit the consummation of the Contemplated Transactions. Neither the Justice Department,
 the FTC, nor any state Attorney General shall have requested, orally or in writing, that the Parties delay or
 postpone the Closing.

         9.4     Closing Documents. Buyer shall have executed and delivered to Seller all of the items
 required to be delivered by Buyer as contemplated by Section 3.3 or otherwise pursuant to any term or
 provision contained in this Agreement or the other Transaction Documents.

        9.5      Cure Amounts. Any and all Cure Amounts, as provided in Section 2.3(b), herein shall
 have been paid by Buyer.

 10.      INDEMNIFICATION.

          10.1   Indemnification by Seller.

                  (a)     Seller shall indemnify, defend and hold harmless Buyer, its Affiliates, and its and
 their respective Representatives, managers, shareholders, members, principals, successors, heirs and
 assigns (collectively, the “Buyer Indemnified Parties”) from and against, and pay on behalf of or
 reimburse each of them for, any and all Losses that any such Buyer Indemnified Party incurs or becomes


                                                      74
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 81 of 192
 subject to as a result of, arising out of, relating to or in connection with: (i) any breach of, or inaccuracy
 in, any of the representations or warranties made by Seller in this Agreement or in any other Transaction
 Document; (ii) any breach, noncompliance or nonfulfillment of any covenants or other agreements made
 by Seller in this Agreement or in any other Transaction Document; (iii) any of the Excluded Liabilities;
 and (iv) any fraud, intentional misrepresentation or willful or criminal misconduct of Seller, any Seller
 Affiliate or any Representatives, members, managers, principals, or shareholders of Seller or any Seller
 Affiliate.

                 (b)    Seller shall have no obligation to indemnify the Buyer Indemnified Parties
 pursuant to Section 10.1(a)(i) for any Losses unless and until the aggregate amount of all such Losses
 incurred or suffered by the Buyer Indemnified Parties exceeds $200,000.00 (the “Deductible”), upon
 which event the Buyer Indemnified Parties shall be entitled to indemnification under Section 10.1(a)(i)
 only for the amount of Losses in excess of the Deductible. For the avoidance of doubt, claims for
 indemnification pursuant to Sections 10.1(a)(ii)-(iv) shall not be subject to the Deductible. Once Buyer
 has incurred the aggregate deductible of $200,000, any additional indemnification claims for Losses
 resulting from Excluded Liabilities shall be subject to Seller indemnification on a dollar-for-dollar basis.

                 (c)    Seller’s aggregate Liability in respect of any and all claims of Buyer arising
 under this Agreement, including without limitation for indemnification pursuant to Section 10.1(a) shall
 not exceed the Escrow Amount.

          10.2    Indemnification by Buyer. Buyer shall indemnify, defend and hold harmless Seller, the
 Seller Affiliates, and its and their respective Representatives, managers, shareholders, members,
 principals, successors, heirs, and assigns (collectively, the “Seller Indemnified Parties”) from and
 against, and pay on behalf of or reimburse each of them for, any and all Losses that any such Seller
 Indemnified Party incurs or becomes subject to as a result of, arising out of, relating to or in connection
 with: (i) any breach of, or inaccuracy in, any of the representations or warranties made by Buyer in this
 Agreement or in any other Transaction Document; (ii) any breach, noncompliance, or non-fulfillment of
 any covenants or other agreements made by Buyer in this Agreement or in any other Transaction
 Document; (iii) any of the Assumed Liabilities; and (iv) any fraud, intentional misrepresentation or
 willful or criminal misconduct of Buyer or any Representatives of Buyer.

                 (a)      Buyer shall have no obligation to indemnify the Seller Indemnified Parties
 pursuant to Section 10.2 for any Losses unless and until the aggregate amount of all such Losses incurred
 or suffered by the Seller Indemnified Parties exceeds $100,000.00 (the “Deductible”), upon which event
 the Buyer Indemnified Parties shall be entitled to indemnification under Section 10.1(a)(i) only for the
 amount of Losses in excess of the Deductible. For the avoidance of doubt, claims for indemnification
 pursuant to Sections 10.1(a)(ii)-(iv) shall not be subject to the Deductible. Once Buyer has incurred the
 aggregate deductible of $100,000, any additional indemnification claims for Losses resulting from
 Excluded Liabilities shall be subject to Seller indemnification on a dollar-for-dollar basis.

                 (b)       Buyer’s ’s aggregate Liability in respect of claims for indemnification pursuant
 to Section 10.1(a) shall not exceed the Escrow Amount.

          10.3   Notice and Defense of Third-Party Claims.

                 (a)    If an Indemnified Party seeks indemnification under this Article 10 with respect
 to any Proceeding or other claim brought against it by a third party (a “Third-Party Claim”), such
 Indemnified Party shall promptly give written notice to the Indemnifying Party after receiving written
 notice of such Third-Party Claim; provided, however, that any failure to so notify or any delay in
 notifying the Indemnifying Party shall not relieve the Indemnifying Party of its obligations hereunder,


                                                      75
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 82 of 192
 except to the extent that the Indemnifying Party is materially prejudiced by such failure or delay. With
 respect to any Third-Party Claim that, if adversely determined, would entitle the Indemnified Party to
 indemnification pursuant to this Article 10, the Indemnifying Party shall be entitled, at its sole cost and
 expense, (i) to participate in the defense of such Third-Party Claim giving rise to the Indemnified Party’s
 claim for indemnification or (ii) at its option (subject to the limitations set forth below), to assume control
 of such defense and appoint lead counsel reasonably acceptable to the Indemnified Party; provided,
 however, that as a condition precedent to the Indemnifying Party’s right to assume control of such
 defense, it must first: (A) notify the Indemnified Party in writing within fifteen (15) days after the
 Indemnified Party has given notice of the Third-Party Claim that the Indemnifying Party will indemnify
 the Indemnified Party from and against the entirety of any Losses the Indemnified Party may suffer
 resulting from, arising out of, relating to, in the nature of, or caused by the Third-Party Claim in
 accordance with the terms of this Agreement (including the limitations set forth in Sections 10.1 and 10.2)
 and (B) furnish the Indemnified Party with evidence reasonably satisfactory to the Indemnified Party that
 the Indemnifying Party has sufficient resources to defend such Third-Party Claim and to satisfy its
 obligations to the Indemnified Party under this Article 10 in respect of such Third-Party Claim.
 Notwithstanding the foregoing, the Indemnifying Party shall not have the right to assume or continue
 control of the defense of any Third-Party Claim if such Third-Party Claim (I) seeks non-monetary relief,
 (II) involves criminal or quasi-criminal allegations or regulatory matters, (III) involves a claim that, if
 adversely determined, would be reasonably expected, in the good faith judgment of the Indemnified
 Party, to establish a precedent, custom or practice materially adverse to the continuing business interests
 or prospects of the Indemnified Party or the Business, (IV) involves a claim that, in the good faith
 judgment of the Indemnified Party, the Indemnifying Party has failed or is failing to vigorously prosecute
 or defend, or (V) results in, or could reasonably be expected to result in, under applicable standards of
 professional conduct, a conflict of interest between the Indemnifying Party and the Indemnified Party in
 respect of such Third-Party Claim (each of the foregoing, an “Exception Claim”).

                 (b)     In the event that (i) the Indemnifying Party does not or fails to elect to assume
 control of the defense of any Third-Party Claim in the manner set forth in Section 10.3(a) or (ii) such
 Third-Party Claim is, or at any time becomes, an Exception Claim, the Indemnified Party may defend
 against, and may consent to the entry of any judgment or enter into any settlement with respect to, such
 Third-Party Claim in any manner it may deem appropriate, and the fees and disbursements of the
 Indemnified Party’s counsel shall be at the expense of the Indemnifying Party.

                (c)     If the Indemnifying Party is controlling the defense of any Third-Party Claim in
 accordance with Section 10.3(a), the Indemnified Party shall have the right to participate in the defense of
 such Third-Party Claim with counsel selected by it, subject to the Indemnifying Party’s right to control
 the defense thereof, and the fees and disbursements of such counsel shall be at the expense of the
 Indemnified Party.

                  (d)     Irrespective of which Party controls the defense of any Third-Party Claim, the
 other Parties will, and will cause their respective Affiliates to, reasonably cooperate with the controlling
 Party in such defense and make available to the controlling Party all witnesses, pertinent records,
 materials and information in such non-controlling Parties’ possession or under its control relating thereto
 as is reasonably required by the controlling Party. The Parties agree that all communications between any
 Party and counsel responsible for or participating in the defense of any Third-Party Claim shall, to the
 extent possible, be made so as to preserve any applicable attorney-client or work-product privilege.

         10.4     Notice of Non-Third-Party Claims. If an Indemnified Party seeks indemnification
 under this Article 10 with respect to any matter which does not involve a Third-Party Claim, the
 Indemnified Party shall, promptly after becoming aware of the circumstance giving rise to the claim, give
 written notice to the Indemnifying Party of such claim for indemnification; provided, however, that any

                                                       76
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 83 of 192
 failure to so notify or any delay in notifying the Indemnifying Party shall not relieve the Indemnifying
 Party of its obligations hereunder. If the Indemnifying Party does not notify the Indemnified Party in
 writing within thirty (30) days from its receipt of the indemnity notice that the Indemnifying Party
 disputes such claim, the Indemnifying Party shall be deemed to have agreed to indemnify the Indemnified
 Party from and against the entirety of any Losses described in the indemnity notice. If the Indemnifying
 Party has delivered a written notice to the Indemnified Party within such thirty (30) day period disputing
 such claim, the Indemnifying Party and the Indemnified Party shall proceed in good faith to negotiate a
 resolution to such dispute. If the Indemnifying Party and the Indemnified Party cannot resolve such
 dispute within thirty (30) days after delivery of such written notice, such dispute shall be resolved in
 accordance with Section 13.4.

           10.5   Manner of Payment. Any indemnification payment pursuant to this Article 10 shall be
 effected by wire transfer of immediately available funds to an account designated by Seller or Buyer, as
 the case may be, within five (5) Business Days after the determination of the amount thereof, whether
 pursuant to a final judgment, settlement or agreement between the Parties; provided, that, to the extent
 that all or any portion of any indemnification payment to be made to any Buyer Indemnified Party is to be
 satisfied through funds that remain available in the Escrow Account, Seller and Buyer shall, within five
 (5) Business Days after the determination of the amount thereof, deliver a joint written instruction to the
 Escrow Agent instructing the Escrow Agent to release the appropriate portion of the funds in the Escrow
 Account to an account designated by Buyer.

          10.6   Determination of Loss Amount.

                   (a)    The amount of any Losses subject to indemnification pursuant to this Article 10
 shall be reduced or reimbursed, as the case may be, by any amount actually received by any Buyer
 Indemnified Party or any Seller Indemnified Party, as applicable, with respect thereto under any insurance
 coverage provided by any non-Affiliate third party or from any other party alleged to be responsible
 therefor (net of any deductible or co-payment, the Buyer Indemnified Parties’ or Seller Indemnified
 Parties’, as applicable, good faith estimate of any increase in insurance premiums attributable to such
 recovery and all out of pocket costs related to such recovery). The Buyer Indemnified Parties and the
 Seller Indemnified Parties, as applicable, shall use commercially reasonable efforts to collect any amounts
 available under such insurance coverage or from such other party alleged to have responsibility therefor;
 provided, that in no event shall the Buyer Indemnified Parties or the Seller Indemnified Parties have any
 obligation to file or commence any Proceeding to collect any such amounts. If a Buyer Indemnified Party
 or Seller Indemnified Party, as applicable, receives and is entitled to retain an amount under insurance
 coverage or from such other party with respect to Losses at any time subsequent to any indemnification
 provided by Seller pursuant to Section 10.1 or by Buyer pursuant to Section 10.2, then such Buyer
 Indemnified Party or Seller Indemnified Party, as applicable, shall promptly reimburse Seller or Buyer, as
 applicable, for any payment made by such Person in connection with providing such indemnification up
 to the amount received (net of any deductible or co-payment, and all out of pocket costs related to such
 recovery) by the Buyer Indemnified Party or Seller Indemnified Party, as applicable; provided, that in no
 event shall any Buyer Indemnified Party or Seller Indemnified Party, as applicable, have any obligation
 hereunder to remit to Buyer or Seller, as applicable, any portion of such insurance or other recoveries in
 excess of the indemnification payment or payments actually received from Buyer or Seller, as applicable,
 with respect to such Losses.

                (b)     To the extent that Seller has an indemnification obligation pursuant to this Article
 10, any of the Buyer Indemnified Parties may set off the amount of such indemnification against any
 amounts then due and unpaid to Seller by any of the Buyer Indemnified Parties pursuant to this
 Agreement or any other Transaction Document.



                                                     77
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                  Document    Page 84 of 192
                 (c)      For purposes of calculating the amount of Losses resulting therefrom to which a
 Buyer Indemnified Party or Seller Indemnified Party is entitled under this Article 10, the terms
 “material,” “materiality,” and similar qualifiers, modifiers, or limitations shall be disregarded.

                  (d)       The right to indemnification of any Party pursuant to this Article 10, or the
 availability of any other remedies contemplated hereby or otherwise available to the such Party at law or
 in equity, based upon any representation, warranty, covenant, agreement or obligation contained in or
 made pursuant to this Agreement or any other Transaction Document will not be affected by any
 investigation made by or on behalf of any such Party or its Affiliates, or the knowledge of any such
 Party’s (or its Affiliates’) Representatives with respect to the accuracy or inaccuracy of, or compliance or
 non-compliance with, any such representation, warranty, covenant, agreement or obligation at any time
 prior to or following the date hereof.

          10.7    Exclusive Remedy. The Parties agree that, from and after the Closing Date, the
 indemnification provisions set forth in this Article 10 are the exclusive provisions in this Agreement with
 respect to the Liability of Seller or Buyer for the breach, inaccuracy or nonfulfillment of any
 representation or warranty or any pre-Closing covenants, agreements or other pre-Closing obligations
 contained in this Agreement, and the sole remedy of the Buyer Indemnified Parties and the Seller
 Indemnified Parties for any claims for breach of any representation or warranty or pre-Closing covenants,
 agreements or other pre-Closing obligations arising out of this Agreement or any Law or legal theory
 applicable thereto; provided, that nothing herein shall preclude any Party from (a) seeking any remedy
 based upon fraud, intentional misrepresentation or willful or criminal misconduct by any other Party
 (including any fraud, intentional misrepresentation or willful or criminal misconduct committed by any
 officer, director, manager, employee or Representative in connection with the consummation of the
 Contemplated Transactions), (b) enforcing its right to specific performance of post-Closing covenants,
 agreements or other post-Closing obligations, including pursuant to Section 6.14, Section 7.3, Section
 10.10, or equitable remedies or (c) seeking any remedy available to such Party under or in respect of the
 Transition Services Agreement or the Curae Restrictive Covenants Agreement, whether by their
 respective terms, at law or in equity.

         10.8    Adjustment to Purchase Price. The Parties agree to treat any indemnification payment
 received pursuant to this Agreement for all Tax purposes as an adjustment to the Purchase Price to the
 extent permitted by applicable Laws.

          10.9    Survival. All representations and warranties contained in or made pursuant to this
 Agreement or any other Transaction Document shall survive the execution and delivery of this Agreement
 or such other Transaction Document and the consummation of the Contemplated Transactions until the
 Survival Expiration Date. Notwithstanding anything herein to the contrary, Seller will not be liable with
 respect to any claim for indemnification pursuant to Section 10.1(a)(i), and Buyer will not be liable with
 respect to any claim for indemnification pursuant to Section 10.2(a)(i) unless written notice of such claim
 is delivered to Seller or Buyer, as the case may be, prior to the applicable Survival Expiration Date (if
 any). For purposes of this Agreement, the term “Survival Expiration Date” shall mean the date that is
 thirty-six (36) months after the Closing Date; provided, that:

                 (a)     with respect to the Seller Fundamental Representations, the Buyer Fundamental
 Representations, and the Seller Significant Representations and those representations set forth in Section
 4.20 (Real Property) and Section 4.26 (Environmental Matters), the Survival Expiration Date shall be the
 day after the expiration of the applicable statute of limitations, including any extensions thereto to the
 extent that such statute of limitations is tolled, or five (5) years if there is no applicable statute of
 limitations.



                                                     78
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 85 of 192
         For the avoidance of doubt, this Section 10.9 shall not affect any rights to bring claims after the
 Survival Expiration Date based on (A) any covenant or agreement of the Parties which contemplates
 performance after the Closing, (B) the obligations of Seller under Sections 10.1(a)(ii)-(iv), or (C) the
 obligations of Buyer under Sections 10.2(a)(ii)-(iv).

         10.10 Escrow Release. Subject to the terms and conditions of this Agreement and the Escrow
 Agreement, within ten (10) Business Days following the date which is one (1) year after the Closing Date
 (the “Escrow Release Date”), Seller and Buyer shall deliver a joint written instruction to the Escrow
 Agent instructing the Escrow Agent to release to Seller (a) any funds remaining in the Escrow Account as
 of the Escrow Release Date (if any), minus (b) the aggregate amount of all unresolved (or resolved but
 unpaid) indemnification claims under this Article 10 asserted by the Buyer Indemnified Parties in
 accordance with this Article 10 as of the Escrow Release Date.

 11.      TAX MATTERS.

         11.1     Allocation of Purchase Price. The Parties shall jointly prepare an allocation
 (“Allocation”) of an amount totaling the sum of the (a) Purchase Price, (b) Assumed Liabilities and (c) all
 other capitalized costs under this Agreement among the Purchased Assets, in accordance with Section
 1060 of the Code (and any similar provisions of state or local Law, as appropriate) and any appraisals and
 valuations obtained in connection with the Contemplated Transactions. The parties shall agree upon such
 Allocation no later than two (2) days prior to Closing Date. Buyer and Seller shall report and file all Tax
 Returns (including IRS Form 8594) in all respects and for all purposes consistent with such Allocation.
 Seller shall timely and properly prepare, execute, file and deliver all such documents, forms and other
 information as Buyer may reasonably request to assist in the preparation of such Allocation. Neither
 Buyer nor Seller shall take any position (whether in audits, Tax Returns or otherwise in connection with
 Tax matters) that is inconsistent with such Allocation, unless required to do so by applicable Laws.

          11.2   Tax Returns.

                  (a)     Seller shall prepare and file or cause to be prepared and filed on a timely basis all
 Tax Returns relating to the Purchased Assets and the Business with respect to all taxable periods ending
 prior to the Effective Time. Seller shall be responsible for and shall pay any Taxes arising or resulting
 from or in connection with the ownership of the Purchased Assets and operation of the Business for all
 taxable periods (or portion thereof) ending prior to the Effective Time. Seller shall not consent, without
 the prior written consent of Buyer, to any change in the treatment of any item with respect to the
 Purchased Assets or the Business that would affect the Tax Liability of Buyer after the Effective Time.
 Buyer shall prepare and file or cause to be prepared and filed on a timely basis all Tax Returns relating to
 the Purchased Assets and the Business with respect to all taxable periods ending after the Effective Time.
 Buyer shall be responsible for and shall pay any Taxes arising or resulting from or in connection with the
 ownership of the Purchased Assets and operation of the Business for all taxable periods (or portion
 thereof) ending after the Effective Time.

                  (b)     Buyer shall prepare and file or cause to be prepared and filed all Tax Returns
 required to be filed with respect to the Purchased Assets and the Business for all taxable periods
 beginning prior to the Effective Time and ending after the Effective Time (a “Straddle Period”). Buyer
 shall notify Seller of Buyer’s calculation of Seller’s share of the Taxes for any such Straddle Periods and
 Seller shall pay to Buyer (in cash or other immediately available funds) the amount of Seller’s share of
 the Tax Liability for the portion of the Straddle Period ending as of the Effective Time, as determined
 pursuant to Section 11.2(c).

                 (c)      In order to apportion appropriately any Taxes relating to a Straddle Period, the


                                                      79
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 86 of 192
 Parties shall, to the extent required or permitted under applicable Laws, treat the calendar day
 immediately preceding the day in which the Effective Time occurs as the last day of the taxable year or
 period for all Tax purposes. With respect to such prorated Taxes, the portion of any Taxes that are
 allocable to the portion of the Straddle Period ending on the calendar day immediately preceding the day
 in which the Effective Time occurs shall be: (i) in the case of Taxes that are imposed on a periodic basis,
 deemed to be the amount of such Taxes for the entire period multiplied by a fraction the numerator of
 which is the number of calendar days in the Straddle Period ending on (and including) the calendar day
 immediately preceding the day in which the Effective Time occurs and the denominator of which is the
 number of calendar days in the entire relevant Straddle Period; and (ii) in the case of Taxes not described
 in (i) (such as (A) Taxes that are based upon or measured by income or receipts or imposed in connection
 with any sale or other transfer or assignment of property (real or personal, tangible or intangible) and (B)
 payroll and similar Taxes), deemed equal to the amount that would be payable if the taxable year or
 period ended on the calendar day immediately preceding the day in which the Effective Time occurs.

          11.3    Cooperation. Following the Closing, the Parties shall cooperate with each other and
 shall make available to each other, as reasonably requested, all information, records or documents relating
 to Tax Liabilities or potential Tax Liabilities with respect to the Purchased Assets or the Business for all
 periods, and shall preserve all such information, records and documents (to the extent not a part of the
 Purchased Assets or the Business delivered by Seller at the Closing) at least until the expiration of any
 applicable statute of limitations or extensions thereof. Seller further agrees, upon request of Buyer, to use
 its reasonable best efforts to obtain any certificate or other document from any Governmental Authority
 or any other Person as may be necessary to mitigate, reduce or eliminate any Taxes that could be imposed
 on Buyer or the Purchased Assets and the Business (including with respect to the Contemplated
 Transactions).

          11.4     Tax Proceedings. After the Effective Time, with respect to any Proceeding relating to
 Taxes with respect to the Purchased Assets (collectively, a “Tax Proceeding”) for any taxable period
 ending after the Effective Time, such Tax Proceeding shall be controlled by Buyer. For any Tax
 Proceeding for any Straddle Period, Buyer shall notify Seller of such Tax Proceeding, and Seller may (at
 its sole cost and expense) participate in the defense of such Tax Proceeding that is controlled by Buyer.

         11.5    Transfer Taxes. All Transfer Taxes incurred in connection with the Contemplated
 Transactions shall be paid by Buyer, and all necessary Tax Returns and other documentation with respect
 to such Transfer Taxes shall be prepared and filed by the Party required to file such Tax Returns under
 applicable Laws.

 12.      TERMINATION.

          12.1    Termination. Without prejudice to other remedies which may be available to the
 Parties, this Agreement may be terminated and the Contemplated Transactions may be abandoned at any
 time prior to the Closing as follows:

                 (a)      By mutual written consent of Buyer and Seller;

                 (b)     By Buyer, in Buyer’s sole discretion and for any reason whatsoever, if Buyer on
 or before 5 p.m. Central Time on November 12, 2018, Buyer has delivered to counsel to the Debtors and
 counsel to the Committee written notice of termination of this Agreement (the “Termination Notice”);

                 (c)     By either Buyer or Seller upon delivery of written notice to the other if the
 Closing has not occurred on or before 5:00 p.m., Central Time, on December 31, 2018 (the “End Date”);
 provided, that neither Buyer nor Seller will be entitled to terminate this Agreement pursuant to this


                                                      80
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 87 of 192
 Section 12.1(c) if such Person’s material breach of, or material failure to fulfill any obligation under, this
 Agreement or any other Transaction Document has been the principal cause of the failure of the Closing
 to occur on or prior to such time on the End Date;

                    (d)     By either Buyer or Seller upon delivery of written notice to the other if any
 Governmental Authority shall have issued or entered any Order, enacted any Law or taken any other
 action which has not been stayed, which in any such case, (i) permanently restrains, enjoins or otherwise
 prohibits the consummation of all or any of the Contemplated Transactions, or (ii) would prevent the
 Closing from occurring as contemplated by this Agreement on or prior to the applicable time on the End
 Date or (iii) has had or would reasonably be expected to have a Material Adverse Effect; provided, that
 neither Buyer nor Seller will be entitled to terminate this Agreement pursuant to this Section 12.1(d) if the
 issuance or entry of such Order is principally caused by such Person’s material breach of, or material
 failure to fulfill any obligation under, this Agreement or any other Transaction Document;

                 (e)      By Buyer upon delivery of written notice to Seller if a Material Adverse Effect
 shall have occurred;

               (f)     By Seller upon delivery of written notice to Buyer if Seller accepts and the
 Bankruptcy Court approves an Alternative Transaction;

                 (g)      By Buyer upon delivery of written notice to Seller if:

                         (i)      any secured creditor of Seller obtains relief from the automatic stay or is
 otherwise permitted to foreclose on any of the Purchased Assets;

                          (ii)    the Sale Procedures Order is not entered by September 30, 2018;

                          (iii)   the Sale Order is not entered by November 30, 2018;

                         (iv)      Seller seeks to have the Bankruptcy Court enter an Order dismissing, or
 converting into cases under chapter 7 of the Bankruptcy Code, any of the cases commenced by Seller
 under chapter 11 of the Bankruptcy Code and comprising part of the Bankruptcy Case, or appointing a
 trustee in the Bankruptcy Case or appointing a responsible officer or an examiner with enlarged powers
 (other than a fee examiner) relating to the operation of Seller’s businesses pursuant to Section 1104 of the
 Bankruptcy Code, or such an order of dismissal, conversion or appointment is entered for any reason; or

                         (v)      (A) Seller enters into a definitive agreement with respect to an
 Alternative Transaction, (B) the Bankruptcy Court approves an Alternative Transaction or (C) Seller
 accepts an Alternative Transaction as the winning bid at Auction.

                  (h)     Anything in this Agreement to the contrary notwithstanding, if the Termination
 Notice is not timely served in accordance with Section 12.1(b), any and all provisions of this Agreement
 pursuant to which Buyer could otherwise exercise the right not to proceed with the closing of the
 Contemplated Transactions, with the sole exception of Section 6.15, shall be deemed of no force or effect
 whatsoever and Buyer’s right to terminate this Agreement shall be solely pursuant to this Section 12.1.

         12.2    Effect of Termination. Subject to the provisions of this Section 12.2, the rights of
 termination set forth above are in addition to any other rights a terminating Party may have under this
 Agreement and the other Transaction Documents, and the exercise of a right of termination will not be an
 election of remedies. Notwithstanding the foregoing sentence, in the event of any termination of this
 Agreement by either Buyer or Seller as provided in Section 12.1, this Agreement shall forthwith become


                                                      81
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 88 of 192
 void, and there shall be no Liability on the part of any Party or any of its or their Affiliates to any other
 Person resulting from, arising out of, relating to, or in connection with this Agreement or any other
 Transaction Document, except that (a) nothing in this Agreement or any other Transaction Document will
 relieve any Party from any material breach of this Agreement or any other Transaction Document prior to
 such termination or for fraud, intentional misrepresentation or willful or criminal misconduct, (b) Section
 6.14 (Confidentiality), and Article 13 (General) and any pre-termination breaches of such provisions shall
 survive any termination of this Agreement and each Party shall be entitled to all remedies available at law
 or in equity in connection with any past or future breach of any such provision and (c) Seller’s obligations
 to pay Buyer the Expense Reimbursement if approved in the Sale Procedures Order shall survive any
 termination of this Agreement.

 13.      GENERAL.

          13.1     Notice. Any notice, demand or communication required, permitted, or desired to be
 given hereunder must be in writing and shall be deemed effectively given when personally delivered,
 when received by telegraphic or other electronic means (including facsimile transmission or electronic
 mail), or five (5) days after being deposited in the United States mail, with postage prepaid thereon,
 certified or registered mail, return receipt requested, addressed as follows:

                 If to Seller:                             Amory Regional Medical Center, Inc.
                                                           1721 Midpark Road, Suite B200
                                                           Knoxville, TN 37921
                                                           Attention: Steve Clapp

                 With simultaneous copy (which             Polsinelli PC
                  shall not constitute notice) to:         1201 West Peachtree Street, NE
                                                           Suite 1100
                                                           Atlanta, GA 30309
                                                           Attention: David E. Gordon, Esq.
                                                           dgordon@polsinelli.com


                 If to Buyer:                              North Mississippi Health Services, Inc.
                                                           830 South Gloster Street
                                                           Tupelo, MS 38801
                                                           Attention: Shane Spees

                 With simultaneous copy (which             North Mississippi Health Services, Inc.
                 shall not constitute notice) to:          830 South Gloster Street
                                                           Tupelo, MS 38801
                                                           Attention: Bruce Toppin, Esq.

                                                           Burr & Forman LLP
                                                           222 Second Avenue South, Suite 2000
                                                           Nashville, Tennessee 37201
                                                           Attention: David W. Houston IV, Esq.
                                                           Facsimile: (615) 724-3315
                                                           Email: dhouston@burr.com

 or to such other address, and to the attention of such other Person or officer as any Party may designate.



                                                      82
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                   Document    Page 89 of 192
         13.2    Legal Fees and Costs of Disputes. In the event a Party incurs legal expenses to enforce
 or interpret any provision of this Agreement by mediation, arbitration or judicial means, the prevailing
 Party will be entitled to recover such legal expenses, including attorney’s fees, costs and necessary
 disbursements, in addition to any other relief to which such Party shall be entitled.

          13.3    Choice of Law. Except to the extent the mandatory provisions of the Bankruptcy Code
 apply, the Parties agree that this Agreement shall be governed by and construed in accordance with the
 applicable Laws of the State of Mississippi without giving effect to any choice or conflicts of law
 provision or rule thereof that would result in the application of the applicable Laws of any other
 jurisdiction other than the applicable Laws of the United States of America, where applicable.

          13.4    Arbitration. The Parties agree that the Bankruptcy Court shall have exclusive
 jurisdiction over all disagreements, disputes or claims arising out of or relating to this Agreement or the
 Contemplated Transactions that cannot be settled by the relevant Parties, including any claims for
 injunctive relief. If the Bankruptcy Case has closed or if the Bankruptcy Court otherwise declines to
 exercise jurisdiction, the Parties agree that all disagreements, disputes or claims arising out of or relating
 to this Agreement or the Contemplated Transactions that cannot be settled by the relevant Parties,
 including any claims for injunctive relief, shall be settled by arbitration in accordance with the provisions
 set forth below.

                  (a)     Forum. The forum for arbitration shall be Nashville, Tennessee.

                  (b)     Law. The governing Law shall be the Law of the State of Mississippi.

                 (c)     Administration.       The arbitration shall be administered by the American
 Arbitration Association (“AAA”).

                   (d)     Selection; Notice. In the case of one or more claims or disputes under this
 Agreement for which the amount in controversy, whether for an individual claim or dispute or in the
 aggregate as to multiple claims or disputes, is less than $500,000.00, the Parties agree to submit such
 claims or disputes to a single arbitrator, to be chosen in the manner prescribed below. In the event the
 amount in controversy, whether for an individual claim or dispute or in the aggregate as to multiple
 claims or disputes between the Parties, is $500,000.00 or more, or, in the event the Parties do not agree as
 to whether such amount in controversy is $500,000.00 or more, the Parties agree to submit such claims or
 disputes to a board of arbitrators consisting of three arbitrators, as set forth below (the term “Arbitrators”
 shall refer to the board of arbitrators or the single arbitrator, as applicable). For the avoidance of doubt, in
 determining the aggregate amount in controversy for purposes of the two preceding sentences, in the
 event that there are multiple claims or disputes such claims or disputes need not be related, including as to
 the same subject matter, the same provisions of this Agreement or the same set of facts.

                          (i)     If any Person determines to submit a dispute for arbitration pursuant to
 this Section 13.4, such Person shall furnish the other Parties to the dispute with a dated, written statement
 (the “Arbitration Notice”) indicating (A) such Person’s intent to commence arbitration Proceedings, (B)
 the nature, with reasonable detail, of the dispute and (C) the remedy or remedies such Person will seek.

                           (ii)     Where the Parties use a single arbitrator, within twenty (20) days of the
 Arbitration Notice, the Parties shall select a single arbitrator from a list of members of the AAA’s
 National Panel of Commercial Arbitrators. Such arbitrator must be “neutral” and must have at least ten
 (10) years’ experience in merger and acquisition transactions. If the Parties do not reach agreement on
 the selection of a single arbitrator within the twenty (20) day period, the AAA shall have the right to make
 such selection upon the request of any Party to the arbitration Proceedings. Where the Parties use a board


                                                       83
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 90 of 192
 of arbitrators, within twenty (20) days of the date of the Arbitration Notice, the Person commencing the
 arbitration (collectively, the “Petitioner”) and the Party with whom the Petitioner has its dispute
 (collectively, the “Respondent”) shall each select one neutral arbitrator (and provide written notice of
 such selection to the Respondent and Petitioner). If either the Petitioner or Respondent fails to select a
 neutral arbitrator or provide such notice within the twenty (20) day period, the AAA shall have the right
 to make such selection upon the request of any Party to the arbitration Proceedings. (Such qualifying
 arbitrators hereafter may be referred to, respectively, as the “First Arbitrator” and the “Second
 Arbitrator”). Within ten (10) days following their selection, the First and Second Arbitrator shall select
 (and provide written notice to the Respondent and the Petitioner of such selection) a third arbitrator (the
 “Third Arbitrator”) from a list of members of the AAA’s National Panel of Commercial Arbitrators.
 The Third Arbitrator must be “neutral” and must have at least ten (10) years’ experience in merger and
 acquisition transactions. For purposes of this Section 13.4, a “neutral” arbitrator shall be a Person who
 would not be subject to disqualification under rule No. 18 of the AAA Rules.

                 (e)      Rules. The rules of arbitration shall be the Commercial Arbitration Rules of the
 AAA, as modified by any other instructions that the Parties may agree upon at the time, except that each
 Party shall have the right to conduct discovery in any manner and to the extent authorized by the Federal
 Rules of Civil Procedure as interpreted by the United States District Court for the Middle District of
 Tennessee. The Arbitrators shall not modify the terms of this Agreement.

                  (f)      Award. The award rendered by arbitration shall be Final and Binding upon the
 Parties, and judgment upon the award may be entered in any court of competent jurisdiction of the United
 States. The Arbitrators shall have authority to award legal fees and associated costs to the Party that
 substantially prevails in any arbitration Proceeding.

         13.5     Benefit; Assignment; Delegation. Subject to provisions herein to the contrary, this
 Agreement shall inure to the benefit of and be binding upon the Parties and their respective legal
 representatives, successors and permitted assigns and delegates. No Party may assign any of its rights
 hereunder or delegate any of its duties hereunder without the prior written consent of the other Parties;
 provided, however, that Buyer, without the prior consent of Seller, may assign any of its rights hereunder
 or delegate any of its duties hereunder to Buyer’s Affiliates, or, for collateral security purposes, to
 Persons providing financing to Buyer or its Affiliates, but in such event, Buyer shall be required to remain
 obligated hereunder in the same manner as if such assignment or delegation had not been effected.

      13.6   Waiver of Jury Trial. EACH OF THE PARTIES HEREBY IRREVOCABLY
 WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING
 OUT OF OR RELATED TO THIS AGREEMENT OR THE CONTEMPLATED TRANSACTIONS.

          13.7    Legal Advice and Reliance. Except as expressly provided in this Agreement, none of
 the Parties (nor any of the Parties’ respective Representatives) has made or is making any representations
 to any other Party (or to any other Party’s Representatives) concerning the consequences of the
 Contemplated Transactions under applicable Laws, including Tax-related Laws or under the Laws
 governing the Government Programs. Except for the representations and warranties made in this
 Agreement, each Party has relied solely upon the Tax, Government Program and other advice of its own
 Representatives engaged by such Party and not on any such advice provided by any other Party.

          13.8   Reproduction of Documents. This Agreement and the other Transaction Documents,
 including (a) consents, waivers and modifications which may hereafter be executed, (b) the documents
 delivered at the Closing, and (c) financial statements, certificates and other information previously or
 hereafter furnished to Seller or to Buyer, may, subject to the provisions of Section 6.14 and Section
 7.3(a), be reproduced by Seller and by Buyer by any photographic, photostatic, microfilm, micro-card,


                                                     84
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 91 of 192
 miniature photographic or other similar process, and Seller and Buyer may destroy any original
 documents so reproduced. Seller and Buyer agree and stipulate that any such reproduction shall be
 admissible in evidence as the original itself in any judicial, arbitral or administrative Proceeding (whether
 or not the original is in existence and whether or not such reproduction was made by Seller or Buyer in
 the regular course of business) and that any enlargement, facsimile or further reproduction of such
 reproduction shall likewise be admissible in evidence.

          13.9   Cost of Transaction. Except as otherwise provided herein, the Parties agree as follows:

                  (a)    whether or not the Contemplated Transactions shall be consummated, Seller will
 pay (i) the fees, expenses and disbursements of Seller and its respective Representatives incurred in
 connection with the subject matter hereof and any amendments hereto; and (ii) Buyer shall pay recording
 fees and similar Closing costs relating to the transfer of the Real Property; and

                   (b)    whether or not the Contemplated Transactions shall be consummated, Buyer will
 pay (i) the fees, expenses and disbursements of Buyer and its Representatives incurred in connection with
 the subject matter hereof and any amendments hereto; (ii) any and all costs related to any due diligence
 investigations conducted by Buyer; and (iii) the fees and expenses associated with any documentary
 stamps, Transfer Taxes, and similar Closing costs relating to the transfer of the Real Property, the
 Commitments and the Title Policy;.

         13.10 Waiver of Breach. The waiver by any Party of a breach or violation of any provision of
 this Agreement shall not operate as, or be construed to constitute, a waiver of any subsequent breach of
 the same or other provision hereof.

         13.11 Severability. If any provision of this Agreement is held to be illegal, invalid or
 unenforceable under any present or future Law, and if the rights or obligations of Buyer, Curae, or Seller
 under this Agreement will not be materially and adversely affected thereby, (a) such provision will be
 fully severable, (b) this Agreement will be construed and enforced as if such illegal, invalid or
 unenforceable provision had never comprised a part hereof, (c) the remaining provisions of this
 Agreement will remain in full force and effect and will not be affected by the illegal, invalid or
 unenforceable provision or by its severance herefrom, and (d) in lieu of such illegal, invalid or
 unenforceable provision, there will be added automatically as a part of this Agreement a legal, valid and
 enforceable provision as similar in terms to such illegal, invalid or unenforceable provision as may be
 possible.

          13.12 No Inferences; Sophisticated Parties. Each Party acknowledges and agrees to the
 following: (a) all of the Parties are sophisticated and represented by experienced healthcare and
 transactional counsel in the negotiation and preparation of this Agreement; (b) this Agreement is the
 result of lengthy and extensive negotiations between the Parties and an equal amount of drafting by all
 Parties; (c) this Agreement embodies the justifiable expectations of sophisticated parties derived from
 arm’s-length negotiations; and (d) no inference in favor of, or against, any Party shall be drawn from the
 fact that any portion of this Agreement has been drafted by or on behalf of such Party.

         13.13 Divisions and Headings of this Agreement. The divisions of this Agreement into
 sections and subsections and the use of captions and headings in connection therewith are solely for
 convenience and shall have no legal effect in construing the provisions of this Agreement.

          13.14 No Third-Party Beneficiaries. The terms and provisions of this Agreement are intended
 solely for the benefit of Buyer, Curae, Seller, the Seller Indemnified Parties with respect to Article 10, the
 Buyer Indemnified Parties with respect to Article 10, and such parties’ respective permitted successors,


                                                      85
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                   Document    Page 92 of 192
 assigns, or delegates, and it is not the intention of the Parties to confer, and, this Agreement shall not
 confer, third-party beneficiary rights upon any other Person.

          13.15 Entire Agreement; Amendment. This Agreement, together with the other Transaction
 Documents and the Confidentiality Agreement, represent the entire agreement between the Parties with
 respect to the subject matter of this Agreement and supersede all prior or contemporaneous oral or written
 understandings, negotiations, letters of intent or agreements between the Parties. This Section 13.15 shall
 be deemed a “merger” clause under Mississippi Law, and this Agreement (together with the other
 Transaction Documents and the Confidentiality Agreement) is intended as a complete integration of the
 agreement of the Parties. No modifications of, amendments to, or waivers of any rights or duties under
 this Agreement shall be valid or enforceable unless and until made in writing and signed by all Parties.

         13.16 Multiple Counterparts. This Agreement may be executed in any number of
 counterparts, each and all of which shall be deemed an original and all of which together shall constitute
 but one and the same instrument. The facsimile signature of any Party or other Person to this Agreement
 or any other Transaction Document or a PDF copy of the signature of any Party or other Person to this
 Agreement or any other Transaction Document delivered by electronic mail for purposes of execution or
 otherwise, is to be considered to have the same binding effect as the delivery of an original signature on
 an original contract.

          13.17 Other Owners of Purchased Assets. The Parties acknowledge that certain Purchased
 Assets may be owned by one or more Seller Affiliates rather than Seller. Notwithstanding the foregoing,
 and for purposes of all representations, warranties, covenants and agreements contained herein, Seller and
 Curae each agree that (a) its obligations with respect to any Purchased Assets shall be joint and several
 with any Seller Affiliate which owns or controls such Purchased Assets, (b) the representations and
 warranties herein, to the extent applicable, shall be deemed to have been made by, on behalf of and with
 respect to, such Seller Affiliates in their ownership capacity, and (c) it has the legal capacity to cause, and
 it shall cause, any Seller Affiliate that owns or controls any Purchased Assets to meet all of Seller’s and
 Curae’s obligations under this Agreement with respect to such Purchased Assets. Seller and Curae each
 hereby waive any defense to a claim made by Buyer under this Agreement based on the failure of any
 Person who owns or controls the Purchased Assets to be a Party.

 14.      GOVERNING LAW.             The parties agree that this Agreement shall be governed by and
          construed in accordance with the laws of the State of Mississippi, without regard to conflict of
          laws principles.

 15.      TIME PERIOD FOR COMPLETING SCHEDULES AND EXHIBITS. Notwithstanding
          anything herein to the contrary, the Parties shall complete the attached complete schedules and
          exhibits, as well as any blanks to be filled in, in a mutually satisfactory manner on or before
          October 29, 2018.

                                    [SIGNATURE PAGE FOLLOWS]




                                                       86
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                   Document    Page 93 of 192
            IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above
 written.

            SELLER:                                 AMORY REGIONAL MEDICAL CENTER,
                                                    INC.

                                                    By:
                                                    Name:
                                                    Title:

                                                    AMORY REGIONAL PHYSICIANS, LLC

                                                    By:___________________________________
                                                    Name:_________________________________
                                                    Title: _________________________________

            BUYER:                                  NORTH MISSISSIPPI HEALTH SERVICES,
                                                    INC.

                                                    By:
                                                    Name
                                                    Title:

            CURAE:                                  CURAE HEALTH, INC.

                                                    By:____________________________________
                                                    Name:__________________________________
                                                    Title: ___________________________________




                               Signature Page to Asset Purchase Agreement
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43             Desc Main
                                  Document    Page 94 of 192
                                           SCHEDULE 2.2(l)

                                            Excluded Assets

 (a)      any rights, Claims, counterclaims, third party Claims or causes of action of Seller against
          any Person and any actions under Chapter 5 of the Bankruptcy Code, including, without
          limitation, under Sections 510, 542, 544, 545, 547, 548, 549, 550, 551, 553 and 724(a) of
          the Bankruptcy Code;

 (b)      all claims and/or causes of actions that Seller has brought and/or may bring against any
          Person relating to any Excluded Asset and/or Excluded Liabilities, including, without
          limitation, all claims and/or causes of action that Seller may bring against (i) any current
          or former director, officer, employee, professional or consultant of Seller; (ii) against
          CHS and any of its affiliates, employees or agents and (iii) against any pre-petition
          lenders of Seller.

 (c)      all insurance policies and all rights to proceeds thereunder except any right to assert
          claims or receive proceeds relating to Purchased Assets, including, without limitation,
          any director or officer insurance policies relating to any matter, event or circumstance
          occurring on or prior to the Closing Date;

 (d)      the residual rights in and proceeds of any employee benefits plans that are not transferred
          to Buyer;

 (e)      all rights and liabilities relating to all applications for grants filed prior to the Effective
          Time, including all proceeds of grants awarded (including awards made and/or grant
          funds provided after the Closing);

 (f)      all of Seller’s deposits and other prepaid charges and expenses to the extent not included
          in the calculation of Net Working Capital;

 (g)      any assets disposed of or consumed in the ordinary course of business during the period
          between the date hereof and the Closing Date;

 (h)      Seller’s minute book and similar corporate records (a copy shall be included in the
          Purchased Assets);

 (i)      any legal privilege that relates to any Excluded Asset or any Excluded Liability; and

 (j)      All funds with respect to Seller’s self-funded (i) insurance, (ii) benefits, or (iii) similar
          programs.




                               Signature Page to Asset Purchase Agreement
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                  Desc Main
                                  Document    Page 95 of 192
                                      Exhibit 2
                        Revised Gilmore APA (Redline Version)




 65653942.1
Case 3:18-bk-05665   Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                            Document    Page 96 of 192
                                                                  Waller Draft 8/31/18




                            ASSET PURCHASE AGREEMENT

                                   BY AND AMONG

                       AMORY REGIONAL MEDICAL CENTER, INC.

                          AMORY REGIONAL PHYSICIANS, LLC

                                 CURAE HEALTH, INC.

                                        AND

                       NORTH MISSISSIPPI HEALTH SERVICES, INC.

                             DATED AS OF AUGUST 31, 2018




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 4822-2526-1169.2
 65363741.1
Case 3:18-bk-05665     Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43    Desc Main
                              Document    Page 97 of 192
                                       LIST OF SCHEDULES

 Schedule 2.1(l)        Assumed Contracts
 Schedule 2.1(n)        Trademarks/Domain Names/Restricted Names
 Schedule 2.2(l)        Other Excluded Assets
 Schedule 2.3(a)(iii)   Assumed Capital Leases
 Schedule 2.3(b)        Cure Amounts
 Schedule 2.3(c)(i)     Additional Assumed Contracts
 Schedule 2.3(c)(ii)    Additional Excluded Contracts
 Schedule 4.2           Non-contravention
 Schedule 4.3           Subsidiaries; Minority Interests
 Schedule 4.4(a)        Encumbrances
 Schedule 4.5(a)        Historical Financial Information
 Schedule 4.5(c)        Indebtedness
 Schedule 4.6           Permits and Approvals
 Schedule 4.8           Accreditation
 Schedule 4.9(i)        Private Programs
 Schedule 4.9(ii)       National Provider Identifiers; Provider Numbers
 Schedule 4.9(iii)      CMS Reporting
 Schedule 4.10          Third-Party Payor Cost Reports
 Schedule 4.12(c)       Information Privacy and Security Compliance
 Schedule 4.16(a)       Owned Intellectual Property
 Schedule 4.16(b)       Liens on Owned Intellectual Property
 Schedule 4.16(c)       Violations of Intellectual Property Contracts
 Schedule 4.16(d)       Claims Regarding Intellectual Property Infringement
 Schedule 4.16(e)       Owned Intellectual Property Infringement
 Schedule 4.16(g)       Open Source Materials
 Schedule 4.17(a)       Contracts
 Schedule 4.17(b)       Violations Under Assumed Contracts
 Schedule 4.18          Personal Property
 Schedule 4.20(a)       List of Facilities
 Schedule 4.20(b)       Owned Real Property
 Schedule 4.20(c)       Leased Real Property
 Schedule 4.20(d)       Rent Rolls
 Schedule 4.20(e)       Third Party Leases
 Schedule 4.21          Insurance
 Schedule 4.22(a)       Employee Benefit Plans
 Schedule 4.22(e)       Benefit Plan Proceedings
 Schedule 4.22(g)       Payments under Benefit Plans
 Schedule 4.23(a)       Employees
 Schedule 4.23(c)       Labor Matters
 Schedule 4.24          Litigation
 Schedule 4.25          Tax Matters
 Schedule 4.26          Environmental Matters
 Schedule 4.28          Affiliate Transactions
 Schedule 4.29          Brokers and Finders
 Schedule 5.2           Buyer Non-contravention
 Schedule 6.2           Conduct of Business




 1471496v74822-2526-1169.2                         i
 65363741.1
 65459867.3
Case 3:18-bk-05665       Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43     Desc Main
                                Document    Page 98 of 192
                                       LIST OF EXHIBITS

 Exhibit A             Sale Order
 Exhibit B             Sale Procedures Motion and Sale Procedures Order
 Exhibit C             Lease Assignment
 Exhibit D             Bill of Sale
 Exhibit E             Assignment and Assumption Agreement
 Exhibit F             Power of Attorney
 Exhibit G             Transition Services Agreement
 Exhibit H             Escrow Agreement
 Exhibit I             Trademark Assignment Agreement
 Exhibit J             Domain Name Assignment Agreement
 Exhibit K             Curae Restrictive Covenants Agreement




 1471496v74822-2526-1169.2                       ii
 65363741.1
 65459867.3
Case 3:18-bk-05665       Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                                Document    Page 99 of 192
                                  ASSET PURCHASE AGREEMENT

         THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is made and entered into
 effective as of August 31, 2018 by and among Amory Regional Medical Center, Inc., a Tennessee
 non-profit corporation qualified to do business in Mississippi (with ARP, “Seller”), Amory Regional
 Physicians, LLC, a Tennessee limited liability company qualified to do business in Mississippi (“ARP”),
 Curae Health, Inc., a Tennessee non-profit corporation qualified to do business in Tennessee (“Curae”)
 and North Mississippi Health Services, Inc., a Delaware non-profit corporation qualified to do business
 in Mississippi or its designated controlled Affiliate (“Buyer” and collectively with Seller and Curae, the
 “Parties”).

                                          WITNESSETH


          WHEREAS, Seller owns and operates Gilmore Medical Center, a 95 bed acute care hospital and
 related healthcare operations and facilities located in Amory, Mississippi (the “Hospital”); and

         WHEREAS, Seller has delegated responsibility for the management of the Hospital to Curae
 Health, Inc., a Tennessee nonprofit corporation (“Curae”), pursuant to a management services
 agreement; and

         WHEREAS, Seller has filed voluntary petitions (collectively, the “Bankruptcy Case”) under
 chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Middle District of
 Tennessee (the “Bankruptcy Court”) prior to the date of this Agreement; and

         WHEREAS, the Parties intend that Buyer be designated as the Stalking Horse Bidder (as
 defined in the Sale Procedures Order);

         WHEREAS, Seller desires to sell and assign to Buyer, and Buyer desires to purchase and
 assume from Seller, all of the Purchased Assets and Assumed Liabilities, in each case on the terms and
 conditions set forth herein, and, as applicable, free and clear of all Encumbrances (other than Permitted
 Encumbrances) in accordance with Sections 105, 363 and 365 and other applicable provisions of the
 Bankruptcy Code and the Bankruptcy Rules; and


        WHEREAS, following Bankruptcy Court approval of this Agreement and entry of the Sale
 Order and satisfaction of other conditions set forth herein, the Parties intend to consummate the
 Contemplated Transactions as further described herein.


         NOW, THEREFORE, for and in consideration of the premises, the agreements, covenants,
 representations and warranties set forth in this Agreement, and other good and valuable consideration,
 the receipt and adequacy of which are acknowledged and agreed, the Parties agree as follows:

 1.      1.      DEFINITIONS; INTERPRETATION.

         1.1     Definition. As used herein the terms below shall have the following meanings:

         “AAA” is defined in Section 13.4(c).

         “Accounting Firm” is defined in Section 2.8(c).

 1471496v74822-2526-1169.2                           1
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                    Desc Main
                                 Document    Page 100 of 192
          “Affiliate” means, as to the Person in question, any Person that directly or indirectly controls, is
 controlled by, or is under common control with, the Person in question and any successors or assigns of
 such Person; provided, however, that (a) stockholders, officers or directors shall not be considered
 “Affiliates,” and (b) except for a Person’s direct and indirect subsidiaries, and other Persons controlled
 (directly or indirectly) by such Person, no association, corporation, limited liability company,
 partnership, limited liability partnership, trust or other Person shall be considered an “Affiliate” solely as
 a result of any direct or indirect ownership, control or other relationship between the stockholders,
 officers or directors of such Person. For purposes of this definition, “control” means possession, directly
 or indirectly, of the power to direct, or cause the direction of, the management and policies of a Person
 whether through ownership of voting securities, by Contract or otherwise.

         “Agency Settlements” is defined in Section 7.4(a).

         “Agreed Upon Assignments” is defined in Section 6.3(b).

         “Agreement” is defined in the preamble to this Agreement.

         “Allocation” is defined in Section 11.1.

         “ALTA” means the American Land Title Association.

          “Alternative Transaction” is defined in Section 6.13.means any transaction or series of related
 transactions (other than a Contemplated Transaction pursuant to this Agreement), pursuant to which the
 Seller (i) accepts a Bid, other than that of the Buyer, (ii) sells, transfers, leases or otherwise disposes of,
 directly or indirectly, including through an acquisition, assets sale, stock sale, purchase, merger,
 reorganization, recapitalization or other similar transaction with or involving any securities or other
 interest in the Purchased Assets, including but not limited to a stand-alone plan of reorganization or
 refinancing, of all or substantially all of the Purchased Assets (or agrees to any of the foregoing) in a
 transaction or series of transactions to a party or parties other than the Buyer.

         “Approval” means any approval, authorization, consent, notice, qualification or registration, or
 any extension, modification, amendment or waiver of any of the foregoing, of or from, or any notice,
 statement, filing or other communication to be filed with or delivered to, any Governmental Authority or
 any other Person.

         “Arbitration Notice” is defined in Section 13.4(d)(i).

         “Arbitrators” is defined in Section 13.4(d).

         “ARP” shall mean Amory Regional Physicians, LLC, a Tennessee limited liability company
 qualified to do business in Mississippi.

         “Assignment and Assumption Agreement” is defined in Section 3.2(d).

        “Assumed Capital Leases” means those capital lease obligations of Seller that are included
 among the Assumed Contracts and set forth on Schedule 2.3(a)(iii).

         “Assumed Contracts” is defined in Section 2.1(l).

        “Assumed Indebtedness” means the aggregate amount (as of immediately prior to the Effective
 Time) of the current and long-term Liabilities of Seller under the Assumed Capital Leases, if any, all as

 1471496v74822-2526-1169.2                              2
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 101 of 192
 set forth in the Closing Statement.

         “Assumed Liabilities” is defined in Section 2.3(a).

         “Assumed Paid Time Off” is defined in Section 7.1(c).

         “Auction” has the meaning set forth in the Sale Procedures Order.

         “Backup Bidder” has the meaning set forth in the Sale Procedures Order.

         “Balance Sheet Date” means May 31, 2018.

         “Bankruptcy Case” is defined in the recitals to this Agreement.

         “Bankruptcy Code” means Title 11 of the United States Code, Sections 101 et seq.

         “Bankruptcy Court” is defined in the recitals to this Agreement.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedures

         “Bid” has the meaning set forth in the Sale Procedures Order.

         “Bid Protections” is defined in Section 6.17(f).

         “Bill of Sale” is defined in Section 3.2(c).

          “Books and Records” means originals, or where not available, copies (including in electronic
 format), of books and records maintained in connection with the Business or the Purchased Assets,
 including books and records relating to books of account, ledgers and general financial accounting
 records, Physician records, medical staff records, personnel records, machinery and equipment
 maintenance files, patient and customer lists, price lists, distribution lists, supplier lists, quality control
 records and procedures, customer and patient complaints and inquiry files, research and development
 files, records and data (including all correspondence with any Governmental Authority), sales material
 and records, strategic plans, marketing plans, internal financial statements and marketing and
 promotional surveys, pricing and cost information, material and research that relate to the Business.

         “Break-Up FeeExpense Reimbursement” is defined in Section 6.17(f).


         “Business” means the ownership and operation of the Hospital and all assets and operations
 ancillary to or associated with any of the foregoing as currently conducted or as contemplated by Seller
 to be conducted in the future, including any interest or management contracts related to physician
 practices controlled or managed by the Hospital or its Affiliates.

         “Business Day” means any day except Saturday, Sunday and any day which is a legal holiday in
 the State of Mississippi.

         “Business Offerings” means any products or services designed, developed, offered, provided,
 licensed or otherwise distributed by or for Seller or any Seller Affiliate related to the Business, or that
 Seller or any Seller Affiliate intends to offer for license, provide or otherwise distribute in connection
 with the Business, including any products or service offerings under development that form the basis, in

 1471496v74822-2526-1169.2                              3
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 102 of 192
 whole or in part, of any revenue or business projection provided to Buyer.

         “Buyer” is defined in the preamble to this Agreement.

         “Buyer Employer” means Buyer or one of its Affiliates.

          “Buyer Fundamental Representations” means, collectively, the representations and warranties
 set forth in Section 5.1 (Organization; Capacity), Section 5.2 (Authority; Non-contravention; Binding
 Agreement) and Section 5.4 (Brokers and Finders).

         “Buyer Indemnified Parties” is defined in Section 10.1(a).

         “Buyer Threshold” is defined in Section 10.2(b).

         “Cardholder Data” is defined in Section 4.16(i).

         “Closing” is defined in Section 3.1.

         “Closing Date” is defined in Section 3.1.

         “Closing Statement” is defined in Section 2.8(a).

         “Closing Working Capital” means Net Working Capital as of immediately prior to the Effective
 Time.

         “CMS” means the Centers for Medicare & Medicaid Services.

         “CMS Program Payments” means payments or discounts that are not based directly on the
 submission of claims for services delivered and are received through participation in a CMS program
 implemented by CMS through a contract with CMS or as a participant through a contract with a CMS
 contractor. Such programs include, but are not limited to, Medicare accountable care organizations,
 episode-based payment initiatives and other Medicare Innovation Models as implemented by CMS as
 authorized pursuant to the laws and regulations identified in CMS Reporting.

         “CMS Reporting” means any cost, quality, performance, and electronic reporting requirements
 implemented by CMS pursuant, but not limited, to the Social Security Act, the Patient Protection and
 Affordable Care Act of 2010 (or any replacement or successor Law), the Health Care and Education
 Reconciliation Act of 2010, the Pathway for Sustainable Growth Reform (SGR) Act of 2013, the
 Protecting Access to Medicare Act of 2014, the Improving Medicare Post-Acute Care Transformation
 Act of 2014 (IMPACT), American Taxpayer Relief Act of 2012 (ATRA), Balanced Budget Act of 1997
 (BBA), the Medicare, Medicaid and SCHIP (State Children’s Health Insurance Program) Balanced
 Budget Refinement Act of 1999 (BBRA), the Medicare, Medicaid, and SCHIP Benefits Improvement
 and Protection Act of 2000 (BIPA), the 21st Century Cures Act, the HITECH Act, the Medicare Access
 & CHIP Reauthorization Act of 2015 (MACRA) and/or the Bipartisan Balanced Budget Act of 2018,
 each of which may be amended from time to time by a Balanced Budget Act of the United States
 Congress, each applicable at such time as healthcare services are rendered.

         “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, the Public
 Health Service Act, codified as 42 U.S.C. §§ 300bb-1 through 300bb-8, and any similar state or federal
 continuation of coverage Laws.


 1471496v74822-2526-1169.2                           4
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                 Desc Main
                                 Document    Page 103 of 192
        “Code” means the Internal Revenue Code of 1986, as amended, and the rules and regulations
 promulgated thereunder.

         “Commitments” is defined in Section 6.6(a).

          “Confidential Information” means all information (whether or not specifically identified as
 confidential), in any form or medium that relates to the Purchased Assets or the Business, including: (a)
 internal business information related to the Business (including, information relating to strategic plans
 and practices, business, accounting, financial or marketing plans, practices or programs, training
 practices and programs, salaries, bonuses, incentive plans and other compensation and benefits
 information and accounting and business methods); (b) identities of, individual requirements of, specific
 contractual arrangements with, and information about, the Business or any Purchased Asset; (c) any
 confidential or proprietary information of any third party that Seller has a duty to maintain confidentiality
 of, or use only for certain limited purposes; (d) industry research compiled by, or on behalf of the
 Business, Seller, or any Seller Affiliate, including, identities of potential target companies, management
 teams, and transaction sources identified by, or on behalf of, Seller or any Seller Affiliate; (e)
 compilations of data and analyses, processes, methods, track and performance records, data and data
 bases relating thereto; (f) information related to the Transferred Intellectual Property and updates of any
 of the foregoing; and (g) information obtained in connection with Section 10.3 during the prosecution or
 defense of any Third-Party Claim; provided that Confidential Information shall not include any
 information that has become generally known to and widely available for use within the industry other
 than as a result of the acts or omissions of Seller or a Person that Seller has any direct control over to the
 extent such acts or omissions are not authorized by Seller in the performance of such Person’s assigned
 duties for Seller.

        “Confidentiality Agreement” means that certain Confidentiality Agreement by and between
 Curae and Buyer, dated as of March 29, 2017.

          “Contemplated Transactions” means, collectively, the transactions contemplated by, or related
 to, this Agreement, including (a) the sale and purchase of the Purchased Assets between Seller and Buyer
 and (b) the execution, delivery and performance of this Agreement and the other Transaction Documents.

         “Contracts” means any legally binding oral or written commitment, promise, contract, lease,
 sublease, license, sublicense, guaranty, indenture, occupancy or other agreement or arrangement of any
 kind (and all amendments, side letters, modifications and supplements thereto).

          “Copyrights” means all copyrights, whether in published or unpublished works, which include
 literary works, and any other original works of authorship fixed in any tangible medium of expression
 (including nutritional and weight loss manuals and written programs); Software, web site and online
 application content; rights to compilations, collective works and derivative works of any of the
 foregoing; and registrations and applications for registration for any of the foregoing and any renewals or
 extensions thereof.

       “Cost Report” means any cost report required to be filed in respect of the Business pursuant to a
 Government Program or any third-party payor program.

          “Covered Person” means any officer, director, manager, employee or independent contractor of
 (a) Buyer Employer or any of Buyer Employer’s Affiliates who, as of any date of determination, works
 at, or provides services to, the Business, or worked at, or provided services to, the Business at any time
 during the twelve (12) month period prior to such date of determination, or (b) Seller or any Seller
 Affiliate, working at, or providing services to, the Business, at any time during the six (6) month period

 1471496v74822-2526-1169.2                             5
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 104 of 192
 immediately prior to the Effective Time.

         “Curae” is defined in the recitals above.

         “Curae Restrictive Covenants Agreement” is defined in Section 3.2(j).

         “Cure Amounts” means the amounts, if any, determined by the Bankruptcy Court to be
 necessary to cure all defaults and to pay all actual Losses that have resulted from such defaults under the
 Assumed Contracts.

         “Damaged Assets” is defined in Section 6.15.

         “Deductible” is defined in Section 10.1(b).

         “Deeds” is defined in Section 3.2(a).

         “Domain Name Assignment Agreement” is defined in Section 3.2(i).

          “Domain Names” means Internet electronic addresses, uniform resource locators and
 alphanumeric designations associated therewith registered with or assigned by any domain name
 registrar, domain name registry or other domain name registration authority as part of an electronic
 address on the Internet, rights in social media accounts and social media pages, and all applications for
 any of the foregoing.

         “DRG” is defined in Section 7.8(a).

         “DRG Transition Patients” is defined in Section 7.8(a).

         “Effective Time” is defined in Section 3.1.

          “Encumbrance” means any claim, charge, easement, servitude, assessment, encumbrance,
 encroachment, defect in title, security interest, bailment (in the nature of a pledge or for purposes of
 security), mortgage, deed of trust, the grant of a power to confess judgment, conditional sales and title
 retention, lease, sublease, option, right of first refusal or first offer, lien, hypothecation, pledge,
 restriction or other similar arrangement or interest in real or personal property, whether imposed by
 Contract, Law, equity or otherwise.

         “End Date” is defined in Section 12.1(c).

          “Environmental Condition” means any event, circumstance or conditions related in any manner
 whatsoever to: (a) the current or past presence or spill, emission, discharge, disposal, release or
 threatened release of any hazardous, infectious or toxic substance or waste (each term as defined by any
 applicable Environmental Laws) or any chemicals, pollutants, petroleum, petroleum products or oil,
 infectious waste material, medical waste, human tissue, syringes, needles, any material contaminated
 with bodily fluids of any type, character or nature, friable asbestos, toxic mold and poly-chlorinated
 biphenyls (“PCBs”) (collectively, “Hazardous Materials”), into the environment; (b) the on-site or
 off-site treatment, storage, disposal or other handling of any Hazardous Material originating on or from
 the Business or any portion of the Real Property; (c) the placement of structures or materials into waters
 of the United States; (d) the presence of any Hazardous Materials in any building, structure or workplace
 or on any portion of the Real Property; or (e) any violation of Environmental Laws at or on any portion
 of the Real Property or arising from the activities of Seller, any Seller Affiliate, or any other Person at the

 1471496v74822-2526-1169.2                              6
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 105 of 192
 Hospital involving Hazardous Materials.

         “Environmental Laws” means all Laws relating to pollution, the environment or human health
 and safety (including worker health and safety), including the Comprehensive Environmental Recovery,
 Compensation, and Liability Act, as amended, 42 U.S.C. § 6901, et seq., the Clean Air Act, 42 U.S.C. §
 7401; OSHA; and all other Laws relating to emissions, discharges, releases, or threatened releases of
 pollutants, contaminants, chemicals, pesticides, or industrial, infectious, toxic or hazardous substances or
 wastes into the environment (including ambient air, surface water, groundwater, land surface or
 subsurface strata) or otherwise relating to the processing, generation, distribution, use, treatment, storage,
 disposal, transport, or handling of pollutants, contaminants, chemicals, or industrial, infectious, toxic, or
 hazardous substances or wastes.

         “ERISA” is defined in Section 4.22(a).

         “ERISA Controlled Group” is defined in Section 4.22(d).

         “Escrow Account” is defined in Section 2.7(dc).

         “Escrow Agent” means _________________________________

         “Escrow Agreement” is defined in Section 3.2(g).

         “Escrow Amount” is defined in Section 2.7(dc).

         “Escrow Release Date” is defined in Section 10.11.

         “Estimated Assumed Indebtedness” is defined in Section 2.6(a).

         “Estimated Business Loss” is defined in Section 6.15.

         “Estimated Closing Statement” is defined in Section 2.6(a).

          “Estimated Purchase Price” is defined in Section 2.6(a).

         “Estimated Working Capital” is defined in Section 2.6(a).

         “Exception Claim” is defined in Section 10.3(a).

         “Excluded Assets” is defined in Section 2.2.

         “Excluded Contracts” means all Contracts other than the Assumed Contracts.

         “Excluded Liabilities” is defined in Section 2.4.

         “Expense Reimbursement” is defined in Section 6.17(f).

         “Exhibits” means the exhibits to this Agreement.

          “Facility” means the Hospital as defined in the recitals hereto and all other healthcare facilities,
 healthcare operations, or Physician practices owned, leased, managed or operated by Seller or any Seller
 Affiliate related to or associated with the Hospital and all assets and operations ancillary to or associated
 with any of the foregoing.
 1471496v74822-2526-1169.2                             7
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 106 of 192
         “False Claims Act” is defined in Section 4.11(d).

         “Federal Anti-Kickback Statute” is defined in Section 4.11(d).

         “Federal Fiscal Year” means the fiscal year of the federal government of the United States.

         “Final and Binding” means, with respect to any calculation or determination, that such
 calculation or determination shall have the same preclusive effect for all purposes as if such calculation
 or determination had been embodied in a final judgment, no longer subject to appeal, entered by a court
 of competent jurisdiction.

           “Final Order” means an Order of the Bankruptcy Court (or any other court of competent
 jurisdiction) entered by the clerk of the Bankruptcy Court (or such other court) on the docket in the
 Bankruptcy Case (or the docket of such other court), which has not been modified, amended, reversed,
 vacated or stayed and as to which (a) the time to appeal, petition for certiorari, or move for a new trial,
 stay, reargument or rehearing has expired and as to which no appeal, petition for certiorari or motion for
 new trial, stay, reargument or rehearing shall then be pending or (b) if an appeal, writ of certiorari, new
 trial, stay, reargument or rehearing thereof has been sought, such Order of the Bankruptcy Court (or other
 court of competent jurisdiction) shall have been affirmed by the highest court to which such order was
 appealed, or certiorari shall have been denied, or a new trial, stay, reargument or rehearing shall have
 expired, as a result of which such Action or Order shall have become final in accordance with
 Bankruptcy Rule 8002; provided that the possibility that a motion under Rule 60 of the Federal Rules of
 Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed relating to such Order,
 shall not cause an Order not to be a Final Order.

          “Final Resolution Date” means the earliest to occur of (a) thirty (30) days after delivery of the
 Closing Statement if a Post-Closing Notice of Disagreement is not timely received by Buyer in
 accordance with Section 2.8, (b) the date Buyer and Seller resolve in writing all differences they have
 with respect to the matters specified in a Post-Closing Notice of Disagreement, if timely received by
 Buyer in accordance with Section 2.8 or (c) the date all disputed matters set forth in a Post-Closing
 Notice of Disagreement, if timely received by Buyer in accordance with Section 2.8, are finally resolved
 in writing by the Accounting Firm in accordance with Section 2.8.

         “First Arbitrator” is defined in Section 13.4(d)(ii).

         “FTC” means the Federal Trade Commission.

         “FTC Red Flag Rules” means the regulations set forth in 16 C.F.R. Part 681.

         “GAAP” means United States generally accepted accounting principles and practices as in effect
 from time to time.

         “Government Programs” means the Medicare (including Medicare Part D and Medicare
 Advantage), Medicaid, Medicaid-waiver and CHAMPUS/TRICARE programs, any other similar or
 successor federal health care program (as defined in 42 U.S.C. §1320a-7b(f)) and any similar state or
 local programs.

         “Governmental Authority” means any government or any agency, bureau, board, directorate,
 commission, court, department, official, political subdivision, tribunal, special district or other
 instrumentality of any government, whether federal, state or local, domestic or foreign, and any
 self-regulatory organization, including Medicare Administrative Contractors (MACs).

 1471496v74822-2526-1169.2                            8
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 107 of 192
         “Ground Lease” means that certain Ground Lease dated April 27, 2017 by and between Amory
 Regional medical Center, Inc., as landlord, and CHCT Mississippi, LLC, as tenant for those certain
 medical office buildings being improved property known as: (i) 1107 Earl Frye Blvd.; (ii) 1111 Earl Frye
 Blvd.; and (iii) 1127 Earl Frye Blvd.

         “Hazardous Materials” is defined in the definition of Environmental Condition.

          “HIPAA” means the Health Insurance Portability and Accountability Act of 1996 and all
 regulations promulgated thereunder, including the Privacy Standards (45 C.F.R. Parts 160 and 164), the
 Electronic Transactions Standards (45 C.F.R. Parts 160 and 162), and the Security Standards (45 C.F.R.
 Parts 160, 162 and 164), as amended by the HITECH Act, the final HIPAA/HITECH Omnibus Rules
 published by the U.S. Department of Health and Human Services on January 25, 2013, and as otherwise
 may be amended from time to time.

         “Historical Financial Information” is defined in Section 4.5(a).

        “HITECH Act” means the Health Information Technology for Economic and Clinical Health
 Act provisions of the American Recovery and Reinvestment Act of 2009, Pub. Law No. 111-5 and its
 implementing regulations, including 42 C.F.R. §§ 412, 413, 422 and 495, as amended by the HIPAA
 Omnibus Rule, issued on January 25, 2013, effective as of March 26, 2013.

         “Hospital” is defined in the recitals to this Agreement.

          “Immediate Family Member” means husband or wife; birth or adoptive parent, child, or
 sibling; stepparent, stepchild, stepbrother, or stepsister; father-in-law, mother-in-law, son-in-law,
 daughter-in-law, brother-in-law, or sister-in-law; grandparent or grandchild; and spouse of a grandparent
 or grandchild.

         “Immigration Act” means the Immigration Reform and Control Act of 1986.

           “Indebtedness” means, at any specified time (without duplication), any of the following
 Liabilities of any Person (whether or not contingent and including any and all principal, accrued and
 unpaid interest, prepayment premiums or penalties, related expenses, commitment and other fees, sale or
 liquidity participation amounts, reimbursements, indemnities and other amounts which would be payable
 in connection therewith): (a) any Liabilities of such Person for borrowed money or in respect of loans or
 advances; (b) any Liabilities of such Person evidenced by bonds, debentures, notes, or other similar
 instruments or debt securities; (c) any Liabilities of such Person as lessee under any lease or similar
 arrangement required to be recorded as a capital lease in accordance with GAAP; (d) all Liabilities of
 such Person under or in connection with letters of credit or bankers’ acceptances, performance bonds,
 sureties or similar obligations; (e) any Liabilities of such Person to pay the deferred purchase price of
 property, goods or services other than those trade payables incurred in the ordinary course of business,
 which are not more than sixty (60) days past due; (f) all Liabilities of such Person arising from cash/book
 overdrafts; (g) all Liabilities of such Person under conditional sale or other title retention agreements; (h)
 all Liabilities of such Person with respect to vendor advances or any other advances made to such Person;
 (i) all Liabilities of such Person arising out of interest rate and currency swap arrangements and any other
 arrangements designed to provide protection against fluctuations in interest or currency rates; (j) all
 Liabilities to purchase, redeem, retire, defease or otherwise make any payment in respect of any equity
 interests or any warrant, right or option to acquire such equity interest, valued, in the case of a
 redeemable preferred interest, at the greater of its voluntary or involuntary liquidation preference plus
 accrued and unpaid dividends; (k) any Liabilities of such Person related to unfunded 401(k) plans,
 pension plans, profits sharing plans or similar retirement plan or obligations; and (l) any Liabilities of

 1471496v74822-2526-1169.2                             9
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 108 of 192
 others guaranteed by, or secured by any Encumbrance on the assets of, such Person, whether or not such
 indebtedness, liabilities or obligations shall have been assumed by such Person or is limited in recourse.

        “Indemnified Party” means a Buyer Indemnified Party or a Seller Indemnified Party, as the case
 may be, seeking indemnification pursuant to Article 10.

         “Indemnifying Party” means a Party from whom indemnification is sought pursuant to Article
 10.

         “Information Privacy or Security Laws” means HIPAA and all other Laws concerning the
 privacy or security of Personal Information, including state data breach notification Laws, state health
 privacy and information security Laws, the FTC Act, the FTC Red Flag Rules and state consumer
 protection Laws.

        “Information Technology Systems” means all information technology systems, Software,
 computers, workstations, databases, routers, hubs, switches, networks and other information technology
 equipment used or held for use in, or otherwise relating to, the Business.

         “Insurance Policies” is defined in Section 4.21.

         “Intellectual Property” means any and all of the following, and rights in, arising out of, or
 associated therewith, throughout the world: Copyrights, Domain Names, Patents, Trademarks and Trade
 Secrets, the right to use the names and likenesses of natural persons and publicity and privacy rights
 generally, any other proprietary rights now known or hereafter recognized in any jurisdiction worldwide,
 copies and tangible embodiments thereof (in whatever form or medium), and the right to sue and recover
 damages or other remedies for past, present and future infringement, misappropriation, dilution, or other
 violation thereof.

          “Intellectual Property Contracts” means all Contracts (including licenses, indemnification
 agreements, co-existence agreements, and covenants not to sue) that relate to the Transferred Intellectual
 Property, including any Contracts: (a) under which Seller has granted or agreed to grant to any other
 person any license, covenant, release, immunity or other right that applies to any Owned Intellectual
 Property (including any source code escrow agreements); or (b) under which any other Person has
 granted or agreed to grant to Seller any license, covenant, release, immunity or other right with respect to
 Intellectual Property rights or technology.

         “Interim Billings” is defined in Section 7.8(b).

          “Inventory” means all usable inventory and supplies used or held for use in, or otherwise
 relating to, the Business.

         “IRS” means the Internal Revenue Service.

         “Justice Department” means the United States Department of Justice.

         “Knowledge of Buyer” means the actual knowledge after due inquiry of Shane Spees.

        “Knowledge of Seller” means the actual knowledge after due inquiry of Steve Clapp and J.
 Allen Tyra.

          “Law” means any constitutional provision, statute, law, rule, regulation, code, ordinance,

 1471496v74822-2526-1169.2                            10
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 109 of 192
 accreditation standard, resolution, Order, ruling, promulgation, policy, treaty directive, interpretation, or
 guideline adopted or issued by any Governmental Authority.

         “Lease Assignment” is defined in Section 3.2(b).

          “Leased Real Property” means all real property leased, subleased or licensed to, or for which a
 right to use, possess or occupy has been granted to, Seller or any Seller Affiliate and used or held for use
 in, or otherwise relating to, the Business, together with all rights, easements and privileges appertaining
 or relating to such real property, and all improvements located on such real property.

         “Liability” means any liability, Indebtedness, obligation, deficiency, interest, Tax, penalty, fine,
 claim, demand, judgment, cause of action or other Losses (including loss of benefit or relief), cost or
 expense of any kind or nature whatsoever, whether known or unknown, asserted or unasserted, absolute,
 fixed, or contingent, accrued or unaccrued, liquidated or unliquidated, recorded or unrecorded, due or to
 become due or otherwise, and regardless of when asserted.

         “Losses” means any and all losses, Liabilities, Proceedings, causes of action, costs, damages, or
 expenses, whether or not arising from or in connection with any Third-Party Claims (including interest,
 penalties, reasonable attorneys’, consultants’ and experts’ fees and expenses and all amounts paid in
 investigation, defense or settlement of any of the foregoing); provided that Losses shall not include
 punitive or exemplary damages except to the extent awarded in connection with a Third-Party Claim.

         “LVP” is defined in Section 7.10(b).

          “Malicious Code” means any virus, trojan horse, worm, ransom ware, back door, time bomb,
 drop dead device or other software routines or hardware components designed to permit unauthorized
 access, to disable, erase or otherwise harm Software, hardware or data, or to disable a computer program
 automatically with the passage of time or under the positive control of a Person other than the user of the
 program.

          “Material Adverse Effect” means any change, fact, circumstance, occurrence, event, effect or
 condition that, individually or in the aggregate with all other changes, facts, circumstances, occurrences,
 events, effects or conditions, directly or indirectly, results in, or could reasonably be expected to result in,
 a material adverse effect on (a) the ability of Seller to consummate the Contemplated Transactions or (b)
 the business, operation, condition (financial or otherwise), results of operations, prospects, assets or
 Liabilities of the Hospital, the Business, the Real Property or the Purchased Assets, except to the extent
 resulting from (i) changes in general local, domestic, foreign, or international economic conditions, (ii)
 changes generally affecting the healthcare industry, (iii) acts of war, sabotage or terrorism, military
 actions or the escalation thereof, (iv) any changes in applicable Laws or accounting rules or principles,
 including changes in GAAP, (v) the commencement of the Bankruptcy Case (but only to the extent that
 such change, fact, circumstance, occurrence, event, effect or condition could have been reasonably
 anticipated prior to the failing thereof), or (vi) the announcement of the Contemplated Transactions,
 provided that, in each case of clauses (i), (ii), (iii) and (iv), such change, fact, circumstance, occurrence,
 event, effect or condition does not affect the Hospital or the other Hospital, in a substantially
 disproportionate manner relative to other similarly-situated hospitals or facilities.

         “Material Contracts” is defined in Section 4.17(a).

         “MDSP” is defined in Section 7.10(a).

         “Medicare Physician Fee Schedule” means the payment structure established under the Social

 1471496v74822-2526-1169.2                              11
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 110 of 192
 Security Act, Section 1848 (42 U.S.C. Section 1395w-4), effective January 1, 1992, and implementing
 regulations, pursuant to which CMS reimburses Physicians, non-physician practitioners and certain other
 suppliers for delivery of Medicare Part B healthcare services.

         “MU” is defined in Section 7.10(c).

         “Multi-Facility Contract” means any Contract that binds or affects any of the Purchased Assets
 or to which Seller is a party or by which Seller is bound in connection with the Business or the Purchased
 Assets or binds or affects the Hospital and other operations and facilities managed by Curae.

         “Net Working Capital” means, as of any date of determination, the aggregate value of the
 Prepaid Expenses and the Inventory, less the aggregate value of the Assumed Paid Time Off, in the case
 of the Prepaid Expenses and the Assumed Paid Time Off, calculated in accordance with GAAP.

         “NPIs” is defined in Section 2.1(p).

         “Objections” is defined in Section 6.6(c).

         “OFAC” means the Office of Foreign Asset Contract of the Department of Treasury.

         “OIG” means the Office of the Inspector General of the U.S. Department of Health and Human
 Services.

          “Open Source Materials” means Software (including source code, object code, libraries and
 middleware) or other materials that are licensed pursuant to the GNU General Public License (GPL), the
 GNU Lesser Public License (LGPL), the GNU Affero General Public License (AGPL), the Mozilla
 Public License, the BSD Licenses, the Artistic License, the Common Development and Distribution
 License, the Eclipse Public License, all Creative Commons “sharealike” licenses, any other license
 approved as an open source license by the Open Source Initiative or other similar licensing regimes, or
 any license that requires, as a condition of use, modification or distribution of such Software or other
 materials, that such Software or other materials, or any other Intellectual Property incorporated into,
 derived from, used, or distributed with such Software or other materials: (a) in the case of Software, be
 made available or distributed in a form other than binary (e.g., source code form); (b) be licensed for the
 purpose of preparing derivative works; (c) be licensed under terms that allow such Software or materials
 or portions thereof or interfaces therefor to be reverse engineered, reverse assembled or disassembled
 (other than by operation of Law) or (d) be redistributable at no license fee.

         “Order” means any award, writ, injunction, judgment, order, ruling, decision, subpoena,
 mandate, precept, command, directive, consent, approval, award, decree or similar determination or
 finding entered, issued, made or rendered by any Governmental Authority or an arbitrator, mediator or
 other judicially sanctioned Person or body.

         “OSHA” means the Occupational Safety and Health Act, 29 U.S.C. § 600, et seq.

         “Owned Intellectual Property” means any and all Intellectual Property, to the extent used or
 held for use in, or otherwise relating to, the Business or the Purchased Assets, that is owned or purported
 to be owned by Seller or any Seller Affiliate.

         “Owned Real Property” means all real property that is owned in whole or in part by Seller or
 any Seller Affiliate that is (a) used or held for use in, or otherwise relating to, the Business, (b) currently
 under development for use in the Business, or (c) undeveloped or unused real property located within the

 1471496v74822-2526-1169.2                             12
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 111 of 192
 Restricted Area, in each case, together with all rights and interests under any Third Party Leases, all
 improvements, buildings or fixtures located thereon or therein, all easements, rights of way, and other
 appurtenances thereto (including appurtenant rights in and to public street(s)), all architectural plans or
 design specifications relating to the development thereof, and all claims and recorded or unrecorded
 interests therein, including any and all options to acquire such real property.

         “Paid Time Off” means Seller Employees’ accrued vacation, sick, holiday or other paid time off
 and related Taxes and other payroll obligations.

         “Parties” is defined in the preamble to this Agreement.

         “Pass-Thru Payments” is defined in Section 7.4(b).

         “Patents” means all inventions (whether or not patentable and whether or not reduced to
 practice), patents, industrial and utility models, industrial designs, certificates of invention, and any other
 indicia of invention ownership issued or granted by any Governmental Authority, including all
 provisional applications, priority and other applications, divisionals, continuations (in whole or in part),
 extensions, reissues, reexaminations or equivalents or counterparts of any of the foregoing.

        “Payor Agreement” means any Contract between Seller and a Government Program or a Private
 Program under which the Business or Seller directly or indirectly receives payments for medical services
 provided to such program’s beneficiaries at the Hospital.

         “PCBs” is defined in the definition of Environmental Condition.

          “Permit” means any consent, ratification, registration, waiver, authorization, license, permit,
 grant, franchise, concession, exemption, order, notice, certificate or clearance issued, granted, given, or
 otherwise made available by or under the authority of any Governmental Authority or pursuant to any
 Law.

          “Permitted Encumbrances” means (a) zoning and building Laws, ordinances, resolutions and
 regulations, (b) statutory liens for real property Taxes not due and payable on or before the Effective
 Time, (c) the Assumed Capital Leases, and (d) the title and survey matters approved by Buyer in
 accordance with Section 6.6, and (e) any Encumbrances related to Assumed Liabilities or Assumed
 Contracts. No monetary Encumbrance will be deemed a Permitted Encumbrance except as expressly set
 forth in this Agreement.

         “Person” means an individual, association, hospital authority, corporation, limited liability
 company, partnership, limited liability partnership, trust, Governmental Authority or any other entity or
 organization.

         “Personal Information” means any information with respect to which there is a reasonable basis
 to believe that the information can be used to identify an individual, including “individually identifiable
 health information” as defined in 45 C.F.R. § 160.103, demographic information, and Social Security
 numbers.

         “Personal Property” means all tangible and intangible personal property used or held for use in,
 or otherwise relating to, the Business, including all equipment, medical devices, medical and office
 supplies, diagnostic equipment, computer hardware and data processing equipment, furniture, fixtures,
 machinery, vehicles, office furnishings, instruments, leasehold improvements, telephones, telephone
 numbers, keys, security access cards and other tangible personal property used or held for use in, or

 1471496v74822-2526-1169.2                             13
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 112 of 192
 otherwise relating to, the Business and, to the extent assignable or transferable by Seller, all rights in all
 warranties of any manufacturer, vendor, or other Person with respect thereto.

         “Petitioner” is defined in Section 13.4(d)(ii).

         “Physician” means a doctor of medicine or osteopathy, a doctor of dental surgery or dental
 medicine, a doctor of podiatric medicine, a doctor of optometry, or a chiropractor, as defined in section
 1861(r) of the Social Security Act.

         “Plans” is defined in Section 4.22(a).

         “Post-Closing Notice of Disagreement” is defined in Section 2.8(b).

         “Power of Attorney” is defined in Section 3.2(e).

         “Practitioner” or “Practitioners” is defined in Section 4.6.

        “Prepaid Expenses” means all prepaid expenses made with respect to the Business that are
 assumable and result in an economic benefit to the Buyer.

         “Private Program” is defined in Section 4.9.

          “Proceeding” means any action, arbitration, charge, claim, complaint, demand, dispute, audit,
 grievance, hearing, inquiry, investigation, self-disclosure, litigation, proceeding, qui tam action, suit
 (whether civil, criminal, administrative, judicial, or investigative) commenced, brought, conducted, or
 heard by or before, or otherwise involving, any (a) Governmental Authority, (b) Medicare fiscal
 intermediary or administrative contractor, recovery audit contractor, zone program integrity contractor, or
 (c) arbitrator, whether at law or in equity.

         “Property Taxes” shall mean all ad valorem, real property and personal property Taxes, all
 general and special private and public assessments relating to real property, and all similar obligations
 and Taxes.

         “Property Tax Statement” is defined in Section 2.9(b).

         “Purchase Price” is defined in Section 2.5.

         “Purchased Assets” is defined in Section 2.1.

         “Real Property” means, collectively, the Owned Real Property and the Leased Real Property.

         “Reference Balance Sheet” is defined in Section 4.5(a)(ii).

         “Referral Source” shall mean any of the following: (a) a Physician, an Immediate Family
 Member of a Physician, or an entity owned in whole or in part by a Physician or by an Immediate Family
 Member of a Physician; (b) any other Person who (i) makes, who is in a position to make, or who could
 influence the making of referrals of patients to any health care facility; (ii) has a provider number issued
 by Medicare, Medicaid or any other Government Program; or (iii) provides services to patients who have
 conditions that might need to be referred for clinical or medical care, and participates in any way in
 directing, recommending, arranging for or steering patients to any health care provider or facility; or (c)
 any Person or entity that is an Affiliate of any Person or other entity described in clause (a) or (b) above.

 1471496v74822-2526-1169.2                             14
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 113 of 192
         “Representatives” means, with respect to any Person, the officers, directors, employees, agents,
 attorneys, accountants, advisors, bankers, financing sources, and other authorized representatives of such
 Person.

         “Respondent” is defined in Section 13.4(d)(ii).

         “Restricted Area” means the geographic area identified on Attachment A to Exhibit K.

         “Restricted Business” means any healthcare facility, business or service that may now or
 hereafter compete with the Hospital, whether provided in-person or through tele-medicine or other
 remote platform, including the following: acute care hospitals; long term acute care hospitals; psychiatric
 hospitals; specialty hospitals; ambulance or other healthcare related transportation services; medical
 office buildings; cancer treatment centers (including outpatient radiation oncology centers, gamma-knife
 centers and cyber-knife centers); children’s, cardiac, rehabilitation, orthopedic, cancer, neuro, trauma or
 other facilities that specialize in one or more disease states; Physician practices; outpatient clinics,
 including surgery, urgent care, pain, burn, trauma, stroke, cancer and endoscopy centers; ambulatory
 surgery centers; free-standing emergency facilities or departments; psychiatric services; diagnostic
 imaging services; neonatal intensive care facilities; physical therapy facilities; catheterization
 laboratories; nursing facilities; parking facilities; and facilities used in or connection with or in support of
 any such healthcare facility, business or service, including non-healthcare and administrative services
 such as parking, transportation, maintenance, dieting, linen, repair, engineering, and business,
 administrative, and technical support.

         “Restricted Names” is defined in Section 2.1(n).

         “Restricted Period” means the period beginning as of the Effective Time and ending on the fifth
 (5 ) anniversary of the Effective Time.
   th



         “Retirement Plans” is defined in Section 4.22(f).

         “Sale Hearing” has the meaning set forth in the Sale Procedures Order.

         “Sale Order” means a Final Order of the Bankruptcy Court in substantially the form attached as
 Exhibit A approving, inter alia, (a) the sale of the Purchased Assets to Buyer free and clear of any
 Encumbrances (other than Permitted Encumbrances), Excluded Liabilities or interests, and (b) the
 assumption and assignment of the Assumed Contracts to Buyer; provided that any modifications thereto
 must be satisfactory to the Buyer in its sole discretion.

         “Sale Procedures Motion” means a motion filed with the Bankruptcy Court substantially in the
 form attached as Exhibit B seeking approval of, among other things, the Sales Procedure Order and Sale
 Order.

          “Sale Procedures Order” means a Final Order of the Bankruptcy Court in substantially the
 form attached as Exhibit B approving the procedures for the sale of Seller’s assets; provided that any
 modifications thereto must be satisfactory to the Buyer in its sole discretion.

         “Schedules” means the disclosure schedules and any other schedule to this Agreement.

         “Second Arbitrator” is defined in Section 13.4(d)(ii).

         “Seller Affiliate” means any Affiliate of Seller.

 1471496v74822-2526-1169.2                              15
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 114 of 192
         “Seller Cost Reports” is defined in Section 7.4(a).

         “Seller Employees” means the employees of Seller or any Seller Affiliate who (i) work at the
 Hospital, or (ii) otherwise provide services primarily to the Business.

          “Seller Fundamental Representations” means, collectively, the representations and warranties
 set forth in Section 4.1 (Organization; Capacity), Section 4.2 (Authority; Non-contravention; Binding
 Agreement), Section 4.3 (Subsidiaries; Minority Interests), Section 4.4 (Title to Assets; Sufficiency and
 Condition of Assets), Section 4.25 (Tax Matters), and Section 4.29 (Brokers and Finders).

         “Seller Indemnified Parties” is defined in Section 10.2(a).

          “Seller Significant Representations” means, collectively, the representations and warranties set
 forth in Section 4.6 (Permits and Approvals), Section 4.7 (Statutory Funds), Section 4.8 (Accreditation),
 Section 4.9 (Government Program Participation; Private Programs; Reimbursement), Section 4.10
 (Third-Party Payor Costs Reports), Section 4.11 (Compliance with Laws), Section 4.12 (Information
 Privacy and Security Compliance), Section 4.13 (Compliance Program), Section 4.15 (Experimental
 Procedures), and Section 4.22 (Employee Benefit Plans).

         “Seller” is defined in the preamble to this Agreement.

        “Social Security Act” means the Social Security Act of 1935 and all regulations promulgated
 thereunder.

         “Software” means any and all (a) computer programs and other software, including software
 implementations of algorithms, models, and methodologies, whether in source code, object code or other
 form, including libraries, subroutines and other components thereof; (b) computerized databases and
 other computerized compilations and collections of data or information, including all data and
 information included in such databases, compilations or collections (whether machine readable or
 otherwise) and rights therein; (c) screens, user interfaces, command structures, report formats, templates,
 menus, buttons and icons; (d) descriptions, flow-charts, architectures, development tools, and other
 materials used to design, plan, organize and develop any of the foregoing; and (e) all documentation,
 including development, diagnostic, support, user and training documentation related to any of the
 foregoing.

         “Standard Software” means generally commercially available, “off the shelf” or “shrink
 wrapped” Software that has not been modified, customized for Seller or any Seller Affiliate, or used in
 the development or provision of any Business Offering and that has an annual license and support cost of
 $5,000 or less.

         “Stark Law” is defined in Section 4.11(d).

         “Straddle Period” is defined in Section 11.2(b).

         “Successful Bidder” has the meaning set forth in the Sale Procedures Order.

         “Surveyor” is defined in Section 6.6(b).

         “Surveys” is defined in Section 6.6(b).

         “Survival Expiration Date” is defined in Section 10.9.

 1471496v74822-2526-1169.2                            16
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 115 of 192
         “Tail Policies” is defined in Section 6.16.

         “Tax Proceeding” is defined in Section 11.4.

          “Tax Returns” means any return, declaration, report, claim for refund, or information return or
 statement relating to Taxes, including any schedule or attachment thereto, and including any amendment
 thereof.

          “Taxes” means (a) any and all federal, state, local, foreign, Property Taxes and other taxes,
 including net income, gross income, gross receipts, sales, use, ad valorem, hospital, provider, unclaimed
 property, transfer, franchise, profits, license, lease, rent, service, service use, withholding, payroll,
 employment, excise, severance, privilege, stamp, occupation, premium, property, windfall profits,
 alternative minimum, estimated, customs, duties or other taxes, and other governmental fees, assessments
 or charges of any kind whatsoever, together with any interest and any penalties, additions to tax or
 additional amounts with respect thereto, (b) any Liability for payment of amounts described in clause (a)
 as a result of successor or transferee Liability or otherwise through operation of Law, and (c) any
 Liability for the payment of amounts described in clauses (a) or (b) as a result of any tax sharing, tax
 indemnity or tax allocation agreement or any other express or implied agreement to indemnify any other
 Person.

         “Tenant Lease” means any lease, sublease, license, occupancy agreement or other contractual
 obligation pursuant to which Seller currently leases, subleases, licenses or otherwise uses, possesses or
 occupies all or some portion of the Leased Real Property (together with any applicable amendments,
 supplements, exhibits, addenda and modifications thereto).

         “Third Arbitrator” is defined in Section 13.4(d)(ii).

          “Third Party Lease” means any lease, sublease, license, occupancy agreement or other
 contractual obligation pursuant to which Seller currently leases, subleases, licenses or otherwise grants a
 right to use, possess or occupy to a third party all or some portion of the Real Property, together with any
 amendments, supplements, exhibits, addenda and modification thereto.

         “Third-Party Claim” is defined in Section 10.3(a).

         “Title Company” means [______________________________________________________].

         “Title Evidence” means, collectively, the Commitment and the Surveys.

         “Title Policy” is defined in Section 6.6(a).

         “Trade Secrets” means anything that would constitute a “trade secret” under applicable Laws,
 and, whether or not confidential, all business information (including ideas, research and development
 information, know-how, formulas, compositions, technical data, designs, drawings, specifications,
 research records, records of inventions, test information, financial, marketing and business data, customer
 and supplier lists and information, pricing and cost information, business and marketing plans and
 proposals).

         “Trademark Assignment Agreement” is defined in Section 3.2(h).

         “Trademarks” means trademarks, service marks, trade names (including fictitious, assumed and
 d/b/a names), certification marks, collective marks, and other proprietary rights to any words, names,

 1471496v74822-2526-1169.2                              17
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 116 of 192
 slogans, symbols, logos or combinations thereof used to identify, distinguish and indicate the source or
 origin of goods or services; registrations, renewals, applications for registration, equivalents and
 counterparts of the foregoing; and the goodwill of the business associated with each of the foregoing.

         “Transaction Documents” means this Agreement, the Transition Services Agreement, the
 Deeds, the Bill of Sale, the Assignment and Assumption Agreement, the Lease Assignments, the Power
 of Attorney, the Trademark Assignment Agreement, the Domain Name Assignment Agreement, the
 Escrow Agreement, the Curae Restrictive Covenants Agreement, and the other certificates, Contracts,
 instruments, and documents contemplated to be delivered or executed in connection with this Agreement.

         “Transfer Taxes” means any real property transfer, sales, use, documentary, transfer, value
 added, stock transfer, and stamp Taxes, any transfer, recording, registration, and other fees, and any
 similar Taxes imposed on the transactions (or deemed transactions) contemplated by, or related to, this
 Agreement.

         “Transferred Employee” is defined in Section 7.1(b).

         “Transferred Information Technology Systems” means any and all Information Technology
 Systems, to the extent used or held for use in, or otherwise relating to, the Business that are owned or
 purported to be owned or licensed, or purported to be licensed, in whole or in part, by or to Seller or any
 Seller Affiliate, other than any Intellectual Property included in the definition of Excluded Assets.

         “Transferred Intellectual Property” means any and all Intellectual Property, to the extent used
 or held for use in, or otherwise relating to, the Business or the Purchased Assets that is owned or
 purported to be owned or licensed or purported to be licensed, in whole or in part, by or to Seller or any
 Seller Affiliate, other than any Intellectual Property included in the definition of Excluded Assets.

         “Transition Patients” is defined in Section 7.8.

         “Transition Patient Services” is defined in Section 7.8.

         “Transition Services Agreement” is defined in Section 3.2(f).

         “VDR” is defined in Section 1.2(l).

         “WARN Act” means the Worker Adjustment and Retraining Notification Act, 29 U.S.C. §§
 2101, et seq.

         1.2       1.2   Interpretation. In this Agreement, unless the context otherwise requires:

                  (a)       references to this Agreement are references to this Agreement and to the
 Exhibits and Schedules attached or delivered with respect hereto or expressly incorporated herein by
 reference; each Schedule is hereby incorporated by reference into this Agreement and will be considered
 a part hereof as if set forth herein in full;

                   (b)   references to “Articles” and “Sections” are references to articles and sections of
 this Agreement;

                 (c)     references to any Party shall include references to its respective successors and
 permitted assigns and delegates;


 1471496v74822-2526-1169.2                            18
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 117 of 192
                  (d)   the terms “hereof,” “herein,” “hereby,” and derivative or similar words refer to
 this entire Agreement;

                 (e)      references to any agreement (including this Agreement) are references to that
 agreement as amended, consolidated, supplemented, novated or replaced in accordance with the terms
 and conditions therein from time to time;

                  (f)    unless the context requires otherwise, references to any Law are references to
 that Law as of the Closing Date, and shall also refer to all rules and regulations promulgated thereunder;

                   (g)     the word “including” (and all derivations thereof) means “including, without
 limitation,” and any lists or examples following the word “including” or the phrase “including, without
 limitation,” are intended to be non-exclusive examples solely for the purpose of illustration and without
 the intention of limiting the text preceding such lists or examples;

                 (h)      references to time are references to Central Standard Time or Central Daylight
 Time (as in effect on the applicable day) unless otherwise specified herein;

                 (i)     the gender of all words herein include the masculine, feminine and neuter, and
 the number of all words herein include the singular and plural;

                 (j)      the provisions of this Agreement shall be interpreted in such a manner so as not
 to inequitably benefit or burden any Party through “double counting” of assets or Liabilities or failing to
 recognize benefits that may result from any matters that impose losses or burdens on any Party, including
 in connection with (i) the determination of the adjustments contemplated by Section 2.8; and (ii) the
 calculation of Losses;

                   (k)      the terms “date hereof,” “date of this Agreement,” and similar terms shall mean
 the date set forth in the preamble to this Agreement;

                 (l)    the phrases “Seller has delivered”, “Seller has provided” “Seller has made
 available” and phrases of similar import shall mean that, prior to the date hereof, Seller has made the
 document or information in question available by posting a copy thereof to the date room made available
 to the Buyer (the “VDR”)VDR prior to the date of this Agreement;

                 (m)     references to the “ordinary course of business” shall mean the ordinary course of
 business consistent with past practice;

                  (n)    if any provision of this Agreement requires a Party to obtain the consent of
 another Party, such consent may be withheld or conditioned in the requested Party’s sole and absolute
 discretion unless otherwise expressly provided herein;

                  (o)     nothing in the Schedules shall be deemed adequate to disclose an exception to a
 representation or warranty herein unless the Schedule identifies the exception with reasonable
 particularity and describes the relevant facts in reasonable detail. Without limiting the generality of the
 foregoing, the mere listing (or inclusion of a copy) of a document or other item shall not be deemed
 adequate to disclose an exception to a representation or warranty made herein (unless the representation
 or warranty has to do with the existence of the document or other item itself); and

                 (p)      each representation, warranty and covenant contained herein shall have
 independent significance. If any Party has breached any representation, warranty or covenant contained
 herein in any respect, the fact that there exists another representation, warranty or covenant relating to
 1471496v74822-2526-1169.2                            19
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 118 of 192
 the same subject matter (regardless of the relative levels of specificity) that such Party has not breached
 shall not detract from or mitigate the fact that the Party is in breach of the first representation, warranty
 or covenant.

 2.      2.      SALE OF ASSETS AND CERTAIN RELATED MATTERS.

         2.1      Sale of Purchased Assets. On the terms and subject to the conditions set forth in this
 Agreement, Seller shall sell, assign, convey, transfer, and deliver to Buyer, and Buyer shall purchase,
 acquire, and accept as of the Effective Time, good and marketable title to the Purchased Assets, free and
 clear of all Encumbrances (other than Permitted Encumbrances). “Purchased Assets” means all assets,
 properties, rights, and interests of every description, wherever situated and of whatever kind and nature,
 whether real, personal or mixed, tangible or intangible, used in or held for use in, or otherwise relating to,
 the Business (other than the Excluded Assets), including the following items:

                 (a)      Net Working Capital, as defined above;

                  (b)      fee simple title to the Owned Real Property and the rights of Seller or any Seller
 Affiliate against third parties under general warranty deeds or limited warranty deeds related to any such
 Owned Real Property;

                 (c)      [the leasehold interest of Seller located on 404 Gilmore Drive, Amory, MS
 pursuant to the Lease Agreement dated April 27, 2017, between Seller and CHCT Mississippi, LLC, a
 Delaware limited liability company, as lessor; the leasehold interest of the Seller located on 305 Highway
 45N, Aberdeen, MS pursuant to the Lease Agreement dated April 27, 2017 between the Seller and CHCT
 Mississippi, LLC; the leasehold interest of the Seller located on 1107 Earl Frye Blvd., Amory, MS,
 pursuant to the Lease Agreement dated April 27, 2017; the leasehold interest of the Seller located on
 1111 Earl Frye Blvd., Amory, MS, pursuant to the Lease Agreement dated April 27, 2017; and the
 leasehold interest of the Seller located on 1127 Earl Frye Blvd., Amory, MS, pursuant to the Lease
 Agreement dated April 27, 2017] (as well as any other leasehold title to the Leased Real Property (other
 than the Excluded Leased Real Property) and all other interests of Seller in all Tenant Leases, Third
 Party Leases, and leasehold improvements with respect to the Business);

                 (d)      Furniture, office equipment, medical equipment, computer hardware;

                 (e)      Seller’s interests in joint ventures related to the Business, if any;

                 (f)      all Personal Property;

                  (g)     all registered and unregistered rights granted, applied for or otherwise now or
 hereafter in existence under, arising out of, or related to any software (whether hosted or installed on any
 hardware, in source code, object code or other form, computerized databases or other compilations,
 algorithms, user interfaces, command structures, report formats, templates, menus, architecture,
 development tools and all related documentation);

                  (h)      all Inventory, including any rights to rebates, refunds or discounts due with
 respect to the Inventory;

                 (i)      all Prepaid Expenses;

                (j)      originals, or where not available, copies (including in electronic format), of all
 medical records, patient files, and other written accounts of the medical history of the Business’ patients

 1471496v74822-2526-1169.2                             20
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 119 of 192
 maintained in connection with the Business, to the extent transferable by Law;

                 (k)      the Books and Records;

               (l)     subject to Section 2.3(c), the Contracts listed on Schedule 2.1(l) (collectively,
 the “Assumed Contracts”); provided that notwithstanding anything to the contrary, Seller’s Government
 Program provider agreements and provider numbers shall be deemed Assumed Contracts;

                  (m)     all Permits and Approvals issued or granted by, or filed with or delivered to, any
 Governmental Authority to the extent assignable and that are used or held for use in, or otherwise
 relating to, the Business or the Purchased Assets or that have been filed or delivered by or on behalf of
 Seller (including any such Permits and Approvals that are pending);

                  (n)     all Transferred Intellectual Property, including the Trademarks (or variations
 thereof) that are used or held for use in, or otherwise relating to, the Business and all right, title and
 interest in and to the Domain Names set forth on Schedule 2.1(mn), all Transferred Information
 Technology Systems, and all right, title and interest of Seller and any Seller Affiliate to use of the names
 set forth on Schedule 2.1(mn) and any derivatives or variations thereof (the “Restricted Names”);

                  (o)     any claims, causes of action or rights against third parties related to the Business
 or the Purchased Assets (including warranties, indemnities, rebates and guarantees), contractual or
 otherwise, arising before or after the Effective Time;

               (p)      to the extent assignable, Seller’s Government Program provider agreements and
 provider numbers and related national provider identifiers (“NPIs”);

                (q)     to the extent applicable, Seller’s goodwill associated with, or symbolized by, the
 Business and any other Purchased Assets;

                 (r)      any insurance proceeds arising in connection with damage to the Purchased
 Assets occurring prior to the Effective Time; and

                   (s)     to the extent not included in any of the foregoing, (i) any assets included in the
 determination of Closing Working Capital or reflected on the Reference Balance Sheet, other than any
 assets used, consumed or disposed of in the ordinary course of business since the Balance Sheet Date, (ii)
 any assets purchased or otherwise acquired since the Balance Sheet Date that are not reflected on the
 Reference Balance Sheet but that are used or held for use in, or otherwise relating to, the Business, and
 (iii) all other assets (other than the Excluded Assets) that are owned, leased or used by Seller or any
 Seller Affiliate and used or held for use in, or otherwise relating to the Business, whether or not
 scheduled or described herein.

         2.2     2.2     Excluded Assets. Notwithstanding anything herein to the contrary, the
 following assets of Seller are not intended by the Parties to be a part of the Contemplated Transactions
 and are excluded from the Purchased Assets (collectively, the “Excluded Assets”):

                 (a)    any bank account of Seller or any Seller Affiliate, and all cash and cash
 equivalents, marketable securities and other investments of Seller or any Seller Affiliate, including all
 cash and cash equivalents in any bank account of Seller or any Seller Affiliate;

                 (b)     all accounts receivable generated, and other rights to receive payment for goods
 and services provided by Seller, in connection with the Business prior to the Effective Time;

 1471496v74822-2526-1169.2                            21
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 120 of 192
                  (c)     all Plans and records relating thereto;

                 (d)      all organizational documents, corporate records, stock books, proprietary
 manuals, other proprietary materials of, or other records relating to the corporate organization of, Seller
 or any Seller Affiliate;

                (e)    rights that accrue or will accrue to Seller under this Agreement or the other
 Transaction Documents;

                   (f)    any records that by Law Seller is required to retain in its possession, provided
 that Seller, at its expense, and to the extent permitted by Law, will deliver copies of such records to
 Buyer at the Closing;

                  (g)     subject to Section 2.3(c), the Excluded Contracts;

                  (h)     all rights to refunds of Taxes related to the Business or Purchased Assets to the
 extent related to periods prior to the Effective Time;

                (i)       any Permits or Approvals that are not transferable to Buyer pursuant to
 applicable Laws;

                (j)      any claims of Seller against third parties to the extent that such claims relate to
 the Excluded Assets or the Excluded Liabilities;

                  (k)     the Excluded Leased Real Property; and

                  (l)     those assets of Seller specifically identified on Schedule 2.2(l).

            2.3   Assumed Liabilities; Assignment of Contracts.

                   (a)   On the terms and subject to the conditions set forth in this Agreement, Buyer
 shall assume, as of the Assumption Effective TimeDate (as such term is defined in Exhibit E of the Sale
 Procedures Motion), the future payment and performance of the following Liabilities of Seller
 (collectively, the “Assumed Liabilities”):

                          (i)    Liabilities as of immediately prior to the Effective Time in respect of the
 Assumed Paid Time Off, but only to the extent that such Liabilities are reflected as a current Liability in
 the calculation of Closing Working Capital;

                      (ii)     all Liabilities relating to the period after the Effective Time arising
 under the Assumed Contracts;.

                        (iii)  any Cure Amounts, which shall be satisfied by Buyer in connection with
 the assumption of any Assumed Contracts;

                          (iv)    the Assumed Capital Leases and the Assumed Contracts; and

                          (v)     all other Liabilities included in the calculation of Closing Working
 Capital.

               (b)    Schedule 2.3(b) hereto sets forth Seller’s good faith estimate of the Cure Amount
 for each Assumed Contract. Prior to the Sale Hearing, Seller shall commence appropriate proceedings
 1471496v74822-2526-1169.2                             22
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 121 of 192
 before the Bankruptcy Court and otherwise take all necessary actions to determine the actual amount of
 the Cure Amounts, including resolving any disputes as to Cure Amounts prior to or at the Sale Hearing,
 such that all Assumed Contracts may be assumed by Seller and assigned to Buyer in accordance with
 Section 365 of the Bankruptcy Code. The payment of all Cure Amounts shall be the sole responsibility
 of Buyer; provided, however, Buyer’s total liability as determined by Buyer to pay the Cure Amounts
 shall not exceed $2,000,000 (the “Cure Cap”). In the event the Cure Amounts exceed the Cure Cap, the
 Buyer may, in its sole discretion: (i) choose not to cure any Assumed Contract, in which event such
 uncured Assumed Contract shall be excluded from the Purchased Assets and be deemed an Excluded
 Contract and listed on Schedule 2.3(c)(ii); or (ii) pay the Cure Amounts for any Assumed Contract in
 full; or (iii) terminate this Agreement without further obligation. provided, however, that Buyer shall not
 have the right to exclude Seller’s Government Program provider agreements and provider numbers from
 the Assumed Contracts.

                  (c)     Notwithstanding anything to the contrary herein, at any time (and from time to
 time) priorup to the date of the Closing, Buyer may (i) designate any Contract that binds or affects any of
 the Purchased Assets or to which Seller is a party or by which Seller is bound in connection with the
 Business or the Purchased Assets or binds or affects the Hospital and other operations and facilities
 managed by Curae (a “Multi-Facility Contract”), or as one that Buyer desires to have assigned to Buyer,
 in which case such Contract shall be deemed an Assumed Contract and listed on Schedule 2.3(c)(i)
 hereto; and/or (ii) designate any Assumed Contract as one that Buyer no longer desires to have assigned
 to Buyer, in which case such Contract shall be deemed an Excluded Contract and listed on Schedule
 2.3(c)(ii) hereto. To the extent that a Multi-Facility Contract is designated as an Assumed Contract,
 Buyer shall only assume obligations related to the Hospital, and Seller shall use its commercially
 reasonable efforts to obtain any such consents to assign any such Multi-Facility Contract. Any amount
 paid by Buyer to effectuate the assignment of a Multi-Facility Contract shall be considered in
 determining whether the Cure Cap is exceeded. To the extent that the assignment to Buyer of any
 Assumed Contract is not permitted by Law or is not permitted without the consent of another Person, and
 such restriction cannot be effectively overridden or canceled by the Sale Order or other related Order of
 the Bankruptcy Court prior to the Closing, then, at Buyer’s option, Buyer may designate any such
 Assumed Contract (or purported Assumed Contract, if determined not to be assignable) as an Excluded
 Contract and, in such event, Seller shall use its commercially reasonable efforts to obtain any such
 consents to assign any such Assumed Contract. This Section 2.3(c) does not (A) require Seller to provide
 any financial accommodation to any applicable counterparty to any Contract in order to obtain its
 consent, other than Cure Amounts, (B) prohibit Seller from ceasing operations or winding up its affairs
 following the Closing, nor (C) constitute a waiver, if any, of any closing condition of Buyer, including
 with respect to the assignment of Assumed Contracts.

          2.4      2.4      Excluded Liabilities. Other than the Assumed Liabilities, Buyer shall not be
 responsible to pay, perform, discharge or assume, and none of the Purchased Assets shall be or become
 liable for or subject to, any Liabilities of Seller or any Seller Affiliate, or any Liabilities otherwise related
 to the ownership or operation of the Business or the Purchased Assets prior to the Effective Time, or any
 Liabilities related to any acts or omissions by Seller or any Seller Affiliate (the “Excluded Liabilities”).

          2.5     2.5    Purchase Price; Adjustments. Subject to the terms and conditions hereof, the
 purchase price will be an amount equal to (i) $15,000,000 (including the $2,000,000 Buyer is placing
 into the Escrow Account at Closing), plus (ii) the amount of Net Working Capital (as defined above) of
 the Hospital at Closing, minus (iii) the lease obligations assumed with respect to the leasehold interests
 of Seller in property owned by CHCT Mississippi, LLC (including current portions and past due
 portions) that are assumed by Buyer as well as the obligations (including current portions and past due
 portions) that are assumed by Buyer with respect to any other capital leases assumed by Buyer (the
 “Assumed Indebtedness”) (the resulting amount from the foregoing, as finally adjusted pursuant to

 1471496v74822-2526-1169.2                              23
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                  Document    Page 122 of 192
 Section 2.8, the “Purchase Price”). The Purchase Price to be paid by Buyer at Closing shall be based on
 estimates of the Closing Working Capital (as contemplated by Section 2.6(a)), and such amounts shall be
 subject to adjustment after the Closing pursuant to Section 2.8 and other provisions of this Agreement.

         2.6     Delivery of Estimated Closing Statement.

                  (a)     Seller shall prepare and deliver to Buyer, not more than five (5) Business Days
 (but at least three (3) Business Days) prior to the Closing Date, a statement, in form and substance
 reasonably satisfactory to Buyer (the “Estimated Closing Statement”), setting forth in reasonable detail
 Seller’s (i) good faith written estimate of the Closing Working Capital (the “Estimated Working
 Capital”), (ii) good faith written estimate of the Assumed Indebtedness (the “Estimated Assumed
 Indebtedness”), and (iii) calculation of the Purchase Price payable at Closing in accordance with Section
 2.5 as if such Estimated Working Capital and Estimated Assumed Indebtedness were the actual amount
 of Closing Working Capital and Assumed Indebtedness (the Purchase Price as so estimated, the
 “Estimated Purchase Price”). All amounts set forth in the Estimated Closing Statement shall be subject
 to the review, comment, and approval of Buyer, which shall not be unreasonably withheld, conditioned,
 or delayed. To the extent requested by Buyer, Seller shall promptly provide Buyer with reasonable
 access to such information of Seller, including the information used by Seller in calculating such
 amounts, as is reasonably necessary for Buyer to review such amounts.

       2.7       2.7     Closing Date Payments. At the Closing, Buyer shall make the following
 payments:

                 (a)      to Seller by wire transfer of immediately available funds to the bank account
 designated by Seller in the Estimated Closing Statement, an amount equal to the (i) the Estimated
 Purchase Price, minus (ii) the Escrow Amount, and minus (iii) the unpaid and remaining amounts with
 respect to the Hospital’s capitalized leases.

                (b)     to the applicable payees, by wire transfer of immediately available funds to the
 bank accounts designated by such payees, all Cure Amounts relating to the assignment and assumption of
 the Assumed Contracts, only up to the Cure Cap.

                  (c)    to the Escrow Agent by wire transfer of immediately available funds to an
 escrow account (the “Escrow Account”) established pursuant to the terms of the Escrow Agreement, an
 amount equal to $2,000,000 (the “Escrow Amount”) to supportestablish a fund which shall constitute
 the sole source of satisfaction of any claims which may be asserted by Buyer under this Agreement,
 including without limitation, Seller’s indemnification obligations pursuant to and in accordance with
 Article 10 and Seller’s payment obligations pursuant to and in accordance with Section 2.8. For the
 avoidance of doubt, and notwithstanding anything to the contrary Seller’s liability to Buyer of any kind
 or nature arising under this Agreement shall be capped by and limited to the Escrow Amount. [NEED
 TO AGREE ON TYPES OF CLAIMS ELIGIBLE FOR PAYMENT FROM ESCROW]

         2.8     2.8     Post-Closing Adjustment to Purchase Price.

                 (a)     Not more than ninety (90) days after the Closing Date, Buyer shall prepare and
 deliver to Seller a statement (the “Closing Statement”) setting forth in reasonable detail Buyer’s
 calculation of (i) the actual amount of the Closing Working Capital, (ii) the actual amount of the
 Assumed Indebtedness; and (iii) the Purchase Price in accordance with Section 2.5 resulting from such
 actual amount of Closing Working Capital and Assumed Indebtedness. The Closing Statement shall
 become Final and Binding on the Parties on the Final Resolution Date.


 1471496v74822-2526-1169.2                          24
 65363741.1
 65459867.3
Case 3:18-bk-05665        Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                    Desc Main
                                Document    Page 123 of 192
                  (b)      During the thirty (30) days after delivery of the Closing Statement, Buyer will
 provide Seller and its accountants reasonable access, during normal business hours and upon reasonable
 notice, (i) to review the financial books and records of Buyer to the extent related to the Closing
 Statement, including any of Buyer’s accountants’ work papers related to the calculation of amounts in the
 Closing Statement (subject to the execution of any access letters that such accountants may reasonably
 require in connection with the review of such work papers), and (ii) to the employees and other
 Representatives of Buyer who were responsible for the preparation of the Closing Statement to respond
 to questions relating to the preparation of the Closing Statement and the calculation of the items thereon,
 in each case solely to allow Seller to determine the accuracy of Buyer’s calculation of the items set forth
 on the Closing Statement. Any information shared with Seller or Seller’s accountants will be subject to
 Section 6.14, and Buyer shall not have any obligation to provide information or access to information,
 materials or Persons if doing so could reasonably be expected to result in the waiver of any
 attorney-client privilege or the disclosure of any Trade Secrets or violate any Law or the terms of any
 applicable Contract to which Buyer or any of its Affiliates is a party. If Seller disagrees with any of
 Buyer’s calculations set forth in the Closing Statement, Seller may, within thirty (30) days after delivery
 of the Closing Statement, deliver a written notice of its disagreement (a “Post-Closing Notice of
 Disagreement”) to Buyer disagreeing with such calculations; provided, however, that such Post-Closing
 Notice of Disagreement shall include only objections based on whether (A) the amounts set forth on the
 Closing Statement were prepared in a manner consistent with the provisions of this Agreement or (B)
 there were mathematical errors in the computation of any amount set forth on the Closing Statement.
 Such Post-Closing Notice of Disagreement shall specify those items or amounts with which Seller
 disagrees, together with a reasonably detailed written explanation of the reasons for disagreement with
 each such item or amount, and shall set forth Seller’s calculation, based on such objections, of the
 Closing Working Capital or the Assumed Indebtedness, as applicable, and the Purchase Price resulting
 therefrom. To the extent not set forth in such Post-Closing Notice of Disagreement, Seller shall be
 deemed to have agreed with Buyer’s calculation of all items and amounts contained in the Closing
 Statement. If Buyer does not receive a Post-Closing Notice of Disagreement from Seller within such
 thirty (30) day period, then the amounts set forth in the Closing Statement shall become Final and
 Binding on Buyer and Seller.

                   (c)     If a Post-Closing Notice of Disagreement is received by Buyer on or prior to the
 fifteenth (15th) day following Buyer’s delivery of the Closing Statement, then Buyer and Seller shall,
 during the fifteen (15) days following Buyer’s receipt of such Post-Closing Notice of Disagreement, seek
 to resolve any differences that they may have with respect to the matters specified in such Post-Closing
 Notice of Disagreement; provided, however, that any discussions relating thereto shall be governed by
 Rule 408 of the Federal Rules of Evidence and any applicable similar state rule(s), and evidence of such
 discussions shall not be admissible in any future Proceedings between Buyer and Seller. If Buyer and
 Seller are not able to resolve their differences during such fifteen (15) day period, then at the end of such
 period, Buyer and Seller shall promptly mutually engage and submit for Final and Binding resolution any
 and all matters related to such Post-Closing Notice of Disagreement that remain in dispute to
 [__________________], or if [_______________] is unable or unwilling to be engaged, then to a
 mutually agreeable independent accounting firm of recognized national standing (the “Accounting
 Firm”). Each of Buyer and Seller shall make readily available to the Accounting Firm all relevant
 financial books and records, including any accountants’ work papers (subject to the execution of any
 access letters that such accountants may require in connection with the review of such work papers)
 relating to the Closing Statement or the Post-Closing Notice of Disagreement. Buyer and Seller shall
 enter into a customary engagement letter with the Accounting Firm, which engagement letter shall
 explicitly provide that, in resolving the amounts in dispute, the Accounting Firm shall (i) consider only
 those items or amounts disputed by Seller in the Post-Closing Notice of Disagreement that remain in
 dispute; (ii) not assign a value to any item or amount in dispute greater than the greatest value for such
 item or amount assigned by Seller, on the one hand, or Buyer on the other hand, or less than the smallest

 1471496v74822-2526-1169.2                            25
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 124 of 192
 value for such item or amount assigned by Seller, on the one hand, or Buyer, on the other hand; and (iii)
 not be bound by any arbitration rules or procedures in connection with the resolution of the dispute under
 this Section 2.8. The Accounting Firm’s determination will be based solely upon information presented
 by Buyer and Seller and not on the basis of independent review. Buyer and Seller shall cause the
 Accounting Firm to deliver to Buyer and Seller as promptly as practicable (but in any event within fifteen
 (15) days of its retention) a written report setting forth its determination of the amounts in dispute.
 Absent manifest error, the written report prepared by the Accounting Firm shall be Final and Binding on
 Buyer and Seller and judgment upon the determination set forth in such written report may be entered in
 any court of competent jurisdiction of the United States.

                 (d)      Buyer and Seller shall each be responsible for the fees and expenses of the
 Accounting Firm pro rata, as between Buyer, on the one hand, and Seller, on the other hand, in
 proportion to the relative difference between the positions taken by Buyer and Seller compared to the
 determination of the Accounting Firm. All other fees and expenses incurred in connection with the
 dispute resolution process set forth in this Section 2.8, including fees and expenses of attorneys and
 accountants, shall be borne and paid by the Party incurring such expense.

                 (e)      If the Purchase Price as finally determined pursuant to this Section 2.8 is less
 than the Estimated Purchase Price (the absolute value of such difference, the “Closing Payment
 Shortfall Amount”), then Buyer shall be paid an amount equal to the Closing Payment Shortfall
 Amount, at the option of Buyer, either (i) from the Escrow Account or (ii) from Seller. Within five (5)
 Business Days after the Final Resolution Date, Seller shall make, and/or Buyer and Seller shall direct the
 Escrow Agent to make, as applicable, any payment or release contemplated by this Section 2.8(e), in
 each case by wire transfer of immediately available funds to one or more accounts designated in writing
 by the applicable payee.

                 (f)     If the Purchase Price as finally determined pursuant to this Section 2.8 is greater
 than the Estimated Purchase Price, then within five (5) Business Days after the Final Resolution Date,
 Buyer shall pay, or cause to be paid, to Seller an amount equal to the amount of such excess via wire
 transfer of immediately available funds to an account designated in writing by Seller.

                (g)     If the Purchase Price as finally determined pursuant to this Section 2.8 is equal to
 the Estimated Purchase Price, there will be no adjustment to the Purchase Price pursuant to this Section
 2.8.

                 (h)     Any payments made pursuant to this Section 2.8 shall be treated as an
 adjustment to the Purchase Price by the Parties for Tax purposes unless otherwise required by Law.

         2.9     2.9     Proration.

                   (a)     Seller and Buyer shall estimate as of the Effective Time and prorate at the
 Closing (i) any amounts as of the Effective Time that were paid by Seller prior to the Effective Time and
 that relate, in whole or in part, to periods ending after the Effective Time, (ii) any amounts as of the
 Effective Time that are to be paid by Buyer after the Effective Time and that relate, in whole or in part,
 to utilities servicing any of the Purchased Assets, including water, sewer, telephone, electricity and gas
 service, in each case to the extent not reflected in the Closing Working Capital or otherwise covered by
 Section 2.8. Any such amounts that are not available to be prorated on the Closing Date shall be similarly
 prorated as of the Effective Time as soon as practicable thereafter.

                (b)     Notwithstanding anything herein to the contrary, and without duplication of any
 amounts included in the determination of Closing Working Capital, all Property Taxes, if any, on the

 1471496v74822-2526-1169.2                           26
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 125 of 192
 Purchased Assets shall be prorated by Buyer and Seller on the Closing Date as of the Effective Time. All
 such amounts to be prorated will be reflected on a Property Tax proration statement (the “Property Tax
 Statement”) to be agreed upon by the Parties prior to the Closing Date. If necessary for such proration,
 payments for Property Taxes shall initially be determined based on the previous year’s Property Taxes
 and shall later be adjusted to reflect the current year’s Property Taxes when the Property Tax bills are
 finally rendered. Seller shall be liable for (and shall reimburse Buyer to the extent that Buyer shall have
 paid) that portion of Property Taxes relating to, or arising in respect of, periods ending prior to the
 Effective Time, and Buyer shall be liable for (and shall reimburse Seller to the extent Seller shall have
 paid) that portion of Property Taxes relating to, or arising in respect of, periods (or portions thereof)
 ending after the Effective Time, including any adjustments made after the Closing Date to the amounts
 reflected on the Property Tax Statement for the actual amount of Property Taxes as finally determined for
 the applicable period (taking into account any related fees and costs incurred by Buyer in such
 determination). The Parties shall cooperate to avoid, to the extent legally possible, the payment of
 duplicate Property Taxes, and each Party shall furnish, at the request of any other Party, proof of
 payment of any Property Taxes or other documentation that is a prerequisite to avoid payment of a
 duplicate Property Tax.

         2.10    2.10    Withholding Rights. Without limiting any other provision of this Agreement,
 each of Buyer and the Escrow Agent shall be entitled to deduct and withhold from any consideration
 otherwise payable to any Person pursuant to this Agreement or any other Transaction Document such
 amounts as it is required to deduct and withhold with respect to the making of such payment under the
 Code, or any other provision of applicable Tax Law. To the extent that such amounts are so withheld,
 such withheld amounts shall be treated for all purposes of this Agreement as having been paid to the
 applicable Person in respect to which such deduction and withholding was made.

         2.11    2.11     Remittances.

                  (a)     As of the Effective Time, Seller hereby (i) authorizes Buyer to open any and all
 mail addressed to Seller and delivered to the offices of the Business or otherwise to Buyer if received on
 or after the Effective Time, and (ii) appoints Buyer as its attorney in fact to endorse, cash and deposit any
 monies, checks or negotiable instruments received by Buyer after the Effective Time with respect to any
 Purchased Asset or any accounts receivable relating to services provided by Buyer after the Effective
 Time, as the case may be, made payable or endorsed to Seller or Seller’s order, for Buyer’s own account.

                  (b)      From and after the Effective Time, if Seller or any Seller Affiliate receives or
 collects any funds relating to any Purchased Asset or any accounts receivable relating to services
 provided by Buyer after the Effective Time, whether from patients, third-party payors, group purchasing
 organizations, suppliers or any other Person, Seller shall, or shall cause the applicable Seller Affiliate to,
 remit such funds to Buyer within five (5) Business Days after receipt thereof. From and after the
 Effective Time, if Buyer or any of its Affiliates receives or collects any funds relating to any Excluded
 Asset, Buyer shall, or shall cause its Affiliate to, remit any such funds to Seller within five (5) Business
 Days after its receipt thereof.

          2.12    2.12    Physical Inventory. Within the five (5) day period preceding the Closing Date,
 Seller will perform a physical inventory in a manner consistent with its past practice to verify the levels
 and amounts of the Inventory. Seller will give Buyer not less than ten (10) days’ prior written notice of
 such physical inventory. Representatives of Buyer will be permitted to observe such physical inventory
 and will be permitted to make test counts of Inventory and receive copies of the records related to such
 physical inventory. In connection with such physical inventory, Seller and Buyer shall jointly determine
 if any items of Inventory are unusable or obsolete, which unusable or obsolete items of Inventory shall be
 excluded from the calculation of the value of the Inventory calculated pursuant to this Section 2.12. Prior

 1471496v74822-2526-1169.2                             27
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 126 of 192
 to the Closing Date, Seller shall remove items of Inventory from the Hospital that, based upon such
 physical inventory, have been determined by the Parties to be unusable or obsolete. The value of the
 Inventory shall be determined by applying the lower of market or cost to each item of Inventory as of the
 date of such physical inventory and Seller shall prepare a schedule thereof; provided, that the value of the
 Inventory (for purposes of calculating Closing Working Capital) shall be increased or decreased, as
 appropriate, to reflect the value of any additions to, or the value of deletions from (as determined by the
 physical inventory), the Inventory between the date(s) of such physical inventory and the Effective Time.

 3.      3.      CLOSING.

          3.1     Closing. The consummation of the Contemplated Transactions (the “Closing”) shall
 take place at the Nashville, Tennessee, offices of Waller Lansden Dortch & DavisBurr & Forman, LLP at
 10:00 a.m. local time on the last calendar day of the month (or as soon as practicable earlier) in which the
 conditions set forth in Article 8 and Article 9 (subject to Section 12.1 or other than those conditions that
 by their terms are to be satisfied at the Closing) have been satisfied or waived, or at such other date
 and/or at such other location as the Parties may mutually designate in writing (the “Closing Date”).
 Unless otherwise agreed in writing by the Parties, the Closing shall be effective as of 12:00:01 a.m. on
 the first business day of the calendar month immediately following the calendar month in which the
 Closing Date occurs (the “Effective Time”).

          3.2    3.2     Deliveries of Seller at the Closing. At the Closing and unless otherwise waived
 in writing by Buyer, Seller shall deliver to Buyer (or the Escrow Agent, as appropriate), or shall cause the
 appropriate Person to deliver to Buyer (or the Escrow Agent, as appropriate), the following:

               (a)     Special Warranty Deeds (the “Deeds”), conveying to Buyer fee simple title to
 the Owned Real Property, free and clear of all Encumbrances other than the Permitted Encumbrances;

                   (b)    With respect to each Tenant Lease or Third Party Lease, an assignment of such
 Tenant Lease or Third Party Lease, substantially in the form attached hereto as Exhibit C (each, a “Lease
 Assignment”), duly executed by Seller, together with such consents to assignment, non-referral
 certificates, estoppel certificates, subordination, non-disturbance and attornment agreements or similar
 documents as requested by Buyer and in forms reasonably acceptable to Buyer;

                 (c)     A bill of sale, substantially in the form attached hereto as Exhibit D (the “Bill of
 Sale”), duly executed by Seller, conveying to Buyer good and marketable title to the Personal Property;

                 (d)      An assignment and assumption agreement, substantially in the form attached
 hereto as Exhibit E (the “Assignment and Assumption Agreement”), duly executed by Seller, effecting
 the assignment to and assumption by Buyer of the Assumed Contracts, the Assumed Liabilities and any
 Purchased Assets not conveyed by any other Transaction Document;

                 (e)     A power of attorney, substantially in the form attached hereto as Exhibit F (the
 “Power of Attorney”), duly executed by Seller, authorizing Buyer to utilize Seller’s federal and state
 controlled substances permits and pharmacy licenses;

                 (f)     A transition services agreement, substantially in the form attached hereto as
 Exhibit G (the “Transition Services Agreement”), duly executed by Curae;

              (g)     An escrow agreement, substantially in the form attached hereto as Exhibit H (the
 “Escrow Agreement”), duly executed by Seller and the Escrow Agent;


 1471496v74822-2526-1169.2                            28
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 127 of 192
                 (h)     A confirmatory trademark assignment agreement, substantially in the form
 attached hereto as Exhibit I (the “Trademark Assignment Agreement”), duly executed by Seller;

                 (i)      A confirmatory domain name assignment agreement, substantially in the form
 attached hereto as Exhibit J (the “Domain Name Assignment Agreement”), duly executed by Seller or
 appropriate Seller Affiliates, as applicable;

                 (j)    A restrictive covenants agreement, substantially in the form attached hereto as
 Exhibit K (the “Curae Restrictive Covenants Agreement”), duly executed by Curae;

                   (k)     Copies of resolutions duly adopted by the boards of directors or boards of
 managers, as applicable, of Seller authorizing and approving Seller’s performance of the Contemplated
 Transactions and the execution and delivery of this Agreement and the other Transaction Documents,
 certified as true and in full force and effect as of the Closing Date, by the appropriate officers of Seller;

                   (l)     A certificate, dated as of the Closing Date, of Seller certifying that the conditions
 set forth in Section 8.1, Section 8.2 and Section 8.3 have been satisfied;

               (m)      Certificates of incumbency for the respective officers of Seller executing this
 Agreement and the other Transaction Documents dated as of the Closing Date;

                 (n)     Certificates of existence and good standing of Seller from its jurisdiction of
 formation or organization, each dated within ten (10) days prior to the Closing Date;

                 (o)     A non-foreign affidavit of Seller (or, if Seller is treated as a disregarded entity
 for federal Tax purposes, by its applicable owner), dated as of the Closing Date, sworn under penalty of
 perjury and in form and substance required under the Treasury Regulations issued pursuant to Section
 1445 of the Code and reasonably satisfactory to Buyer, stating that Seller (or owner, if applicable) is not
 a “foreign person” as defined in Section 1445 of the Code;

                 (p)     With respect to the Real Property and the Personal Property, a recent UCC lien
 search dated no more than ten (10) days prior to the Closing Date showing no Encumbrances on any
 fixtures attached to any Real Property or Encumbrances on Personal Property, except for Permitted
 Encumbrances and Encumbrances that shall be released at or prior to the Closing;

                 (q)     All instruments and documents necessary to release any and all Encumbrances,
 other than Permitted Encumbrances, on the Business or the Purchased Assets, including (i) appropriate
 UCC financing statement amendments or termination statements, and (ii) payoff letters or other
 documents, notices or instruments as Buyer may reasonably deem necessary to evidence the satisfaction
 and termination of all Indebtedness or other Liabilities by which the Business or the Purchased Assets
 may be bound or affected and a release of all Encumbrances (other than Permitted Encumbrances) on the
 Business or the Purchased Assets;

                  (r)     Assignments and applications for transfer of title to the motor vehicles used in
 the Business, if applicable;

                 (s)     Applications or amendments for filing in appropriate form to abandon or change
 each of the Restricted Names;




 1471496v74822-2526-1169.2                              29
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 128 of 192
                 (t) A Certificate of No Tax Due from the Mississippi Sales Tax Commission and
 the Monroe County Tax Assessor showing that no Tax from Mississippi or Monroe County is due or
 owing by Seller;

                 (u)     A completed Statement of Occasional Sale Form evidencing an exemption from
 Mississippi sales Tax, duly executed by Seller;

                 (v)     Any and all other certificates, documents, and instruments required to be
 delivered by Seller pursuant to and in accordance with Article 8;

                 (w)      A certified copy of the Sale Order; and

                  (x)     Such other agreements, instruments and documents as Buyer reasonably deems
 necessary to effect the Contemplated Transactions, including consents to assignment, evidence,
 reasonably satisfactory to Buyer, of the termination of any existing management agreement, and estoppel
 certificates from such parties as Buyer may reasonably require.

         3.3    3.3    Deliveries of Buyer at the Closing. At the Closing and unless otherwise
 waived in writing by Seller, Buyer shall deliver to Seller (or the Escrow Agent, as appropriate) the
 following:

                 (a)      Evidence of the wire transfers and other payments provided for in Section 2.7;

                 (b)      The Lease Assignments, duly executed by Buyer;

                 (c)      The Bill of Sale, duly executed by Buyer;

                 (d)      The Assignment and Assumption Agreement, duly executed by Buyer;

                 (e)      The Transition Services Agreement, duly executed by Buyer (or an Affiliate of
 Buyer);

                 (f)      The Escrow Agreement, duly executed by Buyer and the Escrow Agent;

                 (g)      The Trademark Assignment Agreement, duly executed by Buyer;

                 (h)      The Domain Name Assignment Agreement, duly executed by Buyer;

                   (i)    Copies of resolutions duly adopted by the board of [managers] of Buyer,
 authorizing and approving Buyer’s performance of the Contemplated Transactions and the execution and
 delivery of this Agreement and the other Transaction Documents, certified as true and in full force and
 effect as of the Closing Date by an appropriate officer of Buyer;

                  (j)     A certificate, dated as of the Closing Date, of Buyer certifying that the
 conditions set forth in Section 9.1, Section 9.2, and Section 9.3 have been satisfied;

               (k)     Certificates of incumbency for the respective officers of Buyer executing this
 Agreement and any other Transaction Document dated as of the Closing Date;

                  (l)     A certificate of existence or good standing of Buyer from the State of [●], dated
 within ten (10) days prior to the Closing;


 1471496v74822-2526-1169.2                             30
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 129 of 192
                 (m)     Any and all other certificates, documents, and instruments required to be
 delivered by Seller pursuant to and in accordance with Article 9; and

                  (n)     Such other agreements, instruments and documents as Buyer reasonably deems
 necessary to effect the Contemplated Transactions, including consents to assignment, evidence,
 reasonably satisfactory to Buyer, of the termination of any existing management agreement, and estoppel
 certificates from such parties as Buyer may reasonably require.

          3.4     3.4      Additional Acts. From time to time after the Effective Time, Seller and Buyer
 shall, and shall cause their respective Affiliates to, execute, acknowledge and deliver all such further
 conveyances, notices, assumptions, releases and acquittances and such other instruments, and shall take
 such further actions, as may be reasonably necessary or appropriate to assure fully to Buyer and its
 respective successors or assigns, all of the properties, rights, titles, interests, estates, remedies, powers
 and privileges relating to the Purchased Assets intended to be conveyed to Buyer under this Agreement
 and the other Transaction Documents and to assure fully to Seller and any Seller Affiliate and their
 respective successors and permitted assigns, the assumption of the Assumed Liabilities intended to be
 assumed by Buyer under this Agreement and the other Transaction Documents, and to otherwise make
 effective the Contemplated Transactions. Seller also shall furnish Buyer with such information and
 documents in Seller’s possession or under Seller’s control, or which Seller can execute or cause to be
 executed, as will enable Buyer to prosecute any and all petitions, applications, claims and demands
 relating to or constituting a part of the Purchased Assets.

 4.      4.      REPRESENTATIONS AND WARRANTIES OF SELLER AND CURAE.

         Seller and Curae, jointly and severally, hereby represents and warrants to Buyer that the
 statements contained in this Article 4 are true and correct as of the date of this Agreement and will be
 true and correct as of the Closing Date (except in the case of representations and warranties that are made
 as of a specified date, in which case such representations and warranties will be true and correct as of
 such specified date).

          4.1     4.1     Organization; Capacity. Seller is a nonprofit corporation, duly incorporated,
 validly existing and in good standing under the Laws of the State of Tennessee. Seller is duly authorized,
 qualified to do business and in good standing under all applicable Laws of any jurisdictions (domestic
 and foreign) in which the character or the location of the assets owned or leased by it or the nature of the
 business conducted by it requires such authorization or qualification. The execution and delivery by
 Seller of this Agreement and the other Transaction Documents to which it is a party or will become a
 party, the performance by Seller of its obligations under this Agreement and the other Transaction
 Documents to which it is a party or will become a party and the consummation by Seller of the
 Contemplated Transactions and the Transaction Documents to which it is a party or will become a party,
 as applicable, have been, or will be, duly and validly authorized and approved by all necessary corporate
 actions, as applicable, on the part of Seller, none of which actions has been modified or rescinded and all
 of which actions remain in full force and effect.

         4.2      4.2     Authority; Non-contravention; Binding Agreement. The execution, delivery
 and performance by Seller of this Agreement and the other Transaction Documents to which it is a party
 or will become a party, and the consummation by Seller of the Contemplated Transactions and its
 obligations under the Transaction Documents, as applicable (a) are within Seller’s corporate powers and
 are not and will not be in contravention or violation of the terms of the organizational or governing
 documents of Seller; (b) except (i) as set forth on Schedule 4.2 and (ii) for the entry of the Sale Order
 and, solely with respect to Seller’s obligations under Section 6.17, the Sale Procedures Order, do not and
 will not require any Approval of, filing or registration with, the issuance of any Permit by, or any other

 1471496v74822-2526-1169.2                            31
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 130 of 192
 action to be taken by, any Governmental Authority to be made or sought by Seller; and (c) assuming the
 Approvals and Permits set forth on Schedule 5.2 are obtained, do not and will not require any Approval
 or other action under, conflict with, or result in any violation of or default under (with or without notice
 or lapse of time or both), or give rise to a right of termination, cancellation, acceleration or augmentation
 of any obligation, or loss of a material benefit under, or result in the creation of any Encumbrance (other
 than Permitted Encumbrances) upon, any of the Purchased Assets under (i) any Contract or Permit
 applicable to any of the Purchased Assets (including the assignment of the Assumed Contracts to Buyer)
 or (ii) any Order or Law applicable to any of the Purchased Assets or to which Seller may be subject.
 Subject to the entry of the Sale Order, this Agreement and the other Transaction Documents to which
 Seller or any Seller Affiliate is or will become a party are and will constitute the valid and legally
 binding obligations of such Person and are and will be enforceable against them in accordance with the
 respective terms hereof and thereof, except as enforceability may be subject to general principles of
 equity. In the event the entry of the Sale Procedures Order or Sale Order shall be appealed, Seller shall
 use its best efforts to defend such appeal.

         4.3     4.3     Subsidiaries; Minority Interests. Except as set forth on Schedule 4.3, Seller
 does not directly or indirectly own any equity, membership, or similar interest in, or any interest
 convertible into or exchangeable or exercisable for any equity, membership, or similar interest in, any
 corporation, partnership, limited liability company, joint venture, trust, or other business association or
 entity.

         4.4     4.4      Title to Assets; Sufficiency and Condition of Assets.

                  (a)     Seller owns and holds good and marketable title to, or has valid and subsisting
 leasehold interests in, all assets, real, personal or mixed, whether tangible or intangible (including all
 Intellectual Property), used or held for use in, or otherwise relating to, the Business or located at the
 Hospital, free and clear of all Encumbrances other than as set forth on Schedule 4.4(a) and the Permitted
 Encumbrances, all of which shall be a part of the Purchased Assets, except for the Excluded Assets. No
 Person other than Seller owns or holds in its name any assets, real, personal or mixed, whether tangible
 or intangible (including all Intellectual Property), used or held for use in, or otherwise relating to, the
 Business or located at the Hospital, except for (i) items leased by Seller or improvements to items leased
 by Seller pursuant to a lease agreement identified on Schedule 4.17(a), (ii) furniture and equipment
 owned or leased by Physicians leasing space in the Real Property pursuant to a lease agreement identified
 on Schedule 4.17(a), and (iii) personal property of Seller Employees, patients or visitors. At the Closing,
 Seller will convey to Buyer, and Buyer will acquire, good and marketable title to, or valid and subsisting
 leasehold interests in, the Purchased Assets, free and clear of all Encumbrances, other than Permitted
 Encumbrances. There are no outstanding rights (including any right of first refusal or right of first offer),
 options, or Contracts giving any Person any current or future right to require Seller to sell or transfer to
 such Person or to any third party any interest in any of the Purchased Assets.

                  (b)     (b)     The Purchased Assets (together with the Excluded Assets) constitute all
 the assets used in or necessary to operate, and are adequate for the purposes of operating, the Business in
 the manner in which it has been operated prior to the Effective Time. There are no facts or conditions
 affecting the Purchased Assets that could, individually or in the aggregate, interfere in any material
 respect with the use, occupancy or operation of the Purchased Assets as currently used, occupied or
 operated, or their adequacy for such use. Following the consummation of the Contemplated Transactions,
 neither Seller nor any Seller Affiliate will retain any asset necessary to operate the Business in the
 manner in which it has been operated prior to the Effective Time. The Purchased Assets will enable
 Buyer to operate the Business after the Effective Time in substantially the same manner as operated by
 Seller prior to the Effective Time. All tangible Purchased Assets are in good operating condition and
 repair and are adequate for the uses to which they are being put, and none of the tangible Purchased

 1471496v74822-2526-1169.2                            32
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 131 of 192
 Assets is in need of maintenance or repairs, except for ordinary, routine maintenance and repairs that are
 not material in nature or cost.

              4.5         Financial Information.

                 (a)     Schedule 4.5(a) contains the following financial statements and financial
 information of the Business (collectively, the “Historical Financial Information”):

                         (i)     consolidated balance sheets, income statements, statements of cash flows
 of the Business (including the accompanying consolidating schedules of balance sheet information and
 income     statement      information)    as     of,   and      for    the    twelve     (12)     month
 periods__________________________________________________________;1

                       (ii)    an unaudited consolidated balance sheet of the Business (including the
 accompanying consolidating schedules of balance sheet information) as of the Balance Sheet Date (the
 “Reference Balance Sheet”); and

                        (iii)   an unaudited consolidated income statement of the Business (including
 the accompanying consolidating schedules of income statement information) for the ______ (___) month
 period ended on the Balance Sheet Date.

                  (b)     The Historical Financial Information is true, correct and complete in all material
 respects and fairly presents the consolidated financial position of the Business as of the respective dates
 thereof and the consolidated results of the operations of the Business and changes in financial position
 for the respective periods covered thereby. The consolidated financial statements included in the
 Historical Financial Information have been prepared in accordance with GAAP, applied on a consistent
 basis throughout the periods indicated (subject, in the case of the unaudited Historical Financial
 Information, to the absence of notes and normal year-end audit adjustments, the effect of which is not
 material, individually or in the aggregate), and are based on the information contained in the Books and
 Records of Seller. Seller has not changed any accounting policy or methodology during the periods
 presented in the Historical Financial Information (including the accounting policies and methodologies
 for determining the obsolescence of Inventory or in calculating reserves, including reserves for
 uncollected accounts receivable).

                  (c)     Schedule 4.5(c) sets forth all Indebtedness of Seller. For each item of
 Indebtedness of Seller, Schedule 4.5(c) correctly sets forth, as of the date hereof, the debtor or borrower,
 creditor or lender, outstanding principal amount and accrued but unpaid interest, maturity date, the
 collateral, if any, securing the Indebtedness (in reasonable detail), and any prepayment, make-whole,
 breakage or other premiums, payments, fees, costs or penalties required to be paid (in reasonable detail)
 to fully discharge such Indebtedness in connection with the consummation of the Contemplated
 Transactions.

                  (d)     Except for (i) Liabilities reflected in the Reference Balance Sheet, and (ii)
 Liabilities that were incurred after the Balance Sheet Date in the ordinary course of business, none of
 which, individually or in the aggregate, is material in amount, Seller has no Liabilities of any nature, and
 there is no basis for any Proceeding with respect to any Liability relating to the Business, the Purchased
 Assets, or the Assumed Liabilities.

         4.6    Permits and Approvals. The Hospital is duly licensed in accordance with the
 applicable Laws of the State of Mississippi as set forth on Schedule 4.6, which sets forth the type of
 1
     Seller to advise dates with respect to available financial statements

 1471496v74822-2526-1169.2                                                   33
 65363741.1
 65459867.3
Case 3:18-bk-05665                      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43         Desc Main
                                              Document    Page 132 of 192
 hospital that the Hospital is licensed as under the Law of the State of Mississippi and the number of
 licensed beds at the Hospital. The Facilities, including without limitation, the pharmacies, laboratories,
 and all other ancillary departments or services located at the Hospital or operated for the benefit of the
 Hospital that are required to be separately licensed are duly licensed by the appropriate Governmental
 Authority. Schedule 4.6 sets forth an accurate and complete list of all Permits and Approvals owned or
 held by Seller with respect to the Facilities, including the dates of issuance and expiration dates for each
 such Permit or Approval, and such Permits and Approvals constitute all Permits and Approvals necessary
 for Seller to own and operate the Facilities and the Purchased Assets and to carry on the Business as
 currently conducted or proposed to be conducted. Seller has provided accurate and complete copies to
 Buyer of each Permit and Approval set forth on Schedule 4.6. Each of the Physicians and other licensed
 professional providers who provide services to the Business (each, a “Practitioner”, and collectively, the
 “Practitioners”) is in possession of all Permits and Approvals necessary for his or her performance of
 such services. Seller, the Practitioners, and the Facilities, including without limitation the Hospital, as
 applicable, are, and at all times have been, in compliance with the terms of such Permits and Approvals,
 and there are no provisions in, or agreements relating to, any Permits or Approvals that preclude or limit
 Seller from operating the Hospital or other Facilities and the Purchased Assets and carrying on the
 Business as currently conducted. No Permits or Approvals relating to the Business will expire or be
 terminated as a result of the Contemplated Transactions. There is no pending or, to the Knowledge of
 Seller, threatened, Proceeding by or before any Governmental Authority to revoke, cancel, rescind,
 suspend, restrict, modify, or refuse to renew any Permit or Approval owned or held by Seller, any
 Facility, or any Practitioner and all such Permits and Approvals are now, and as of the Closing Date shall
 be, unrestricted, in good standing, in full force and effect and not subject to meritorious challenge. No
 event has occurred and no facts exist with respect to any such Permits or Approvals that allow, or after
 notice or the lapse of time or both, would allow the suspension, revocation, or termination of any Permits
 or Approvals, or would result in any other impairment in the rights of any holder thereof. Neither Seller,
 nor any Practitioner or Facility has received any notice or communication from any Governmental
 Authority regarding any violation of any such Permits or Approvals (other than any surveys or deficiency
 reports for which Seller has submitted a plan of correction that has been accepted or approved by the
 applicable Governmental Authority). Seller has delivered to Buyer accurate and complete copies of all
 survey reports, deficiency notices, plans of correction, and related correspondence received by Seller or
 any Facility since January 1, 2014, in connection with the Permits and Approvals relating to the
 Business.

          4.7      4.7    Statutory Funds. Neither Seller nor any respective predecessors have received
 any loans, grants, loan guarantees, donations, monies, or other financial assistance pursuant to the
 Hill-Burton Act program, the Health Professions Educational Assistance Act, the Nurse Training Act, the
 National Health Planning and Resources Development Act, or the Community Mental Health Centers
 Act, as amended, or similar Laws relating to healthcare facilities that remain unpaid or which impose any
 restrictions on the Hospital or the Purchased Assets.

         4.8     4.8      Accreditation. Schedule 4.8 sets forth an accurate and complete list of all
 accreditations and certifications held by Seller and the Hospital or other Facilities. All such
 accreditations and certifications are and will be effective, unrestricted and in good standing as of the date
 hereof and as of the Closing Date. No event has occurred or other fact exists with respect to such
 accreditations and certifications that allows, or after notice or the lapse of time or both, would allow,
 revocation or termination of any such accreditations or certifications, or would result in any other
 impairment in the rights of any holder thereof. There is no pending or, to the Knowledge of Seller,
 threatened, Proceeding by any accrediting body to revoke, cancel, rescind, suspend, restrict, modify, or
 not renew any such accreditation or certifications, and no such Proceedings, surveys or actions are
 pending, threatened or imminent. The Hospital is duly accredited, without conditions, by The Joint
 Commission through the period set forth on Schedule 4.8. Since the date of the most recent Joint

 1471496v74822-2526-1169.2                            34
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 133 of 192
 Commission survey, neither Seller nor the Hospital or any other Facility has made any changes in policy
 or operations that would cause the Hospital or any such other Facility to lose such accreditations. Seller
 has delivered to Buyer a copy of the Hospital’s most recent Joint Commission accreditation report and
 any reports, documents, or correspondence relating thereto.

          4.9      4.9     Government Program Participation; Private Programs; Reimbursement.
 The Hospital is certified for participation in the Government Programs and have current and valid Payor
 Agreements with such Government Programs from which Seller presently receives payments on account
 of services provided by the Hospital or the Practitioners who have reassigned their right to bill to Seller,
 and Seller is party to, or is otherwise entitled to bill under, current Payor Agreements with certain private
 non-governmental payors or programs, including any private insurance payor or program, self-insured
 employer, or other third-party payor (each, a “Private Program”), under which Seller directly or
 indirectly receives payments, each as set forth on Schedule 4.9(i). Seller has delivered accurate and
 complete copies of all Payor Agreements to Buyer. The Hospital is in compliance with the conditions of
 participation in the Government Programs and Private Programs and with the terms, conditions, and
 provisions of the Payor Agreements. The Payor Agreements are each in full force and effect, and no
 events or facts exist that would cause any Payor Agreement to be suspended, terminated, restricted or
 withdrawn. Seller has not received notice from any Government Program or Private Program to the
 effect that it intends to cease or materially alter its business relationship with Seller (whether as a result
 of the Contemplated Transactions or otherwise). No Government Program or Private Program (i) has
 indicated its intent to cancel or otherwise substantially modify its relationship with Seller, or (ii) has
 advised Seller of any material problem or dispute. Seller has received all Permits and Approvals
 necessary for reimbursement of the Hospital by the Government Programs and Private Programs. All
 billing practices of Seller with respect to all Government Programs and Private Programs have been
 conducted in compliance with all applicable Laws and the billing guidelines of such Government
 Programs or Private Programs. Neither Seller nor the Hospital have billed or received any payment or
 reimbursement in excess of amounts allowed by Law or the billing guidelines of any Private Programs or
 Government Programs. There is no Proceeding, survey, or other action pending, or, to the Knowledge of
 Seller, threatened, involving the Government Program or any Private Program, including the Hospital’
 participation in and the reimbursement received by Seller and the Hospital from the Government
 Programs or any Private Program, and Seller has no reason to believe that any such Proceedings, surveys,
 or actions are pending, threatened or imminent. Neither Seller nor, to the Knowledge of Seller, any of
 the Seller Employees or any former employee or current or former officer or director of Seller has
 committed a violation of any Law relating to payments and reimbursements under any Government
 Program or any Private Program. Schedule 4.9(ii) contains a list of all NPIs and all provider numbers
 under the Government Programs issued to and held by Seller and the Hospital, all of which are in full
 force and effect. Except as set forth on Schedule 4.9(iii), for the six (6) fiscal years or calendars years, as
 applicable, immediately preceding the current calendar year, Seller has timely filed all reports, data, and
 other information to be filed with CMS regarding Seller’s CMS Reporting obligations in support of
 Seller’s right to receive payments from Medicare or Medicaid. No Seller, any managing Seller
 Employee, or any other managing employee or officer or director of any Seller has knowingly and
 willfully made or caused to be made a false statement or representation of a material fact in any report,
 data, and other information supporting Seller’s CMS Reporting.

         4.10    4.10     Third-Party Payor Cost Reports. Seller has timely filed all required Cost
 Reports relating to the Business for all fiscal years through and including the 2017 fiscal year, and copies
 of all Cost Reports relating to the Business filed by or on behalf of Seller since December 31, 2014, have
 been provided to Buyer. All Cost Reports relating to the Business filed by or on behalf of Seller
 accurately reflect the information required to be included therein, and such Cost Reports do not claim,
 and neither Seller nor the Hospital have received, reimbursement in any amount in excess of the amounts
 allowed by Law or any applicable agreement. No facts or circumstances exist that would give rise to any

 1471496v74822-2526-1169.2                             35
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 134 of 192
 disallowance under any such Cost Reports. Schedule 4.10 indicates which of such Cost Reports have not
 been audited and finally settled and includes a brief description of any and all notices of program
 reimbursement, proposed or pending audit adjustments, disallowances, appeals of disallowances, and any
 and all other unresolved claims or disputes in respect of such Cost Reports. Seller has established
 adequate reserves to cover any potential reimbursement obligations that Seller may have in respect of
 such Cost Reports, and such reserves are accurately set forth in the Historical Financial Information.
 Seller shall ensure that Buyer has access to all records for cost report purposes for a period of three years
 after Closing.

         4.11    4.11     Compliance with Laws.

                  (a)     (i) Seller has conducted, and is conducting, the Business, the Hospital, and its
 properties in compliance with all Laws, and (ii) Seller has (A) not received notice, correspondence or
 other written or oral communication of any violation, alleged violation or potential violation of, or
 Liability under, any such Laws, or to the effect that Seller or any Affiliate or Representative of, or any
 Person acting on behalf of, Seller, is or could potentially be under investigation or inquiry with respect to
 any violation or alleged violation of any Law, applicable to Seller, and (B) no actual, alleged, or potential
 obligation to undertake, or to bear all or any portion of the cost of, any remedial action.

                  (b)      No event has occurred, and no condition exists, that would reasonably be
 expected to (with or without notice or lapse of time) constitute or result directly or indirectly in (i) a
 violation by Seller of, or a failure on the part of Seller to comply with, any Law relating to the operation
 and conduct of the Business or any of Seller’s respective properties or facilities or (ii) any obligation on
 the part of Seller to undertake, or to bear all or any portion of the cost of, any remedial action.

                  (c)     Neither Seller, the Practitioners, the Hospital, Seller Employees nor any other
 officer, director, employee or independent contractor of Seller or the Hospital, has been convicted of,
 charged with or, to the Knowledge of Seller, investigated for, or has engaged in conduct that would
 constitute, an offense related to Medicare or any other Government Program or convicted of, charged
 with or, to the Knowledge of Seller, investigated for, or engaged in conduct that would constitute a
 violation of any Law related to fraud, theft, embezzlement, breach of fiduciary duty, kickbacks, bribes,
 other financial misconduct, obstruction of an investigation or controlled substances. Neither Seller, the
 Practitioners, the Hospital, nor Seller Employees nor any other officer, director, employee or independent
 contractor of Seller or the Hospital (whether an individual or entity), has been excluded from
 participating in any Government Program, subject to sanction pursuant to 42 U.S.C. § 1320a-7a or §
 1320a-8, or been convicted of a crime described at 42 U.S.C. § 1320a-7b, nor are any such exclusions,
 sanctions or charges pending or, to the Knowledge of Seller, threatened.

                  (d)      Seller, the Hospital, and the Business have been and are presently in compliance
 with all applicable Laws, including Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395lll
 (the Medicare statute), including specifically, the Ethics in Patient Referrals Act, as amended, or “Stark
 Law,” 42 U.S.C. § 1395nn; Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-1396w-5 (the
 Medicaid statute); the Federal Health Care Program Anti-Kickback Statute (the “Federal Anti-Kickback
 Statute”), 42 U.S.C. § 1320a-7b(b); the False Claims Act, as amended (the “False Claims Act”), 31
 U.S.C. §§ 3729-3733; the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; the
 Anti-Kickback Act of 1986, 41 U.S.C. §§ 51-58; the Civil Monetary Penalties Law, 42 U.S.C. §§
 1320a-7a and 1320a-7b; the Exclusion Laws, 42 U.S.C. § 1320a-7; HIPAA; any similar state and local
 Laws that address the subject matter of the foregoing; any state Law or precedent relating to the
 corporate practice of the learned or licensed healthcare professions; any state Law concerning the
 splitting of healthcare professional fees or kickbacks; any state Law concerning healthcare professional
 self-referrals; any state healthcare professional licensure Laws, qualifications or requirements for the

 1471496v74822-2526-1169.2                            36
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 135 of 192
 practice of medicine or other learned healthcare profession; any state requirements for business
 corporations or professional corporations or associations that provide medical services or practice
 medicine or related learned healthcare profession; workers compensation; any state and federal
 controlled substance and drug diversion Laws, including, the Federal Controlled Substances Act (21
 U.S.C. § 801, et seq.) and the regulations promulgated thereunder; and all applicable implementing
 regulations, rules, ordinances and Orders related to any of the foregoing.

                  (e)     Neither Seller nor the Hospital have received any notification, correspondence,
 or any other oral or written communication, including notification of any pending or threatened
 Proceeding or other action from any Governmental Authority, Private Program or patient, of any
 potential or actual non-compliance by, or Liability of, Seller, the Hospital, the Practitioners, or the
 Purchased Assets under any Law. Seller has timely filed all material reports, data, and other information
 required to be filed with such Governmental Authorities regarding the Hospital and the Purchased Assets.

                  (f)      All of Seller’s and the Hospital’ Contracts with a Physician or any Immediate
 Family Members of any Physicians, or entities in which Physicians or Immediate Family Members of any
 Physicians are equity owners, involving services, supplies, payments, or any other type of remuneration,
 and all of Seller’s and the Hospital’ leases of personal or real property with such Physicians, Immediate
 Family Members of any Physician or other Persons are in writing, are signed by the appropriate parties,
 set forth the services to be provided, provide for a fair market value compensation in exchange for such
 services, space, or goods and comply with all applicable Laws.

                 (g)     Except in compliance with applicable Laws, neither Seller, nor any Seller
 Employees or any other employees, officers or directors of Seller are party to any Contract (including
 any joint venture or consulting agreement) to provide services, lease space, lease equipment or engage in
 any other venture or activity related to Seller, the Hospital, the Business, or the Purchased Assets with
 any Physician, Immediate Family Member of a Physician, or other Person that is in a position to make or
 influence referrals to or otherwise generate business for Seller with respect to the Hospital or the
 Purchased Assets.

                  (h)      Neither Seller, the Hospital, the Seller Employees nor any other employees,
 officers or directors of Seller have engaged in any activities that are prohibited under 42 U.S.C. §§
 1320a-7, et seq., or the regulations promulgated thereunder, or under any other federal or state statutes or
 regulations, or which are prohibited by applicable rules of professional conduct.

                   (i)      Seller, each Seller Affiliate, Seller’s Representatives and Seller Affiliates’
 Representatives have complied with the U.S. Foreign Corrupt Practices Act of 1977, as amended, the
 Corruption of Foreign Public Officials Act, the OECD Anti-Bribery Convention and other applicable
 Laws regarding the use of funds for political activity or commercial bribery. Seller, Seller Affiliate, and
 any of their respective Representatives have not, for or on behalf of Seller, at any time, (i) made or
 caused to be made or provided, directly or indirectly, any type of payment, gift, contribution or similar
 item to a governmental official, political party, or candidate for office for the purpose of influencing a
 decision, inducing an official to violate their lawful duty, securing an improper advantage, or inducing an
 official to use their influence to affect a governmental decision, or (ii) accepted or received any unlawful
 payments, gifts, contributions or similar items. Neither Seller, Seller Affiliate, nor any of their respective
 Representatives has, directly or indirectly, taken any action in violation of any export restrictions,
 anti-boycott regulations, embargo regulations or other similar applicable U.S. or foreign Laws. Neither
 Seller, Seller Affiliate, nor any of their respective Representatives is a “specially designated national” or
 blocked Person under U.S. sanctions administered by OFAC. Seller has not engaged in any business
 with any Person or in any country that it is prohibited for a U.S. Person to engage in any business with or
 under applicable Law or under applicable U.S. sanctions administered by U.S. Department of the

 1471496v74822-2526-1169.2                             37
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 136 of 192
 Treasury. Neither Seller or any Seller Affiliate is, nor will Seller or any Seller Affiliate become, a
 Person with whom U.S. Persons are restricted from doing business under regulations of OFAC (including
 those named on OFAC’s Specially Designated and Blocked Persons list) or under any statute, executive
 Order (including Executive Order Number 13224 on Terrorism Financing, effective September 24,
 2001), or the United and Strengthening America by Providing Tools Required to Intercept and Obstruct
 Terrorism Act of 2001, H.R. 3162, Public Law 107-56, or any other governmental action.

                 (j)     All billing and collection practices of, and claims submitted by, Seller with
 respect to all Government Programs and Private Programs have been in compliance with all applicable
 Laws, regulations and policies of, and Payor Agreements with, such Government Programs and Private
 Programs. Seller has not submitted any claims that are cause for civil penalties or overpayments under,
 or mandatory or permissive exclusion from, any Government Program, Private Program, or under the
 terms of a Payor Agreement. Seller has maintained such records as required by applicable Laws or third
 party payor policy supporting the provision of services billed under all Government Programs and Private
 Programs.

                   (k)     For the entire duration of Seller’s ownership of the Hospital, Seller has timely
 filed, and for the six (6) Federal Fiscal Years or calendars years, as applicable, immediately preceding
 the current Federal Fiscal Year or current calendar year, as applicable the previous owner of the Hospital
 timely filed, all quality and performance reports, data, and other information to be filed with CMS, with
 respect to both Physicians and hospitals, inpatients and outpatients, as required by CMS Reporting, and
 all reports, data and other information submitted by Seller in support of its quality and performance for
 the avoidance of negative payment adjustments or in support of positive payment adjustments are
 accurate, correct and in all material respects support its claims of quality and performance and receipt of
 positive payment adjustment and avoidance of negative payment adjustments, as applicable. Neither
 Seller nor any of its respective officers, directors or managing employees have knowingly and willfully
 made or caused to be made a false statement or representation of a material fact in any report, data, and
 other information supporting Seller’s CMS Reporting.

                  (l)       Seller is in compliance with all applicable Laws regarding the selection,
 deselection, and credentialing of its Physicians and other Practitioners, including verification of licensing
 status and eligibility for reimbursement under Government Programs.

                  (m)     Each individual now or formerly employed by or contracted by Seller or any
 Seller Affiliate to provide professional services, including the Practitioners, is or was duly licensed to
 provide such services, is or was in compliance with all Laws relating to such professional licensure and
 meets or met the qualifications to provide such professional services under applicable Laws and the terms
 and conditions of the Payor Agreements to which Seller is a party, in each case during the periods during
 which such employee or independent contractor provided such services on behalf of any of them.

                  (n)     All off-campus locations of the Hospital that are treated by the Hospital as being
 a provider-based location or department of the Hospital (i) were in operation and billing the Medicare
 program under the outpatient prospective payment system for covered outpatient department services
 prior to November 2, 2015, (ii) are in compliance with the site-neutral programs of Section 603 of the
 Bipartisan Budget Act of 2015 and CMS Regulations 42 C.F.R. § 413.65, and (iii) have been reported as
 practice locations on the Hospital’s Medicare enrollment record.

         4.12    4.12     Information Privacy and Security Compliance.

               (a)     Seller and the Hospital (i) are, and at all times have been, in compliance with
 HIPAA and (ii) are, and at all times have been, in compliance with all other applicable Information

 1471496v74822-2526-1169.2                            38
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 137 of 192
 Privacy or Security Laws and all rules and regulations promulgated thereunder. Seller has undertaken
 surveys, audits, inventories, reviews, analyses and/or assessments of all areas of the Business required by
 the HITECH Act and the administrative simplification provisions of HIPAA.

                  (b)    Seller has provided to Buyer accurate and complete copies of the compliance
 policies and/or procedures and privacy notices of the Hospital relating to Information Privacy or Security
 Laws. All of Seller’s and the Hospital’ respective workforces (as such term is defined in 45 C.F.R. §
 160.103) have received training with respect to compliance with Information Privacy or Security Laws.

                  (c)     Seller has entered into business associate agreements with all third parties acting
 as a business associate (as defined in 45 C.F.R. § 160.103) of Seller or the Business. Seller (i) is not
 under investigation by any Governmental Authority for a violation of any Information Privacy or
 Security Law; (ii) has not received any notices from the United States Department of Health and Human
 Services Office for Civil Rights, the Justice Department, the FTC, or the Attorney General of any state or
 territory of the United States relating to any such violations; or (iii) except as set forth on Schedule
 4.12(c) has not acted in any manner, and, to the Knowledge of Seller, there has not been any incident,
 that would trigger a notification or reporting requirement under any business associate agreement or any
 Information Privacy or Security Law, including a breach with respect to any unsecured protected health
 information maintained by or on behalf of the Business.

                 (d)     Seller has provided to Buyer accurate and complete copies of any written
 complaint(s) delivered to Seller or the Hospital during the past three (3) years alleging a violation of any
 Information Privacy or Security Laws.

                  (e)     No Breach or potential Breach has occurred with respect to any Unsecured
 Protected Health Information (as such terms are defined in 45 C.F.R. § 164.402) maintained by or for
 Seller or the Hospital, and no information security or privacy breach event has occurred that would
 require notification under any other applicable Information Privacy or Security Laws.

          4.13     4.13   Compliance Program. Seller has provided to Buyer an accurate and complete
 copy of each Facility’s current compliance program materials, including all program descriptions,
 compliance officer and committee descriptions, ethics and risk area policy materials, training and
 education materials, auditing and monitoring protocols, reporting mechanisms and disciplinary policies.
 Seller and the Hospital have conducted their operations in accordance with their respective compliance
 programs. Seller (a) is not a party to a Corporate Integrity Agreement with the OIG; (b) has no reporting
 obligations pursuant to any settlement agreement entered into with any Governmental Authority; (c) to
 the Knowledge of Seller, has not been the subject of any Government Program investigation conducted
 by any federal or state enforcement agency; (d) has not been a defendant in any qui tam/False Claims Act
 litigation; (e) has not been served with or received any search warrant, subpoena, civil investigation
 demand, contact letter, or, to the Knowledge of Seller, telephone or personal contact by or from any
 federal or state enforcement agency (except in connection with medical services provided to third-parties
 who may be defendants or the subject of investigation into conduct unrelated to the Business); and (f) has
 not received any complaints through Seller’s compliance “hotline” from Seller Employees, other
 employees, independent contractors, vendors, Physicians, patients, or any other Persons that could
 reasonably be considered to indicate that Seller has violated, or is currently in violation of, any Law. For
 purposes of this Agreement, the term “compliance program” refers to provider programs of the type
 described in compliance guidance published by the OIG.

          4.14     4.14  Medical Staff Matters. Seller has made available to Buyer true, correct and
 complete copies of the bylaws and rules and regulations of the medical staffs of the Hospital, as well as a
 list of all current members of each Facility’s medical staff. Except as has been otherwise disclosed to

 1471496v74822-2526-1169.2                            39
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 138 of 192
 Buyer in writing, there are no (a) pending or threatened adverse actions with respect to any medical staff
 member of any of the Hospital or any applicant thereto, including any adverse actions for which a
 medical staff member or applicant has requested a judicial review hearing that has not been scheduled or
 that has been scheduled but has not been completed, or (b) pending or threatened disputes with
 applicants, medical staff members or health professional affiliates, and all appeal periods in respect of
 any medical staff member or applicant against whom an adverse action has been taken have expired. No
 medical staff members of the Hospital have resigned or had their privileges revoked or suspended since
 the Balance Sheet Date.

         4.15    4.15     Experimental Procedures. During the past five (5) years, Seller and the
 Hospital have not performed or permitted the performance of any experimental or research procedure or
 study involving patients in the Hospital that were not authorized and/or conducted in accordance with the
 policies and procedures of the Hospital that comply with applicable Laws, including applicable U.S.
 Food and Drug Administration regulations.

              4.16        4.16       Intellectual Property.

                  (a)     Schedule 4.16(a)2 sets forth an accurate and complete list of the following
 Owned Intellectual Property as of the date of this Agreement: (i) Patents; (ii) registered Trademarks and
 applications therefor, and unregistered Trademarks that are material to the operation of the Business; (iii)
 registered Copyrights and applications therefor; (iv) Domain Names (including social media accounts
 used or held for use in or ancillary to the Business or the Purchased Assets); (v) Restricted Names, and
 (vi) Software, including for each item listed, as applicable, the owner, the jurisdiction, the
 application/serial number, the registration number, the filing date, and the issuance/registration date.
 Schedule 4.16(a) also sets forth all payments and filings that are due, and all other actions with
 Governmental Authorities that must be taken, within one hundred eighty (180) days after the date hereof
 with respect to each item of registered Intellectual Property listed in such schedule. All of the foregoing
 registered Owned Intellectual Property is valid, subsisting and enforceable in accordance with applicable
 Laws, has not been canceled, expired or abandoned, and is not involved in any interference,
 reexamination, cancellation, or opposition Proceeding.

                  (b)      Except as set forth on Schedule 4.16(b), Seller or Seller Affiliates solely and
 exclusively own all right, title and interest (including the right to enforce), free and clear of all
 Encumbrances, other than Permitted Encumbrances, in all Owned Intellectual Property. During the five
 (5) year period prior to the date of this Agreement, Seller and Seller Affiliates have used commercially
 reasonable efforts, consistent with customary industry practices, to maintain, police and protect each item
 of Owned Intellectual Property. Seller has valid rights to use the Transferred Intellectual Property as
 necessary for the operation of the Business. Neither Seller, any Seller Affiliate nor any Owned
 Intellectual Property, is subject to any Contract containing any covenant or other provision that in any
 way limits or restricts the ability of Seller to use, assert, enforce, or otherwise exploit any Owned
 Intellectual Property anywhere in the world. No Person who has licensed Intellectual Property to Seller
 or any Seller Affiliate has any ownership rights or license rights to derivative works or improvements
 made by or on behalf of Seller or any Seller Affiliate related to such Intellectual Property.

                  (c)      Except as set forth on Schedule 4.16(c): (i) the consummation of the
 Contemplated Transactions will neither violate nor result in the breach, modification, cancellation,
 termination or suspension of, or acceleration of any payments under, any of the Intellectual Property
 Contracts; and (ii) following the Effective Time, Buyer will have and be permitted to exercise all of
 Seller’s or Seller Affiliates’ rights under and to all Transferred Intellectual Property, including under or
 pursuant to all Intellectual Property Contracts to the same extent Seller or any Seller Affiliate would have
 2
     Schedule to be bifurcated for each of Seller and Seller Affiliates

 1471496v74822-2526-1169.2                                                40
 65363741.1
 65459867.3
Case 3:18-bk-05665                      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43         Desc Main
                                              Document    Page 139 of 192
 been able to had the Contemplated Transactions not occurred and without being required to pay any
 additional amounts or consideration other than fees, royalties or payments that Seller or any Seller
 Affiliate would otherwise be required to pay had the Contemplated Transactions not occurred. No event
 has occurred, and no circumstance or condition exists, that (with or without notice or lapse of time) will,
 or could reasonably be expected to, result in the delivery, license, or disclosure of any source code
 included in the Owned Intellectual Property.

                  (d)     The Business Offerings, the Owned Intellectual Property, the use of the
 Transferred Intellectual Property by Seller and Seller Affiliates, and the operation of the Business have
 not infringed, misappropriated, violated, or otherwise conflicted with, and do not infringe,
 misappropriate, violate or otherwise conflict with, any Intellectual Property rights of any other Person,
 violate any right to privacy or publicity, nor constitute unfair competition or trade practices under the
 Laws of any jurisdiction. Except as set forth on Schedule 4.16(d), neither Seller nor any Seller Affiliates
 have received any claim (or notice of any related action) that Seller, any Seller Affiliate, any Business
 Offering, or any Transferred Intellectual Property infringes, misappropriates, or otherwise violates any
 Intellectual Property rights of any Person, or constitutes unfair competition or trade practices under the
 Laws of any jurisdiction (nor to the Knowledge of Seller are there any facts, circumstances or
 information that could reasonably be the basis for such a claim). No claim of infringement or
 misappropriation of Intellectual Property is pending or, to the Knowledge of Seller, threatened, against
 any Person who may be entitled to be indemnified, defended, held harmless, or reimbursed by Seller with
 respect to such claim.

                  (e)      Except as set forth on Schedule 4.16(e), (i) to the Knowledge of Seller, no
 Person is infringing, misappropriating, diluting or otherwise violating any Owned Intellectual Property,
 and (ii) Seller has not made any claims with respect to infringement or misappropriation of any Owned
 Intellectual Property against any Person, nor has Seller or any Seller Affiliate issued any written
 communication inviting any Person to take a license, ownership interest, release, covenant not to sue or
 the like with respect to any Owned Intellectual Property.

                   (f)     All Owned Intellectual Property that derives independent economic value, actual
 or potential, from not being generally known to the public or to other Persons who can obtain economic
 value from its disclosure or use has been maintained in confidence in accordance with procedures
 customarily used in Seller’s industry to protect rights of like importance. All Seller Employees, current
 and former employees, consultants and contractors of Seller or any Seller Affiliate, and other Persons
 who have participated in the creation or development of any Owned Intellectual Property have executed
 valid and enforceable agreements in which they have assigned or otherwise vested all of their rights in
 and to such Owned Intellectual Property to Seller and have agreed to maintain the confidentiality of such
 Owned Intellectual Property. No such Person has asserted, and to the Knowledge of Seller, no such
 Person has, any right, title, interest or other claim in, or the right to receive any royalties or other
 consideration with respect to, any Owned Intellectual Property. At no time during the conception of or
 reduction to practice of any Owned Intellectual Property was any developer, inventor or other contributor
 to such Intellectual Property operating under any grants from any Governmental Authority, educational
 institution or private source, performing research sponsored by any Governmental Authority, educational
 institution or private source, utilizing the facilities of any Governmental Authority or educational
 institution, or subject to any employment agreement or invention assignment or nondisclosure agreement
 or other obligation with any third Person.

                 (g)     Except as set forth on Schedule 4.16(g), no Open Source Materials have been
 used in, incorporated into, embedded, integrated or bundled with, or used in the development or
 compilation of, any Business Offerings or any other Owned Intellectual Property. No Open Source
 Materials set forth on Schedule 4.16(g) have been modified or distributed by or on behalf of Seller in

 1471496v74822-2526-1169.2                           41
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 140 of 192
 such a manner as would require Seller or any Seller Affiliate to (i) publicly make available any source
 code that is part of the Owned Intellectual Property, (ii) license, distribute, or make available any source
 code for the purpose of reverse engineering or making derivative works of such source code, or to permit
 any other Person to perform such actions, or (iii) be restricted or limited from charging for distribution of
 any Business Offerings or any other Owned Intellectual Property.

                  (h)     All Information Technology Systems and Business Offerings (and all parts
 thereof) (i) operate and perform in accordance with their documentation and functional specifications and
 otherwise as required by Seller and Seller Affiliates, (ii) have not materially malfunctioned or failed
 within the past five (5) years, and (iii) are free of (A) any critical defects, including any critical error or
 critical omission in the processing of any transactions and (B) any Malicious Code. Seller and Seller
 Affiliates take and have taken reasonable steps intended to ensure that the Business Offerings and the
 Information Technology Systems are free from Malicious Code. Seller and Seller Affiliates have disaster
 recovery plans, procedures and facilities that are consistent with the best practices of the industry of
 Seller, and take and have taken all reasonable steps to safeguard and back-up at secure off-site locations
 the Information Technology Systems. During the five (5) year period prior to the date of this Agreement,
 there has not been an unauthorized breach, disclosure, or loss of data stored or contained in the
 Information Technology Systems.

                 (i)     To the extent that Seller or any Seller Affiliates receive, process, transmit or
 store any financial account numbers (such as credit cards, bank accounts, PayPal accounts, debit cards),
 passwords, CCV data, or other related data (“Cardholder Data”), Seller has implemented information
 security procedures, processes and systems that have at all times met or exceeded all applicable Laws and
 industry standards related to the collection, storage, processing and transmission of Cardholder Data,
 including those established by applicable Governmental Authorities, and the Payment Card Industry
 Standards Council (including the Payment Card Industry Data Security Standard).

         4.17     Contracts.

                 (a)      Schedule 4.17(a) sets forth an accurate and complete list of each Contract
 (including a description of any oral Contract) to the extent that, such Contract binds or affects any of the
 Purchased Assets or Seller is a party to or is bound by such Contract in connection with the Business or
 the Purchased Assets (collectively, the “Material Contracts”), organized into the following subsections:

                         (i)    all Contracts involving aggregate consideration in excess of $25,000 or
         requiring performance by any party more than one year from the date hereof;

                          (ii)    all Contracts that cannot be cancelled without penalty or without more
         than thirty (30) days’ notice;

                          (iii)    all Contracts that relate to the acquisition of any business, a material
         amount of stock or assets of any other Person or any real property (whether by merger, sale of
         stock, sale of assets or otherwise);

                          (iv)   all Contracts that contain non-competition or non-solicitation provisions
         restricting the conduct of the Business, or restricting the conduct of any Person potentially
         competing with the Business, in any geographic area or during any period of time;

                           (v)     all Contracts granting any exclusive rights, rights of first refusal, rights
         of first negotiation or similar rights to any Person;


 1471496v74822-2526-1169.2                              42
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                  Document    Page 141 of 192
                         (vi)    except for agreements relating to trade receivables, all Contracts relating
         to Indebtedness (including guarantees), or imposing an Encumbrance on any Purchased Asset;

                          (vii)    all managed care or third-party payor Contracts;

                          (viii)   all Contracts with any Physician, any Practitioner or licensed health care
         facility;

                          (ix)    all Contracts for medical direction, the provision of professional health
         care services, or medical supervision of the performance of health care services at the Hospital;

                          (x)     all Contracts between or among Seller on the one hand and any Seller
         Affiliate on the other hand;

                         (xi)     all collective bargaining agreements or Contracts with any labor
         organization, union or association;

                          (xii)   all employment agreements and Contracts with independent contractors
         or consultants (or similar arrangements);

                          (xiii) all Contracts pursuant to which material payments are required upon a
         sale of substantially all the assets that constitute the Business;

                       (xiv) all Contracts that provide for severance pay or any other material
         post-employment payment by, or financial obligation of, Seller;

                          (xv)     all joint venture, partnership or similar Contracts that provide for the
         sharing of profits relating to the Business (excluding the organizational documents of Seller);

                         (xvi) all Contracts for the sale of any of the Purchased Assets or for the grant
         to any Person of any option, right of first refusal or preferential or similar right to purchase any
         of the Purchased Assets;

                        (xvii) all Contracts that provide for the indemnification of any Person or the
         assumption of any Tax, environmental or other Liability of any Person;

                          (xviii) all Intellectual Property Contracts;

                          (xix)    all Third Party Leases and Tenant Leases;

                          (xx)     all confidentiality agreements, non-disclosure agreements or similar
         agreements;

                          (xxi)    all agency agreements and powers of attorney; and

                         (xxii) all other Contracts material to the Purchased Assets or the operation of
 the Business and not previously listed in a category set forth in Sections 4.17(a)(i)-(xxi) above.

                 (b)      Each Assumed Contract is valid and binding on Seller in accordance with its
 terms and is in full force and effect. Seller (in each case, to the extent a party thereto) has properly
 conducted and paid all amounts to be paid by Seller, as applicable, and otherwise performed all material
 obligations required to be performed by Seller under each Assumed Contract and Seller has not received
 1471496v74822-2526-1169.2                             43
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                 Document    Page 142 of 192
 any notice of termination, cancellation, breach or default under any Assumed Contract. To the
 Knowledge of Seller, no event has occurred that, with the passage of time or the giving of notice or both,
 would result in a default, breach or event of noncompliance by Seller under any Assumed Contract, or
 result in the termination thereof, or would cause or permit the acceleration or other changes of any right
 or obligation or the loss of any benefit thereunder, except as set forth on Schedule 4.17(b). To the
 Knowledge of Seller, no other party to any Assumed Contract or Material Contract is in breach thereof or
 default thereunder. A true, correct and complete copy of each written Assumed Contract and Material
 Contract and an accurate written description setting forth the terms and conditions of each oral Assumed
 Contract and Material Contract has been delivered to Buyer.

         4.18     4.18    Personal Property. Schedule 4.18 includes an accurate and complete list of the
 Personal Property as of the Balance Sheet Date. Except as disclosed on Schedule 4.18, since the Balance
 Sheet Date, Seller has not sold or otherwise disposed of any item or items of Personal Property having a
 value (individually or in the aggregate) in excess of $5,000 (other than Inventory items sold, used or
 disposed of in the ordinary course of business).

          4.19    4.19    Inventory. All of the Inventory existing on the date hereof will exist on the
 Closing Date, except for Inventory exhausted or added in the ordinary course of business between the
 date hereof and the Closing Date. Inventory is carried at the lower of cost or market on a first in, first out
 basis and is properly stated in the Historical Financial Information. Except to the extent of reserves
 reflected in the Reference Balance Sheet, all of the Inventory on hand on the date of this Agreement and
 to be on hand on the Closing Date, consists and will consist of items of a quality usable or saleable in the
 ordinary course of business. The quantities of all Inventory are reasonable and justified under the normal
 operations of each of the Hospital and do not exceed levels that Seller reasonably believes will be fully
 utilized within the twelve (12) month period after the date of recordation on the Books and Records.

         4.20    4.20     Real Property.

                 (a)     Schedule 4.20(a) sets forth an accurate and complete list of each Facility,
 including the name, physical address and brief description of each Facility, whether the Real Property
 comprising such Facility is Owned Real Property or Leased Real Property, and the correct legal name of
 the owner of such Facility.

                   (b)      Schedule 4.20(b) sets forth the physical address, as well as a metes and bounds
 description, for each parcel of Owned Real Property. Seller owns, and (in the case of the Owned Real
 Property) at the Closing Seller will convey to Buyer, good, marketable and insurable fee simple title to
 the Owned Real Property free and clear of all Encumbrances, other than Permitted Encumbrances.
 Seller agrees that title to the Owned Real Property shall not be altered or encumbered between the date of
 this Agreement and the Closing Date. Except as set forth on Schedule 4.20(b), other than the right of
 Buyer pursuant to this Agreement, there are no outstanding agreements, options, rights of first offer or
 rights of first refusal to sell such Owned Real Property or any portion thereof or interest therein. No
 Seller Affiliate or any other Person has any ownership or leasehold interest in any of the Owned Real
 Property or the Hospital (except for tenants under the Third Party Leases and rights of third parties under
 the Assumed Capital Leases).

                  (c)     Schedule 4.20(c) sets forth an accurate and complete list of the physical
 addresses of all of the Leased Real Property and identifies each Tenant Lease under which such Leased
 Real Property is occupied or used by Seller, including the date of and legal name of each of the parties to
 such Tenant Lease, any security deposit of Seller held under such Tenant Lease and any Approval
 required to assign such Tenant Lease to Buyer. Except as set forth on Schedule 4.20(c), with respect to
 such Leased Real Property: (i) the applicable Tenant Lease is legal, valid, binding and in full force and

 1471496v74822-2526-1169.2                             44
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 143 of 192
 effect; (ii) the assignment of such Tenant Lease will not require the consent of any other party to such
 Tenant Lease, will not result in a breach of or default under such Tenant Lease, and will not otherwise
 cause such Tenant Lease to cease to be legal, valid, binding, enforceable and in full force and effect on
 identical terms following the Effective Time; (iii) there are no ongoing disputes with respect to such
 Tenant Lease; (iv) neither Seller, Seller Affiliates, nor any other party to such Tenant Lease is in breach
 or default under such Tenant Lease, and no event has occurred or circumstance exists that, with the
 delivery of notice, the passage of time or both, would constitute such a breach or default, or permit the
 termination, modification or acceleration of rent under such Tenant Lease; (v) no security deposit or
 portion thereof deposited with respect to such Tenant Lease has been applied in respect of a breach or
 default under such Tenant Lease that has not been re-deposited in full; and (vi) there are no
 Encumbrances on the estate or interest created by such Tenant Lease other than Permitted Encumbrances.
 Seller holds, and at the Closing Seller will assign to Buyer, good, marketable and insurable leasehold title
 to all of the Leased Real Property, free and clear of all Encumbrances other than Permitted
 Encumbrances.

                  (d)     Schedule 4.20(d) sets forth an accurate and complete list and rent roll of all
 existing Third Party Leases, including the following information with respect to each: (i) the physical
 address and premises covered; (ii) the effective date and any amendments thereto; (iii) the legal name of
 the tenant, licensee or occupant; (iv) its term; (v) the rents and other charges payable thereunder; (vi) the
 rents or other charges in arrears or prepaid thereunder, if any, and the period for which any such rents
 and other charges are in arrears or have been prepaid; (vii) the nature and amount of the security deposits
 thereunder, if any; (viii) any options to renew or extend such Third Party Lease; (ix) any free rent,
 concessions, abatements, allowances, rebates or refunds to which the tenant, licensee or occupant may be
 or may have been entitled; (x) the status of any tenant improvements to be performed by Seller or the
 tenant, subtenant, licensee or occupant; and (xi) the nature and amount of any commissions payable with
 respect thereto.

                  (e)      Except as set forth on Schedule 4.20(e), with respect to each Third Party Lease:
 (i) the Third Party Lease is legal, valid, binding and in full force and effect; (ii) the execution, delivery
 and performance by Seller of this Agreement, and the consummation of the Contemplated Transactions,
 do not or shall not (as the case may be) require the consent of any other party to such Third Party Lease,
 will not result in a breach of or default under such Third Party Lease, and will not otherwise cause such
 Third Party Lease to cease to be legal, valid, binding, enforceable and in full force and effect on identical
 terms following the Closing; (iii) there are no material ongoing disputes with respect to such Third Party
 Lease; (iv) neither Seller nor any other party to such Third Party Lease is in breach or default under such
 Third Party Lease, and no event has occurred or circumstance exists which, with the delivery of notice,
 the passage of time or both, would constitute such a breach or default, or permit the termination,
 modification or acceleration of rent under such Third Party Lease; (v) no security deposit or portion
 thereof deposited with respect to such Third Party Lease has been applied in respect of a breach or
 default under such Third Party Lease that has not been re-deposited in full; and (vi) there are no
 Encumbrances on the estate or interest created by such Third Party Lease other than Permitted
 Encumbrances.

                  (f)      Seller has made available to Buyer accurate and complete copies of the Tenant
 Leases and the Third Party Leases, in each case as amended or otherwise modified and in effect,
 together with all extension notices and other material correspondence, fair market value analyses,
 estoppel certificates, and subordination, non-disturbance and attornment agreements related thereto.

                  (g)    Seller has not received written notice from any Governmental Authority of, and
 there is not: (i) any pending or, to the Knowledge of Seller, threatened, condemnation Proceedings
 affecting the Real Property or any part thereof; (ii) any violation of any Laws (including zoning and land

 1471496v74822-2526-1169.2                            45
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 144 of 192
 use ordinances, building codes and similar requirements) with respect to the Real Property or any part
 thereof, which have not heretofore been cured; or (iii) any pending or, to the Knowledge of Seller,
 threatened, injunction, decree, Order, writ or judgment outstanding, nor any claims, litigation,
 administrative actions or similar Proceedings against Seller, any Seller Affiliate, or any Real Property
 relating to the ownership, lease, use or occupancy of such Real Property or any portion thereof which is
 reasonably likely to result in a material change in the condition of any Real Property or any part thereof
 or in any material respect prevent or limit the present operation of the improvements on the Real Property
 or any part thereof.

                  (h)     As of the Closing Date, there will be no incomplete construction projects
 affecting the Real Property and all completed construction projects will be fully paid for and all
 applicable lien releases obtained.

                 (i)      No subdivision shall be required for the lawful conveyance or lease of the Real
 Property to Buyer. Each parcel of the Real Property is separately assessed for purposes of ad valorem
 real property Taxes. No variance, reliance on adjacent property or special exception is required for the
 operation and use of the improvements on the Real Property.

                 (j)     No brokerage or leasing commissions or other compensation are due or payable
 by Seller or any Seller Affiliate to any Person, firm, corporation or other entity with respect to, or on
 account of, any Tenant Lease, any Third Party Lease or any extensions or renewals thereof.

                 (k)      All improvements, including all utilities that are a part of the Real Property, have
 been completed and installed in accordance with the plans and specifications approved by the
 Governmental Authority having jurisdiction, to the extent applicable, and are transferable to Buyer
 without additional cost. Permanent certificates of occupancy, all licenses, permits, authorizations and
 approvals required by all Governmental Authorities having jurisdiction, and the requisite certificates of
 the local board of fire underwriters (or other body exercising similar functions), have been issued for the
 Real Property and are in full force and effect.

                (l)     The improvements which are a part of the Real Property, as designed and
 constructed, comply with all Laws applicable thereto, including the Americans with Disabilities Act, as
 amended, and Section 504 of the Rehabilitation Act of 1973.

                  (m)      The existing water, sewer, gas and electricity lines, storm sewer and other utility
 systems on the Real Property are adequate to serve the utility needs of the Real Property and the
 Business. All Approvals and Permits required for said utilities have been obtained and are in force and
 effect. All of said utilities are installed and operating, and all installation and connection charges have
 been paid in full.

                  (n)      Neither the location, construction, occupancy, operation, nor use of the Real
 Property (including the improvements which are a part of the Real Property) violates any applicable
 Laws or determination of any Governmental Authority or any board of fire underwriters (or other body
 exercising similar functions), judicial precedent or any restrictive covenant or deed restriction (recorded
 or otherwise) affecting the Real Property or the location, construction, occupancy, operation or use
 thereof, including all applicable Laws. All improvements located on the Real Property are located within
 boundary lines of the described parcels of land and each parcel of Real Property has access to a public
 street adjoining the Real Property, and such access is not dependent on any land or other real property
 interest which is not included in the Real Property.

                 (o)      There are not any structural or latent defects in any of the buildings or other

 1471496v74822-2526-1169.2                             46
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 145 of 192
 improvements which are a part of the Real Property. Such buildings and improvements which are a part
 of the Real Property, and all parts thereof and appurtenances thereto, including the heating, ventilation,
 air conditioning, electrical, mechanical and plumbing systems, and the drainage at or servicing the Real
 Property, the Hospital, and any equipment relating thereto, are in good condition and working order and
 adequate in quantity and quality for the normal operation of the Real Property.

                  (p)      The Real Property comprises all of the real property owned or leased by Seller or
 any Seller Affiliate in the Restricted Area.

          4.21    4.21     Insurance. Schedule 4.21 sets forth an accurate and complete list of all
 insurance policies or self-insurance funds maintained by Seller as of the date of this Agreement covering
 the Business or the Purchased Assets (collectively, the “Insurance Policies”), indicating with respect to
 each such policy or fund, the type of insurance, policy number, annual premium, remaining term, identity
 of the insurer, coverage limits, applicable deductibles, and whether such policies are on an occurrence or
 claims made basis. Seller has made available to Buyer accurate and complete copies of all of such
 Insurance Policies. Seller has one or more “business interruption” Insurance Policies in customary form
 and amount covering the Business and the Purchased Assets [(which coverage includes post-Closing
 operations by Buyer with respect to pre-Closing incidents), and the proceeds of such Insurance
 Policies are assignable to Buyer as to the period following the Effective Time]. All of the Insurance
 Policies are now and will be until the Effective Time in full force and effect with no premium arrearages.
 All premiums due on the Insurance Policies have either been paid or, if due and payable on or prior to the
 Closing Date, will be paid prior to the Closing Date in accordance with the payment terms of each
 Insurance Policy. The Insurance Policies do not provide for any retrospective premium adjustment or
 other experience-based Liability on the part of Seller (except with respect to workers’ compensation
 policies). All Insurance Policies (a) are valid and binding in accordance with their terms; (b) are
 provided by carriers who are financially solvent; and (c) have not been subject to any lapse in coverage.
 There are no claims pending under any of the Insurance Policies as to which coverage has been
 questioned, denied or disputed or in respect of which there is an outstanding reservation of rights. Seller
 is not in default under, nor has Seller otherwise failed to comply with, in any material respect, any
 provision contained in any Insurance Policy. The Insurance Policies are of the type and in the amounts
 customarily carried by Persons conducting a business similar to the Business and are sufficient for
 compliance with all applicable Laws and Contracts to which Seller is a party or by which Seller or any of
 the Purchased Assets are bound. Seller has timely provided all notices required to be given under the
 Insurance Policies to the respective insurer with respect to all claims and actions covered by insurance,
 and no insurer has denied coverage of any such claims or actions or reserved its rights in respect of or
 rejected any such claims. Seller has not (i) received any notice or other communication from any insurer
 canceling or materially amending any of the Insurance Policies, and no such cancellation or amendment
 is threatened, or (ii) failed to present any claim which is still outstanding under any of the Insurance
 Policies.

         4.22    4.22    Employee Benefit Plans.

                  (a)     (a)      Schedule 4.22(a) contains a true and complete list of all of the following
 agreements, plans or other Contracts covering any Seller Employee, any current or former employee or
 director of Seller or any Seller Affiliate, any current or former leased employee, consultant or contractor
 of Seller or any Seller Affiliate, or any beneficiary or dependent thereof: (i) employee benefit plans
 within the meaning of Section 3(3) of the Employee Retirement Income Security Act of 1974, as
 amended (“ERISA”), whether or not subject to ERISA, and (ii) any employment, consulting,
 independent contractor, employee leasing, severance, termination or similar Contract and any other
 employee benefit plan, program, policy, or arrangement providing for compensation, bonuses,
 commission, profit-sharing, stock option or other stock- or equity-linked benefits or rights, incentive,

 1471496v74822-2526-1169.2                            47
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 146 of 192
 deferred compensation, fringe benefits, vacation or paid-time-off benefits, insurance (including any
 self-insured arrangements), death, life, dental, vision, health or medical benefits, employee assistance,
 disability or sick leave benefits, workers’ compensation, supplemental unemployment benefits, retention,
 transaction, change of control payments, savings, pension, retirement, post-employment or retirement
 benefits or other employee compensation plan, program, policy, agreement, program, arrangement or
 commitment, in each case, whether written or unwritten, formal or informal, which Seller or any Seller
 Affiliate currently sponsors, or to which Seller or any Seller Affiliate has any outstanding present or
 future obligations to contribute or other Liability, whether voluntary, contingent or otherwise
 (collectively, the “Plans”).

                  (b)    Seller has provided an accurate and complete copy of the following documents
 to Buyer: (i) each Plan (including all plan documents and amendments thereto and summary of the
 material terms of any Plan that is not in writing); (ii) the most recent Form 5500 annual report with
 accompanying schedules and attachments filed with the IRS, (iii) the most recent Form 1094 and Form
 1095 filed with the IRS, (iv) the most recent summary plan description (as well as any summary of
 material modifications thereto) or other summary or description provided to participants and
 beneficiaries for each Plan, (v) the current employee handbook or similar document of the Hospital and
 (vi) the most recently received determination or opinion letter, if any, issued by the IRS and each
 currently pending application to the IRS for a determination letter with respect to any Plan that is
 intended to qualify under Section 401(a) of the Code.

                    (c)     All contributions (including all employer contributions and Seller Employee
 salary reduction contributions), premiums and expenses to or in respect of the Plans have been timely
 paid in full or, to the extent not yet due, have been adequately accrued for in accordance with GAAP.

                 (d)     With respect to Seller and any entity that is required to be aggregated with
 Seller under Section 414 of the Code (Seller and such aggregated entities referred to collectively as the
 “ERISA Controlled Group”), (i) there is no “multiemployer plan” (as defined in Sections 4001(a)(3) or
 3(37)(A) of ERISA) under which any member of the ERISA Controlled Group has any present or future
 obligations, whether contingent or otherwise, or under which Seller Employees or any other employee of
 Seller has any present or future right to receive benefits; (ii) none of the Plans and no plan that is or has
 been maintained or contributed to by a member of the ERISA Controlled Group is a pension plan subject
 to Title IV of ERISA, Section 302 of ERISA or Section 412 of the Code; and (iii) none of the Plans is a
 “multiple employer plan” (as defined in Section 413(c) of the Code) or a multiple employer welfare plan
 (as defined in Section 3(40) of ERISA); and (iv) none of the Plans is subject to the terms of a collective
 bargaining agreement. No Plan provides for post-employment health benefits to Seller Employees or
 former employee or beneficiaries thereof of Seller or any Seller Affiliate, except as required by COBRA,
 and then only to the extent that the former employee or beneficiary pays the full applicable premium for
 such COBRA coverage.

                   (e)     Except as set forth on Schedule 4.22(e), there are no Proceedings pending or, to
 the Knowledge of Seller, threatened, against Seller with respect to any Plans, other than routine claims
 for benefits in the ordinary course of business.

                 (f)     Each Plan has been operated and administered in material compliance with its
 terms and all applicable Laws, including ERISA and the Code. Seller and each member of the ERISA
 Controlled Group has complied with all of the continuation coverage requirements of COBRA and the
 requirements of Section 5000 of the Code. Each Plan that is intended to be Tax-qualified under Section
 401(a) of the Code (“Retirement Plans”) from which assets may be transferred or involved in a “direct
 rollover” (as defined in Section 401(a)(31) of the Code) to a Retirement Plan of Buyer has received a
 favorable determination letter or is entitled to rely on a favorable opinion letter from the IRS concerning

 1471496v74822-2526-1169.2                            48
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 147 of 192
 the Tax-qualification of such Plan and no event or circumstance exists that would be reasonably expected
 to adversely affect such qualification.

                  (g)      Except as set forth on Schedule 4.22(g), neither the execution and delivery of
 this Agreement, nor the consummation of the Contemplated Transactions, either alone or in combination
 with another event (whether contingent or otherwise) will (i) entitle any Seller Employee, any current or
 former employee or director of Seller or any Seller Affiliate, or any current or former consultant or
 contractor of Seller or any Seller Affiliate to any payment or benefit; (ii) increase the amount or value of
 any payment, compensation or benefits due to any Seller Employee, any current or former employee or
 director of Seller or any Seller Affiliate, or any current or former consultant or contractor of Seller or any
 Seller Affiliate; or (iii) accelerate the vesting, funding or time of payment or delivery of any
 compensation, equity award or other payment or benefit; (iv) result in any Liability or commitment by
 Buyer or any of its Affiliates under, or with respect to, any Plan to any Seller Employee, any current or
 former employee or director of Seller or any Seller Affiliate, or any current or former consultant or
 contractor of Seller or any Seller Affiliate; or (v) result in any “parachute payment” within the meaning
 of Section 280G of the Code or any similar foreign, state or local Laws.

         4.23    Employee Matters.

                  (a)      Schedule 4.23(a) sets forth an accurate and complete list of all Seller Employees,
 their salary or wage rates, bonus and other compensation, Paid Time Off, recognized date of hire,
 department, job title, scheduled hours per week, status as part-time, full-time, PRN or temporary, name of
 employer, work location, and whether such Seller Employees are active or on a leave of absence (and, if
 so, the type of leave). Seller and each Plan have properly classified individuals providing services to
 Seller as independent contractors or employees and as exempt or non-exempt from the application of
 state and federal wage and hour Laws for all purposes, as the case may be, and have properly reported all
 compensation paid to such service providers for all purposes and no Proceeding has been initiated or
 threatened against Seller with respect to any of the foregoing. All Seller Employees are employees
 “at-will,” unless otherwise set forth on Schedule 4.23(a). Except as set forth on Schedule 4.17(a), Seller
 is not a party to any oral or written (i) employment agreement (including severance or change of control
 agreements), (ii) consulting agreement, or (iii) independent contractor agreement with any Person. No
 Seller Employee or other service provider of Seller or any Seller Affiliate has informed Seller or Seller
 Affiliates (whether orally in or writing) of any plan to terminate employment with or services for Seller
 or Seller Affiliates, and to the Knowledge of Seller, no such Person has any plans to terminate
 employment with or services for Seller or any Seller Affiliate.

                  (b)    Seller and the Seller Affiliates, as applicable, are not delinquent in payments to
 any of the Seller Employees for any wages, salaries, commissions, bonuses or other direct compensation
 for any services performed for any of them or any other amounts required to be reimbursed to such Seller
 Employees (including Paid Time Off and other benefits) or in the payment to the appropriate
 Governmental Authority of all required Taxes, insurance, Social Security and withholding thereon. As of
 the Effective Time, neither Seller nor any Seller Affiliate, as applicable, will have any Liability to any of
 the Seller Employees or to any Governmental Authority for any such matters that are not properly
 reflected on the Reference Balance Sheet.

                 (c)     Except as set forth on Schedule 4.23(c): (i) there is no pending or, to the
 Knowledge of Seller, threatened, employee strike, work stoppage or labor dispute at any of the Hospital,
 and none has ever occurred; (ii) to the Knowledge of Seller, no union representation question exists
 respecting the Seller Employees or any other employees of Seller or any Seller Affiliate, no demand has
 been made for recognition by a labor organization by or with respect to the Seller Employees or any other
 employees of Seller or any Seller Affiliate, no union organizing activities by or with respect to the Seller

 1471496v74822-2526-1169.2                             49
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 148 of 192
 Employees or any other employees of Seller or Seller Affiliates are taking place, and none of the Seller
 Employees or any other employees of Seller or any Seller Affiliate is represented by any labor union or
 organization; (iii) no collective bargaining agreement exists, has existed or is currently being negotiated
 by Seller; (iv) there is no unfair labor practice claim against Seller before the National Labor Relations
 Board pending or, to the Knowledge of Seller, threatened, against or involving the Business or the
 Hospital; (v) Seller and each Seller Affiliate is in compliance with all Laws and Contracts to which Seller
 or such Seller Affiliate is a party respecting employment and employment practices, labor relations,
 terms and conditions of employment, and wages and hours with respect to the Seller Employees; (vi)
 neither Seller nor any Seller Affiliate is engaged in any unfair labor practices with respect to the Seller
 Employees; and (vii) there are no pending or, to the Knowledge of Seller, threatened, complaints or
 charges related to any of the Hospital before any Governmental Authority regarding employment
 discrimination, safety or other employment-related charges or complaints, wage and hour claims,
 unemployment compensation claims or workers’ compensation claims.

                  (d)     Seller is in compliance with the terms and provisions of the Immigration Act.
 For the Seller Employees for whom compliance with the Immigration Act is required, Seller has obtained
 and retained a complete and accurate copy of each such Seller Employee’s Form I9 (Employment
 Eligibility Verification Form) and all other records or documents required to be prepared, procured or
 retained pursuant to the Immigration Act. Seller has not been cited, fined, served with a Notice of Intent
 to Fine or with a Cease and Desist Order (as such terms are defined in the Immigration Act) at any of the
 Hospital, nor has any Proceeding been initiated or threatened against Seller in connection with the
 Business, by reason of any actual or alleged failure to comply with the Immigration Act.

                  (e)     Since January 1, 2013, neither Seller nor any Seller Affiliate has effectuated (i) a
 “plant closing” (as defined in the WARN Act or any similar state, local or foreign Law) affecting any site
 of employment or one or more Hospital or operating units within any site of employment or facility of
 Seller or any Seller Affiliate or (ii) a “mass layoff” (as defined in the WARN Act, or any similar state,
 local or foreign Law) affecting any site of employment or facility of Seller or any Seller Affiliate.

         4.24    4.24     Litigation.

                  (a)      Schedule 4.24 sets forth an accurate and complete list and summary description
 of all Proceedings with respect to Seller, the Business, or the Purchased Assets, as well as all Orders,
 settlements and conciliation Contracts under which Seller or any Seller Affiliate has current or future
 obligations with respect to the Business or the Purchased Assets. Except as set forth on Schedule 4.24,
 there are no Proceedings, Orders, compliance reports or information requests, subpoenas or production
 requests pending or, to the Knowledge of Seller, threatened, against or affecting (i) Seller or any Seller
 Affiliate with respect to the Business or the Purchased Assets, (ii) any Seller Employees or former
 employee or current or former agent of Seller or any Seller Affiliate, or (iii) any current or former
 medical staff member, supplier or contractor at law or in equity, or before or by any Governmental
 Authority. Neither Seller nor any of the Hospital have been subject to any formal or informal (for which
 Seller or a Facility has received notice) Proceeding of the OIG, CMS, the Justice Department, the United
 States General Accounting Office, the Mississippi Department of Health, the Mississippi Medicaid
 program or any other Governmental Authority. There are no Proceedings pending or threatened by Seller
 against any Person. No event has occurred or circumstances exist that may give rise to, or serve as a
 basis for, any of the foregoing.

                  (b)     To the Knowledge of Seller, Seller is not the subject of any governmental
 investigation or inquiry and, to the Knowledge of Seller, there is no valid basis for any of the foregoing.
 Neither Seller, nor any assets owned or used by Seller, are subject to any Order or unsatisfied judgment,
 penalty, award, settlement Contract or conciliation Contract. Seller has at all times been in compliance

 1471496v74822-2526-1169.2                            50
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 149 of 192
 with each Order to which Seller, or any assets owned or used by Seller, is or has been subject. No event
 has occurred or circumstance exists that could constitute or result in (with or without notice or lapse of
 time) a violation of, or failure to comply with, any Order to which Seller, or any assets owned or used by
 Seller, is subject. Seller has not ever received any notice or other communication (whether oral or
 written) from any Governmental Authority or any other Person regarding any actual, alleged, or potential
 violation of, or failure to comply with, any Order to which Seller, or any assets owned or used by Seller,
 is subject.

                  (c)     Seller has not engaged in any transaction that would reasonably be expected to
 subject Seller (or any successor-in-interest) to any avoidance action with respect to the Purchased Assets.
 Without limiting the generality of the foregoing, Seller has not, with respect to the Purchased Assets, (i)
 received any material payments from its account debtors outside the ordinary course of business, (ii)
 acquired or sold any asset other than for reasonably equivalent value or (iii) conducted any business with
 any debtor-in-possession or bankrupt estate other than in the ordinary course of business.

                 (d)     There is no Proceeding or Order pending or, to the Knowledge of Seller,
 threatened, against or affecting Seller before any court or Governmental Authority that has or would
 reasonably be expected to have an adverse effect on Seller’s ability to perform under this Agreement or
 the other Transaction Documents with respect to any aspect of the Contemplated Transactions. Seller is
 not subject to any Order or other governmental restriction that would materially adversely affect the
 consummation of the Contemplated Transactions.

         4.25    4.25     Tax Matters. Except as set forth on Schedule 4.25:

                  (a)     Seller has timely filed all Tax Returns required to be filed by it, including all Tax
 Returns relating to the Purchased Assets and the Business (all of which are true, complete and correct in
 all material respects). All Taxes due and owing by Seller (whether or not shown on any Tax Return),
 including all Taxes with respect to the Purchased Assets and the Business, have been timely paid. Seller
 has not waived any statute of limitations in respect of Taxes or agreed to any extension of time with
 respect to a Tax assessment or deficiency. Seller is not currently the beneficiary of any extension of time
 within which to file any Tax Return.

                 (b)      Seller has withheld and timely paid all Taxes required to have been withheld and
 paid in connection with amounts paid or owing to any Seller Employee, independent contractor, creditor,
 or other third party, and all IRS Forms W-2 and 1099 required with respect thereto have been properly
 completed and timely filed. All Persons who have provided services to Seller as independent contractors
 for Tax purposes were properly classified.

                (c)     Seller has not taken, and Seller will not take, any action in respect of any Taxes
 (including any withholdings required to be made in respect of Seller Employees) that may have an
 adverse impact upon the Purchased Assets as of or subsequent to the Effective Time.

                  (d)     There are no Tax Encumbrances on any of the Purchased Assets and no basis
 exists for the imposition of any such Encumbrances.

                  (e)     No deficiencies for Taxes have been claimed, proposed or assessed by any
 Governmental Authority for which Seller may have any Liability or which may attach to the Purchased
 Assets. There are no pending or threatened Proceedings for or relating to any Liability in respect of
 Taxes for which Seller may have any Liability or which may attach to the Purchased Assets. There are
 no matters under discussion by Seller with any Governmental Authority with respect to Taxes that may
 result in an additional amount of Taxes for which Seller may have any Liability or which may attach to

 1471496v74822-2526-1169.2                             51
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 150 of 192
 the Purchased Assets.

                  (f)      Seller is not a party to any Tax allocation or sharing agreement or has any
 Liability with respect to any such agreement.

                 (g)    There is no Contract or plan to which Seller is a party that requires Seller to pay
 a Tax gross-up or reimbursement payment to any Person.

                (h)      None of the Purchased Assets is an interest in a joint venture, partnership or
 other arrangement that is or should be treated as a partnership for Tax purposes.

                  (i)     No Tax Return relating to the Purchased Assets or the Business that was filed by
 Seller contains, or was required to contain, a disclosure statement under Section 6662 of the Code (or any
 predecessor provision or comparable provision of state, local or foreign Law). Seller has not entered into
 any “reportable transaction” as defined in Treasury Regulation Section 1.6011-4(b). Seller has no
 Liability for unpaid Taxes relating to the Purchased Assets or the Business of any Person as a former
 member of an affiliated group or as a transferee or successor, by contract, or otherwise. Seller has not
 agreed and is not required to make any adjustment under Section 481(a) of the Code by reason of a
 change in accounting method, and the IRS has not proposed any such adjustment or change in accounting
 method used by Seller.

                    (j)     Seller has (i) timely paid all sales and use Taxes required to be paid under all
 applicable Laws, (ii) properly collected and remitted all sales Taxes required under all applicable Laws,
 and (iii) for all sales that are exempt from sales Taxes and that were made without charging or remitting
 sales or similar Taxes, received and retained any appropriate Tax exemption certificates and other
 documentation qualifying such sale as exempt.

                  (k)      If Seller is a nonprofit corporation, then it (i) is an organization described in
 Section 501(c)(3) of the Code and exempt from taxation to the extent described in Section 501(a) of the
 Code, (ii) is not a private foundation within the meaning of Section 509(a) of the Code, (iii) is in
 possession of a determination letter from the Internal Revenue Service regarding its federal income Tax
 exemption, which determination letter has not been revoked or otherwise modified, (iv) is in compliance
 in all material respects with all applicable Laws pertaining to the operation of an organization described
 in Section 501(c)(3) of the Code, including, requirements as to private benefit, inurement, self-dealing,
 conflicts of interest, private business use and other applicable requirements, (v) is in compliance in all
 material respects with all applicable requirements of Section 501(r) of the Code if Seller is classified as a
 “hospital” pursuant to Section 170(b)(1)(A)(iii) of the Code and (vi) has not entered into any transaction
 which has constituted or may constitute an “excess benefit transaction” within the meaning of Section
 4958 of the Code and the Treasury Regulations thereunder.

                  (l)     Seller has (i) timely filed or caused to be filed with the appropriate
 Governmental Authority all reports required to be filed with respect to any unclaimed property and has
 remitted to the appropriate Governmental Authority all unclaimed property required to be remitted, or (ii)
 delivered or paid all unclaimed property to its original or proper recipient. None of the Purchased Assets
 is escheatable to any Governmental Authority under any applicable Laws.

         4.26    4.26     Environmental Matters. Except as set forth on Schedule 4.26:

                (a)     Seller has at all times complied, and is in compliance with, and the Real Property
 and all improvements on the Real Property are in compliance with, all Environmental Laws.


 1471496v74822-2526-1169.2                            52
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 151 of 192
                   (b)     Seller has no Liability under any Environmental Law with respect to any of the
 Purchased Assets or the Real Property, and Seller is not responsible for any Liability of any other Person
 under any Environmental Law with respect to any of the Purchased Assets or the Real Property. There
 are no pending or, to the Knowledge of Seller, threatened, Proceedings or Orders based on, and neither
 Seller nor any Seller Affiliate has received any formal or informal notice of any complaint, Order,
 directive, citation, notice of responsibility, notice of potential responsibility, or information request from
 any Governmental Authority or any other Person arising out of or attributable to any Environmental
 Condition or alleged noncompliance with any Environmental Law, nor does any fact exist that would
 reasonably be expected to form the basis for any such actions or notices arising out of or attributable to
 any Environmental Condition or alleged noncompliance with any Environmental Law.

                 (c)     There are no Environmental Conditions existing at, underneath, or migrating to
 or from the Real Property, nor are there any Environmental Conditions resulting from, or which could
 reasonably be expected to result from, the operation of the Business or the Real Property.

                   (d)      Seller has been duly issued, and currently have and will maintain through the
 Effective Time, all Approvals and Permits required under any Environmental Law with respect to any of
 the Hospital. A true and complete list of such Approvals and Permits, all of which are valid and in full
 force and effect, is set forth on Schedule 4.26, and any Approvals and Permits presently undergoing
 modification or renewal are described as such on Schedule 4.26. There are no Proceedings pending or, to
 the Knowledge of Seller, threatened, that seek the revocation, cancellation, suspension or adverse
 modification of any such Approval or Permit. All required applications for renewal thereof have been
 timely filed. No such Approval or Permit will terminate as a result of the consummation of the
 Contemplated Transactions, and no such Approval or Permit is required to be transferred to Buyer or any
 of its Affiliates as of the Effective Time in order for Buyer to lawfully operate each Facility as presently
 operated on and after the Effective Time. Seller is, and at all times have been, in compliance with such
 Approvals and Permits. Except in accordance with such Approvals and Permits, there has been no
 release of material regulated by such Approvals and Permits at, on, under, or from the Real Property in
 violation of Environmental Laws.

                 (e)     The Real Property contains no underground improvements, including treatment
 or storage tanks, or underground piping associated with such tanks, used currently or in the past for the
 management of Hazardous Materials, and no Person has used any portion of the Real Property as a dump
 or landfill.

                  (f)     Seller has provided to Buyer all environmental audits, reports and assessments
 concerning the Hospital, the Real Property or the Business that are in the possession, custody or control
 of Seller or any Seller Affiliate.

                (g)     Seller will promptly furnish to Buyer written notice of any Environmental
 Condition or of any actions or notices described in this Section 4.26 arising or received after the date
 hereof.

                (h)    No PCBs, lead-based paint, or asbestos-containing materials (each as defined in
 Environmental Laws) are present on or in the Real Property or the improvements thereto.

                (i)     No Encumbrance in favor of any Person relating to or in connection with any
 claim under any Environmental Law has been filed or has attached to the Real Property.

        4.27     4.27    Absence of Changes. Since the Balance Sheet Date, Seller has conducted the
 Business in the ordinary course of business and there has not occurred any change in the operation of the

 1471496v74822-2526-1169.2                             53
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 152 of 192
 Business or any event or development that, individually or in the aggregate, has had or could reasonably
 be expected to have a Material Adverse Effect. Since the Balance Sheet Date, Seller has not taken any
 action that, if taken after the date of this Agreement, would constitute a breach of any of the covenants
 set forth in Section 6.2.

          4.28     4.28    Affiliate Transactions. Except as set forth on Schedule 4.28, no Seller
 Affiliate, directly or indirectly: (a) provides any services to the Business or is a lessor, lessee, or supplier
 to the Business; (b) has any cause of action or other claim whatsoever against or owes any amount to, or
 is owed any amount by, Seller; (c) has any financial interest in or owns property or rights used in the
 Business; (d) is a party to any Contract relating to the Purchased Assets or the Business (other than
 compensation or employee benefits payable in the ordinary course of business); (e) received from or
 furnished to Seller any goods or services; or (f) has any financial interest in, or serves as an officer,
 manager, director of any customer, competitor or vendor, or supplier of the Business.

          4.29   4.29   Brokers and Finders. Except as set forth on Schedule 4.29, there are no claims
 for brokerage commissions, finders’ fees, financial advisors’ fees or similar compensation in connection
 with the Contemplated Transactions based on any Contract to which Seller is a party or that is otherwise
 binding upon Seller, and no Person is entitled to any fee or commission or like payment in respect
 thereof.

          4.30   4.30     Statements True and Correct. The representations and warranties of Seller
 contained in this Agreement and the other Transaction Documents, the statements contained in the
 Schedules or certificates or other documents furnished, or to be furnished, to Buyer pursuant to this
 Agreement and the information furnished, or to be furnished, to Buyer and Buyer’s Representatives by
 Seller pursuant to this Agreement or in connection with the Contemplated Transactions do not and will
 not contain any untrue statement of a material fact, or omit to state any material fact necessary to make
 the statements or facts contained therein with respect to Seller, the Business or the Purchased Assets not
 misleading.]

 5.      5.       REPRESENTATIONS AND WARRANTIES OF BUYER.

         Buyer hereby represents and warrants to Seller that the statements contained in this Article 5 are
 true and correct as of the date of this Agreement and will be true and correct as of the Closing Date
 (except in the case of representations and warranties that are made as of a specified date, in which case
 such representations and warranties will be true and correct as of such specified date).

         5.1     5.1    Organization; Capacity. Buyer is a [●] duly organized, validly existing and in
 good standing under the Laws of the State of [Delaware]. Buyer has the requisite power and authority to
 enter into this Agreement and the other Transaction Documents to which Buyer will become a party
 hereunder and to perform its obligations hereunder and thereunder.

         5.2      5.2     Authority; Non-contravention; Binding Agreement.

                  (a)     The execution, delivery and performance by Buyer of this Agreement and the
 other Transaction Documents to which it is a party or will become a party, and the consummation by
 Buyer of the Contemplated Transactions and its obligations under the Transaction Documents, as
 applicable (i) are within Buyer’s [●] powers and are not, and will not be, in contravention or violation of
 the terms of Buyer’s organizational or governing documents; (ii) except as set forth on Schedule 5.2, do
 not require any Approval of, filing or registration with, the issuance of any Permit by, or any other action
 to be taken by, any Governmental Authority to be made or sought by Buyer; and (iii) assuming the
 Approvals and Permits set forth on Schedule 5.2 are obtained, do not and will not require any Approval

 1471496v74822-2526-1169.2                              54
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                         Desc Main
                                  Document    Page 153 of 192
 or other action under, conflict with, or result in any violation of or default under (with or without notice
 or lapse of time or both) any Order or Law to which Buyer may be subject.

                   (b)     This Agreement and the other Transaction Documents to which Buyer is or will
 become a party are and will constitute the valid and legally binding obligations of Buyer and are and will
 be enforceable against Buyer in accordance with the respective terms hereof and thereof, except as
 enforceability may be restricted, limited or delayed by applicable bankruptcy or other Laws affecting
 creditors’ rights generally and except as enforceability may be subject to general principles of equity.

         5.3    5.3     Litigation. There is no Proceeding or Order pending or, to the Knowledge of
 Buyer, threatened against or affecting Buyer or any of its properties or rights that challenges or may
 otherwise have the effect of preventing, rendering illegal or otherwise delaying the Contemplated
 Transactions.

           5.4     5.4      Brokers and Finders. There are no claims for brokerage commissions, finders’
 fees, financial advisors’ fees or similar compensation in connection with the Contemplated Transactions
 based on any Contract to which Buyer is a party or that is otherwise binding upon Buyer, and no Person
 is entitled to any fee or commission or like payment in respect thereof.

         5.5     5.5     Statements True and Correct. The representations and warranties of Buyer
 contained in this Agreement and the other Transaction Documents, the statements contained in the
 Schedules or certificates or other documents furnished, or to be furnished, to Seller pursuant to this
 Agreement and the information furnished, or to be furnished, to Seller and Seller’s respective
 Representatives by Buyer pursuant to this Agreement or in connection with the Contemplated
 Transactions do not and will not contain any untrue statement of a material fact, or omit to state any
 material fact necessary to make the statements or facts contained therein with respect to Buyer not
 misleading.

 6.      6.      PRE-CLOSING COVENANTS OF SELLER AND BUYER.

          6.1      6.1     Access to Premises; Information. From the date of this Agreement until the
 Effective Time, to the extent permitted by Law, Seller and Curae shall, and shall cause the Seller
 Affiliates to, allow Buyer, its Affiliates and its and their respective authorized Representatives access to,
 and the right to inspect, the Hospital, properties, Contracts, papers, and Books and Records of Seller and
 any Seller Affiliate relating to the Business or the Purchased Assets, and will furnish Buyer with such
 additional financial and operating data and other information relating to the Business or the Purchased
 Assets as Buyer may from time to time request without regard to where such information may be located.
 Seller and Curae will furnish to Buyer’s and its Affiliates’ Representatives access, upon reasonable prior
 notice and during normal business hours, to the Seller Employees and the officers and agents of Seller
 who have responsibility for the operation of the Business and the Hospital. Buyer’s and its Affiliates’
 right of access and inspection shall be made in such a manner as not to unreasonably interfere with the
 Business.

         6.2     6.2      Conduct of Business. From the date of this Agreement until the Effective Time,
 Seller and Curae will, except as ordered by the Bankruptcy Court or limited by restrictions or limitations
 under the Bankruptcy Code on chapter 11 debtors, (a) conduct the Business in the ordinary course of
 business; (b) preserve intact its corporate existence and business organization; (c) use its commercially
 reasonable efforts to preserve the goodwill and present business relationships (contractual or otherwise)
 with all customers, suppliers, resellers, Seller Employees, licensors, distributors and others having
 business relationships with it, in each case with respect to the Business; (d) make all normal repairs,
 maintenance and planned capital expenditures with respect to the Business; (e) use its commercially

 1471496v74822-2526-1169.2                            55
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 154 of 192
 reasonable efforts to preserve in all material respects its present properties used in or related to the
 operation of the Business, including the Personal Property; (f) comply in all material respects with all
 applicable Laws and all Material Contracts; (g) pay all Liabilities of the Business arising after the filing
 of the Bankruptcy Case as such Liabilities become due and payable; and (h) maintain all existing
 Approvals and Permits applicable to the Business. Without limiting the foregoing, and as an extension
 thereof, except as set forth on Schedule 6.2 or as expressly permitted by any other provision of this
 Agreement, Seller will not, from the date of this Agreement until the Effective Time, directly or
 indirectly, do, agree or commit to do, or take any action, or fail or omit to take any action that would
 result in, any of the following without the prior written consent of Buyer:

                         (i)     sell, lease, license, assign, convey, distribute or otherwise transfer or
         dispose of any of the Purchased Assets, except dispositions of Inventory in the ordinary course of
         business, with comparable replacement thereof;

                         (ii)    fail to maintain the Purchased Assets in at least as good condition as
         they are being maintained on the date hereof, subject to normal wear and tear;

                        (iii)    mortgage, pledge or subject to any Encumbrance any portion of the
         Purchased Assets, other than Permitted Encumbrances;

                        (iv)    incur any Indebtedness or guarantee any Indebtedness other than
         Debtor-in-Possession Financing approved by the Bankruptcy Court;

                         (v)      amend, modify, accelerate or terminate, as applicable, any Assumed
         Contract or Permit;

                        (vi)    waive, release, assign, settle or compromise any material rights or
         claims, or any material litigation or arbitration with respect to the Business or the Purchased
         Assets;

                          (vii)    disclose to any Person that is not subject to any confidentiality or
         non-disclosure agreement, or otherwise fail to maintain or protect the confidentiality of, any
         Trade Secrets of, or related to, the Business (including source code included in the Owned
         Intellectual Property) or other Confidential Information;

                          (viii) (A) increase the compensation or benefits payable or to become payable
         to any Physician or other Referral Source of Seller, any Seller Employee, or any director,
         manager, officer or consultant of the Business; (B) grant or increase any rights to change in
         control, severance or termination payments or benefits to, or enter into any change in control,
         employment, consulting or severance agreement with, any Seller Employee or any other Person,
         including any director, manager, officer or consultant of the Business; (C) establish, adopt, enter
         into, amend, modify or terminate any Plan, except to the extent required by applicable Laws; or
         (D) take any affirmative action to amend or waive any performance or vesting criteria or
         accelerate vesting, exercisability or funding under any Plan;

                          (ix)  (A) make loans or advances to, guarantees for the benefit of, or any
         investments in any Person or (B) cancel any Indebtedness owed to Seller or waive any claims or
         rights of value;

                        (x)     make any change in the accounting policies, practices, principles,
         methods or procedures of the Business, other than as required by GAAP or by applicable Laws;

 1471496v74822-2526-1169.2                            56
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 155 of 192
                          (xi)    (A) accelerate or delay collection of notes receivable or accounts
         receivable in advance of or beyond its regular due dates or the dates when the same would have
         been collected in the ordinary course of business; (B) delay or accelerate payment of any account
         payable related to the Business in advance of or beyond its due date or the date such Liability
         would have been paid in the ordinary course of business; (C) make any changes to the cash
         management policies of any of the Hospital; (D) delay or postpone the repair or maintenance of
         the Hospital; or (E) vary any inventory purchase practices of any of the Hospital in any material
         respect from past practices;

                         (xii)    make any capital expenditure commitment in excess of $15,000 for
         additions to property, plant, equipment, intangible or capital assets of the Business or for any
         other purpose, other than for routine and customary repairs or replacement, the payment of which
         is to be made prior to the Closing Date;

                          (xiii) fail to keep in force the Insurance Policies or replacement or revised
         provisions providing insurance coverage with respect to the Purchased Assets or the Business as
         are currently in effect;

                          (xiv) take or omit to take any action that, individually or in the aggregate,
         could reasonably be expected to result in any representation or warranty of Seller to be untrue,
         result in a breach of any covenant made by Seller in this Agreement, would require disclosure
         pursuant to Section 6.4 or could reasonably be expected to result in any condition set forth in
         Article 8 not being satisfied;

                         (xv)    enter into any new line of business or make any material change in the
         Business or the operation of the Purchased Assets;

                          (xvi) acquire (including by merger, consolidation, license or sublicense) any
 interest in any Person or material portion of the assets or business of any Person, or otherwise acquire
 any material asset other than in the ordinary course of business; or

                          (xvii) (A) make or change any election concerning Taxes; (B) file any
 amended Tax Return; (C) enter into any closing Contract or settle any Tax claim, or assessment; (D)
 consent to any extension or waiver of the limitation period applicable to any Tax claim Proceeding or
 assessment; or (E) omit to take any action relating to the filing of any Tax Return or the payment of any
 Tax in each case, relating to the Purchased Assets or the Business.

         6.3     6.3     Consents to Assignment.

                  (a)     Buyer, with Seller’s assistance as requested by Buyer, shall be responsible for
 obtaining or delivering, and shall use commercially reasonable efforts to obtain or deliver, as applicable,
 prior to the Closing, any and all consents or notices to assign any Assumed Contract necessary or
 desirable in connection with the Contemplated Transactions; provided that Buyer shall be responsible for
 paying any necessary Cure Amounts as provided in Section 2.3(b) herein. Each Party shall cooperate
 with the other as reasonably requested to obtain any such consents or deliver any such notices.

                 (b)     Anything contained herein to the contrary notwithstanding, unless such Assumed
 Contract is assignable without the consent of any other party pursuant to the Bankruptcy Code or other
 applicable Law, this Agreement shall not constitute an agreement to assign any Assumed Contract if an
 attempted assignment thereof without the consent of another party thereto would constitute a breach
 thereof or in any material way adversely affect the rights of Seller thereunder (or the rights of Buyer

 1471496v74822-2526-1169.2                           57
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 156 of 192
 thereunder following the Effective Time), unless such consent is obtained. If such consent is not
 obtained, or if an attempted assignment would be ineffective or would materially and adversely affect the
 rights of Seller thereunder (or the rights of Buyer thereunder following the Effective Time), then Seller
 shall, upon the request of Buyer, cooperate in any reasonable arrangement designed to provide for Buyer
 the benefits under any such Assumed Contract, including enforcement of any and all rights of Seller
 against the other party or parties thereto. To the extent Buyer cannot receive the benefit of an Assumed
 Contract due to the failure or inability to obtain the necessary consent from the counterparty to such
 Assumed Contract, then, at Buyer’s option, such Contract shall be deemed an Excluded Contract, and all
 Liabilities with respect to such Contract shall be Excluded Liabilities. Notwithstanding anything
 contained in this Section 6.3(b) to the contrary, the Parties may mutually agree to assign an Assumed
 Contract to Buyer pursuant to the Assignment and Assumption Agreement notwithstanding the failure to
 obtain any consent thereto (the “Agreed Upon Assignments”).

                 (c)     If, prior to the Closing, Buyer discovers information regarding an Assumed
 Contract that causes Buyer to determine in its reasonable discretion that such Assumed Contract may
 violate applicable Laws or Buyer’s written policies, Buyer shall have the right to designate such
 Assumed Contract as an Excluded Contract by giving Seller written notice of such election prior to the
 Closing Date, and as a result, such Contract shall be deemed an Excluded Contract.

         6.4     6.4      Notification of Certain Matters.

                  (a)     From the date of this Agreement until the Closing Date, Seller shall give prompt
 written notice to Buyer of (i) the occurrence, or failure to occur, of any event, circumstance or fact that is
 reasonably likely to cause any representation or warranty of Seller contained in this Agreement to be
 untrue in any material respect; (ii) any failure of Seller to comply with or satisfy, in any material respect,
 any covenant, condition or agreement to be complied with or satisfied by it under this Agreement; and
 (iii) any other material development affecting the Purchased Assets or the Assumed Liabilities. Such
 notice shall provide a reasonably detailed description of the relevant circumstances and shall include the
 amount that Seller believes, based on facts known to Seller, would be payable by Seller pursuant to the
 indemnification provisions set forth in Article 10. The content of any notice or update delivered by
 Seller to Buyer prior to the Closing Date pursuant to this Section 6.4 shall not be deemed to amend or
 supplement the Schedules or to modify the applicable representations, warranties and covenants
 contained in this Agreement or the other Transaction Documents for purposes of determining whether
 applicable conditions precedent in Article 8 are satisfied or for purposes of determining or calculating
 Seller’s indemnification obligations set forth in Article 10.

                  (b)    If (i) Seller discovers at any time following the date of this Agreement that any
 Material Contract exists that is not disclosed on Schedule 4.17(a) or any Contract exists that is not
 disclosed on Schedule 2.1(l); or (ii) Seller enters into a Contract between the date of this Agreement and
 the Closing Date that would be required to be disclosed on Schedule 4.17(a) or Schedule 2.1(l), then
 Seller shall promptly notify Buyer of such fact and provide Buyer with an accurate and complete copy of
 such Contract. Buyer may, in its sole discretion, designate such Contract either as an Assumed Contract
 or Excluded Contract, and if Buyer elects to treat such Contract as an Assumed Contract, the Parties shall
 update Schedule 2.1(l) accordingly.

          6.5     Approvals. Between the date of this Agreement and the Closing Date, (a) Buyer, at its
 sole cost and expense, shall take all reasonable steps to obtain as promptly as practicable all Approvals
 and Permits necessary for Buyer’s operation of the Business following the Effective Time, and (b) Seller,
 at its sole cost and expense, shall take all reasonable steps to obtain as promptly as practicable all
 Approvals and Permits necessary for Seller to transfer the Purchased Assets to Buyer. Notwithstanding
 the foregoing, Buyer and Seller agree to cooperate with each other and to provide such information and

 1471496v74822-2526-1169.2                             58
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 157 of 192
 communications to each other or to any Governmental Authority as may be reasonably requested in order
 to obtain the Approvals and Permits contemplated above or otherwise necessary to consummate the
 Contemplated Transactions. Seller and Buyer will, and will cause their respective counsel to, supply to
 each other copies of all material correspondence, filings or written communications by such Party or its
 Affiliates with any Governmental Authority or staff members thereof, with respect to the Contemplated
 Transactions.

         6.6     6.6      Title and Survey Matters.

                   (a)     Buyer has received or will receive commitments (the “Commitments”) from the
 Title Company to issue as of the Effective Time a Mississippi form owner’s or lessee’s, as appropriate,
 policy of title insurance with all endorsements, as reasonably required by Buyer (the “Title Policy”) for
 the Owned Real Property and the Leased Real Property in which Seller owns a leasehold interest in the
 land relating to such Leased Real Property, together with appurtenant easements, improvements,
 buildings and fixtures thereon, in amounts equal to the value assigned to such Real Property by Buyer.
 The Parties agree that the Title Company shall be responsible for all underwriting decisions with respect
 to the policy or policies issued pursuant to the Commitments. The Commitments provide for the issuance
 of the Title Policy to Buyer as of the Effective Time and shall insure fee simple title to the Owned Real
 Property and a leasehold interest for the Leased Real Property in which Seller owns a leasehold interest
 in the land relating to such Leased Real Property, subject only to the Permitted Encumbrances and
 without standard exceptions. Seller will deliver any information as may be required by the Title
 Company under the requirements section of the Commitments or otherwise in connection with the
 issuance of the Title Policy. Seller will provide an affidavit of title and/or such other information as the
 Title Company may reasonably require in order for the Title Company to insure over the “gap” (i.e., the
 period of time between the effective date of the title insurance company’s last checkdown of title to the
 Real Property and the Effective Time) and to cause the Title Company to delete all standard exceptions
 from the Title Policy and to provide mechanic’s and materialmen’s lien coverage.

                  (b)     (b)    Buyer has received or will receive, at its expense, ALTA surveys of the
 land and improvements comprising the Owned Real Property and the Leased Real Property in which
 Seller owns a leasehold interest in the land relating to such Leased Real Property (collectively, the
 “Surveys”) from a Mississippi-licensed surveyor selected by Buyer (the “Surveyor”). The legal
 descriptions of the surveyed Real Property created by the Surveyor shall be used to convey title to Buyer
 pursuant to the Deeds described in Section 3.2(a). The Surveys will comply in all respects with the
 minimum detail requirements of the ALTA/American Congress on Survey and Mapping as such
 requirements are in effect on the date of preparation of the Surveys and are sufficient for the Title
 Company to remove all standard survey exceptions from the Title Policy and issue a survey endorsement
 acceptable to Buyer. The Surveys are or will be certified to Buyer, the Title Company and to any other
 Person as Buyer directs.

                   (c)      Buyer shall notify Seller within ten (10) Business Days after the later to occur of
 (i) the receipt of the last component of the Title Evidence, or (ii) the date of this Agreement, of any liens,
 claims, encroachments, exceptions or defects disclosed in the Title Evidence (collectively, the
 “Objections”). Seller shall, at its sole cost and expense, (A) cure the Objections on or before the
 Closing, (B) cause the Title Company to (1) delete the Objections from the Commitment, or (2) agree to
 add a provision, if available, to the Title Policy obligating the Title Company to protect the Buyer against
 all Losses that may be incurred on account of each of the Objections. Notwithstanding the forgoing,
 Seller shall take all actions necessary to cure, or cause the Title Company to insure over, any monetary
 Encumbrances encumbering the Real Property. If Seller fails to cure any Objection in one of the
 manners provided above on or before the sixtieth (60th) day following Seller’s receipt of notice of such
 Objection, the Buyer may (I) waive such Objection and close the Contemplated Transactions, subject to

 1471496v74822-2526-1169.2                             59
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 158 of 192
 any satisfaction or waiver of the remaining closing conditions in Article 8 and Article 9, or (II) terminate
 this Agreement. Any matters shown by the Title Evidence to which Buyer does not object or which are
 waived by Buyer as herein provided shall be deemed to be Permitted Encumbrances. Notwithstanding
 anything contained in this Section 6.6(c) to the contrary, at the Closing, Seller will cause all mortgages,
 deeds of trust, mechanic’s and materialmen’s liens and other similar Encumbrances (other than Permitted
 Encumbrances) encumbering Seller’s fee interest in the Real Property and arising by, through or under
 Seller or any Seller Affiliate, to be released.

         6.7      6.7     Additional Financial Information. On or before the third business day of
 every week, Seller shall provide Buyer a weekly cash flow update which compares actual cash flows with
 projected cash flows filed with the Bankruptcy Court. Within fifteen (15) days following the end of each
 calendar month between the date of this Agreement and the Closing Date, Seller will deliver to Buyer
 copies of the unaudited consolidated balance sheets and the related unaudited consolidated statements of
 operations relating to the Business for each month then ended and any additional financial statements or
 information to the extent prepared in the ordinary course of business, including key volume and payor
 mix data, income statements and statements of cash flows. Such financial statements shall be prepared
 from and in accordance with the Books and Records of Seller, shall fairly present the financial position
 and results of operations of the Business as of the date and for the period indicated, and shall be prepared
 in accordance with GAAP, consistently applied, except that such financial statements need not include
 required footnote disclosures, nor reflect normal year-end adjustments or adjustments that may be
 required as a result of the Contemplated Transactions. All interested buyers who execute applicable
 confidentiality agreements shall be afforded the same access to Seller’s information as Buyer.

         6.8     6.8      Closing Conditions. Between the date of this Agreement and the Closing Date,
 Seller and Buyer will use their commercially reasonable efforts to cause the conditions specified in
 Article 8 and Article 9 over which Seller, any Seller Affiliate, Buyer or any of its Affiliates, as
 applicable, have control to be satisfied as soon as reasonably practicable.

         6.9     6.9      Interim Operating Reporting. During the period from the date of this
 Agreement until the Closing Date, Seller shall cause its Representatives to confer from time to time as
 requested by Buyer with one or more Representatives of Buyer to report material operational matters in
 respect of the Hospital and to report the general status of ongoing operations. Seller shall notify Buyer in
 writing of any adverse change in the financial position or earnings of the Hospital after the date of this
 Agreement and prior to the Closing Date and any unexpected emergency or other unanticipated change in
 the Hospital and of any complaints or Proceedings (or communications indicating that the same may be
 contemplated) by or on behalf of Governmental Authorities or of any other such matter and shall keep
 Buyer fully informed of such events.

         6.10     6.10     Insurance Ratings. Seller will take all action reasonably requested by Buyer to
 enable Buyer to succeed to the Workmen’s Compensation and Unemployment Insurance ratings of the
 Hospital and other ratings for insurance or other purposes established by Seller for the Hospital. Buyer
 shall not be obligated to succeed to any such rating, except as it may elect to do so.

          6.11     Bulk Sales Law. Buyer and Seller hereby arise compliance with any provisions of any
 bulk sales, bulk transfer or similar Laws of any jurisdiction that may otherwise be applicable. Any
 Liabilities arising out of the failure of Seller to comply with the requirements and provisions of any such
 laws shall be treated as Excluded Liabilities.

          6.12     6.12   Social Media Accounts. Immediately prior to the Closing Date, Seller shall
 grant Buyer exclusive access rights and permissions to the social media accounts owned or operated by
 Seller set forth on Schedule 4.16(a).

 1471496v74822-2526-1169.2                            60
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 159 of 192
          6.13    Marketing Activities. Seller will, and will allow theThere shall be no restrictions on
 Seller’s or Seller Affiliates’ and their respective Representatives, only to market the proposed Purchased
 Assets: (i) between execution of this Agreement and entry of the Sales Procedures Order in a manner
 consistent with the proposed Bidding Procedures, and (ii) after the entry of marketing activities
 consistent with the Sale Procedures Order, consistent with the Bidding Procedures.

         6.14    6.14     Confidentiality.

                  (a)    It is understood by the Parties that certain of their obligations under the
 Confidentiality Agreement will survive the execution and delivery of this Agreement until their
 expiration in accordance with the terms of the Confidentiality Agreement.

                  (b)     Unless the prior written consent of the other Parties is obtained, except as
 otherwise required by applicable Laws, or in connection with the seeking of any Approval or Permit
 contemplated by this Agreement or any consent to the assignment of any of the Assumed Contracts or as
 reasonably necessary to satisfy any of the Parties’ conditions or pre-Closing covenants, each of the
 Parties shall keep confidential and not disclose, and cause its Affiliates, its Representatives, and its
 Affiliates’ Representatives to keep confidential and not disclose the terms and status of this Agreement
 and the other Transaction Documents, the Contemplated Transactions and the identity of the other
 Parties. Notwithstanding the foregoing, each of the Parties shall have the right to communicate and
 discuss with, and provide to, its respective Representatives, any information regarding the terms and
 status of this Agreement and the other Transaction Documents and the Contemplated Transactions.

                  (c)     Prior to the Closing, unless otherwise required by applicable Laws (in which
 case the disclosing Party will use its commercially reasonable efforts to notify the non-disclosing Party of
 such disclosure), no Party shall make any public announcements in respect of this Agreement or the
 Contemplated Transactions or otherwise communicate with any news media in connection therewith
 without the prior written consent of the other Party. To the extent that any press releases or public
 announcements are to be issued or made following the Closing to patients, customers, vendors, and
 employees relating to the Contemplated Transactions the timing and content of such press releases and
 public announcements shall be determined jointly agreed to by Buyer and Seller.

                 (d)     (d)     Notwithstanding the foregoing, (i) any Party may disclose Confidential
 Information received from any other Party in an action or Proceeding brought by a Party in pursuit of its
 rights or in exercise of its remedies hereunder, and (ii) disclosure of matters that become a matter of
 public record as a result of the Bankruptcy Case and the filings related thereto shall not constitute a
 breach of this Agreement or the Confidentiality Agreement.

          6.15     Casualty. If any part of the Purchased Assets (including any Facility) is damaged, lost
 or destroyed (whether by fire, theft, vandalism or other cause or casualty), in whole or in part, prior to the
 Effective Time (such damaged, lost or destroyed assets, the “Damaged Assets”), Buyer may, at its
 option, (a) reduce the Purchase Price by the greater of (i) the fair market value of the Damaged Assets
 (such value to be determined as of the date immediately prior to such damage, loss or destruction) plus an
 amount equal to the estimated revenues in excess of expenses for the Hospital during any period of repair
 or reconstruction that extends beyond the Closing (the “Estimated Business Loss”), or (ii) the estimated
 cost to replace or restore the Damaged Assets plus an amount equal to the Estimated Business Loss, (b)
 require Seller to transfer the proceeds (or the right to the proceeds) of the applicable Insurance Policies
 covering the Damaged Assets (including the business interruption Insurance Policy covering the
 Business) to Buyer at the Closing plus an amount equal to any deductibles paid or incurred by Seller, or
 (c) if the fair market value of the Damaged Assets is greater than $2,000,000 or if a Facility has suffered
 material damage, terminate this Agreement. Any reduction in the Purchase Price pursuant to this Section

 1471496v74822-2526-1169.2                             61
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 160 of 192
 6.15 shall be determined by [Value Management Group L.L.C. d/b/a VMG Health], and the costs and
 expenses of such firm shall be paid by Seller. Until the Effective Time, Seller will bear all risk of loss
 with respect to the Damaged Assets.

         6.16     6.16     Insurance Policies. Seller will obtain supplemental insurance policies (the “Tail
 Policies”) providing for extended reporting periods for claims made after the Effective Time in respect of
 events occurring prior to the Effective Time, in form and substance reasonably acceptable to Buyer, for
 any claims-made Insurance Policies held for the benefit of the Business, the Purchased Assets, the
 Hospital, or the Practitioners, including professional liability coverage, relating to all periods prior to the
 Effective Time, and to have the effect of converting such claims-made Insurance Policies into
 “occurrence based” coverage. Such Tail Policies shall extend for the greater available option of an
 indefinite period of time or the maximum time period permissible by each respective Insurance Policy
 and shall provide minimum coverage in an amount no less than the coverage currently maintained under
 the applicable Insurance Policy. Seller shall deliver to Buyer evidence of Seller’s purchase of the Tail
 Policies at least five (5) Business Days prior to the Closing Date. The cost of the Tail Policies shall be
 borne by Seller.]. [reserved]

        6.17    6.17   Bankruptcy Court Approval; Executory Contracts; Sale Procedures; and
 Stalking Horse Provisions.

                  (a)    Within two (2) business days following the execution of this Agreement, Seller
 shall file the Sale Procedures Motion with the Bankruptcy Court, in form and substance approved by
 Buyer, seeking approval of the transactions contemplated by this Agreement and the procedures for
 bidding at any Auction.

                   (b)     Seller shall deliver or cause to be delivered to Buyer for review and comment all
 documents to be filed by Seller with the Bankruptcy Court that relate to the transactions contemplated by
 this Agreement, as soon as commercially reasonable and in any event not less than one (1) Business Day
 prior to filing, including all motions, proposed orders, applications, and supporting papers prepared by
 Seller, prior to filing such documents. All motions, proposed orders, applications and supporting papers
 prepared by Seller and relating to the transactions contemplated by this Agreement to be filed by Seller
 following execution of this Agreement must be in form and substance acceptable to both Buyer and
 Seller.

                  (c)      Seller shall use its best efforts to gain approval by the Bankruptcy Court of the
 purchase and sale of the Purchased Assets and the assumption and assignment of all Assumed Contracts
 and Assumed Liabilities contemplated hereby to the fullest extent required by Sections 363 and 365 and
 all other applicable provisions of the Bankruptcy Code within the terms of the Sale Procedures Order and
 Sale Order. The Sale Procedures Order shall only be amended with the approval of Buyer, which
 approval may be granted or withheld in Buyer’s sole discretion. Seller shall serve on all non-Seller
 counterparties to all of the Assumed Contracts a notice specifically stating that Seller may be seeking the
 assumption and assignment of such Assumed Contracts and shall notify such non-Seller counterparties of
 the deadline for objecting to the Cure Amounts stated in such notices, if any, which deadline shall not be
 less than ten (10) Business Days prior to the Sale Hearing.

                   (d)      From and after the date hereof and until the Closing Date or the termination of
 this Agreement in accordance with Article 12, Seller shall not take any action which is intended to (or is
 reasonably likely to), or fail to take any action the intent (or the reasonably likely result) of which failure
 to act is to, result in the reversal, voiding, modification or staying of the Sale Procedures Order or this
 Agreement. If Buyer is the Successful Bidder at the Auction, Seller shall not take any action which is
 intended to (or is reasonably likely to), or fail to take any action the intent (or the reasonably likely

 1471496v74822-2526-1169.2                             62
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 161 of 192
 result) of which failure to act is to, result in the reversal, voiding, modification or staying of the Sale
 Order or this Agreement.

                 (e)     This Agreement is subject to approval by the Bankruptcy Court.

                  (f)     The Sale Procedures Order shall provide, inter alia, that in the event Buyer is not
 in breach of this Agreement and does not serve the Termination Notice on or before 5 p.m. Central Time
 on November 12, 2018 and (i) the Bankruptcy Court approves a sale of all or some of the Purchased
 Assets withto a buyer other than Buyer, (ii), Seller enters into a definitive agreement for an Alternative
 Transaction; or (iii) Seller files a plan of reorganization that does not contemplate a saleSale of the
 Purchased Assets to Buyer, Seller shall be required to pay Buyer a fee in the amount of four percent (4%)
 of the Purchase Price (the “Break-Up Fee or the “Bid Protections”). The Bid Protections shall beto
 Buyer actual, documented, reasonable costs and expenses of Buyer’s outside professionals and outside
 vendors incurred in connection with the Contemplated Transactions in an amount of up to $600,000 (the
 “Expense Reimbursement”). If Buyer is not the Successful Bidder, Buyer will serve copies of all
 documents supporting Buyer’s request for Expense Reimbursement within five (5) days after the
 conclusion of the Auction on counsel to the Debtors and counsel to the Committee. Any objection of the
 Debtors or the Committee to the reasonableness of amounts sought by Buyer as part of the Expense
 Reimbursement request shall be served on Buyer within (5) days after receipt of Buyer’s request for the
 Expense Reimbursement and supporting documents. If no objection to Buyer’s request for the Expense
 Reimbursement is received within such five (5) day period, the requested Expense Reimbursement
 Amount will be deemed an allowed superpriority administrative expense claimsclaim of SellerBuyer
 under Section 364(c)(1l) of the Bankruptcy Code witwith priority over any and all administrative
 expenses of any kind, including, without limitation, those specified in Sections 503(b) and 507(b) of the
 Bankruptcy Code, and , if earned pursuant to subsection (i) above, and shall be paid at closing from the
 sale proceeds prior to the payment of any other amounts. If a timely objection to the Expense
 Reimbursement request is served on Buyer and such objection is not resolved prior to closing, the
 Debtors will file a motion with the Bankruptcy Court seeking a determination of the amounts in dispute
 and the corresponding portion of the sale proceeds shall be held by the Debtors in reserve pending further
 order of the Bankruptcy Court. Notwithstanding anything to the contrary, Buyer shall not be entitled to
 the Expense Reimbursement if (i) Buyer has served the Termination Notice, (ii) Buyer is in breach of this
 Agreement, or (iii) Buyer is designated as the Backup Bidder, the closing with the Successful Bidder
 does not occur and the closing with the Backup Bidder occurs. The Sale Procedures Order shall provide,
 in the event of an Auction, for an initial overbid protection in an amount equal to $1,000,000 and that any
 bid that includes a cash component of at least $10.5 million and otherwise complies with the Sale
 Procedures Order will be deemed a Qualified Bid. In the event an Auction occurs, bidding will proceed
 with minimum bid increments thereafter of $100,000. The Sale Procedures Order shall provide that any
 Qualified Bid (as defined in the Sale Procedures Order) shall be a bid for all of the Purchased Assets and
 shall contemplate the same transaction form and structure as contemplated by this Agreement and the
 Contemplated Transactions. The Salesof $100,000 subject to the terms and conditions of the Sale
 Procedures Order. The Sale Procedure Order shall provide that Buyer shall serve as a Backup Bidder for
 a period of only thirty (30) days following the Auction if Buyer is not the Successful Bidder at the
 Auction and is designated as the Backup Bidder. Notwithstanding anything to the contrary set forth
 herein, in the event Buyer’s actual, documented, reasonable costs and expenses of Buyer’s outside
 professionals and outside vendors incurred in connection with the Contemplated Transactions exceed
 $600,000, Buyer shall be permitted to file a motion with the Bankruptcy Court seeking an Expense
 Reimbursement of up to $700,000.00, and the Debtors and Committee shall have the right to object to
 such Motion.

                 (g)     The Sale Order shall contain the following provisions:


 1471496v74822-2526-1169.2                            63
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 162 of 192
                          (i)     approval of this Agreement, including the sale of the Purchased Assets
 by Seller to Buyer, which shall vest in Buyer all right, title, and interest of Seller to the Purchased Assets
 free and clear of all Encumbrances (other than Permitted Encumbrances), Excluded Liabilities and
 interests pursuant to Section 363(f) of the Bankruptcy Code;

                        (ii)    a finding that Buyer has acted in good faith within the meaning of
 Section 363(m) of the Bankruptcy Code, the Contemplated Transactions have been undertaken by Seller
 and Buyer at arm’s length and without collusion, and Buyer is entitled to the protections of Section
 363(m) of the Bankruptcy Code;

                      (iii) except with respect to Government Programs in connection with
 assumed provider agreements and provider numbers, all Persons shall be enjoined from taking any
 actions against Buyer, any Affiliate or assignee of Buyer, or the Purchased Assets to recover any claim
 that such Person has against Seller;

                         (iv)     Buyer shall have no successor Liability on account of the purchase or
 sale of the Purchased Assets, except on account of Assumed Liabilities;

                         (v)    due notice of the Sale Procedures Motion, Sale Procedures Order, the
 Sale Order, and this Agreement shall have been provided;

                       (vi)    there shall be sufficient cause to lift the stay contemplated by Rules
 6004(h) and 6006(d) of the Federal Rules of Bankruptcy Procedure with regards to the Contemplated
 Transactions; and

                         (vii)    the Bankruptcy Court retains exclusive jurisdiction to interpret and
 enforce the provisions of this Agreement and the Sale Order in all respects.

 7.      ADDITIONAL AGREEMENTS.

         7.1     Seller Employees.

                  (a)      As of the Effective Time, Seller shall terminate or cause the Seller Affiliates to
 terminate all of the active Seller Employees. Subject to Buyer’s standard employment screening and
 other criteria for eligibility to hire, Buyer (or a designated Affiliate thereof) will offer employment to
 substantially all active non-physician employees of the Business who are in good standing, in such
 positions and subject to such terms and conditions of employment as Buyer may determine, Buyer shall
 not assume any pension liability accruing prior to the Effective Time.

                  (b)     The term “Transferred Employee” as used in this Agreement means a Seller
 Employee who accepts employment with Buyer Employer as of the Effective Time. The terms of all
 such Transferred Employees’ employment with Buyer Employer shall be in accordance with the usual
 and customary practices of Buyer Employer and its Affiliates with respect to similarly-situated
 employees of Buyer Employer and its Affiliates working at comparable facilities operated by Buyer
 Employer and its Affiliates in the general area of the Hospital. Buyer Employer shall provide each
 Transferred Employee with employee benefits, including retirement, welfare and paid time off,
 substantially similar to similarly-situated employees of Buyer Employer and its Affiliates working at
 comparable facilities operated by Buyer Employer and its Affiliates in the general area of the Hospital.
 Buyer Employer agrees to recognize each Transferred Employee’s date of hire by Seller or Seller
 Affiliate, as applicable, as the anniversary date of record with Buyer Employer and to honor that
 seniority for purposes of prospective benefit accrual under Buyer Employer’s fringe benefit policies such

 1471496v74822-2526-1169.2                             64
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 163 of 192
 as paid time off and short-term disability. Buyer Employer will waive the customary waiting periods
 under its welfare and 401(k) plans for the Transferred Employees and, subject to each Transferred
 Employee’s election of coverage, participation in Buyer Employer’s benefit plans shall begin as of the
 Effective Time (subject to any plan requirement that coverage begins only upon active employment) for
 each Transferred Employee who is in an eligible class as defined under the respective Buyer Employer
 benefit plans. To the extent lawful and subject to the approval of any applicable insurer, Buyer
 Employer shall honor the Transferred Employees’ prior service credit under Seller’s current welfare
 plans for purposes of satisfying pre-existing condition limitations in Buyer Employer’s welfare benefit
 plans.

                  (c)     Subject to the terms and conditions of Buyer Employer’s applicable benefit
 plans, for each Seller Employee (other than any Seller Employee who is a Practitioner) who becomes a
 Transferred Employee, Buyer Employer shall carry over, and give credit for, the unused Paid Time Off of
 such Transferred Employee as of immediately prior to the Effective Time in an amount not to exceed 40
 hours of Paid Time Off, but only to the extent that the Liability for such Paid Time Off is reflected as a
 current Liability in the calculation of Closing Working Capital (the aggregate number of hours of Paid
 Time Off assumed by Buyer Employer for all Transferred Employees pursuant to this Section 7.1(c), the
 “Assumed Paid Time Off”). At or before the Closing, SellerBuyer shall have paid out theno Liability as
 of immediately prior to the Closing for all unusedfor Paid Time Off in excess of the Assumed Paid Time
 Off assumed by Buyer Employer with respect to theor for any other Pre-Closing obligations of Seller to
 any Transferred Employees to such Transferred Employeesnot expressly identified in this Agreement.

                 (d)      Prior to the Effective Time, Seller shall be solely responsible for complying with
 the WARN Act and any and all obligations under other applicable Laws requiring notice of plant
 closings, relocations, mass layoffs, reductions in force or similar actions (and for any failures to so
 comply), in any case, applicable to Seller Employees as a result of any action by Seller or any Seller
 Affiliate on or prior to the Effective Time, or following the Effective Time with respect to any Seller
 Employee who does not become a Transferred Employee for any reason.

                 (e)      With respect to each M&A qualified beneficiary (as defined in the regulations
 under COBRA), Seller or a Seller Affiliate shall retain the obligation for providing notices and
 continuation coverage under COBRA. Seller or a Seller Affiliate shall offer continuation coverage under
 the applicable Plan of Seller to the fullest extent required by COBRA. Seller shall timely provide Buyer
 with all necessary information, including the identity, applicable coverage and duration of coverage, as
 may be reasonably requested by Buyer in order to provide such continuation coverage.The Buyer
 assumes no liability for any group health continuation coverage or coverage rights required by Section
 4980B of the Internal Revenue Code of part 6 of subtitle B of Title 1 of ERISA, and similar state laws
 which exist as of the Closing Date or which arise as a result of the Contemplated Transaction.

                  (f)      Prior to the Effective Time, Seller shall adopt any amendments and take all other
 action with respect to each defined contribution Plan qualified under Section 401 or 403 of the Code in
 which any Transferred Employee participates, (i) cause the account balance or accrued benefit of each
 Transferred Employee to become fully vested as of the Effective Time, and (ii) waive any employment or
 service conditions (including without limitation any requirement that a Transferred Employee be
 employed on a specific date or complete a minimum number of hours during any period) applicable to
 employer contributions under such Plan for the plan year in which the Effective Time occurs.The Buyer
 assumes no liability with respect to, and receives no right or interest in, any plan of Seller qualified under
 Section 401 or 403 of the Code. Seller acknowledges that from and after the Closing Date, the Purchaser
 will have no liabilities under any such plan of Seller.

                 (g)      As of the Effective Time, Seller will, at its expense or at the expense of the

 1471496v74822-2526-1169.2                             65
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 164 of 192
 applicable Plan, (i) discontinue participation of the Transferred Employees in all applicable Plans, (ii)
 take such actions as are necessary to make, or cause such Plans to make, timely appropriate distributions
 to such Transferred Employees to the extent required or permitted by, and in accordance with, such Plans
 and applicable Laws, as determined by Seller and/or its counsel, and (iii) comply with all applicable
 Laws in connection with the foregoing. As of the Closing Date, Seller will have fully funded all benefits
 provided under any retirement, annuity, or custodial account Plan intended to be qualified under Sections
 401 or 403 of the Code maintained or contributed to by Seller or any Seller Affiliate.

                    (g)     (h) Notwithstanding any provision herein to the contrary, no term of this
 Agreement shall be deemed to (i) create any Contract with any Transferred Employee, (ii) give any
 Transferred Employee the right to be retained in the employment of Buyer Employer or any of its
 Affiliates, (iii) interfere with Buyer Employer’s right to terminate the employment of any Transferred
 Employee at any time, or (iv) obligate Buyer Employer or any of its Affiliates to adopt, enter into or
 maintain any employee benefit plan or other compensatory plan, program or arrangement at any time.
 Nothing in this Agreement shall diminish Buyer Employer’s right to change or terminate its policies
 regarding salaries, benefits and other employment matters at any time or from time to time. The
 representations, warranties, covenants and agreements contained herein are for the sole benefit of the
 Parties, and the Transferred Employees are not intended to be and shall not be construed as beneficiaries
 hereof.

         7.2     7.2      Post-Closing Access to Information. Buyer and Seller acknowledge that,
 subsequent to the Effective Time, Buyer and Seller may need reasonable access to information,
 documents or computer data in the control or possession of the other, and Seller may need reasonable
 access to records that are a part of the Purchased Assets for purposes of concluding the Contemplated
 Transactions and for audits, investigations, compliance with governmental requirements, regulations and
 requests, and the prosecution or defense of Third-Party Claims. Accordingly, Buyer agrees that, at the
 sole cost and expense of Seller, it will make available to Seller and its respective Representatives such
 documents and information as may be available relating to the Purchased Assets and the Business in
 respect of periods prior to the Effective Time and will permit Seller (or its respective Representatives) to
 make copies of such documents and information. Seller agrees that, at the sole cost and expense of
 Buyer, Seller will make available to Buyer and its Representatives such documents and information as
 may be in the possession of Seller or any Seller Affiliate relating to the Excluded Assets and will permit
 Buyer (or its Representatives) to make copies of such documents and information. In addition, Seller
 shall provide access to the books and records with respect to Pre-Closing Periods for the Hospital and
 Business for a minimum of three years subsequent to the Closing.

          After the Closing, Buyer shall permit, for a period of not less than six (6) years, each of the
 Seller, any direct or indirect successor to the Seller and their respective professionals, and the
 Committee, the Committee’s successors, any estate representative, any liquidating trust relating to the
 Seller and each of their respective professionals (collectively, the “Permitted Parties”) reasonable
 access to all Books and Records that are in connection with or that otherwise relate to the Hospital
 (including the Business) prior to the Closing and/or to Seller and that are in the control or the possession
 of Buyer or any of its Affiliates or their respective agents or representatives (collectively, “Business
 Records”) for the purposes of (i) pursuing, assessing, settling, or otherwise dealing with any Excluded
 Assets, (ii) pursuing, assessing, defending, settling, or otherwise dealing with (including, without
 limitation, exercising rights and remedies with respect to) any claim or cause of action, including,
 without limitation, any objection or motion, that any Permitted Party has the right to pursue, (iii)
 performing and/or otherwise dealing with any obligations of the Seller pursuant to this Agreement,
 including the Excluded Liabilities, (iv) assisting any one or more of the Permitted Parties in connection
 with or otherwise relating to the claims reconciliation process relating to Seller, including, without
 limitation, with respect to claims against any Person, including, without limitation, assessing, resolving,

 1471496v74822-2526-1169.2                            66
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 165 of 192
 settling, and/or otherwise dealing with priority and administrative claims and any other general
 unsecured claims that accrue prior to the Closing Date and (v) without limiting the generality of the
 immediately preceding clauses (i) through (iv), otherwise administering Seller’s estate including, without
 limitation, the preparation and confirmation of a plan relating to Seller and the preparation of a disclosure
 statement relating to Seller, and compliance with any subpoena, document request, or order of any court
 compelling any Permitted Party to produce documents to third parties, winding down Seller’s estate,
 preparing or filing tax returns and causing audits to be performed and/or for any other reasonable
 purpose.

          The right of reasonable access for the Permitted Parties shall include, without limitation, (i) the
 right of such Permitted Party to copy at the Permitted Party’s premises or the Hospital, during regular
 business hours and upon reasonable notice (not less than 5 business days), at each requesting Permitted
 Party’s reasonable expense, such documents and records as they may reasonably request in furtherance of
 any of the purposes referred to in this Section 7.2 and (ii) Buyer’s copying and delivering, at the
 Permitted Party’s reasonable expense, to such Permitted Party such documents and records as may be
 reasonably requested, but only to the extent as to this clause (ii) such Permitted Party furnishes Buyer
 with reasonable written descriptions of the materials to be so copied. Buyer shall not dispose of or
 destroy any of the Business Records transferred to Buyer (“Transferred Business Records”) before the
 seventh (7th) anniversary of the Closing Date.

          Subsequent to the Closing Date, Buyer will use commercially reasonable efforts to cooperate
 with each of the Permitted Parties relating to all matters in connection with the administration of the
 Seller’s estate, including without limitation, all claims and causes of action relating to the Excluded
 Assets or Excluded Liabilities that any Permitted Party elects to pursue, dispute, or defend. Without
 limiting the generality of the preceding sentence, Buyer will use commercially reasonable efforts to make
 reasonably available to Seller employees of the Business who become employees of Buyer to assist Seller
 in connection with the administration of Seller’s estate, including, without limitation, in connection with
 Excluded Assets and/or Excluded Liabilities, provided that access to such employees shall in no way
 interfere with Buyer’s normal business operations.

         7.3     7.3      Confidentiality; Non-Competition; Non-Solicitation; Non-Disparagement.
 In further consideration for the payment of the Purchase Price and in order to protect the value of the
 Purchased Assets purchased by Buyer (including the goodwill inherent in the Business as of the Effective
 Time), effective as of the Effective Time, Seller agrees as follows:

                  (a)     Seller shall not use for itself or any other Person, or disclose to any other Person,
 any Confidential Information except to the extent such use or disclosure is (i) approved in writing in
 advance by Buyer, (ii) expressly permitted or required pursuant to the terms of this Agreement, or (iii)
 required by Law or any Order (in which event Seller shall inform Buyer in advance of any such required
 disclosure, shall cooperate with Buyer in all reasonable respects in obtaining a protective order or other
 protection in respect of such required disclosure and shall limit such disclosure to the extent reasonably
 possible while still complying with such requirements). Seller shall use commercially reasonable efforts
 to safeguard Confidential Information and to protect it against disclosure, misuse, espionage, loss and
 theft.

                   (b)      Seller acknowledges that Seller has become, and following the date of this
 Agreement shall continue to be, familiar with Confidential Information. Therefore, during the Restricted
 Period, Seller shall not (and shall not take any steps to, or prepare to), and shall cause the Seller
 Affiliates not to, directly or indirectly, in any capacity, (i) develop, own, manage, control or exert any
 influence upon, acquire, lease, consult with, render or provide advice to, operate, affiliate with,
 participate in, permit its name to be used in connection with, receive any economic benefit from or in any

 1471496v74822-2526-1169.2                             67
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 166 of 192
 other manner engage in any other similar activity or have any financial interest in, or otherwise provide
 any services to or for the benefit of, a Restricted Business within the Restricted Area, (ii) manage or
 provide management or consulting services to, or participate in the management or control of, or exert
 any influence upon, any Person involved in the development, construction, ownership or operation of any
 Restricted Business within the Restricted Area or (iii) own a direct or indirect interest (financial or
 otherwise) in, or lend or contribute money to, or otherwise provide financial support for, any Person that
 engages in any of the activities described in clauses (i) and (ii), above.

                  (c)     During the Restricted Period, Seller shall not, and shall cause the Seller
 Affiliates not to, directly or indirectly, in any capacity, (i) encourage, induce, solicit or attempt to
 encourage, induce or solicit, any officer, director, manager, employee or independent contractor of Buyer
 Employer or any of Buyer Employer’s Affiliates who works at, or provides services to, the Business, to
 leave the employ of Buyer Employer or any of Buyer Employer’s Affiliates or terminate or diminish any
 relationship with Buyer Employer or any of Buyer Employer’s Affiliates; provided, that the foregoing
 shall not apply to any general solicitation by Seller or any Seller Affiliate that is not directed specifically
 to any such Person; or (ii) hire, employ or contract with any Covered Person.

                  (d)      From and after the date of this Agreement (both before and after the Effective
 Time or termination of this Agreement), Seller shall, and shall cause the Seller Affiliates to, instruct their
 officers, directors and employees not to, directly or indirectly, alone or in connection with any other
 Person, engage in any conduct or make any statement, whether in commercial or noncommercial speech,
 that disparages, criticizes or is injurious to the reputation of Buyer, any of its Affiliates, or any of its or
 their respective Representatives, managers, shareholders, members and principals.

                   (e)     Seller recognizes that the covenants in this Section 7.3, and the territorial, time
 and other limitations with respect thereto, are reasonable and properly required for the adequate
 protection of the acquisition of the Purchased Assets by Buyer, including the Confidential Information,
 and agree and acknowledge that such limitations are reasonable with respect to Buyer’s activities,
 business and public purpose. Seller acknowledges and represents that: (i) sufficient consideration has
 been given by each Party to the other as it relates to the covenants set forth in this Section 7.3; (ii) the
 restrictions and agreements in this Section 7.3 are reasonable in all respects and necessary for the
 protection of Buyer and its Affiliates, the Confidential Information and the goodwill associated with the
 Business and that, without such protection, Buyer’s customer and client relationships and competitive
 advantage would be materially adversely affected; and (iii) the agreements in this Section 7.3 are an
 essential inducement to Buyer to enter into this Agreement and they are in addition to, rather than in lieu
 of, any similar or related covenants to which Seller is party or by which it is bound. Seller agrees and
 acknowledges that the violation of the covenants or agreements in this Section 7.3 would cause
 irreparable injury to Buyer and its Affiliates and that monetary damages and any other remedies at law
 for any violation or threatened violation thereof would be inadequate, and that, in addition to whatever
 other remedies may be available at law or in equity, Buyer and its Affiliates shall be entitled to temporary
 and permanent injunctive or other equitable relief without the necessity of proving actual damages or
 posting a bond or other security. In addition, in the event of a breach or violation by Seller or any Seller
 Affiliate of this Section 7.3, the Restricted Period shall be tolled until such breach or violation has been
 duly cured.

                 (f)      It is the intention of each Party that the provisions of this Section 7.3 shall be
 enforced to the fullest extent permissible under the Law and the public policies of the State of
 Mississippi and of any other jurisdiction in which enforcement may be sought, but that the
 unenforceability (or the modification to conform with such Laws or public policies) of any provisions
 hereof shall not render unenforceable or impair the remainder of this Agreement. Accordingly, if any
 term or provision of this Section 7.3 shall be determined to be illegal, invalid or unenforceable, either in

 1471496v74822-2526-1169.2                             68
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 167 of 192
 whole or in part, this Agreement shall be deemed amended to delete or modify, as necessary, the
 offending provisions and to alter the balance of this Agreement in order to render the same valid and
 enforceable to the fullest extent permissible as aforesaid, with the maximum period, scope or
 geographical area permitted under applicable Laws being substituted for the period, scope or
 geographical area hereunder.

         7.4     7.4     Cost Reports.

                   (a)    Seller, at its own cost and expense, will timely prepare and file (and will pay any
 amounts due pursuant to, and will receive and retain any amounts resulting from) all Cost Reports
 relating to Seller and the Hospital for periods ending at or prior to the Effective Time or required as a
 result of the consummation of the Contemplated Transactions, including terminating Cost Reports for the
 Government Programs and for any other cost based payors (collectively, the “Seller Cost Reports”).
 Buyer shall forward to Seller any and all correspondence relating to Seller Cost Reports within ten (10)
 Business Days after receipt by Buyer. Buyer shall remit any receipts of funds relating to the Seller Cost
 Reports promptly after receipt by Buyer and shall forward to Seller any demand for payments relating to
 the Seller Cost Reports within ten (10) Business Days after receipt by Buyer. Seller shall retain all
 rights, Liabilities and obligations associated with Agency Settlements and the Seller Cost Reports,
 including any amounts receivable or payable in respect of such reports or reserves relating to such
 reports. Such rights shall include the right to appeal any Medicare determinations relating to Agency
 Settlements and the Seller Cost Reports. Seller shall retain the originals of the Seller Cost Reports,
 correspondence, work papers and other documents relating to the Seller Cost Reports and the Agency
 Settlements. “Agency Settlements” as used herein shall mean all rights to settlements and retroactive
 adjustments, if any, for open cost reporting periods ending prior to the Effective Time (whether open or
 closed) arising from or against the federal government or any state under the terms of the Government
 Programs and against any commercial third-party payor programs that settle on a cost report basis
 (“Agency Settlements”). Seller will furnish copies of such documents to Buyer prior to the Closing.
 Except as required by Law, Seller shall not open, re-file, or amend any Seller Cost Report without the
 prior written consent of Buyer. In the event that any Government Program offsets, withholds or recoups
 any amounts payable or paid to Buyer as a result of any Liabilities or obligations of Seller or its
 predecessors in respect of periods ending at or prior to the Effective Time arising under the terms of the
 Government Programs (including as a consequence of Seller’s failure to timely file any terminating Cost
 Report), Seller shall tender to Buyer an amount equal to the amount offset, withheld or recouped within
 five (5) Business Days after Seller’s receipt of written notice from Buyer of such offset, withholding or
 recoupmentBuyer shall have the right to make a claim under the Escrow Agreement with respect to any
 such offsets, withholdings, or recoupments. Seller, at its own cost and expense, will timely prepare and
 file any other required reports for the Hospital with respect to any reportable period ending at or before
 the Effective Time.

                  (b)     The Hospital is reimbursed on an interim basis under the Medicare program on a
 bi-weekly pass-thru payment (“Pass-Thru Payments”) basis. If Buyer receives any Pass-Thru Payments
 from the Medicare program associated with the operations of the Hospital relating solely to periods prior
 to the Effective Time, Buyer shall pay Seller an amount equal to such Pass-Thru Payment(s) received by
 Buyer within ten (10) days of receipt. If Buyer receives any Pass-Thru Payments from the Medicare
 program associated with the operations of the Hospital relating to the period commencing prior to and
 ending after the Effective Time, Buyer shall pay Seller within ten (10) days of receipt an amount equal to
 the Pass-Thru Payment(s) actually received by Buyer for such period multiplied by a fraction, the
 numerator of which shall be the total number of days prior to the Effective Time and the denominator of
 which shall be the total number of days attributable to such Pass-Thru Payment(s). If Seller receives any
 Pass-Thru Payments from the Medicare program associated with the operations of the Hospital relating
 solely to periods after the Effective Time, Seller shall pay Buyer within ten (10) days of receipt an

 1471496v74822-2526-1169.2                            69
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 168 of 192
 amount equal to such Pass-Thru Payment(s) received by Seller. If Seller receives any Pass-Thru
 Payments from the Medicare program associated with the operations of the Hospital relating to the
 periods commencing prior to and ending after the Effective Time, Seller shall pay Buyer within ten (10)
 days of receipt an amount equal to the Pass-Thru Payment(s) actually received by Seller for such period
 multiplied by a fraction, the numerator of which shall be the total number of days after the Effective
 Time and the denominator of which shall be the total number of days attributable to such Pass-Thru
 Payment(s). It is the intent of the Parties that Buyer and Seller shall receive all third-party payments
 applicable to the period of time that the Hospital are owned by the Parties.

                  (c)     If any Party receives any amount from patients, third-party payors, group
 purchasing organizations or suppliers which, under the terms of this Agreement, belongs to the other
 Party, the Party receiving such amount shall remit within ten (10) Business Days the full amount so
 received to the other Party.

                 (d)     Seller will cooperate with Buyer in all reasonable respects in providing
 pre-Closing patient data and any documents Buyer reasonably believes are necessary or appropriate to
 file with respect to the Mississippi Medicaid disproportionate share hospital surveys and Mississippi
 Uncompensated Care Programs for the fiscal periods prior to and after the Effective Time.

                  (e)     Notwithstanding the foregoing, nothing in this Agreement shall require Buyer to
 prepare, file or otherwise participate in any Government Program or Private Program appeal relating to
 the operations of Seller and the Business prior to the Effective Time.

         7.5     7.5     CMS Reporting and Payment Adjustments.

                  (a)    Following the Effective Time, Buyer will cooperate with Seller in all reasonable
 respects in providing documents or data that Seller reasonably believes are necessary or appropriate to
 file with respect to CMS Reporting for all Federal Fiscal Years ending at or prior to the Effective Time.
 Buyer shall forward to Seller any and all correspondence from CMS relating to applicable CMS
 Reporting for such Federal Fiscal Years within ten (10) Business Days after receipt by Buyer.

                 (b)     Following the Effective Time, Seller will cooperate with Buyer in all reasonable
 respects in providing pre-Closing documents or data that Buyer reasonably believes are necessary or
 appropriate to file with respect to CMS Reporting for the Federal Fiscal Year in which the Effective
 Time occurs and any subsequent Federal Fiscal Year, and in providing pre-Closing documents or data
 that Buyer reasonably believes are necessary or appropriate to respond to any request by CMS or other
 Governmental Authority, formal or informal, for documentation supporting CMS Reporting for all
 Federal Fiscal Years ending at or prior to the Effective Time. Seller shall forward to Buyer any and all
 correspondence from CMS relating to CMS Reporting for such Federal Fiscal Years within ten (10)
 Business Days after receipt by Seller.

                 (c)     To the extent Buyer incurs a penalty or reduction, or incurs a recoupment, in fees
 paid by CMS for hospital or physician services based on CMS Reporting (or failure to report) for
 services rendered by Seller prior to the Effective Time, then Seller will pay to Buyer the recoupment
 amount or payment differential, as applicable, attributable to such reduction in fees paid under CMS
 Reporting within ten (10) Business Days after notice to Seller of such amount due.

                   (d)    (d)      To the extent Buyer is required to refund, reimburse or repay any portion
 of an increased Medicare payment or Medicaid payment based on CMS Reporting or any portion of a
 CMS Reporting bonus, shared savings or other non-claims based payment paid to any Seller, or discount
 to Seller, prior to the Effective Time, then Seller will pay to Buyer the amount of the required refund,

 1471496v74822-2526-1169.2                           70
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 169 of 192
 reimbursement or repayment within ten (10) Business Days after Buyer refunds, reimburses or remits
 such amount to Medicare or Medicaid, as applicableBuyer shall have the unilateral right to make a claim
 under the Escrow Account with respect to any of Seller’s obligations for refunds or repayments.

                  (e)     With respect to non-claims- based payments arising under CMS Program
 Payments for the Federal Fiscal Year in which the Effective Time occurs, the Parties agree that such
 CMS Program Payments (including all rights to pursue such payments and/or appeal any decisions
 regarding such payments) are included in the Purchased Assets and shall become the property of Buyer
 as of the Effective Time. To the extent Buyer is required to refund or repay any portion of any CMS
 Program Payments, Seller will pay to Buyer Seller’s portion of the amount of the required refund or
 repayment within ten (10) Business Days after Buyer refunds or remits such amount to Medicare or
 Medicaid, as applicable. Buyer shall have the unilateral right to make a claim under the Escrow Account
 with respect to any of Seller’s obligations for refunds or repayments.

                   (f)    Notwithstanding anything in Section 7.5 of this Agreement, Buyer shall have the
 unilateral right to make a claim under the Escrow Account with respect to any of Seller’s obligations for
 refunds or repayments.

         7.6     7.6     Waiver Program Payments. Buyer and Seller shall prorate any payments
 received by the Hospital or the Business after the Effective Time under the Mississippi Medicaid Section
 115 Waiver or Medicaid supplemental payment programs as follows:

                 (a)    Any such amounts that correspond to Federal Fiscal Years prior to the Federal
 Fiscal Year during which the Effective Time occurs will be paid to Seller;

                 (b)    Any such amounts that correspond to Federal Fiscal Years after the Federal
 Fiscal Year during which the Effective Time occurs will be paid to Buyer; and

                 (c)     Any such amounts that correspond to the Federal Fiscal Year during which the
 Effective Time occurs will be allocated between Buyer and Seller on a pro rata basis (based upon the
 number of days during such year that Seller operates the Hospital and the number of days during such
 year that Buyer operates the Hospital).

          7.7      License to Use Billing Information. Effective as of the Effective Time and to the
 extent allowed by applicable Laws, Seller grants Buyer and its Affiliates a license to use Seller’s billing
 identification information (which information shall include Seller’s name, Medicare and related
 Medicaid and TriCare provider numbers, federal employer identification numbers, and such other
 information as may be reasonably necessary) for purposes of submitting claims to Medicare, Medicaid
 and TriCare for services provided at the Hospital by Buyer or its Affiliates after the Effective Time.
 Each such license shall be effective (a) for purposes of Medicare, until CMS and the applicable CMS
 Medicare Administrative Contractor approve Buyer’s or its Affiliate’s Medicare change of ownership
 application and issue a tie-in notice and approval letter acknowledging that Buyer (or its Affiliate) may
 be reimbursed for claims submitted using Buyer’s (or such Affiliate’s) billing identification information;
 and (b) for purposes of Medicaid and any other Government Programs, until the applicable Medicaid
 program(s) or program agent(s) approves Buyer’s (or its Affiliate’s) provider enrollment application
 and/or approves assignment of the applicable provider contract and issues the appropriate notice
 acknowledging that Buyer (or its Affiliate) may be reimbursed by the applicable Medicaid or other
 Government Program for claims submitted using Buyer’s (or its Affiliate’s) identification information.
 So long as such license remains in effect, Buyer (or its Affiliate) shall not act to: (i) terminate any of
 Seller’s billing identification information except as required by applicable Laws; (ii) close any accounts
 used by Seller prior to the Effective Time for purposes of receiving reimbursement; or (iii) cancel any

 1471496v74822-2526-1169.2                           71
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 170 of 192
 electronic funds transfer agreements with respect to Medicare, TriCare, Medicaid, any other Government
 Program. All accounts receivable and monies collected in the name of Buyer and/or its Affiliates or the
 Hospital for services provided by Buyer (and/or its Affiliates) after the Effective Time shall belong to
 Buyer (and/or its Affiliates).

          7.8     Transition Patients. To compensate Seller for services rendered and medicine, drugs
 and supplies provided up to the Effective Time with respect to patients who are admitted to the Hospital
 prior to the Effective Time but who are not discharged until after the Effective Time (such patients being
 referred to herein as the “Transition Patients” and services rendered to them being referred to herein as
 the “Transition Patient Services”), the Parties shall take the following actions:

                  (a)     (a)    As soon as practicable after the Closing Date, Seller shall deliver to
 Buyer a statement itemizing the Transition Patient Services provided by Seller to the Transition Patients
 whose medical care is paid for, in whole or in part, by Medicare, Medicaid, TRICARE, Blue Cross or
 any other third party payor who pays on a diagnostic related group (“DRG”), case rate or other similar
 basis (the “DRG Transition Patients”). Buyer shall pay to Seller an amount equal to (i) the total DRG
 (including disproportionate share, uncompensated care, low volume adjustment, indirect medical
 education and graduate medical education) and outlier payments (including capital and any deposits,
 deductibles or co-payments received by Buyer Entity or Seller) per the remittance advice received by
 Buyer on behalf of a DRG Transition Patient, multiplied by a fraction, the numerator of which shall be
 the number of days such DRG Transition Patient was confined in a Facility through and including the
 day immediately preceding the date on which the Effective Time occurs, and the denominator of which
 shall be the total number of days such DRG Transition Patient was confined in a Facility, minus (ii) any
 deposits, deductibles or co-payments made or payable by such DRG Transition Patients to Seller; and

                 (b)     As of the Effective Time, cut-off billings (“Interim Billings”) for all Transition
 Patients not covered by Section 7.8(a) shall be prepared by Seller and sent by Seller following the
 discharge of the patient from the Hospital. Any payments received by either Buyer or Seller for such
 Interim Billings are the property of Seller and shall be paid to Seller, when and as received by Buyer,
 within ten (10) Business Days of receipt.

          7.9    7.9      Change of Restricted Names. No later than three (3) Business Days after the
 Closing Date, Seller shall file with the applicable Governmental Authority all applications or
 amendments to abandon or change each of the Restricted Names that were delivered at Closing pursuant
 to Section 3.2(i). Additionally, Seller shall take such actions and execute such documents as may be
 necessary for Buyer to make appropriate assumed name filings in order to evidence and protect Buyer’s
 right to use the Restricted Names in connection with the operation of the Business after the Effective
 Time, and Seller shall take all necessary action to eliminate the Restricted Names from, or paint over or
 otherwise permanently obscure the Restricted Names on, any signage or other materials (including any
 publicly distributable documents and other materials bearing such Restricted Names) owned or
 controlled by Seller following the Effective Time.

         7.10    Rights to Certain Funds Payable after the Effective Time.

                   (a) Buyer shall be entitled to any Mississippi Disproportionate Share Payments
 (“MDSP”) paid with respect to the Hospital to the extent related to operations prior to the Effective
 Time. Buyer shall be entitled to any MDSP paid with respect to the Hospital to the extent related to
 operations after the Effective Time. SellerBuyer shall have sole responsibility for any MDSP repayments
 to the extent relating to periods prior to the Effective Time and Buyer shall have the right to make a claim
 against the escrow for any such repayment. Buyer shall have sole responsibility for any MDSP
 repayments to the extent relating to periods after the Effective Time. The Parties shall have the right to

 1471496v74822-2526-1169.2                            72
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 171 of 192
 pursue MDSP and appeal any decisions regarding such MDSP relative to the Hospital with respect to any
 periods to which such Party is entitled to the MDSP payments and responsible for any MDSP
 repayments.

                  (b) Buyer shall be entitled to any Low Volume Payments (“LVP”) paid with respect to
 the Hospital to the extent related to operations prior to the Effective Time. Buyer shall be entitled to any
 LVP paid with respect to the Hospital to the extent related to operations after the Effective Time.
 SellerBuyer shall have sole responsibility for any LVP repayments to the extent relating to periods prior
 to the Effective Time and Buyer shall have the right to make a claim against the escrow for any such
 repayment. Buyer shall have sole responsibility for any LVP repayments to the extent relating to periods
 after the Effective Time. The Parties shall have the right to pursue LVP and appeal any decisions
 regarding such LVP relative to the Hospital with respect to any periods to which such Party is entitled to
 the LVP payments and responsible for any LVP repayments.

                  (c) Buyer shall be entitled to any Meaningful Use funds (“MU”) paid with respect to the
 Hospital to the extent related to operations prior to the Effective Time. Buyer shall be entitled to any
 MU paid with respect to the Hospital to the extent related to operations after the Effective Time.
 SellerBuyer shall have sole responsibility for any MU repayments to the extent relating to periods prior
 to the Effective Time. Buyer shall have sole responsibility for any MU repayments to the extent relating
 to periods after the Effective Time. The Parties shall have the right to pursue MU and appeal any
 decisions regarding such MU relative to the Hospital with respect to any periods to which such Party is
 entitled to the MU payments and responsible for any MU repayments.

                 (d) Any amounts which may become payable from Seller to Buyer pursuant to this
 Agreement shall constitute a super priority administrative expense of Seller under Section 364(c)(1) of
 the Bankruptcy Code with priority over any and all administrative expenses of the kind specified in
 Sections 503(b) or 507(b) of the Bankruptcy Code.

         7.12    Curae Action. Curae shall execute, acknowledge and deliver all such further
 conveyances, notices, assumptions, releases and acquittances and such other instruments, and shall take
 such further actions, as may be reasonably necessary or appropriate to assure fully to Buyer and its
 respective successors or assigns the full and complete performance and observance by Seller of its
 obligations under this Agreement and the other Transaction Documents, and to otherwise make effective
 the Contemplated Transactions.

 8.      8.      CONDITIONS PRECEDENT TO OBLIGATIONS OF BUYER.

         The obligations of Buyer to consummate the Contemplated Transactions and to perform its
 obligations in connection with the Closing are subject to the satisfaction, at or prior to the Closing, of
 each of the following conditions unless waived in writing by Buyer:

         8.1      8.1     Representations and Warranties. Each of the representations and warranties
 of Seller contained in this Agreement and the other Transaction Documents (a) that is not qualified by
 materiality or similar phrases and is not a Seller Fundamental Representation shall be true and correct in
 all material respects on and as of the date of this Agreement and on and as of the Closing Date (except to
 the extent that such representations and warranties address matters as of particular dates, in which case,
 such representations and warranties shall be true and correct in all material respects on and as of such
 dates) and (b) that is qualified by materiality or similar phrases or that is a Seller Fundamental
 Representation, shall be true and correct in all respects on and as of the date of this Agreement and on
 and as of the Closing Date (except to the extent that such representations and warranties address matters


 1471496v74822-2526-1169.2                            73
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 172 of 192
 as of particular dates, in which case, such representations and warranties shall be true and correct in all
 respects on and as of such dates).

          8.2      Hospital Still Open and Operating Consistently with Past Practice. Buyer shall be
 satisfied in its sole discretion that the Hospital has been operating continuously since this execution of
 this Agreement in accordance with past practice and has not ceased provided any service that was
 provided at the Hospital at the time of execution of this Agreement and has the legal right to continue
 operating as an acute care hospital consistently with past practice.

         8.3      Buyer’s Due Diligence.            Buyer shall be satisfied in its sole discretion with all
 aspects of its due diligence with respect to the Hospital.

          8.4     8.4     Performance; Property Tax Payment. Seller shall have performed and
 complied with all agreements, obligations and covenants contained in this Agreement and the other
 Transaction Documents that are required to be performed or complied with by Seller at or prior to the
 Closing. All delinquent property tax amounts plus penalties and interest shall been have been paid (or
 will be paid at Closing) to the sole satisfaction of the Buyer.

           8.5    8.5     No Material Adverse Effect. There shall have been no Material Adverse
 Effect.

        8.6     8.6      Pre-Closing Confirmations. Buyer shall have obtained documentation or other
 evidence reasonably satisfactory to Buyer that:

                 (a)    That certain management services agreement, as amended, between Curae and
 the Seller, with respect to the Hospital and the Business has been terminated with no remaining
 obligations by the Hospital and/or Business to Curae or Curae’s Affiliates and a cancellation of any
 amount due Curae and/or Curae’s Affiliates under such management services agreements;

                (b)    No Corporate Integrity Agreement from CMS or the OIG shall be imposed on
 the Hospital or the Business which will survive the Closing, as determined by the Buyer in its sole
 discretion;

                  (c)      all Governmental Authorities whose Approval is required for Buyer or Seller to
 consummate the Contemplated Transactions have given (or will give) such Approval effective as of the
 Effective Time, and all Approvals and Permits required by Law to operate the Hospital will be
 transferred to, or reissued in the name of, Buyer effective as of or prior to the Effective Time; and

                  (d)    the Government Programs shall have certified and enrolled Buyer, the Hospital
 and the Practitioners under the auspices of Buyer in the applicable Government Programs effective as of
 the Effective Time, and the Business, the Hospital, and the Practitioners will be entitled to participate in
 and receive reimbursement from the Government Programs effective as of the Effective Time.

          8.7     8.7      Action/Proceeding. No Governmental Authority shall have issued an Order
 restraining or prohibiting the consummation of the Contemplated Transactions. No Person shall have
 commenced or threatened in writing to commence any Proceeding before any Governmental Authority
 that seeks to restrain or prohibit the consummation of the Contemplated Transactions or otherwise seeks
 a remedy which would materially and adversely affect the ability of Buyer to enjoy the full use and
 enjoyment of the Purchased Assets. Neither the Justice Department, the FTC, nor any state Attorney
 General shall have requested, orally or in writing, that the Parties delay or postpone the Closing.


 1471496v74822-2526-1169.2                              74
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                        Desc Main
                                  Document    Page 173 of 192
        8.8      8.8     Title to Real Property. The Real Property shall not have become subject to an
 Encumbrance other than Permitted Encumbrances and the Title Company shall have irrevocably
 committed to issue the Title Policy to Buyer.

         8.9     8.9     Closing Documents. Seller shall have executed and delivered to Buyer all of
 the items required to be delivered by Seller as contemplated by Section 3.2 or otherwise pursuant to any
 term or provision contained in this Agreement or the other Transaction Documents.

         8.10    8.10    Third-Party Consents and Amendments to Contracts. Buyer shall have
 received consents to the assignment of, and/or amendments to, the Assumed Contracts set forth on
 Schedule 2.1(h), each of which shall be in form and substance reasonably acceptable to Buyer.

        8.11     8.11     Estoppel Certificates. Seller shall have delivered to Buyer at least seven (7)
 Business Days prior to the Closing Date executed estoppel certificates in a form reasonably acceptable to
 Buyer for all Third Party Leases.

         8.12     8.12    Landlord Estoppels; Subordination and Non-Disturbance Agreements.
 Seller shall have delivered to Buyer at least seven (7) Business Days prior to the Closing Date executed
 landlord estoppel certificates in a form reasonably acceptable to Buyer and executed subordination and
 non-disturbance agreements from any mortgagees in a form reasonably acceptable to Buyer for all Tenant
 Leases.

         8.13    8.13    Environmental Site Assessments. To the extent requested by Buyer, Buyer
 shall have received Phase I environmental site assessments with respect to the Real Property, and if
 recommended by the environmental engineering firm, and at Buyer’s expense, a Phase II and additional
 reports, prepared by an environmental engineering firm selected by Buyer, and the findings and
 conclusions of any such reports shall be acceptable to Buyer.

          8.14    Confirmation of No Encumbrances. Seller shall have delivered in form and substance
 satisfactory to Buyer, including the payoff letters, UCC termination statements, invoices and other
 documents reasonably requested by Buyer, that the Purchased Assets delivered to Buyer at the Closing
 are free and clear of Encumbrances other than Permitted Encumbrances.

          8.15    Tail Insurance. Seller shall have purchased the Tail Policies described in Section 6.16
 and shall have delivered certificates of insurance evidencing the same at least five (5) Business Days
 prior to the Closing Date.

         8.16    Transition Services Agreement. Buyer and Seller shall have agreed to the schedules
 attached to the Transition Services Agreement; and Buyer and Seller shall have executed a mutually
 agreed upon Transition Services Agreement prior to the hearing date on the Sale Procedures Motion.

         8.17    Seller Bank Accounts. Seller shall have made arrangements such that, after Closing, all
 funds received from third-party payors resulting from the operation of the Hospital are not commingled
 with any other funds, including funds received from the operation of other facilities owned by Seller.

        8.20     8.20    Sale Order. The Bankruptcy Court shall have entered the Sale Order in form
 and substance, including with respect to all findings of fact and conclusions of law, acceptable to Seller
 and Buyer, and the Sale Order shall have become a Final Order.

          8.21    Proof of Payment and Insurance Proceeds. Buyer shall be satisfied in its sole
 discretion that Seller has satisfactorily made payments with respect to the Hospital’s swing beds and has

 1471496v74822-2526-1169.2                           75
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                    Desc Main
                                 Document    Page 174 of 192
 satisfactorily applied the insurance proceeds from the Women’s Building.

 9.      CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLER.

         The obligations of Seller to consummate the Contemplated Transactions and to perform its
 obligations in connection with the Closing are subject to the satisfaction, at or prior to the Closing, of
 each of the following conditions unless waived in writing by Seller:

          9.1     9.1     Representations and Warranties. Each of the representations and warranties
 of Buyer contained in this Agreement and the other Transaction Documents (a) that is not qualified by
 materiality or similar phrases and is not a Buyer Fundamental Representation shall be true and correct in
 all material respects on and as of the date of this Agreement and on and as of the Closing Date (except to
 the extent that such representations and warranties address matters as of particular dates, in which case,
 such representations and warranties shall be true and correct in all material respects on and as of such
 dates) and (b) that is qualified by materiality or similar phrases or that is a Buyer Fundamental
 Representation shall be true and correct in all respects on and as of the date of this Agreement and on and
 as of the Closing Date (except to the extent that such representations and warranties address matters as of
 particular dates, in which case, such representations and warranties shall be true and correct in all
 respects on and as of such dates).

         9.2     9.2     Performance. Buyer shall have performed and complied with all agreements,
 obligations and covenants contained in this Agreement and the other Transaction Documents that are
 required to be performed or complied with by Buyer at or prior to the Closing.

          9.3     9.3      Action/Proceeding. No Governmental Authority shall have issued an Order
 restraining or prohibiting the consummation of the Contemplated Transactions. No Person shall have
 commenced or threatened in writing to commence any Proceeding before any Governmental Authority
 that seeks to restrain or prohibit the consummation of the Contemplated Transactions. Neither the Justice
 Department, the FTC, nor any state Attorney General shall have requested, orally or in writing, that the
 Parties delay or postpone the Closing.

         9.4     9.4     Closing Documents. Buyer shall have executed and delivered to Seller all of
 the items required to be delivered by Buyer as contemplated by Section 3.3 or otherwise pursuant to any
 term or provision contained in this Agreement or the other Transaction Documents.

        9.5      Cure Amounts. Any and all Cure Amounts, as provided in Section 2.3(b), herein shall
 have been paid by Buyer.

 10.     10.     INDEMNIFICATION.

         10.1    Indemnification by Seller.

                  (a)      Seller shall indemnify, defend and hold harmless Buyer, its Affiliates, and its
 and their respective Representatives, managers, shareholders, members, principals, successors, heirs and
 assigns (collectively, the “Buyer Indemnified Parties”) from and against, and pay on behalf of or
 reimburse each of them for, any and all Losses that any such Buyer Indemnified Party incurs or becomes
 subject to as a result of, arising out of, relating to or in connection with: (i) any breach of, or inaccuracy
 in, any of the representations or warranties made by Seller in this Agreement or in any other Transaction
 Document; (ii) any breach, noncompliance or nonfulfillment of any covenants or other agreements made
 by Seller in this Agreement or in any other Transaction Document; (iii) any of the Excluded Liabilities;
 and (iv) any fraud, intentional misrepresentation or willful or criminal misconduct of Seller, any Seller

 1471496v74822-2526-1169.2                             76
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 175 of 192
 Affiliate or any Representatives, members, managers, principals, or shareholders of Seller or any Seller
 Affiliate.

                 (b)    Seller shall have no obligation to indemnify the Buyer Indemnified Parties
 pursuant to Section 10.1(a)(i) for any Losses unless and until the aggregate amount of all such Losses
 incurred or suffered by the Buyer Indemnified Parties exceeds $200,000.00 (the “Deductible”), upon
 which event the Buyer Indemnified Parties shall be entitled to indemnification under Section 10.1(a)(i)
 only for the amount of Losses in excess of the Deductible. For the avoidance of doubt, claims for
 indemnification pursuant to Sections 10.1(a)(ii)-(iv) shall not be subject to the Deductible. Once Buyer
 has incurred the aggregate deductible of $200,000, any additional indemnification claims for Losses
 resulting from Excluded Liabilities shall be subject to Seller indemnification on a dollar-for-dollar basis.

                  (c)     Seller’s aggregate Liability in respect of claimsany and all claims of Buyer
 arising under this Agreement, including without limitation for indemnification pursuant to Section
 10.1(a) shall not exceed the Escrow Amount.

          10.2    Indemnification by Buyer. Buyer shall indemnify, defend and hold harmless Seller, the
 Seller Affiliates, and its and their respective Representatives, managers, shareholders, members,
 principals, successors, heirs, and assigns (collectively, the “Seller Indemnified Parties”) from and
 against, and pay on behalf of or reimburse each of them for, any and all Losses that any such Seller
 Indemnified Party incurs or becomes subject to as a result of, arising out of, relating to or in connection
 with: (i) any breach of, or inaccuracy in, any of the representations or warranties made by Buyer in this
 Agreement or in any other Transaction Document; (ii) any breach, noncompliance, or non-fulfillment of
 any covenants or other agreements made by Buyer in this Agreement or in any other Transaction
 Document; (iii) any of the Assumed Liabilities; and (iv) any fraud, intentional misrepresentation or
 willful or criminal misconduct of Buyer or any Representatives of Buyer.

                 (a)      Buyer shall have no obligation to indemnify the Seller Indemnified Parties
 pursuant to Section 10.2 for any Losses unless and until the aggregate amount of all such Losses incurred
 or suffered by the Seller Indemnified Parties exceeds $100,000.00 (the “Deductible”), upon which event
 the Buyer Indemnified Parties shall be entitled to indemnification under Section 10.1(a)(i) only for the
 amount of Losses in excess of the Deductible. For the avoidance of doubt, claims for indemnification
 pursuant to Sections 10.1(a)(ii)-(iv) shall not be subject to the Deductible. Once Buyer has incurred the
 aggregate deductible of $100,000, any additional indemnification claims for Losses resulting from
 Excluded Liabilities shall be subject to Seller indemnification on a dollar-for-dollar basis.

                 (b)      Buyer’s ’s aggregate Liability in respect of claims for indemnification pursuant
 to Section 10.1(a) shall not exceed the Escrow Amount.

         10.3    10.3    Notice and Defense of Third-Party Claims.

                  (a)      If an Indemnified Party seeks indemnification under this Article 10 with respect
 to any Proceeding or other claim brought against it by a third party (a “Third-Party Claim”), such
 Indemnified Party shall promptly give written notice to the Indemnifying Party after receiving written
 notice of such Third-Party Claim; provided, however, that any failure to so notify or any delay in
 notifying the Indemnifying Party shall not relieve the Indemnifying Party of its obligations hereunder,
 except to the extent that the Indemnifying Party is materially prejudiced by such failure or delay. With
 respect to any Third-Party Claim that, if adversely determined, would entitle the Indemnified Party to
 indemnification pursuant to this Article 10, the Indemnifying Party shall be entitled, at its sole cost and
 expense, (i) to participate in the defense of such Third-Party Claim giving rise to the Indemnified Party’s
 claim for indemnification or (ii) at its option (subject to the limitations set forth below), to assume

 1471496v74822-2526-1169.2                            77
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 176 of 192
 control of such defense and appoint lead counsel reasonably acceptable to the Indemnified Party;
 provided, however, that as a condition precedent to the Indemnifying Party’s right to assume control of
 such defense, it must first: (A) notify the Indemnified Party in writing within fifteen (15) days after the
 Indemnified Party has given notice of the Third-Party Claim that the Indemnifying Party will indemnify
 the Indemnified Party from and against the entirety of any Losses the Indemnified Party may suffer
 resulting from, arising out of, relating to, in the nature of, or caused by the Third-Party Claim in
 accordance with the terms of this Agreement (including the limitations set forth in Sections 10.1 and
 10.2) and (B) furnish the Indemnified Party with evidence reasonably satisfactory to the Indemnified
 Party that the Indemnifying Party has sufficient resources to defend such Third-Party Claim and to satisfy
 its obligations to the Indemnified Party under this Article 10 in respect of such Third-Party Claim.
 Notwithstanding the foregoing, the Indemnifying Party shall not have the right to assume or continue
 control of the defense of any Third-Party Claim if such Third-Party Claim (I) seeks non-monetary relief,
 (II) involves criminal or quasi-criminal allegations or regulatory matters, (III) involves a claim that, if
 adversely determined, would be reasonably expected, in the good faith judgment of the Indemnified
 Party, to establish a precedent, custom or practice materially adverse to the continuing business interests
 or prospects of the Indemnified Party or the Business, (IV) involves a claim that, in the good faith
 judgment of the Indemnified Party, the Indemnifying Party has failed or is failing to vigorously prosecute
 or defend, or (V) results in, or could reasonably be expected to result in, under applicable standards of
 professional conduct, a conflict of interest between the Indemnifying Party and the Indemnified Party in
 respect of such Third-Party Claim (each of the foregoing, an “Exception Claim”).

                 (b)     In the event that (i) the Indemnifying Party does not or fails to elect to assume
 control of the defense of any Third-Party Claim in the manner set forth in Section 10.3(a) or (ii) such
 Third-Party Claim is, or at any time becomes, an Exception Claim, the Indemnified Party may defend
 against, and may consent to the entry of any judgment or enter into any settlement with respect to, such
 Third-Party Claim in any manner it may deem appropriate, and the fees and disbursements of the
 Indemnified Party’s counsel shall be at the expense of the Indemnifying Party.

                (c)      If the Indemnifying Party is controlling the defense of any Third-Party Claim in
 accordance with Section 10.3(a), the Indemnified Party shall have the right to participate in the defense
 of such Third-Party Claim with counsel selected by it, subject to the Indemnifying Party’s right to control
 the defense thereof, and the fees and disbursements of such counsel shall be at the expense of the
 Indemnified Party.

                  (d)     Irrespective of which Party controls the defense of any Third-Party Claim, the
 other Parties will, and will cause their respective Affiliates to, reasonably cooperate with the controlling
 Party in such defense and make available to the controlling Party all witnesses, pertinent records,
 materials and information in such non-controlling Parties’ possession or under its control relating thereto
 as is reasonably required by the controlling Party. The Parties agree that all communications between
 any Party and counsel responsible for or participating in the defense of any Third-Party Claim shall, to
 the extent possible, be made so as to preserve any applicable attorney-client or work-product privilege.

         10.4    10.4    Notice of Non-Third-Party Claims. If an Indemnified Party seeks
 indemnification under this Article 10 with respect to any matter which does not involve a Third-Party
 Claim, the Indemnified Party shall, promptly after becoming aware of the circumstance giving rise to the
 claim, give written notice to the Indemnifying Party of such claim for indemnification; provided,
 however, that any failure to so notify or any delay in notifying the Indemnifying Party shall not relieve
 the Indemnifying Party of its obligations hereunder. If the Indemnifying Party does not notify the
 Indemnified Party in writing within thirty (30) days from its receipt of the indemnity notice that the
 Indemnifying Party disputes such claim, the Indemnifying Party shall be deemed to have agreed to
 indemnify the Indemnified Party from and against the entirety of any Losses described in the indemnity

 1471496v74822-2526-1169.2                            78
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 177 of 192
 notice. If the Indemnifying Party has delivered a written notice to the Indemnified Party within such
 thirty (30) day period disputing such claim, the Indemnifying Party and the Indemnified Party shall
 proceed in good faith to negotiate a resolution to such dispute. If the Indemnifying Party and the
 Indemnified Party cannot resolve such dispute within thirty (30) days after delivery of such written
 notice, such dispute shall be resolved in accordance with Section 13.4.

          10.5     10.5   Manner of Payment. Any indemnification payment pursuant to this Article 10
 shall be effected by wire transfer of immediately available funds to an account designated by Seller or
 Buyer, as the case may be, within five (5) Business Days after the determination of the amount thereof,
 whether pursuant to a final judgment, settlement or agreement between the Parties; provided, that, to the
 extent that all or any portion of any indemnification payment to be made to any Buyer Indemnified Party
 is to be satisfied through funds that remain available in the Escrow Account, Seller and Buyer shall,
 within five (5) Business Days after the determination of the amount thereof, deliver a joint written
 instruction to the Escrow Agent instructing the Escrow Agent to release the appropriate portion of the
 funds in the Escrow Account to an account designated by Buyer.

         10.6    10.6    Determination of Loss Amount.

                  (a)     The amount of any Losses subject to indemnification pursuant to this Article 10
 shall be reduced or reimbursed, as the case may be, by any amount actually received by any Buyer
 Indemnified Party or any Seller Indemnified Party, as applicable, with respect thereto under any
 insurance coverage provided by any non-Affiliate third party or from any other party alleged to be
 responsible therefor (net of any deductible or co-payment, the Buyer Indemnified Parties’ or Seller
 Indemnified Parties’, as applicable, good faith estimate of any increase in insurance premiums
 attributable to such recovery and all out of pocket costs related to such recovery). The Buyer
 Indemnified Parties and the Seller Indemnified Parties, as applicable, shall use commercially reasonable
 efforts to collect any amounts available under such insurance coverage or from such other party alleged
 to have responsibility therefor; provided, that in no event shall the Buyer Indemnified Parties or the
 Seller Indemnified Parties have any obligation to file or commence any Proceeding to collect any such
 amounts. If a Buyer Indemnified Party or Seller Indemnified Party, as applicable, receives and is entitled
 to retain an amount under insurance coverage or from such other party with respect to Losses at any time
 subsequent to any indemnification provided by Seller pursuant to Section 10.1 or by Buyer pursuant to
 Section 10.2, then such Buyer Indemnified Party or Seller Indemnified Party, as applicable, shall
 promptly reimburse Seller or Buyer, as applicable, for any payment made by such Person in connection
 with providing such indemnification up to the amount received (net of any deductible or co-payment, and
 all out of pocket costs related to such recovery) by the Buyer Indemnified Party or Seller Indemnified
 Party, as applicable; provided, that in no event shall any Buyer Indemnified Party or Seller Indemnified
 Party, as applicable, have any obligation hereunder to remit to Buyer or Seller, as applicable, any portion
 of such insurance or other recoveries in excess of the indemnification payment or payments actually
 received from Buyer or Seller, as applicable, with respect to such Losses.

                 (b)     To the extent that Seller has an indemnification obligation pursuant to this
 Article 10, any of the Buyer Indemnified Parties may set off the amount of such indemnification against
 any amounts then due and unpaid to Seller by any of the Buyer Indemnified Parties pursuant to this
 Agreement or any other Transaction Document.

                 (c)      For purposes of calculating the amount of Losses resulting therefrom to which a
 Buyer Indemnified Party or Seller Indemnified Party is entitled under this Article 10, the terms
 “material,” “materiality,” and similar qualifiers, modifiers, or limitations shall be disregarded.

                 (d)     The right to indemnification of any Party pursuant to this Article 10, or the

 1471496v74822-2526-1169.2                           79
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 178 of 192
 availability of any other remedies contemplated hereby or otherwise available to the such Party at law or
 in equity, based upon any representation, warranty, covenant, agreement or obligation contained in or
 made pursuant to this Agreement or any other Transaction Document will not be affected by any
 investigation made by or on behalf of any such Party or its Affiliates, or the knowledge of any such
 Party’s (or its Affiliates’) Representatives with respect to the accuracy or inaccuracy of, or compliance or
 non-compliance with, any such representation, warranty, covenant, agreement or obligation at any time
 prior to or following the date hereof.

          10.7    10.7    Exclusive Remedy. The Parties agree that, from and after the Closing Date, the
 indemnification provisions set forth in this Article 10 are the exclusive provisions in this Agreement with
 respect to the Liability of Seller or Buyer for the breach, inaccuracy or nonfulfillment of any
 representation or warranty or any pre-Closing covenants, agreements or other pre-Closing obligations
 contained in this Agreement, and the sole remedy of the Buyer Indemnified Parties and the Seller
 Indemnified Parties for any claims for breach of any representation or warranty or pre-Closing covenants,
 agreements or other pre-Closing obligations arising out of this Agreement or any Law or legal theory
 applicable thereto; provided, that nothing herein shall preclude any Party from (a) seeking any remedy
 based upon fraud, intentional misrepresentation or willful or criminal misconduct by any other Party
 (including any fraud, intentional misrepresentation or willful or criminal misconduct committed by any
 officer, director, manager, employee or Representative in connection with the consummation of the
 Contemplated Transactions), (b) enforcing its right to specific performance of post-Closing covenants,
 agreements or other post-Closing obligations, including pursuant to Section 6.14, Section 7.3, Section
 10.10, or equitable remedies or (c) seeking any remedy available to such Party under or in respect of the
 Transition Services Agreement or the Curae Restrictive Covenants Agreement, whether by their
 respective terms, at law or in equity.

          10.8    10.8    Adjustment to Purchase Price. The Parties agree to treat any indemnification
 payment received pursuant to this Agreement for all Tax purposes as an adjustment to the Purchase Price
 to the extent permitted by applicable Laws.

         10.9     10.9    Survival. All representations and warranties contained in or made pursuant to
 this Agreement or any other Transaction Document shall survive the execution and delivery of this
 Agreement or such other Transaction Document and the consummation of the Contemplated
 Transactions until the Survival Expiration Date. Notwithstanding anything herein to the contrary, Seller
 will not be liable with respect to any claim for indemnification pursuant to Section 10.1(a)(i), and Buyer
 will not be liable with respect to any claim for indemnification pursuant to Section 10.2(a)(i) unless
 written notice of such claim is delivered to Seller or Buyer, as the case may be, prior to the applicable
 Survival Expiration Date (if any). For purposes of this Agreement, the term “Survival Expiration Date”
 shall mean the date that is thirty-six (36) months after the Closing Date; provided, that:

                 (a)     with respect to the Seller Fundamental Representations, the Buyer Fundamental
 Representations, and the Seller Significant Representations and those representations set forth in Section
 4.20 (Real Property) and Section 4.26 (Environmental Matters), the Survival Expiration Date shall be the
 day after the expiration of the applicable statute of limitations, including any extensions thereto to the
 extent that such statute of limitations is tolled, or five (5) years if there is no applicable statute of
 limitations.

         For the avoidance of doubt, this Section 10.9 shall not affect any rights to bring claims after the
 Survival Expiration Date based on (A) any covenant or agreement of the Parties which contemplates
 performance after the Closing, (B) the obligations of Seller under Sections 10.1(a)(ii)-(iv), or (C) the
 obligations of Buyer under Sections 10.2(a)(ii)-(iv).


 1471496v74822-2526-1169.2                            80
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 179 of 192
          10.10 10.10 Escrow Release. Subject to the terms and conditions of this Agreement and the
 Escrow Agreement, within ten (10) Business Days following the date which is threeone (31) yearsyear
 after the Closing Date (the “Escrow Release Date”), Seller and Buyer shall deliver a joint written
 instruction to the Escrow Agent instructing the Escrow Agent to release to Seller (a) any funds remaining
 in the Escrow Account as of the Escrow Release Date (if any), minus (b) the aggregate amount of all
 unresolved (or resolved but unpaid) indemnification claims under this Article 10 asserted by the Buyer
 Indemnified Parties in accordance with this Article 10 as of the Escrow Release Date.

 11.     11.     TAX MATTERS.

          11.1     Allocation of Purchase Price. The Parties shall jointly prepare an allocation
 (“Allocation”) of an amount totaling the sum of the (a) Purchase Price, (b) Assumed Liabilities and (c)
 all other capitalized costs under this Agreement among the Purchased Assets, in accordance with Section
 1060 of the Code (and any similar provisions of state or local Law, as appropriate) and any appraisals
 and valuations obtained in connection with the Contemplated Transactions. The parties shall agree upon
 such Allocation no later than two (2) days prior to Closing Date. Buyer and Seller shall report and file
 all Tax Returns (including IRS Form 8594) in all respects and for all purposes consistent with such
 Allocation. Seller shall timely and properly prepare, execute, file and deliver all such documents, forms
 and other information as Buyer may reasonably request to assist in the preparation of such Allocation.
 Neither Buyer nor Seller shall take any position (whether in audits, Tax Returns or otherwise in
 connection with Tax matters) that is inconsistent with such Allocation, unless required to do so by
 applicable Laws.

         11.2    11.2    Tax Returns.

                  (a)     Seller shall prepare and file or cause to be prepared and filed on a timely basis
 all Tax Returns relating to the Purchased Assets and the Business with respect to all taxable periods
 ending prior to the Effective Time. Seller shall be responsible for and shall pay any Taxes arising or
 resulting from or in connection with the ownership of the Purchased Assets and operation of the Business
 for all taxable periods (or portion thereof) ending prior to the Effective Time. Seller shall not consent,
 without the prior written consent of Buyer, to any change in the treatment of any item with respect to the
 Purchased Assets or the Business that would affect the Tax Liability of Buyer after the Effective Time.
 Buyer shall prepare and file or cause to be prepared and filed on a timely basis all Tax Returns relating to
 the Purchased Assets and the Business with respect to all taxable periods ending after the Effective Time.
 Buyer shall be responsible for and shall pay any Taxes arising or resulting from or in connection with the
 ownership of the Purchased Assets and operation of the Business for all taxable periods (or portion
 thereof) ending after the Effective Time.

                  (b)     (b)      Buyer shall prepare and file or cause to be prepared and filed all Tax
 Returns required to be filed with respect to the Purchased Assets and the Business for all taxable periods
 beginning prior to the Effective Time and ending after the Effective Time (a “Straddle Period”). Buyer
 shall notify Seller of Buyer’s calculation of Seller’s share of the Taxes for any such Straddle Periods and
 Seller shall pay to Buyer (in cash or other immediately available funds) the amount of Seller’s share of
 the Tax Liability for the portion of the Straddle Period ending as of the Effective Time, as determined
 pursuant to Section 11.2(c).

                  (c)     In order to apportion appropriately any Taxes relating to a Straddle Period, the
 Parties shall, to the extent required or permitted under applicable Laws, treat the calendar day
 immediately preceding the day in which the Effective Time occurs as the last day of the taxable year or
 period for all Tax purposes. With respect to such prorated Taxes, the portion of any Taxes that are
 allocable to the portion of the Straddle Period ending on the calendar day immediately preceding the day

 1471496v74822-2526-1169.2                            81
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 180 of 192
 in which the Effective Time occurs shall be: (i) in the case of Taxes that are imposed on a periodic basis,
 deemed to be the amount of such Taxes for the entire period multiplied by a fraction the numerator of
 which is the number of calendar days in the Straddle Period ending on (and including) the calendar day
 immediately preceding the day in which the Effective Time occurs and the denominator of which is the
 number of calendar days in the entire relevant Straddle Period; and (ii) in the case of Taxes not described
 in (i) (such as (A) Taxes that are based upon or measured by income or receipts or imposed in connection
 with any sale or other transfer or assignment of property (real or personal, tangible or intangible) and (B)
 payroll and similar Taxes), deemed equal to the amount that would be payable if the taxable year or
 period ended on the calendar day immediately preceding the day in which the Effective Time occurs.

         11.3     Cooperation. Following the Closing, the Parties shall cooperate with each other and
 shall make available to each other, as reasonably requested, all information, records or documents
 relating to Tax Liabilities or potential Tax Liabilities with respect to the Purchased Assets or the
 Business for all periods, and shall preserve all such information, records and documents (to the extent not
 a part of the Purchased Assets or the Business delivered by Seller at the Closing) at least until the
 expiration of any applicable statute of limitations or extensions thereof. Seller further agrees, upon
 request of Buyer, to use its reasonable best efforts to obtain any certificate or other document from any
 Governmental Authority or any other Person as may be necessary to mitigate, reduce or eliminate any
 Taxes that could be imposed on Buyer or the Purchased Assets and the Business (including with respect
 to the Contemplated Transactions).

          11.4     11.4   Tax Proceedings. After the Effective Time, with respect to any Proceeding
 relating to Taxes with respect to the Purchased Assets (collectively, a “Tax Proceeding”) for any taxable
 period ending after the Effective Time, such Tax Proceeding shall be controlled by Buyer. For any Tax
 Proceeding for any Straddle Period, Buyer shall notify Seller of such Tax Proceeding, and Seller may (at
 its sole cost and expense) participate in the defense of such Tax Proceeding that is controlled by Buyer.

          11.5   11.5    Transfer Taxes. All Transfer Taxes incurred in connection with the
 Contemplated Transactions shall be paid by Buyer, and all necessary Tax Returns and other
 documentation with respect to such Transfer Taxes shall be prepared and filed by the Party required to
 file such Tax Returns under applicable Laws.

 12.     12.     TERMINATION.

          12.1    Termination. Without prejudice to other remedies which may be available to the
 Parties, this Agreement may be terminated and the Contemplated Transactions may be abandoned at any
 time prior to the Closing as follows:

                 (a)     By mutual written consent of Buyer and Seller;

                 (b)      By Buyer, if Buyer is not satisfied with its due diligence concerning the Hospital
 or the Business in its sole discretion at any time up to the Due Diligence Deadline for potential bidders
 provided for in the Sale Procedures Order;in Buyer’s sole discretion and for any reason whatsoever, if
 Buyer on or before 5 p.m. Central Time on November 12, 2018, Buyer has delivered to counsel to the
 Debtors and counsel to the Committee written notice of termination of this Agreement (the
 “Termination Notice”);

                 (c)    By Buyer, if Buyer is not satisfied in its sole discretion that the Assumed
 Contracts can be assumed and assigned for less than the Cure Cap;

                 (c)     (d) By either Buyer or Seller upon delivery of written notice to the other if the

 1471496v74822-2526-1169.2                            82
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 181 of 192
 Closing has not occurred on or before 5:00 p.m., Central Time, on December 31, 2018 (the “End Date”);
 provided, that neither Buyer nor Seller will be entitled to terminate this Agreement pursuant to this
 Section 12.1(dc) if such Person’s material breach of, or material failure to fulfill any obligation under,
 this Agreement or any other Transaction Document has been the principal cause of the failure of the
 Closing to occur on or prior to such time on the End Date;

                  (e)      By Buyer upon delivery of written notice to Seller, if there has been a breach of
 any representation, warranty, covenant or agreement made by Seller in this Agreement or in any other
 Transaction Document, which breach (i) would give rise to the failure of a condition set forth in Article 8
 to be satisfied and (ii) (A) cannot be cured by the End Date or (B) if capable of being cured, shall not
 have been cured by the earlier of (1) fifteen (15) calendar days following receipt of written notice from
 Buyer of such breach or (2) the date that is three (3) calendar days prior to the End Date;

                  (f)      By Seller upon delivery of written notice to Buyer, if there has been a breach of
 any representation, warranty, covenant or agreement made by Buyer in this Agreement or in any other
 Transaction Document, which breach (i) would give rise to the failure of a condition set forth in Article 9
 to be satisfied and (ii) (A) cannot be cured prior to the End Date or (B) if capable of being cured, shall
 not have been cured by the earlier of (1) fifteen (15) calendar days following receipt of written notice
 from Seller of such breach or (2) the date that is three (3) calendar days prior to the End Date;

                    (d)     (g) By either Buyer or Seller upon delivery of written notice to the other if any
 Governmental Authority shall have issued or entered any Order, enacted any Law or taken any other
 action which, has not been stayed, which in any such case, (i) permanently restrains, enjoins or otherwise
 prohibits the consummation of all or any of the Contemplated Transactions, or (ii) would prevent the
 Closing from occurring as contemplated by this Agreement on or prior to the applicable time on the End
 Date or (iii) has had or would reasonably be expected to have a Material Adverse Effect; provided, that
 neither Buyer nor Seller will be entitled to terminate this Agreement pursuant to this Section 12.1(fd) if
 the issuance or entry of such Order is principally caused by such Person’s material breach of, or material
 failure to fulfill any obligation under, this Agreement or any other Transaction Document;

                  (e)     (h) By Buyer upon delivery of written notice to Seller if a Material Adverse
 Effect shall have occurred;

                 (i)     By Buyer in accordance with Section 6.6(c) or 6.15;

               (f)     (j) By Seller upon delivery of written notice to Buyer if Seller accepts and the
 Bankruptcy Court approves an Alternative Transaction; or

                 (g)     (k) By Buyer upon delivery of written notice to Seller if:

                         (i)     any secured creditor of Seller obtains relief from the automatic stay or is
 otherwise permitted to foreclose on any of the Purchased Assets;

                         (ii)     the Sale Procedures Order is not entered by September 30, 2018;

                         (iii)    the Sale Order is not entered by November 30, 2018;

                         (iv)    Seller shall not have obtained the assignment of the employment
 agreements of all Physicians pursuant to Section 6.3;

                         (v)      the assignment or reconciliation of any past due amounts owed to any

 1471496v74822-2526-1169.2                            83
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 182 of 192
 vendor or providers of medical services shall not have been obtained to Buyer’s sole satisfaction;

                         (iv)    (vi) Seller seeks to have the Bankruptcy Court enter an Order dismissing,
 or converting into cases under chapter 7 of the Bankruptcy Code, any of the cases commenced by Seller
 under chapter 11 of the Bankruptcy Code and comprising part of the Bankruptcy Case, or appointing a
 trustee in the Bankruptcy Case or appointing a responsible officer or an examiner with enlarged powers
 (other than a fee examiner) relating to the operation of Seller’s businesses pursuant to Section 1104 of
 the Bankruptcy Code, or such an order of dismissal, conversion or appointment is entered for any reason;
 or

                         (v)     (vii) (A) Seller enters into a definitive agreement with respect to an
 Alternative Transaction, (B) the Bankruptcy Court approves an Alternative Transaction or (C) Seller
 accepts an Alternative Transaction as the winning bid at Auction.

                  (h)     Anything in this Agreement to the contrary notwithstanding, if the Termination
 Notice is not timely served in accordance with Section 12.1(b), any and all provisions of this Agreement
 pursuant to which Buyer could otherwise exercise the right not to proceed with the closing of the
 Contemplated Transactions, with the sole exception of Section 6.15, shall be deemed of no force or effect
 whatsoever and Buyer’s right to terminate this Agreement shall be solely pursuant to this Section 12.1.

          12.2    12.2    Effect of Termination. Subject to the provisions of this Section 12.2, the rights
 of termination set forth above are in addition to any other rights a terminating Party may have under this
 Agreement and the other Transaction Documents, and the exercise of a right of termination will not be an
 election of remedies. Notwithstanding the foregoing sentence, in the event of any termination of this
 Agreement by either Buyer or Seller as provided in Section 12.1, this Agreement shall forthwith become
 void, and there shall be no Liability on the part of any Party or any of its or their Affiliates to any other
 Person resulting from, arising out of, relating to, or in connection with this Agreement or any other
 Transaction Document, except that (a) nothing in this Agreement or any other Transaction Document
 will relieve any Party from any material breach of this Agreement or any other Transaction Document
 prior to such termination or for fraud, intentional misrepresentation or willful or criminal misconduct, (b)
 Section 6.14 (Confidentiality), and Article 13 (General) and any pre-termination breaches of such
 provisions shall survive any termination of this Agreement and each Party shall be entitled to all
 remedies available at law or in equity in connection with any past or future breach of any such provision
 and (c) Seller’s obligations to pay Buyer the Break-Up Fee and the Expense Reimbursement if approved
 in the Sale Procedures Order shall survive any termination of this Agreement.

 13.     13.     GENERAL.

          13.1     Notice. Any notice, demand or communication required, permitted, or desired to be
 given hereunder must be in writing and shall be deemed effectively given when personally delivered,
 when received by telegraphic or other electronic means (including facsimile transmission or electronic
 mail), or five (5) days after being deposited in the United States mail, with postage prepaid thereon,
 certified or registered mail, return receipt requested, addressed as follows:

                   If to Seller:                           Amory Regional Medical Center, Inc.
                                                           1721 Midpark Road, Suite B200
                                                           Knoxville, TN 37921
                                                           Attention: Steve Clapp




 1471496v74822-2526-1169.2                            84
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                  Document    Page 183 of 192
                   With simultaneous copy (which            Polsinelli PC
                    shall not constitute notice) to:        1201 West Peachtree Street, NE
                                                            Suite 1100
                                                            Atlanta, GA 30309
                                                            Attention: David E. Gordon, Esq.
                                                            dgordon@polsinelli.comdgordon@polsinelli.com


                   If to Buyer:                             North Mississippi Health Services, Inc.
                                                            830 South Gloster Street
                                                            Tupelo, MS 38801
                                                            Attention: Shane Spees

                   With simultaneous copy (which            North Mississippi Health Services, Inc.
                   shall not constitute notice) to:         830 South Gloster Street
                                                            Tupelo, MS 38801
                                                            Attention: Bruce Toppin, Esq.

                                                            Waller Lansden Dortch & Davis,Burr & Forman
                                                            LLP
                                                            1901 Sixth222 Second Avenue NorthSouth, Suite
                                                            14002000
                                                            Birmingham, AL 35203Nashville, Tennessee
                                                            37201
                                                            Attention: Colin H. LukeDavid W. Houston IV,
                                                            Esq.
                                                            Facsimile: (615) 244-6804724-3315
                                                            Email:
                                                            colin.luke@wallerlaw.comdhouston@burr.com

 or to such other address, and to the attention of such other Person or officer as any Party may designate.

         13.2    13.2    Legal Fees and Costs of Disputes. In the event a Party incurs legal expenses to
 enforce or interpret any provision of this Agreement by mediation, arbitration or judicial means, the
 prevailing Party will be entitled to recover such legal expenses, including attorney’s fees, costs and
 necessary disbursements, in addition to any other relief to which such Party shall be entitled.

         13.3     13.3    Choice of Law. Except to the extent the mandatory provisions of the
 Bankruptcy Code apply, the Parties agree that this Agreement shall be governed by and construed in
 accordance with the applicable Laws of the State of Mississippi without giving effect to any choice or
 conflicts of law provision or rule thereof that would result in the application of the applicable Laws of
 any other jurisdiction other than the applicable Laws of the United States of America, where applicable.

          13.4    13.4     Arbitration. The Parties agree that the Bankruptcy Court shall have exclusive
 jurisdiction over all disagreements, disputes or claims arising out of or relating to this Agreement or the
 Contemplated Transactions that cannot be settled by the relevant Parties, including any claims for
 injunctive relief. If the Bankruptcy Case has closed or if the Bankruptcy Court otherwise declines to
 exercise jurisdiction, the Parties agree that all disagreements, disputes or claims arising out of or relating
 to this Agreement or the Contemplated Transactions that cannot be settled by the relevant Parties,
 including any claims for injunctive relief, shall be settled by arbitration in accordance with the provisions
 set forth below.

 1471496v74822-2526-1169.2                             85
 65363741.1
 65459867.3
Case 3:18-bk-05665          Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                  Document    Page 184 of 192
                 (a)      Forum. The forum for arbitration shall be Nashville, Tennessee.

                 (b)      Law. The governing Law shall be the Law of the State of Mississippi.

                 (c)     Administration. The arbitration shall be administered by the American
 Arbitration Association (“AAA”).

                  (d)     Selection; Notice. In the case of one or more claims or disputes under this
 Agreement for which the amount in controversy, whether for an individual claim or dispute or in the
 aggregate as to multiple claims or disputes, is less than $500,000.00, the Parties agree to submit such
 claims or disputes to a single arbitrator, to be chosen in the manner prescribed below. In the event the
 amount in controversy, whether for an individual claim or dispute or in the aggregate as to multiple
 claims or disputes between the Parties, is $500,000.00 or more, or, in the event the Parties do not agree as
 to whether such amount in controversy is $500,000.00 or more, the Parties agree to submit such claims or
 disputes to a board of arbitrators consisting of three arbitrators, as set forth below (the term
 “Arbitrators” shall refer to the board of arbitrators or the single arbitrator, as applicable). For the
 avoidance of doubt, in determining the aggregate amount in controversy for purposes of the two
 preceding sentences, in the event that there are multiple claims or disputes such claims or disputes need
 not be related, including as to the same subject matter, the same provisions of this Agreement or the same
 set of facts.

                          (i)     If any Person determines to submit a dispute for arbitration pursuant to
 this Section 13.4, such Person shall furnish the other Parties to the dispute with a dated, written statement
 (the “Arbitration Notice”) indicating (A) such Person’s intent to commence arbitration Proceedings, (B)
 the nature, with reasonable detail, of the dispute and (C) the remedy or remedies such Person will seek.

                           (ii)    Where the Parties use a single arbitrator, within twenty (20) days of the
 Arbitration Notice, the Parties shall select a single arbitrator from a list of members of the AAA’s
 National Panel of Commercial Arbitrators. Such arbitrator must be “neutral” and must have at least ten
 (10) years’ experience in merger and acquisition transactions. If the Parties do not reach agreement on
 the selection of a single arbitrator within the twenty (20) day period, the AAA shall have the right to
 make such selection upon the request of any Party to the arbitration Proceedings. Where the Parties use a
 board of arbitrators, within twenty (20) days of the date of the Arbitration Notice, the Person
 commencing the arbitration (collectively, the “Petitioner”) and the Party with whom the Petitioner has
 its dispute (collectively, the “Respondent”) shall each select one neutral arbitrator (and provide written
 notice of such selection to the Respondent and Petitioner). If either the Petitioner or Respondent fails to
 select a neutral arbitrator or provide such notice within the twenty (20) day period, the AAA shall have
 the right to make such selection upon the request of any Party to the arbitration Proceedings. (Such
 qualifying arbitrators hereafter may be referred to, respectively, as the “First Arbitrator” and the
 “Second Arbitrator”). Within ten (10) days following their selection, the First and Second Arbitrator
 shall select (and provide written notice to the Respondent and the Petitioner of such selection) a third
 arbitrator (the “Third Arbitrator”) from a list of members of the AAA’s National Panel of Commercial
 Arbitrators. The Third Arbitrator must be “neutral” and must have at least ten (10) years’ experience in
 merger and acquisition transactions. For purposes of this Section 13.4, a “neutral” arbitrator shall be a
 Person who would not be subject to disqualification under rule No. 18 of the AAA Rules.

                 (e)      Rules. The rules of arbitration shall be the Commercial Arbitration Rules of the
 AAA, as modified by any other instructions that the Parties may agree upon at the time, except that each
 Party shall have the right to conduct discovery in any manner and to the extent authorized by the Federal
 Rules of Civil Procedure as interpreted by the United States District Court for the Middle District of
 Tennessee. The Arbitrators shall not modify the terms of this Agreement.

 1471496v74822-2526-1169.2                            86
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                       Desc Main
                                 Document    Page 185 of 192
                  (f)      Award. The award rendered by arbitration shall be Final and Binding upon the
 Parties, and judgment upon the award may be entered in any court of competent jurisdiction of the
 United States. The Arbitrators shall have authority to award legal fees and associated costs to the Party
 that substantially prevails in any arbitration Proceeding.

         13.5     13.5   Benefit; Assignment; Delegation. Subject to provisions herein to the contrary,
 this Agreement shall inure to the benefit of and be binding upon the Parties and their respective legal
 representatives, successors and permitted assigns and delegates. No Party may assign any of its rights
 hereunder or delegate any of its duties hereunder without the prior written consent of the other Parties;
 provided, however, that Buyer, without the prior consent of Seller, may assign any of its rights hereunder
 or delegate any of its duties hereunder to Buyer’s Affiliates, or, for collateral security purposes, to
 Persons providing financing to Buyer or its Affiliates, but in such event, Buyer shall be required to
 remain obligated hereunder in the same manner as if such assignment or delegation had not been
 effected.

      13.6   13.6 Waiver of Jury Trial. EACH OF THE PARTIES HEREBY IRREVOCABLY
 WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING
 OUT OF OR RELATED TO THIS AGREEMENT OR THE CONTEMPLATED TRANSACTIONS.

         13.7     13.7   Legal Advice and Reliance. Except as expressly provided in this Agreement,
 none of the Parties (nor any of the Parties’ respective Representatives) has made or is making any
 representations to any other Party (or to any other Party’s Representatives) concerning the consequences
 of the Contemplated Transactions under applicable Laws, including Tax-related Laws or under the Laws
 governing the Government Programs. Except for the representations and warranties made in this
 Agreement, each Party has relied solely upon the Tax, Government Program and other advice of its own
 Representatives engaged by such Party and not on any such advice provided by any other Party.

          13.8   13.8     Reproduction of Documents. This Agreement and the other Transaction
 Documents, including (a) consents, waivers and modifications which may hereafter be executed, (b) the
 documents delivered at the Closing, and (c) financial statements, certificates and other information
 previously or hereafter furnished to Seller or to Buyer, may, subject to the provisions of Section 6.14 and
 Section 7.3(a), be reproduced by Seller and by Buyer by any photographic, photostatic, microfilm,
 micro-card, miniature photographic or other similar process, and Seller and Buyer may destroy any
 original documents so reproduced. Seller and Buyer agree and stipulate that any such reproduction shall
 be admissible in evidence as the original itself in any judicial, arbitral or administrative Proceeding
 (whether or not the original is in existence and whether or not such reproduction was made by Seller or
 Buyer in the regular course of business) and that any enlargement, facsimile or further reproduction of
 such reproduction shall likewise be admissible in evidence.

         13.9    13.9    Cost of Transaction. Except as otherwise provided herein, the Parties agree as
 follows:

                  (a)    whether or not the Contemplated Transactions shall be consummated, Seller will
 pay (i) the fees, expenses and disbursements of Seller and its respective Representatives incurred in
 connection with the subject matter hereof and any amendments hereto; and (ii) Buyer shall pay recording
 fees and similar Closing costs relating to the transfer of the Real Property; and

                   (b)    whether or not the Contemplated Transactions shall be consummated, Buyer will
 pay (i) the fees, expenses and disbursements of Buyer and its Representatives incurred in connection with
 the subject matter hereof and any amendments hereto; (ii) any and all costs related to any due diligence
 investigations conducted by Buyer; ;and (iii) the fees and expenses associated with any documentary

 1471496v74822-2526-1169.2                           87
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 186 of 192
 stamps, Transfer Taxes, and similar Closing costs relating to the transfer of the Real Property, the
 Commitments and the Title Policy;.

         13.10 13.10 Waiver of Breach. The waiver by any Party of a breach or violation of any
 provision of this Agreement shall not operate as, or be construed to constitute, a waiver of any
 subsequent breach of the same or other provision hereof.

         13.11 13.11 Severability. If any provision of this Agreement is held to be illegal, invalid or
 unenforceable under any present or future Law, and if the rights or obligations of Buyer, Curae, or Seller
 under this Agreement will not be materially and adversely affected thereby, (a) such provision will be
 fully severable, (b) this Agreement will be construed and enforced as if such illegal, invalid or
 unenforceable provision had never comprised a part hereof, (c) the remaining provisions of this
 Agreement will remain in full force and effect and will not be affected by the illegal, invalid or
 unenforceable provision or by its severance herefrom, and (d) in lieu of such illegal, invalid or
 unenforceable provision, there will be added automatically as a part of this Agreement a legal, valid and
 enforceable provision as similar in terms to such illegal, invalid or unenforceable provision as may be
 possible.

          13.12 13.12 No Inferences; Sophisticated Parties. Each Party acknowledges and agrees to
 the following: (a) all of the Parties are sophisticated and represented by experienced healthcare and
 transactional counsel in the negotiation and preparation of this Agreement; (b) this Agreement is the
 result of lengthy and extensive negotiations between the Parties and an equal amount of drafting by all
 Parties; (c) this Agreement embodies the justifiable expectations of sophisticated parties derived from
 arm’s-length negotiations; and (d) no inference in favor of, or against, any Party shall be drawn from the
 fact that any portion of this Agreement has been drafted by or on behalf of such Party.

         13.13 13.13 Divisions and Headings of this Agreement. The divisions of this Agreement
 into sections and subsections and the use of captions and headings in connection therewith are solely for
 convenience and shall have no legal effect in construing the provisions of this Agreement.

         13.14 13.14 No Third-Party Beneficiaries. The terms and provisions of this Agreement are
 intended solely for the benefit of Buyer, Curae, Seller, the Seller Indemnified Parties with respect to
 Article 10, the Buyer Indemnified Parties with respect to Article 10, and such parties’ respective
 permitted successors, assigns, or delegates, and it is not the intention of the Parties to confer, and, this
 Agreement shall not confer, third-party beneficiary rights upon any other Person.

          13.15 13.15 Entire Agreement; Amendment. This Agreement, together with the other
 Transaction Documents and the Confidentiality Agreement, represent the entire agreement between the
 Parties with respect to the subject matter of this Agreement and supersede all prior or contemporaneous
 oral or written understandings, negotiations, letters of intent or agreements between the Parties. This
 Section 13.15 shall be deemed a “merger” clause under Mississippi Law, and this Agreement (together
 with the other Transaction Documents and the Confidentiality Agreement) is intended as a complete
 integration of the agreement of the Parties. No modifications of, amendments to, or waivers of any rights
 or duties under this Agreement shall be valid or enforceable unless and until made in writing and signed
 by all Parties.

         13.16 13.16 Multiple Counterparts. This Agreement may be executed in any number of
 counterparts, each and all of which shall be deemed an original and all of which together shall constitute
 but one and the same instrument. The facsimile signature of any Party or other Person to this Agreement
 or any other Transaction Document or a PDF copy of the signature of any Party or other Person to this
 Agreement or any other Transaction Document delivered by electronic mail for purposes of execution or

 1471496v74822-2526-1169.2                            88
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                      Desc Main
                                 Document    Page 187 of 192
 otherwise, is to be considered to have the same binding effect as the delivery of an original signature on
 an original contract.

         13.17 13.17 Other Owners of Purchased Assets. The Parties acknowledge that certain
 Purchased Assets may be owned by one or more Seller Affiliates rather than Seller. Notwithstanding the
 foregoing, and for purposes of all representations, warranties, covenants and agreements contained
 herein, Seller and Curae each agree that (a) its obligations with respect to any Purchased Assets shall be
 joint and several with any Seller Affiliate which owns or controls such Purchased Assets, (b) the
 representations and warranties herein, to the extent applicable, shall be deemed to have been made by, on
 behalf of and with respect to, such Seller Affiliates in their ownership capacity, and (c) it has the legal
 capacity to cause, and it shall cause, any Seller Affiliate that owns or controls any Purchased Assets to
 meet all of Seller’s and Curae’s obligations under this Agreement with respect to such Purchased Assets.
 Seller and Curae each hereby waive any defense to a claim made by Buyer under this Agreement based
 on the failure of any Person who owns or controls the Purchased Assets to be a Party.

 14.     GOVERNING LAW. The parties agree that this Agreement shall be governed by and
         construed in accordance with the laws of the State of Mississippi, without regard to conflict of
         laws principles.

 15.     TIME PERIOD FOR COMPLETING SCHEDULES AND EXHIBITS. Notwithstanding
         anything herein to the contrary, the Parties shall complete the attached complete schedules and
         exhibits, as well as any blanks to be filled in, in a mutually satisfactory manner on or before
         September 24,October 29, 2018.

                                   [SIGNATURE PAGE FOLLOWS]




 1471496v74822-2526-1169.2                           89
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                     Desc Main
                                 Document    Page 188 of 192
            IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date first above
 written.

            SELLER:                                 AMORY REGIONAL MEDICAL CENTER,
                                                    INC.

                                                    By:
                                                    Name:
                                                    Title:

                                                    AMORY REGIONAL PHYSICIANS, LLC

                                                    By:___________________________________
                                                    Name:_________________________________
                                                    Title: _________________________________

            BUYER:                                  NORTH MISSISSIPPI HEALTH SERVICES,
                                                    INC.

                                                    By:
                                                    Name
                                                    Title:

            CURAE:                                  CURAE HEALTH, INC.

                                                    By:____________________________________
                                                    Name:__________________________________
                                                    Title: ___________________________________




                                                1471496v7
 4822-2526-1169.2Signature Page to Asset Purchase Agreement
 65012663.1
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43             Desc Main
                                 Document    Page 189 of 192
                                           SCHEDULE 2.2(l)

                                             Excluded Assets

 (a)      any rights, Claims, counterclaims, third party Claims or causes of action of Seller against
          any Person and any actions under Chapter 5 of the Bankruptcy Code, including, without
          limitation, under Sections 510, 542, 544, 545, 547, 548, 549, 550, 551, 553 and 724(a) of
          the Bankruptcy Code;

 (b)      all claims and/or causes of actions that Seller has brought and/or may bring against any
          Person relating to any Excluded Asset and/or Excluded Liabilities, including, without
          limitation, all claims and/or causes of action that Seller may bring against (i) any current
          or former director, officer, employee, professional or consultant of Seller; (ii) against
          CHS and any of its affiliates, employees or agents and (iii) against any pre-petition
          lenders of Seller.

 (c)      all insurance policies and all rights to proceeds thereunder except any right to assert
          claims or receive proceeds relating to Purchased Assets, including, without limitation,
          any director or officer insurance policies relating to any matter, event or circumstance
          occurring on or prior to the Closing Date;

 (d)      the residual rights in and proceeds of any employee benefits plans that are not transferred
          to Buyer;

 (e)      all rights and liabilities relating to all applications for grants filed prior to the Effective
          Time, including all proceeds of grants awarded (including awards made and/or grant
          funds provided after the Closing);

 (f)      all of Seller’s deposits and other prepaid charges and expenses to the extent not included
          in the calculation of Net Working Capital;

 (g)      any assets disposed of or consumed in the ordinary course of business during the period
          between the date hereof and the Closing Date;

 (h)      Seller’s minute book and similar corporate records (a copy shall be included in the
          Purchased Assets);

 (i)      any legal privilege that relates to any Excluded Asset or any Excluded Liability; and

 (j)      All funds with respect to Seller’s self-funded (i) insurance, (ii) benefits, or (iii) similar
          programs.




                                                  1471496v7
 4822-2526-1169.2Signature Page to Asset Purchase Agreement
 65012663.1
 65363741.1
 65459867.3
Case 3:18-bk-05665         Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43                    Desc Main
                                 Document    Page 190 of 192
                                             1471496v7
 4822-2526-1169.2Signature Page to Asset Purchase Agreement
 65012663.1
 65363741.1
 65459867.3
Case 3:18-bk-05665      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                              Document    Page 191 of 192
    Document comparison by Workshare Compare on Friday, October 12, 2018
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    Input:
    Document 1 ID       interwovenSite://WORKSITE/ACTIVE/65363741/1
    Description         #65363741v1<ACTIVE> - Gilmore APA - As Filed
    Document 2 ID       interwovenSite://WORKSITE/ACTIVE/65459867/3
                        #65459867v3<ACTIVE> - Curae - Amory APA - Post Bid
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    Legend:
    Insertion
    Deletion
    Moved from
    Moved to
    Style change
    Format change
    Moved deletion
    Inserted cell
    Deleted cell
    Moved cell
    Split/Merged cell
    Padding cell

    Statistics:
                        Count
    Insertions                              246
    Deletions                               233
    Moved from                                5
    Moved to                                  5
    Style change                              0
    Format changed                            0
    Total changes                           489




Case 3:18-bk-05665      Doc 305 Filed 10/12/18 Entered 10/12/18 13:21:43   Desc Main
                              Document    Page 192 of 192
